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                            2013-1665, -1666, -1667



       UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT


                             ADJUSTACAM, LLC,

                                                  Plaintiff-Appellant,
                                        v.

        NEWEGG INC., NEWEGG.COM, INC., & ROSEWILL, INC.,

                                                  Defendants-Cross-Appellants,

                                       and

                      SAKAR INTERNATIONAL, INC.,

                                                  Defendants-Cross-Appellant,


Appeals from the United States District Court for the Eastern District of Texas in
               Case No. 10-cv-329, Chief Judge Leonard Davis


        CORRECTED NON-CONFIDENTIAL JOINT APPENDIX




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Date: December 11, 2014

John J. Edmonds                         Kent E. Baldauf, Jr.
Stephen F. Schlather                    Daniel H. Brean
Shea N. Palavan                         Anthony W. Brooks
COLLINS, EDMONDS, POGORZELSKI,          THE WEBB LAW FIRM
SCHLATHER & TOWER, PLLC                 One Gatewar Center
1616 South Voss Road, Suite 125         420 Fort Duquesne Blvd., Suite 1200
Houston, Texas 77057                    Pittsburgh, PA 15222
Telephone: (281) 501-3425               Telephone: (412) 471-885

                                        Attorneys for Defendant-Cross-
Attorneys for Plaintiff-Appellant       Appellants Newegg, Inc., Newegg.com,
AdjustaCam, LLC                         Inc. and Rosewill, Inc.

                                        Ezra Sutton
                                        EZRA SUTTON, P.A.
                                        900 Route 9, Suite 201
                                        Woodbridge, NJ 07095
                                        Telephone: (732) 634-3520

                                        Attorneys for Defendant-Cross-
                                        Appellants Sakar International, Inc.




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                   AdjustaCam LLC v. Newegg, Inc., et al.

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             NO.                                                         APP’X
                                                                          NO.

08/20/2013 762       FINAL JUDGMENT that the parties take                A0001
                     nothing and that all pending motions are
                     DENIED AS MOOT

08/19/2013 761       ORDER denying 727 Sealed Motion for                 A0004
                     Declaration of Exceptional Case; denying 748
                     Sealed Motion for Declaration of Exceptional
                     Case

06/07/2012 650       ORDER overruling pltf's objections 629 and          A0012
                     defts' objections 632 , and adopting 627
                     Memorandum Opinion and Order of the US
                     Magistrate Judge as the Opinion of this Court

04/10/2012 627       MEMORANDUM OPINION AND ORDER.                       A0013
                     The Court interprets the claim language in this
                     case in the manner set forth in this Order

                     Entire Docket Sheet from the Proceedings            A0028
                     Below

                     U.S. Patent No. 5,855,343                           A0164

03/31/2014 782       ORDER Granting Motion to Withdraw                   A0176
                     Motion to Correct or to Amend Judgment

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                     CIRCUIT as to 650 Order, 627 Order, 762
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09/17/2013 764       NOTICE OF APPEAL - FEDERAL                          A0195


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                    CIRCUIT as to 761 Order on Sealed Motion,
                    762 Judgment, by Newegg, Inc.,
                    Newegg.com, Inc., Rosewill Inc.

02/05/2013 749      SEALED RESPONSE to Motion re 748                    A0257
                    SEALED MOTION DEFENDANT SAKAR
                    INTERNATIONAL, INC.'S OPPOSED
                    MOTION FOR DECLARATION OF
                    EXCEPTIONAL CASE AND AWARD OF
                    FEES AND NONTAXABLE EXPENSES
                    filed by AdjustaCam LLC

01/16/2013 748      SEALED MOTION DEFENDANT SAKAR                       A0285
                    INTERNATIONAL, INC.'S OPPOSED
                    MOTION FOR DECLARATION OF
                    EXCEPTIONAL CASE AND AWARD OF
                    FEES AND NONTAXABLE EXPENSES by
                    Sakar International, Inc. with attachments

12/14/2012 744      Unopposed MOTION to Dismiss claims and              A0319
                    counterclaims involving Defendants/Counter-
                    claimants Sakar International, Inc., Kohls
                    Illinois, Inc., Kohls Corporation, Inc. and
                    Kohls Department Stores, Inc. by AdjustaCam
                    LLC

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11/07/2012 735      SEALED RESPONSE to Motion re 727                    A1190
                    SEALED MOTION For Declaration of
                    Exceptional Case and Award of Fees and
                    Nontaxable Expenses filed by AdjustaCam
                    LLC

10/11/2012 728      SEALED ADDITIONAL ATTACHMENTS                       A1224
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                                                                         NO.
                    For Declaration of Exceptional Case and
                    Award of Fees and Nontaxable Expenses

10/11/2012 727      SEALED MOTION For Declaration of                    A1776
                    Exceptional Case and Award of Fees and
                    Nontaxable Expenses by Newegg, Inc.,
                    Newegg.com, Inc., Rosewill Inc.

10/03/2012 724      NOTICE by AdjustaCam LLC of                         A1867
                    Supplemental Authority in support of its
                    opposed Motion to Dismiss

10/02/2012 723      Proposed Pretrial Order (Joint) by                  A1873
                    AdjustaCam LLC

09/30/2012 721      Opposed MOTION to Dismiss Remaining                 A1955
                    Defendants Sakar and Kohl's by AdjustaCam
                    LLC

09/27/2012 719      Unopposed MOTION to Dismiss involving               A1986
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                    AdjustaCam LLC

05/07/2012 635      RESPONSE to 629 Appeal of Magistrate                A2348
                    Judge Decision to District Court by Best Buy


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             NO.                                                         APP’X
                                                                          NO.
                    Co Inc, Best Buy Stores, LP, BestBuy.com,
                    LLC, CDW, LLC, Digital Innovations, LLC,
                    Fry's Electronics Inc, Gear Head, LLC,
                    Hewlett-Packard Company, KOHLS
                    CORPORATION D/B/A KOHL'S, Kohl's
                    Illinois, Inc., Micro Electronics, Inc. DBA
                    Micro Center, Newegg, Inc., Newegg.com,
                    Inc., Office Depot, Inc., Rosewill Inc., Sakar
                    International, Inc., Wal-Mart Stores, Inc.

04/24/2012 629      APPEAL OF MAGISTRATE JUDGE                           A2436
                    DECISION to District Court by AdjustaCam
                    LLC re 627 Order

03/02/2012 614      OFFICIAL TRANSCRIPT of CLAIM                         A2610
                    CONSTRUCTION HEARING held on 2/9/12
                    before Judge John D. Love

01/31/2012 601      REPLY to 595 Claim Construction Brief,,,             A2718
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01/17/2012 595      CLAIM CONSTRUCTION BRIEF filed by                    A2740
                    Amazon.com, Inc., Auditek Corporation, Best
                    Buy Co Inc, Best Buy Stores, LP,
                    BestBuy.com, LLC, CDW Corporation F/K/A
                    CDW Computer Centers, Inc., CDW, Inc.,
                    CDW, LLC, Compusa.com, Inc., Digital
                    Innovations, LLC, Fry's Electronics Inc, Gear
                    Head, LLC, Hewlett-Packard Company,
                    KOHLS CORPORATION D/B/A KOHL'S,
                    Kohl's Illinois, Inc., Micro Electronics, Inc.
                    DBA Micro Center, New Compusa
                    Corporation, Newegg, Inc., Newegg.com,
                    Inc., Office Depot, Inc., Rosewill Inc., Sakar
                    International, Inc., Systemax, Inc. D/B/A
                    Compusa, Target Corp., Tigerdirect, Inc.,



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   DATE         ECF                          TITLE                             BEG
                NO.                                                           APP’X
                                                                               NO.
                        Wal-Mart Stores, Inc.

 12/19/2011 575         CLAIM CONSTRUCTION BRIEF filed by                     A2806
                        AdjustaCam LLC

 07/02/2010 1           COMPLAINT                                             A3670


                  CONFIDENTIAL MATERIAL OMITTED

      Pursuant to Federal Circuit Rule 28(d)(1)(B), material subject to a protective
order entered by a United States District Court has been redacted. Pages noted with
“THE MATERIAL OMITTED DISCLOSES MATERIAL DEEMED
CONFIDENTIAL UNDER LICENSE” contain information derived from
confidential third party settlement agreements.




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                                                                                                                   Case: 13-1665       Document: 97-2          Page: 8        Filed: 12/11/2014
THE MATERIAL OMITTED DISCLOSES MATERIAL DEEMED CONFIDENTIAL UNDER LICENSE
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                                                                                                                                                                                                             Exhibit 7




                                                                                                                                                                                              A0631
                                                                                                                                                                                                  Expert Report of Walt Bratic
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                                                                                                                                                    A0631
                                               THE MATERIAL OMITTED DISCLOSES MATERIAL DEEMED CONFIDENTIAL UNDER LICENSE
                                                                                            Adjustacam LLC v. Amazon.com, Inc., et al.                                                                                          Exhibit 7

                                                                                                                                                               Not Contesting
                                              Effective                                                                                           Convenant
 #     Licensor           Licensee                          Patent                      Scope                               Term            MFN                  Validity /   Lump-Sum   Running-Royalty             Notes                  Source
                                                Date                                                                                              Not to Sue
                                                                                                                                                               Enforceability
 8 AdjustaCam     Phoebe Micro, Inc.         3/17/2011 5,855,343 Worldwide, non-exclusive, non-               Effective date until          No       Yes            Yes                                                               ADJCAM-
                                                                 transferable, fully paid-up license to make, 3/7/2017                                                                                                                SETTLE000049 -
                                                                 have made, use, import, offer to sell and                                                                                                                            59
                                                                 sell the Licensed Products




                                                                                                                                                                                                                                                          Case: 13-1665
 9 AdjustaCam     jWin Electronics Corp.     3/23/2011 5,855,343 Worldwide, non-exclusive, non-               Until expiration or final   No         Yes           Yes                                                                ADJCAM-
                                                                 transferable, fully paid-up license to make, determination of invalidity                                                                                             SETTLE000027 -
                                                                 have made, use, import, offer to sell and of the last surviving                                                                                                      37
                                                                 sell the Licensed Products                   Licensed Patent


10 AdjustaCam     KYE International          3/24/2011 5,855,343 Worldwide, non-exclusive, non-               Until the expiration or       No       Yes           Yes                        N/A                                     "Settlement and
                  Corporation, KYE                               transferable, fully paid-up license to make, final determination of                                                                                                  Patent License
                  Systems America                                have made, use, import, offer to sell and invalidity of the last                                                                                                     Agreement
                  Corporation, and KYE                           sell the Licensed Products                   surviving Licensed Patent                                                                                               between
                  Systems Corporation                                                                                                                                                                                                 Adjustacam and
                                                                                                                                                                                                                                      KYE, March 24,
                                                                                                                                                                                                                                      2011"




                                                                                                                                                                                                                                                          Document: 97-2
11 AdjustaCam     Trust International B.V.    6/3/2011    5,855,343 Worldwide, non-exclusive, non-               Effective date until       No       Yes           Yes                                                                ADJCAM-
                                                                    transferable, fully paid-up license to make, 3/7/2017                                                                                                             SETTLE000106 -
                                                                    have made, use, import, offer to sell and                                                                                                                         116
                                                                    sell the Licensed Products


12 AdjustaCam     Chicony Global Inc.        6/28/2011 5,855,343 Worldwide, non-exclusive, non-               Until expiration or final   No         Yes           Yes                        N/A                                     ADJCAM-
                                                                 transferable, fully paid-up license to make, determination of invalidity                                                                                             SETTLE000097 -
                                                                 have made, use, import, offer to sell and of the last surviving                                                                                                      105
                                                                 sell the Licensed Products                   Licensed Patent

13 AdjustaCam     RadioShack Corporation      8/8/2011    5,855,343 Worldwide, non-exclusive, non-               Until expiration or final   No      Yes           Yes                        N/A                                     ADJCAM-
                                                                    transferable, fully paid-up license to make, determination of invalidity                                                                                          SETTLE000117 -
                                                                    have made, use, import, offer to sell and of the last surviving                                                                                                   126
                                                                    sell the Licensed Products                   Licensed Patent




                                                                                                                                                                                                                                                          Page: 9
14 AdjustaCam     Baltic Latvian Universal   8/11/2011 5,855,343 Worldwide, non-exclusive, non-               Until expiration or final   No         Yes           Yes                        N/A                                     ADJCAM-
                  Electronics, LLC                               transferable, fully paid-up license to make, determination of invalidity                                                                                             SETTLE000127 -
                                                                 have made, use, import, offer to sell and of the last surviving                                                                                                      139
                                                                 sell the Licensed Products                   Licensed Patent

15 AdjustaCam     Overstock.com, Inc.        9/12/2011 5,855,343 Worldwide, non-exclusive, non-               Until expiration of the last- No       Yes           Yes                        N/A                                     ADJCAM-
                                                                 transferable, fully paid-up license to make, to-expire Licensed Patent                                                                                               SETTLE000191 -
                                                                 have made, use, import, offer to sell and                                                                                                                            201
                                                                 sell the Licensed Products




                                                                                                                                                                                                                                                          Filed: 12/11/2014
16 AdjustaCam     Dell Inc.                  11/3/2011 5,855,343 Worldwide, non-exclusive, non-               Until expiration or final     No       Yes           Yes                        N/A                                     ADJCAM-
                                                                 transferable, fully paid-up license to make, determination of invalidity                                                                                             SETTLE000153 -
                                                                 have made, use, import, offer to sell and of the last surviving                                                                                                      163
                                                                 sell the Licensed Products                   Licensed Patent

17 AdjustaCam     MACE GROUP, Inc and 11/11/2011 5,855,343 Worldwide, non-exclusive, non-                 Effective date until              No       Yes           Yes                        N/A                                     ADJCAM-
                  MACALLY                                    transferable, fully paid-up license to make, 3/7/2017                                                                                                                    SETTLE000176 -
                  PERIPHERALS, INC.                          have made, use, import, offer to sell and                                                                                                                                190
                  d/b/a MACALLY                              sell the Licensed Products
                  U.S.A.
18 AdjustaCam     Creative Technology,  11/18/2011 5,855,343 Worldwide, non-exclusive, non-               Effective date until              No       Yes           Yes                        N/A          Settlement includes claims to ADJCAM-
                  Ltd. & Creative Labs,                      transferable, fully paid-up license to make, 3/7/2017                                                                                         Licensed Products sold by     SETTLE000142 -
                  Inc.                                       have made, use, import, offer to sell and                                                                                                     Best Buy/Rocketfish and       152
                                                             sell the Licensed Products                                                                                                                    Licensee's other customers

19 AdjustaCam     J&R Electronics Inc.       12/30/2011 5,855,343 Worldwide, non-exclusive, non-               Until latest date of the     No       Yes           Yes                        N/A                                     ADJCAM-
                                                                  transferable, fully paid-up license to make, expiration of the Licensed                                                                                             SETTLE000164 -
                                                                  have made, use, import, offer to sell and Patents                                                                                                                   175
                                                                  sell the Licensed Products




                                                                                                                                                                                                               Expert Report of Walt Bratic
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                                                                                         Adjustacam LLC v. Amazon.com, Inc., et al.                                                                                   Exhibit 7

                                                                                                                                                              Not Contesting
                                            Effective                                                                                            Convenant
 #     Licensor          Licensee                         Patent                     Scope                              Term               MFN                  Validity /   Lump-Sum   Running-Royalty       Notes           Source
                                              Date                                                                                               Not to Sue
                                                                                                                                                              Enforceability
20 AdjustaCam     CompUSA.com, New          3/15/2012 5,855,343 Worldwide, non-exclusive, non-               Effective date until          No       Yes            Yes                       N/A                         ADJCAM-
                  CompUSA Corporation,                          transferable, fully paid-up license to make, 3/7/2017                                                                                                    SETTLE000202 -
                  Systemax, Inc., and                           have made, use, import, offer to sell and                                                                                                                212




                                                                                                                                                                                                                                             Case: 13-1665
                  Tiger Direct, Inc.                            sell the Licensed Products

21 AdjustaCam     Amazon.com, Inc.          3/22/2012 5,855,343 Licensor grants Licensee, its Affiliates and From the Effective Date       No       Yes           Yes                        N/A                         ADJCAM-
                                                                Third Parties to the extent of their         until the last expiration                                                                                   SETTLE000213 -
                                                                Licensed Third-Party Activity, a             date of any Licensed                                                                                        222
                                                                worldwide, non-exclusive, non-               Patent
                                                                transferable, fully paid-up license to the
                                                                Licensed Patents
22 AdjustaCam     Auditek Corporation       5/10/2012 5,855,343 Worldwide, non-exclusive, non-               Effective date until          No       Yes           Yes                                                    "Settlement and
                                                                transferable, fully paid-up license to make, 3/7/2017                                                                                                    Patent License
                                                                have made, use, import, offer to sell and                                                                                                                Agreement
                                                                sell the Licensed Products                                                                                                                               between
                                                                                                                                                                                                                         Adjustacam and
                                                                                                                                                                                                                         Auditek
                                                                                                                                                                                                                         Corporation, May
                                                                                                                                                                                                                         10 2012"




                                                                                                                                                                                                                                             Document: 97-2
23 AdjustaCam     Digital Innovations, LLC 5/31/2012 5,855,343 Worldwide, non-exclusive, non-               Effective date until           No       Yes           Yes                        N/A                         ADJCAM-
                                                               transferable, fully paid-up license to make, 3/7/2017                                                                                                     SETTLE000202 -
                                                               have made, use, import, offer to sell and                                                                                                                 213
                                                               sell the Licensed Products

24 AdjustaCam     CDW Corporation f/k/a     6/22/2012 5,855,343 Worldwide, non-exclusive, non-               Until the last to expire of   No       Yes           No                         N/A                         "Settlement and
                  CDW Computer                                  transferable, fully paid-up license to make, the Licensed Patents, plus                                                                                  Patent License
                  Centers, Inc. and CDW,                        have made, use, import, offer to sell and six years                                                                                                      Agreement
                  Inc.                                          sell the Licensed Products                                                                                                                               between
                                                                                                                                                                                                                         Adjustacam and
                                                                                                                                                                                                                         CDW
                                                                                                                                                                                                                         Corporation, July
                                                                                                                                                                                                                         22 2012"




                                                                                                                                                                                                                                             Page: 10
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                                                                  1

                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                              TYLER DIVISION
   ADJUSTACAM, LLC            :
                               :
                               :
                               :
   VS.                         : CASE NO. 6:10-CV-329-LED
                               :
   AMAZON.COM, INC.,           :
   ET AL                       :



                ****************************************
                            ORAL DEPOSITION OF
                              WALTER BRATIC
                             AUGUST 28, 2012
                ****************************************
         ORAL DEPOSITION of WALTER BRATIC, produced as a
   witness at the instance of the Defendants, and duly
   sworn, was taken in the above-styled and numbered cause
   on Tuesday, the 28th day of August, 2012, from
   9:10 a.m. to 3:59 p.m., before Lesia J.P. Wagner, CSR
   in and for the State of Texas, recorded by machine
   shorthand, at the offices of Collins Edmonds &
   Pogorzelski, 1616 S. Voss Road, Suite 125, Houston,
   Texas, pursuant to the Federal Rules of Civil Procedure
   and the provisions stated on the record or attached
   hereto; the deposition shall be read and signed before
   any notary public.




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                                                                                           7

           1                         (Marked was Exhibit No. 1.)
09:10:38   2                            THE REPORTER:     The time is 9:10 a.m.,
09:10:42   3        and we're on the record.
09:10:42   4                                  WALTER BRATIC,
09:10:42   5          after being first duly sworn, testified as follows:
09:10:42   6                                     EXAMINATION
09:10:54   7        BY MR. HERBERHOLZ:
09:10:54   8              Q.     Good morning, Mr. Bratic.         My name is Dana
09:10:58   9        Herberholz.     I represent Newegg Inc. and Rosewill Inc.
09:11:01   10       in this matter.
09:11:02   11                           Can you state your name for the record,
09:11:05   12       please?
09:11:06   13             A.     Walter Bratic.
09:11:07   14             Q.     What's the spelling of that?
09:11:08   15             A.     B-r-a-t-i-c.
09:11:10   16             Q.     Thank you.
09:11:12   17                           I'm going to hand you what's been marked
09:11:14   18       as Exhibit No. 1.
09:11:15   19             A.     Okay.
09:11:16   20             Q.     It's a notice of deposition that's been
09:11:18   21       served.     Have you seen a copy of this, Mr. Bratic?
09:11:23   22             A.     Yes.
09:11:24   23             Q.     And you'll see here at the -- toward the
09:11:27   24       bottom of the notice on Page 1, we ask that you bring
09:11:31   25       invoices for your work relative to the lawsuit.               Do you


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09:44:28   1              Q.     What specifically do you recall about that
09:44:31   2        interview?
09:44:32   3              A.     Well, everything I discussed with
09:44:33   4        Mr. Barthelemy is cited in my report, so I'll just
09:44:36   5        refer you to the footnotes where I talk about that.
09:44:48   6                           If you'll go to Page 14.
09:44:50   7              Q.     Uh-huh.
09:44:52   8              A.     If you'll look at Footnote 61, 62, and 63,
09:45:02   9        which are referenced in Paragraph 33 --
09:45:04   10             Q.     Uh-huh.
09:45:04   11             A.     -- that's the subject matter of my discussion
09:45:07   12       with Mr. Barthelemy.         I believe that's the extent of
09:45:16   13       it.
09:45:27   14                          Now, go to Footnote 211, which is on
09:45:31   15       Page 33, Paragraph 75.         And that's it.
09:45:59   16             Q.     Okay.   So aside from Footnote 61 to 63,
09:46:04   17       Footnote 211, are you aware of any other --
09:46:12   18             A.     Subject matter?
09:46:13   19             Q.     Yes, thank you -- any other areas of subject
09:46:15   20       matter that you discussed with Mr. Barthelemy that
09:46:18   21       aren't listed here in your report?
09:46:20   22             A.     No.
09:46:20   23             Q.     Let's take a look at Footnote 61 briefly.
09:46:24   24             A.     Okay.   All right.
09:46:29   25             Q.     Is it fair to say that you and


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            THE MATERIAL OMITTED DISCLOSES MATERIAL DEEMED CONFIDENTIAL UNDER LICENSE

                                                                                        37

09:46:32    1       Mr. Barthelemy, during your interview, discussed what
09:46:34    2       GlobalMedia and PAR Technologies would have considered
09:46:41    3       in a hypothetical negotiation for rights to the '343
09:46:45    4       patent?
09:46:45    5             A.     Yes.
09:46:45    6             Q.     And you understand that Mr. Barthelemy was a
09:46:51    7       representative of PAR Technologies at the time of PAR's
09:46:55    8       license with Philips.          Is that correct?
09:46:57    9             A.     Well, I don't know what his capacity was, but
09:47:00   10       he certainly told me that he was involved in PAR's
09:47:02   11       negotiations with Philips and
09:47:04   12             Q.     Okay.
09:47:05   13             A.     The first two licenses that were executed for
09:47:09   14       the '343 patent.
09:47:09   15             Q.     Did he tell you what his specific role in
09:47:12   16       those negotiations was?
09:47:12   17             A.     No, other than he was very involved in them,
09:47:14   18       and so that would have set the predicate for all
09:47:19   19       subsequent licensing that took that licensing model.
09:47:26   20             Q.     Do you recall speaking with Mr. Barthelemy
09:47:27   21       about a minimum per-unit royalty of $1.25?
09:47:34   22             A.     Yes.
09:47:34   23             Q.     What did you specifically discuss with
09:47:36   24       Mr. Barthelemy in that regard?
09:47:39   25             A.     Well, the minimum royalty of -- let me look.


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09:48:13   1        I'm sorry.     Would you repeat your question?
09:48:16   2              Q.     Yeah.   I asked:    What specifically did you
09:48:18   3        discuss with Mr. Barthelemy in that regard; that is, in
09:48:22   4        regard to a minimum per-unit royalty of $1.25?
09:48:26   5              A.     Well, they were looking -- he explained to me
09:48:28   6        the situation with respect to the Philips license,
09:48:30   7        where they granted Philips the "most favored nations"
09:48:33   8        clause for any subsequent licenses.           And so they -- in
09:48:36   9        recognition of that, his understanding was, based on
09:48:39   10       their negotiation with Philips, that Philips was not --
09:48:42   11       did not have high volumes nor did they expect to have
09:48:47   12       high volumes in sales of webcams, but their target was
09:48:52   13       to get around $1.25 effective royalty per unit.
09:48:56   14             Q.     Okay.   And you're saying that was their
09:48:58   15       target, was to get around $1.25 effective royalty per
09:49:02   16       unit.   Are you referring to PAR Technologies?
09:49:04   17             A.     Well, PAR, and then subsequently that would
09:49:07   18       have been GlobalMedia's mindset, was to seek a royalty
09:49:13   19       in the $1.25 to $1.50 frame.
09:49:13   20             Q.     So Mr. Barthelemy, during your interview,
09:49:15   21       told you that it was both PAR's desire and the desire
09:49:18   22       of GlobalMedia to seek a minimum per-unit royalty of
09:49:25   23       $1.25 for the '343 patent?         Is that right?
09:49:27   24             A.     No, that's not what I said.         That the target
09:49:29   25       was in the range of $1.25 to $1.50 per unit.


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09:49:33    1             Q.     Okay.     And that applies to both PAR
09:49:36    2       Technologies and GlobalMedia?
09:49:37    3             A.     Yes.
09:49:38    4             Q.     Okay.     Did you discuss any of the accused
09:49:42    5       products in this matter with Mr. Barthelemy?
09:49:44    6             A.     No.
09:49:44    7             Q.     Did you discuss the expert reports of any
09:49:52    8       other expert in this matter with Mr. Barthelemy?
09:49:53    9             A.     No.
09:49:54   10             Q.     Did Mr. Barthelemy explain to you why --
09:50:04   11       well, first of all, did Mr. Barthelemy explain to you
09:50:06   12       that there was an established royalty of $1.25 per unit
09:50:10   13       or minimum -- established royalty of a minimum of $1.25
09:50:21   14       per unit at the time you spoke with him?
09:50:21   15             A.     Well, I don't know that he used the word
09:50:22   16       "established royalty," but he clearly made it clear
09:50:24   17       that that was the goal, was the $1.25 to $1.50 per
09:50:29   18       unit.    But they recognized that with the Philips "most
09:50:31   19       favored nation" clause and then the license of the
09:50:34   20       subsequent that they executed with                           who was
09:50:37   21       the volume leader in the industry, that they were
09:50:39   22       targeting $1.25 to $1.50 per unit.
09:50:39   23             Q.     Did Mr. --
09:50:43   24             A.     And that was consistent with what they had
09:50:45   25       observed with other licenses.


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09:50:46   1              Q.    Did Mr. Barthelemy explain why GlobalMedia
09:50:50   2        and PAR were targeting a per-unit royalty of $1.25 to
09:50:54   3        $1.50?
09:50:56   4              A.    Well, because that's what they felt was the
09:50:57   5        value of the technology associated with the webcam
09:51:01   6        clip, the patent clip.
09:51:02   7              Q.    Okay.   So Mr. -- okay.       Did he -- did
09:51:05   8        Mr. Barthelemy explain what his basis for that is; in
09:51:09   9        other words, what his basis was for the statement that
09:51:11   10       the webcam clip was worth between $1.25 and $1.50?
09:51:16   11             A.    I don't recall specifics of that.
09:51:23   12             Q.    Do you know if Mr. Barthelemy has a financial
09:51:26   13       interest in the outcome of this litigation?
09:51:27   14             A.    I do not.
09:51:31   15             Q.    It says here that you spoke with Mr. Wong as
09:51:37   16       well, correct?
09:51:39   17             A.    Yes.
09:51:39   18             Q.    Okay.   Was that a telephonic interview?
09:51:42   19             A.    It was.
09:51:43   20             Q.    Just one interview?
09:51:45   21             A.    There were at least two.
09:51:48   22             Q.    Okay.   Do you recall when those took place?
09:51:49   23             A.    Well, the first one was during the process of
09:51:54   24       preparing my report, so it would have certainly been
09:51:59   25       prior to June 25, 2012.


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09:52:01   1              Q.     Okay.    When was the second one?
09:52:02   2              A.     The second one was yesterday.
09:52:05   3              Q.     When you were preparing your report, did you
09:52:20   4        ask to speak with Mr. Wong?
09:52:21   5              A.     I did.
09:52:22   6              Q.     What was the reason for that?
09:52:23   7              A.     Well, because Mr. Wong, when Acacia had
09:52:31   8        acquired -- Acacia and AdjustaCam acquired the rights
09:52:32   9        to the '343 patent, then AdjustaCam had negotiated
09:52:36   10       several licenses, and I wanted to understand the
09:52:39   11       context of what information was made and known and
09:52:41   12       understood between the parties to those negotiations on
09:52:45   13       behalf of AdjustaCam and on behalf of the licensees.
09:52:50   14             Q.     So you felt you needed to speak with Mr. Wong
09:52:53   15       to understand the basis of AdjustaCam's license
09:52:58   16       agreements in this case?
09:52:59   17             A.     Well, I needed to get some information --
09:53:02   18       there were 14 licenses, for example, prior to issuance
09:53:06   19       of my report, 14 licenses that were lump-sum, which did
09:53:15   20       not call for anyone in the world to read.
09:53:15   21                         THE REPORTER:       I'm sorry.      "Which did
09:53:15   22       not call"?
09:53:16   23                         THE WITNESS:       That's fine.       I'm sorry.
09:53:17   24                         I've got a cold.        I apologize.        Let me
09:53:19   25       know where you trailed off -- okay.            Let's start over.


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09:53:28   1              A.    Prior to the issuance of my report, I noted
09:53:31   2        that there were 14 licenses that were issued, executed,
09:53:35   3        involving the '343 patent, that involved lump-sum
09:53:38   4        amounts, with no ongoing running royalty obligations.
09:53:42   5        So one of the things I wanted to know from -- ask
09:53:46   6        Mr. Wong about was what was it about those licenses
09:53:49   7        that characterized them as lump-sum payments and what
09:53:53   8        was the underlying understanding about the sales
09:53:56   9        associated with the infringing or licensed product.
09:54:00   10                         And based on my understanding, as I said
09:54:03   11       in my report, the target was in the range of $1.25 to
09:54:08   12       $1.50 per unit, based on the representations made by
09:54:11   13       those perspective licensees about the volumes of
09:54:15   14       accused webcams that they were selling and that they
09:54:19   15       were likely to sell.         And that was part of my
09:54:23   16       discussion with Mr. Wong.
09:54:26   17             Q.    (By Mr. Herberholz) So you mentioned the 14
09:54:28   18       lump-sum licenses?
09:54:30   19             A.    That's right.
09:54:30   20             Q.    Any other reason you felt it was necessary to
09:54:33   21       speak with Mr. Wong in preparing your opinions in this
09:54:36   22       case?
09:54:36   23             A.    Well, yes.       I wanted to understand also about
09:54:39   24       the licenses with respect to the six other licenses he
09:54:43   25       executed -- that were executed, that involved an


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09:54:45   1        up-front payment with a running royalty option.
09:54:51   2              Q.     Any other reasons?
09:54:59   3              A.     Let me look.
09:55:24   4                          One of the other things I do recall is
09:55:28   5        that Mr. Wong was very -- Mr. Wong and AdjustaCam were
09:55:36   6        very aware of the fact that they could not claim
09:55:38   7        royalties before July 2, 2010.          So that was -- went
09:55:43   8        into the equation and the calculation of the imputed
09:55:46   9        royalty rates for the lump sums and even for the
09:55:48   10       licenses involving the up- -- lump-sum payment with the
09:55:52   11       running royalty option.
09:56:01   12                         MR. SUTTON:     Can I ask the witness to
09:56:03   13       just speak up a bit?
09:56:04   14                         MR. EDMONDS:     I'm going to turn up the
09:56:05   15       volume.     He's got a cold, so, I'll just ask him to do
09:56:09   16       the best he can.
09:56:12   17                         MR. SUTTON:     Thank you.
09:56:15   18             Q.     (By Mr. Herberholz) Mr. Bratic, we've talked
09:56:17   19       about the --
09:56:18   20             A.     I'm not done.
09:56:19   21             Q.     Oh, I'm sorry.     Continue.
09:56:19   22             A.     You asked me an open-ended question, so let
09:56:22   23       me finish, please.
09:56:22   24             Q.     Please do.
09:56:28   25             A.     We also discussed a little about the -- we


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09:56:30    1       discussed the Chicony license and how Chicony
09:56:34    2       approached AdjustaCam, seeking a license.
09:57:41    3                          We discussed, and I've also mentioned to
09:57:43    4       you already, that                   they understood, was going
09:57:54    5       to be -- was the volume leader in terms of all the
09:57:54    6       licensees in respect to their sales.
09:58:21    7                          I'm trying not to be, you know, redundant
09:58:24    8       here.
09:58:44    9                          As to the 14 lump-sum payments, those
09:58:52   10       licensees provided AdjustaCam with past sales information
09:58:56   11       which was configured into their calculations to get to
09:59:01   12       their imputed royalty rate of $1.25 to $1.50 per unit.
09:59:14   13             Q.     Where in your report are you reading from?
09:59:15   14             A.     Right now I'm reading from Paragraph 70.
09:59:29   15                          And that -- that's the general
09:59:50   16       recollection of the general subject matter of the
09:59:54   17       discussions with Mr. Wong, except for the call
09:59:59   18       yesterday.
09:59:59   19             Q.     Okay.    What was the nature of your call with
10:00:04   20       Mr. Wong yesterday?
10:00:05   21             A.     Well, since my report had been filed, both my
10:00:08   22       reports had been filed, I received two additional
10:00:12   23       licenses that were executed, one with Gear Head and one
10:00:14   24       with HP.     So my discussions with Mr. Wong were based on
10:00:21   25       those two licenses, and he advised me that those two


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10:00:25    1       licenses were negotiated much like all the other
10:00:28    2       licenses regarding the past volumes from July 2nd, 2010
10:00:37    3       through the license date, and what the understandings
10:00:40    4       and representations were made to AdjustaCam regarding
10:00:45    5       future sales of licensed products.
10:00:51    6             Q.     So in your call yesterday -- I just want to
10:00:54    7       make sure I understand this -- Mr. Wong advised you
10:00:56    8       that the HP and Gear Head settlements were negotiated
10:01:01    9       like the other settlements in this case?
10:01:02   10             A.     That's correct.
10:01:03   11             Q.     And specifically, those settlements were
10:01:07   12       negotiated with past volumes of sales in mind, as well
10:01:12   13       as representations regarding future sales.                 Is that
10:01:15   14       right?
10:01:15   15             A.     Yes.    But past sales that were licensable.
10:01:25   16             Q.     What makes a past sale licensable?
10:01:28   17             A.     Well, because of the marking -- the fact that
10:01:31   18                   and Philips never marked their products, it
10:01:35   19       was my understanding that AdjustaCam recognized that it
10:01:39   20       could not seek royalties from any licensee prior to
10:01:44   21       filing suit.
10:01:44   22             Q.     So when you say "past sales that were
10:01:47   23       licensable," you're referring to sales after the
10:01:50   24       complaint was filed in this matter?
10:01:51   25             A.     Yes.    And what I meant by "past sales that


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10:01:54   1        were licensable," meaning those sales that were from
10:01:57   2        today, going back to July 2, 2010, when the complaint
10:02:03   3        was filed.
10:02:03   4              Q.     You understand the term "noninfringing
10:02:06   5        alternatives," don't you?
10:02:07   6              A.     I do.
10:02:08   7              Q.     Did you at any time discuss with Mr. Wong
10:02:11   8        noninfringing alternatives?
10:02:12   9              A.     Not with Mr. Wong, no.
10:02:14   10             Q.     So aside from discussing the Gear Head and HP
10:02:19   11       settlement agreements with Mr. Wong yesterday, did you
10:02:21   12       and Mr. Wong discuss anything else?
10:02:23   13             A.     No.
10:02:23   14             Q.     How long was your call with Mr. Wong
10:02:27   15       yesterday?
10:02:27   16             A.     Five minutes.
10:02:28   17             Q.     How long was your first call with Mr. Wong?
10:02:30   18             A.     About 45 minutes to an hour.
10:02:32   19             Q.     So I want to go back to your first interview
10:02:35   20       with Mr. Wong.
10:02:36   21             A.     All right.
10:02:36   22             Q.     You referenced 14 licenses that were
10:02:41   23       lump-sum, and then you referenced another six licenses
10:02:43   24       that involved an up-front payment and a running royalty
10:02:48   25       option.     Is that right?


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10:02:49    1                 A.     Correct.
10:02:49    2                 Q.     Okay.     So 20 licenses, you discussed with
10:02:52    3           Mr. Wong during your first interview.                Is that right?
10:02:54    4                 A.     No, that's not true.          We also discussed the
10:02:57    5           Philips and                 license, which is referenced in my
10:03:01    6           report.
10:03:01    7                 Q.     Okay.     But the --
10:03:01    8                 A.     The bottom line is there were 22 licenses
10:03:03    9           that were executed before my report was filed.                      I
10:03:05   10           discussed all 22 with Mr. Wong.
10:03:06   11                 Q.     Now, 20 of those licenses involved
10:03:09   12           AdjustaCam, correct?
10:03:09   13                 A.     Correct.
10:03:10   14                 Q.     Now, why was it that you felt you needed to
10:03:13   15           speak with Mr. Wong about licenses that involved
10:03:17   16           AdjustaCam?
10:03:18   17                 A.     I don't understand the question.
10:03:18   18                 Q.     My question is:        AdjustaCam is the party to
10:03:20   19           this lawsuit?
10:03:21   20                 A.     Right.
10:03:21   21                 Q.     They're the plaintiff, right?
10:03:22   22                 A.     Right.
10:03:23   23                 Q.     Did you ever request to speak with a
10:03:27   24           representative of AdjustaCam to discuss those licenses,
10:03:30   25           those 20 licenses?


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10:03:31   1              A.     No, because Mr. Wong was the party that
10:03:33   2        negotiated those licenses.
10:03:35   3              Q.     Okay.   That was on behalf of Acacia?
10:03:38   4              A.     On behalf of AdjustaCam and Acacia.
10:03:41   5              Q.     Okay.
10:03:41   6              A.     That's why I spoke with him.          He was the
10:03:43   7        party representative in those negotiations.
10:03:48   8              Q.     And that was for all 20 of the AdjustaCam
10:03:52   9        settlement agreements?
10:03:54   10             A.     Yes, as well as the two new ones that we
10:03:58   11       discussed, Gear Head and HP.
10:04:03   12                           We've been going about an hour.            I'd like
10:04:04   13       to --
10:04:04   14             Q.     Do you want to take a break?
10:04:06   15             A.     Yes.
10:04:06   16                           MR. HERBERHOLZ:       Yeah, let's take a
10:04:21   17       break.      That's fine.
10:04:21   18                    (Recess taken from 10:04 a.m. to 10:12 a.m.)
10:13:03   19                           MR. HERBERHOLZ:       Okay.   We're back on
10:13:04   20       the record.
10:13:05   21             Q.     (By Mr. Herberholz) Mr. Bratic, do you
10:13:06   22       understand you're still under oath?
10:13:07   23             A.     I do.
10:13:08   24             Q.     Okay.   Before we took our morning break, we
10:13:10   25       were talking about a couple of interviews that you had


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10:13:11   1        with Mr. Wong.
10:13:12   2              A.    Yes.
10:13:15   3              Q.    And I want to go back to the first interview
10:13:17   4        that you had with Mr. Wong.
10:13:21   5              A.    Okay.
10:13:21   6              Q.    I believe you testified that you and
10:13:23   7        Mr. Wong, during that interview, discussed the Chicony
10:13:26   8        license.    Is that right?
10:13:27   9              A.    Yes.
10:13:28   10             Q.    What specifically did you discuss with
10:13:38   11       Mr. Wong in that regard?
10:14:22   12             A.    Well, let me look.       Well, if you look at
10:14:23   13       Footnote 124, Mr. Wong stated that Chicony approached
10:14:28   14       AdjustaCam for a license.        And just to be clear,
10:14:31   15       Mr. Wong was AdjustaCam's agent, if you will, for
10:14:35   16       licensing these -- the '343 patent to various parties
10:14:42   17       on behalf of AdjustaCam.
10:14:43   18                          So he advised me that Chicony approached
10:14:46   19       him and Chicony did not tell him who their licensee --
10:14:52   20       who their customers were -- who its customers were
10:14:57   21       until they had already agreed upon the amount of
10:15:02   22       license, based on estimates Chicony provided.                And
10:15:05   23       Chicony also advised them that Chicony was a foreign
10:15:08   24       entity, that they didn't directly ship product into the
10:15:12   25       United States, and so they weren't a direct -- they


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10:15:13   1        were not subject to, you know, a claim of infringement.
10:15:18   2               Q.   Okay.   And that's -- that's set forth in your
10:15:21   3        report, isn't it?
10:15:21   4               A.   I'm sorry?
10:15:23   5               Q.   That conversation you just described, those
10:15:25   6        details are set forth in your report?
10:15:27   7               A.   Yes.
10:15:29   8               Q.   And what were you referring to --
10:15:30   9               A.   I was referring to Footnote 124.
10:15:33   10              Q.   Do you recall speaking with Mr. Wong about
10:15:36   11       any other issues related to Chicony, other than those
10:15:39   12       that you just described and those that are in Footnote
10:15:39   13       124?
10:15:39   14              A.   That's my general recollection.
10:15:41   15              Q.   You weren't involved in negotiating the
10:15:43   16       license between AdjustaCam and Chicony, were you?
10:15:45   17              A.   I was not.
10:15:46   18              Q.   Did Mr. Wong represent to you that the
10:15:49   19       license between Chicony and AdjustaCam was consistent
10:15:53   20       with an established royalty of -- established per-unit
10:15:57   21       royalty between $1.25 and $1.50?
10:15:59   22              A.   Based on the representations made by Chicony
10:16:03   23       at the time, yes.
10:16:03   24              Q.   Okay.   Do you believe that's accurate?
10:16:05   25              A.   Well, I have no way to validate because I


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10:16:08    1          don't know what the specific information Chicony
10:16:10    2          provided at the time.
10:16:10    3                 Q.     So, for example, you don't know the total
10:16:12    4          volume of accused products that were a part of the
10:16:17    5          Chicony agreement?
10:16:19    6                 A.     Well, you mean after or at the time of the
10:16:21    7          negotiation?
10:16:22    8                 Q.     At the time of the negotiation.
10:16:23    9                 A.     No, I don't.
10:16:25   10                 Q.     Okay.    Similarly, you don't know how many
10:16:29   11          products after the negotiation were covered by the
10:16:32   12          Chicony license, do you?
10:16:33   13                 A.     No.
10:16:34   14                 Q.     You also testified that when you spoke with
10:16:40   15          Mr. Wong, he informed you that                        was the -- he
10:16:44   16          used the words "volume leader"?
10:16:46   17                 A.     Yes.
10:16:46   18                 Q.     In terms of sales?
10:16:48   19                 A.     Correct.
10:16:48   20                 Q.     Did he give you a particular time frame in
10:16:48   21          which he believed that                      was the volume leader
10:16:52   22          in sales?
10:16:52   23                 A.     No, it wasn't specific to a time frame.                It
10:16:55   24          was just an overall statement.
10:16:57   25                               And if you look at my initial report, you


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10:16:59    1       look at the total volumes of all units sold by
10:17:01    2       defendants and you compare them to the most recent
10:17:04    3       royalty reports for -- that GlobalMedia produced in
10:17:10    4       this case, GlobalMedia has generated --                             has
10:17:15    5       paid royalties on over 2 million units, 2.2, 2.3 million
10:17:22    6       units.      And that's far in excess of total sales of all
10:17:26    7       other defendants, even ignoring the issue of exhaustion
10:17:30    8       between my first and second report.
10:17:33    9             Q.     Okay.    So when you're saying that -- is it
10:17:35   10       your understanding that                      is a volume leader in
10:17:37   11       sales?
10:17:37   12             A.     Yes.
10:17:38   13             Q.     And that's sales of webcam clips?
10:17:40   14             A.     Correct.     Webcams with clips.
10:17:42   15             Q.     Webcams with clips.           Okay.
10:17:44   16                           And you're referring to some documents
10:17:48   17       produced by GlobalMedia, and I want to make sure I
10:17:51   18       understand this.        You're aware that -- it's your
10:17:54   19       understanding that                   has paid ongoing
10:17:57   20       royalties --
10:17:58   21             A.     Yes.
10:17:58   22             Q.     -- to AdjustaCam?
10:18:00   23             A.     That's correct.        I've seen the most recent
10:18:02   24       royalty reports through March 31, 2012.
10:18:05   25             Q.     And were those royalty reports identified in


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10:18:08    1          your reports?
10:18:08    2                 A.     No, because they weren't produced until after
10:18:10    3          my report was filed.
10:18:13    4                 Q.     Okay.    Did those royalty reports -- let me
10:18:16    5          back up.
10:18:17    6                              You served a supplemental expert report
10:18:20    7          in this case, right?
10:18:22    8                 A.     My supplemental report was three days after
10:18:24    9          my original report.
10:18:25   10                 Q.     Right.    You didn't reference the particular
10:18:27   11          royalty reports in your supplemental report, did you?
10:18:31   12                 A.     No.   Because I didn't have them at the time.
10:18:32   13                 Q.     When did you receive those reports?
10:18:34   14                 A.     I received -- what's today?           Today's Tuesday.
10:18:38   15          I received them Saturday, I believe.
10:18:40   16                 Q.     Have you given those to AdjustaCam's counsel?
10:18:43   17                 A.     They were provided to me by AdjustaCam's
10:18:45   18          counsel.
10:18:46   19                 Q.     Do you know whether those were produced in
10:18:48   20          this litigation?
10:18:48   21                 A.     You'd have to ask counsel that.
10:18:50   22                 Q.     And I'm sorry, I'm just trying to catch up
10:18:58   23          here.     Those royalty reports, you believe indicate that
10:19:02   24                      has paid -- did you say in excess of $2 million?
10:19:05   25                 A.     No, those -- the royalty payments are -- and


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10:19:10    1       there are gaps.       There's some time periods -- it's not a
10:19:12    2       complete set.       There's some missing time periods.
10:19:15    3                    But you can tell from the information that
10:19:18    4       approximately there's been about 2.2 to 2.3 million
10:19:21    5       units sold to date, through March of 2012, under the
10:19:25    6       license -- let me clarify that.              I apologize, because
10:19:31    7       I'm on some medication, so let me just try and clarify.
10:19:35    8                           What I'm trying to explain to you is that
10:19:37    9       in the GlobalMedia royalty reports,                         reported
10:19:41   10       to GlobalMedia sales under the '343 patent license in
10:19:48   11       excess of 2 million units through March 2012.                    And I
10:19:53   12       can say "in excess of 2 million units" because there
10:19:56   13       are some data gaps in some of the quarterly reports.
10:20:07   14       But I also know when the volume conversion went from
10:20:07   15       $1.25 to a dollar per unit per the license agreement.
10:20:08   16                           And if you'll look here, for example --
10:20:12   17       let me find it for you.          Yes.      If you look in Paragraph
10:20:22   18       42, for example --
10:20:25   19             Q.     Okay.
10:20:28   20             A.     Second bullet.
10:20:30   21             Q.     Uh-huh.
10:20:30   22             A.     When aggregate royalties are between 2
10:20:33   23       million and $4 million, it's a dollar per unit.                     So I
10:20:38   24       had noticed in the cumulative royalty reports that at
10:20:41   25       some point the royalties dropped to a dollar.                    That's


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10:20:44    1       why I knew that at that point, they had sold over --
10:20:47    2       they had sold over 2 million units.               And then I added
10:20:50    3       on the additional units beyond that point, so that got
10:20:53    4       me to about 2.2, 2.3 million units.
10:20:57    5             Q.     Okay.     So it's your understanding that
10:21:01    6       through -- is it through March of 2012,                             had
10:21:05    7       sold about 2.2 to 2.3 million units?
10:21:08    8             A.     Yes, through March 31, 2012.             Licensed units.
10:21:13    9             Q.     And that's based on quarterly reports that
10:21:17   10       you said you received --
10:21:18   11             A.     Yes.
10:21:18   12             Q.     -- from GlobalMedia?
10:21:20   13             A.     Royalty reports from                     to GlobalMedia.
10:21:30   14             Q.     Is it your understanding that                          is
10:21:35   15       still today the volume leader as far as sales with
10:21:39   16       webcams with clips?
10:21:40   17             A.     Webcams with clips?           That, I don't know.            I
10:21:44   18       don't have the information to say that.                But certainly
10:21:45   19       with respect to the defendants in this case, all the
10:21:47   20       licensees in this case, the answer would be "yes."
10:21:51   21             Q.     In your report, you also indicated -- sorry.
10:22:15   22       By "report," I'm referring to your first report, dated
10:22:18   23       June 25, 2012.       You indicated there that you spoke with
10:22:20   24       Dr. Muskivitch, who's AdjustaCam's technical expert.
10:22:24   25             A.     I did.


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10:39:30   1        technical opinions about interpreting the '343 patent.
10:39:33   2              Q.    Well, let's take a look at -- let's go to
10:39:37   3        Paragraph 7 --
10:39:38   4              A.    All right.
10:39:38   5              Q.    -- of your opening report.
10:39:39   6              A.    Okay.
10:39:40   7              Q.    Before we get into the details of
10:39:44   8        Paragraph 7, are the opinions that you've offered in
10:39:46   9        this matter those captured in your June 25 report and
10:39:51   10       your June 28 report, collectively?
10:39:53   11             A.    Well, my affirmative opinions are.              And, of
10:39:56   12       course, they've been now supplemented with the
10:39:59   13       Gear Head and the HP license.
10:40:01   14             Q.    Okay.   So aside from the Gear Head and HP
10:40:05   15       license, is there any additional -- have you formed any
10:40:10   16       additional opinions outside of those set forth in
10:40:12   17       Exhibit 3 and Exhibit 4?
10:40:13   18             A.    Yes.
10:40:14   19             Q.    And what are those?
10:40:14   20             A.    Well, I've read Dr. Sullivan's report, and
10:40:17   21       I've read his deposition, and I disagree with a number
10:40:20   22       of his comments and assertions.
10:40:21   23             Q.    Okay.   Have you formed any additional
10:40:25   24       opinions about what a reasonable royalty would be for
10:40:30   25       this particular matter, aside from those that are set


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10:40:33   1        forth in Exhibits 3 and 4?
10:40:34   2              A.    No.    My opinions are unchanged regarding what
10:40:37   3        a reasonable royalty would be.
10:40:38   4              Q.    Okay.    And those opinions regarding a
10:40:41   5        reasonable royalty are set forth in Exhibits 3 and 4,
10:40:44   6        which are both of your reports in this matter?
10:40:46   7              A.    That's correct.
10:40:46   8              Q.    So turning to Paragraph 7 in your first
10:40:51   9        report --
10:40:51   10             A.    Okay.
10:40:52   11             Q.    I'm looking at Page 5.
10:40:58   12             A.    All right.       Yes, I'm on Page 5.
10:41:01   13             Q.    It's the first full sentence of Paragraph 7
10:41:04   14       that appears on Page 5, beginning with the word
10:41:07   15       "Additionally."      Do you see where I'm at?
10:41:10   16             A.    Yes.
10:41:10   17             Q.    It says:     "Additionally, a reasonable royalty
10:41:14   18       rate of $1.25 represents the contribution of the
10:41:18   19       Accused Feature to the overall device and is not
10:41:21   20       dependent on the sales price of the Accused Product."
10:41:33   21       Do you see that?
10:41:33   22             A.    Yes.
10:41:33   23             Q.    I notice that the term "Accused Feature" is
10:41:33   24       in caps.    Do you see that?
10:41:33   25             A.    Right.


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10:41:33   1              Q.    What is your understanding of what the
10:41:34   2        accused feature is in this case?
10:41:34   3              A.    It's the webcam clip.
10:41:36   4              Q.    Okay.   It's not the webcam itself, right?
10:41:39   5              A.    No.    But the webcam is not sold separate and
10:41:44   6        apart -- as far as the external webcam, which is not
10:41:48   7        sold separate and apart from the webcam clip.
10:41:51   8              Q.    Is it your understanding that that's true for
10:41:53   9        the accused products?
10:41:55   10             A.    Yes.
10:41:55   11             Q.    Okay.
10:41:56   12             A.    Some of them are sold in packs of two, but
10:41:59   13       the least divisible unit is the webcam, the portable
10:42:03   14       webcam, which is an external webcam we're talking
10:42:07   15       about.
10:42:07   16             Q.    Putting the accused products aside, I mean,
10:42:08   17       it's possible that other companies sell a webcam
10:42:11   18       separate and apart from a clip, isn't it?
10:42:13   19                          MR. EDMONDS:     Objection, form.
10:42:14   20             A.    Oh, you mean maybe as a replacement part or
10:42:17   21       something like that?         That's possible.     But the -- all
10:42:20   22       of the accused products here that were sold, as I
10:42:22   23       understand it, based on production by the defendants in
10:42:25   24       this case, were complete webcams, external webcams,
10:42:30   25       which had a webcam clip attached to it.


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10:42:32   1              Q.    (By Mr. Herberholz) I see.
10:42:33   2              A.    As an integrated unit.
10:42:35   3              Q.    Is it your understanding that the webcam
10:42:37   4        clips of the accused products can actually be removed
10:42:40   5        from the webcam itself?
10:42:42   6              A.    I don't know.      I've not done that.
10:42:44   7              Q.    So turning again to the sentence here that we
10:42:50   8        just read out of Paragraph 7, my question to you is:
10:42:56   9        What is the basis for the statement that $1.25
10:42:59   10       represents the contribution of the accused feature to
10:43:02   11       the overall device?
10:43:04   12             A.    Well, if you look at the totality of the
10:43:08   13       circumstances and if you look at, for example -- I'm
10:43:34   14       going to give you an example.           Go to Paragraph 80.
10:43:44   15             Q.    (Complies.)      Okay.
10:43:45   16             A.    Now, Paragraph 80 is the gross margins
10:43:50   17       reported by the various defendants, with the exception
10:43:57   18       of one or two, now all licensees of AdjustaCam for the
10:44:02   19       '343 patent.    Some of them are manufacturers and
10:44:03   20       distributors, what are called suppliers, and the other
10:44:07   21       ones are resellers.
10:44:08   22                         And there's a difference in royalty
10:44:11   23       rate -- of a profit margin between both the
10:44:14   24       manufacturer and then the resale.           Generally speaking,
10:44:18   25       the manufacturers tend to have higher margins than does


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10:44:23   1        the reseller because, of course, the reseller has to
10:44:25   2        now pay the manufacturer an extra profit for the
10:44:28   3        distribution.
10:44:29   4                           And yet, despite the fact that the --
10:44:32   5        there's a difference in margins, generally, between
10:44:34   6        manufacturers and resellers, they both have agreed to
10:44:38   7        pay an imputed royalty, an effective royalty rate, in
10:44:42   8        the order of $1.25, $1.50, recognizing what the value
10:44:47   9        contribution is of the patented technology to the
10:44:49   10       accused product.
10:44:49   11             Q.    Okay.    But the -- while you're there --
10:44:51   12             A.    Yes.
10:44:52   13             Q.    -- the profit margin -- there's a table
10:44:54   14       here --
10:44:55   15             A.    Yes.
10:44:55   16             Q.    -- on Page 36 that lists the profit margins
10:44:58   17       of a number of defendants in this case, right?
10:44:59   18             A.    Yes.
10:45:00   19             Q.    You didn't specifically rely on those profit
10:45:04   20       margins, though, in formulating your opinion that
10:45:07   21       AdjustaCam is entitled to a per-unit royalty of between
10:45:10   22       $1.25 and $1.50, did you?
10:45:13   23             A.    Sure, I did.      That's part of my analysis.
10:45:13   24             Q.    How so?
10:45:14   25             A.    Well, because I recognize that as a result on


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10:45:16   1        the Georgia-Pacific Factor 15, after paying a royalty,
10:45:20   2        these licensees could still make a profit, which is
10:45:24   3        what's called for in the Georgia-Pacific Factor 15.
10:45:27   4              Q.    But each of these defendants here has a
10:45:29   5        different profit margin, right?
10:45:30   6              A.    That's correct.
10:45:31   7              Q.    But you're saying --
10:45:32   8              A.    But what I'm saying is -- I didn't mean to
10:45:34   9        interrupt you.      But to conclude what you're asking me
10:45:37   10       is, this, to me, is very telling.           The fact that you
10:45:40   11       have resellers and suppliers in the chain of commerce,
10:45:45   12       in the food chain, that have different levels of
10:45:47   13       profitability depending on where they are in the food
10:45:50   14       chain, nonetheless, they both recognize that they're
10:45:53   15       willing to pay $1.25 to $1.50 as an imputed royalty for
10:45:58   16       the -344 license to the '343 patent, tells me that
10:46:03   17       that's the intrinsic value associated with the patented
10:46:08   18       technology in the accused products.
10:46:09   19             Q.    Okay.
10:46:10   20             A.    Irrespective of where the licensee is in the
10:46:14   21       chain of commerce.
10:46:16   22             Q.    Okay.   So is there any other reason that the
10:46:20   23       list of profit margins here for these defendants
10:46:24   24       informs your opinions as to what a reasonable royalty
10:46:26   25       is in this matter, aside from what you just described?


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10:46:27   1              A.    Well, I just also told you that after paying
10:46:30   2        an effective royalty of $1.25, for example, these
10:46:35   3        licensees could still generate a profit.
10:46:37   4              Q.    Okay.    I understand that.       But aside from
10:46:38   5        that, is there any other reason that these profit
10:46:41   6        margins listed here on this table on Page 36 inform
10:46:45   7        your opinion about a reasonable royalty?
10:46:46   8              A.    We've already discussed the other aspect of
10:46:49   9        that.
10:46:49   10             Q.    Okay.    So we've discussed --
10:46:51   11             A.    Both aspects.
10:46:51   12             Q.    -- both aspects.       All aspects.
10:46:52   13             A.    Yes.
10:46:53   14             Q.    Okay.    So taking Newegg's profit margin,
10:46:56   15       which is 32 percent, you didn't rely on that 32 percent
10:47:01   16       in making any specific calculations to arrive at a
10:47:04   17       per-unit royalty of $1.25 to $1.50, did you?
10:47:17   18             A.    I'm not sure what your question is.
10:47:17   19             Q.    Yeah.    I'm thinking about a formula, for
10:47:17   20       example.    You didn't take a 32 percent profit margin
10:47:17   21       and plug it into a formula to arrive at your conclusion
10:47:19   22       about a reasonable royalty in this case, right?
10:47:21   23             A.    No.
10:47:21   24             Q.    Okay.
10:47:22   25             A.    No.    But what I'm just telling you is I


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10:47:25   1       consider the fact that all these licensees, irrespective
10:47:28   2       of where they were in the distribution chain, they
10:47:31   3       recognized that the intrinsic value associated with the
10:47:34   4       patented feature was in the area of $1.25 to $1.50 per
10:47:38   5       unit.
10:47:38   6             Q.     And I understand that.      I'm just asking if
10:47:40   7       there's a specific equation, for example, that you used
10:47:43   8       to arrive at your conclusion of a reasonable royalty
10:47:46   9       rate that involved the profit margin as a variable.
10:47:50   10            A.     Well, the profit margin was used as -- for
10:47:54   11      illustrative purposes and as a benchmark to show that
10:47:58   12      these products are profitable.
10:47:59   13            Q.     Okay.
10:48:00   14            A.     And to show that after paying a royalty of
10:48:03   15      $1.25, $1.50 per unit, for example, the licensee would
10:48:07   16      still generate a profit.
10:48:08   17            Q.     Sure.   But it wasn't used in an equation,
10:48:10   18      right, the profit margin?
10:48:10   19            A.     No, it wasn't used in a specific equation
10:48:13   20      because it wasn't necessary.
10:48:15   21            Q.     Okay.   So it's your opinion that the
10:48:28   22      reasonable royalty in this case is not dependent on the
10:48:31   23      sales price of the accused products.           Is that right?
10:48:34   24            A.     I'm sorry?
10:48:35   25            Q.     Is it your opinion that the reasonable


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10:48:37   1        royalty that you've formulated for this case is not
10:48:40   2        dependent on the sales price of the accused products?
10:48:42   3              A.    That's correct.
10:48:43   4              Q.    Okay.   And what's the -- what's the basis for
10:48:45   5        that opinion?
10:48:46   6              A.    The discussion -- the discussion we've just
10:48:48   7        had, that so many licensees in the industry have all
10:48:53   8        taken license with the imputed royalty rate in the
10:48:54   9        range of $1.25 to $1.50, irrespective of where they are
10:48:58   10       in the stream of commerce, is a strong indication to me
10:49:02   11       that they've all recognized that that's the intrinsic
10:49:05   12       value of the patented feature.
10:49:06   13             Q.    So it's because other companies have paid
10:49:09   14       between $1.25 and $1.50 per unit to license the
10:49:11   15       technology.    Is that right?
10:49:13   16                         MR. EDMONDS:     Objection, form.
10:49:14   17             A.    It's because so many companies, during the
10:49:17   18       entire course of the licensing history of the '343
10:49:21   19       patent, have all agreed to pay imputed royalties or
10:49:23   20       effective royalty rates in the range -- with a few
10:49:27   21       exceptions -- but generally speaking, within the range
10:49:28   22       of $1.25 to $1.50.
10:49:30   23             Q.    (By Mr. Herberholz) Any other reason?
10:49:32   24             A.    Well, to me -- well, that, in light of the
10:49:35   25       differing profit margins that resellers compared to


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10:49:39   1        suppliers have, is an indication to me that they've all
10:49:42   2        recognized the intrinsic value of the patented feature
10:49:45   3        is in that range of $1.25 to $1.50, as opposed to being
10:49:50   4        tied somehow to the sale price of the overall accused
10:49:53   5        product, which is the webcam with a clip.
10:49:57   6              Q.    Okay.   So your opinions concerning a
10:50:01   7        reasonable royalty in this case are not based on the
10:50:03   8        sales price of the accused products, right?
10:50:05   9              A.    Yeah.   My opinion is not tied to the price
10:50:07   10       of -- sales price of accused webcam.
10:50:09   11             Q.    Okay.   And that's because, A, other
10:50:14   12       companies, you believe, have paid between $1.25 and
10:50:18   13       $1.50 per unit to license the technology; and, B,
10:50:22   14       because of the various profit margins that are set
10:50:25   15       forth on Page 36 of your report?
10:50:27   16                         MR. EDMONDS:     Objection, form.
10:50:27   17             A.    And, C, no single licensee has paid a running
10:50:31   18       royalty based on the sale price of an accused product.
10:50:38   19       They've all been based on the per-unit royalty.
10:50:41   20             Q.    (By Mr. Herberholz) Okay.        So aside from A,
10:50:44   21       B, and C that we've just discussed, are there any other
10:50:47   22       reasons that you believe -- any other reasons why the
10:50:54   23       reasonable royalty in this case is not dependent on the
10:50:56   24       sales price of the accused products?
10:50:59   25             A.    Those are the primary reasons, as I recall.


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10:51:01   1              Q.    Can you think of any other reasons as you sit
10:51:04   2        here today?
10:51:04   3              A.    I'd have to give it some more thought or just
10:51:07   4        go back through my report again.
10:51:08   5              Q.    Okay.
10:51:09   6              A.    But those are the primary reasons as I see
10:51:11   7        it.
10:51:11   8              Q.    Now, your reasons concerning a reasonable
10:51:14   9        royalty in this case are not based on the manufacturing
10:51:17   10       cost of the clip itself of the accused products.            Is
10:51:19   11       that right?
10:51:19   12             A.    No.   That's correct.
10:51:20   13             Q.    Okay.   Why didn't you take that into account
10:51:23   14       as part of your analysis?
10:51:24   15             A.    Because it's not relevant.
10:51:26   16             Q.    Why is that not relevant?
10:51:27   17             A.    Because I've looked at what the licensing
10:51:29   18       history of these products are and I've looked at the
10:51:32   19       fact that licensees have uniformly agreed to pay in the
10:51:36   20       range of $1.25 to $1.50 per unit.
10:51:38   21             Q.    Okay.
10:51:39   22             A.    So that tells me that that's -- that is a
10:51:41   23       good benchmark, for me, as to what the intrinsic value
10:51:46   24       of -- in the form of a license of the patented
10:51:50   25       technology is.


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10:51:50   1              Q.     Okay.   And you've reviewed 24 settlement
10:51:54   2        agreements in this case, right?
10:51:55   3              A.     24 license and settlement agreements.
10:51:57   4              Q.     And of those 24 license and settlement
10:51:59   5        agreements, it's your opinion that each licensee agreed
10:52:04   6        to pay somewhere between $1.25 and $1.50 per unit?           Is
10:52:08   7        that right?
10:52:08   8              A.     Most of them.     More recently, for example, as
10:52:11   9        I recall, the Gear Head license, where there was a
10:52:14   10       discount off the Gear Head license because of
10:52:24   11       AdjustaCam's interest in reducing the number of parties
10:52:24   12       going to trial.
10:52:24   13                         So as I recall, AdjustaCam granted
10:52:24   14       Gear Head an additional discount.
10:52:25   15             Q.     Okay.   So aside from those 24 Settlement and
10:52:32   16       License Agreements that we've talked about, is there
10:52:35   17       any other reason why you believe that it was not --
10:52:38   18       that it wasn't necessary to take into account the cost
10:52:40   19       of the clip in forming your opinions as to a reasonable
10:52:43   20       royalty?
10:52:44   21             A.     Well, cost doesn't necessarily have to do
10:52:46   22       anything -- it has to do with value.            It's the question
10:52:51   23       of what is the benefit to those who practice the
10:52:55   24       patent.     One of the key Georgia-Pacific factors here is
10:52:57   25       Factor -- Georgia-Pacific Factor 12, for example.


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10:52:58   1              Q.    Okay.
10:52:58   2              A.    11 and 12.    What is the benefit to those who
10:53:02   3        have practiced, not what is the cost of the benefit.
10:53:05   4              Q.    That's a fair point, and we'll get to the
10:53:07   5        value in a second.
10:53:08   6                         But just to be clear, you didn't consider
10:53:09   7        the actual cost to manufacture the clip of any accused
10:53:13   8        products, right?
10:53:13   9              A.    I didn't believe it to be relevant.
10:53:15   10             Q.    So you didn't consider it?
10:53:16   11             A.    I didn't consider it.
10:53:16   12             Q.    Okay.
10:53:18   13             A.    I considered it, but I determined it not to
10:53:19   14       be relevant.
10:53:19   15             Q.    So the cost of the clip, in other words, of
10:53:21   16       the accused products is not part of your opinions as to
10:53:23   17       a reasonable royalty in this case?
10:53:24   18             A.    Correct.    It does not bear on the
10:53:27   19       determination of a reasonable royalty.
10:53:28   20             Q.    Let's talk about value, as you pointed out.
10:53:32   21       It's your opinion that -- first of all, is it your
10:53:35   22       opinion that the value of the clip of each of the
10:53:38   23       accused products is somewhere between $1.25 and $1.50?
10:53:42   24             A.    Well, in my opinion, it's no less than $1.25
10:53:46   25       per unit.


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11:09:41    1       based on what was known and represented as the actual
11:09:44    2       sales.
11:09:45    3             Q.     Okay.    So aside from                   are you aware
11:09:49    4       of any other entity paying actual royalties to -- to
11:09:55    5       AdjustaCam or any former owner of the '343 patent?
11:09:58    6             A.     Well, almost all the other licensees paid an
11:10:01    7       effective actual royalty rate in the range of $1.25 to
11:10:04    8       $1.50, based on the volumes that they represented to
11:10:07    9       AdjustaCam.
11:10:09   10             Q.     Were those volumes of past sales, or did
11:10:11   11       those include estimates of future sales?
11:10:13   12             A.     No, they included a combination of both,
11:10:17   13       licensable past sales and their representations about
11:10:20   14       what they were going to sell in the future, if anything.
11:10:23   15       Many of them were getting out of the business, and that
11:10:25   16       was the representation they made.
11:10:25   17             Q.     So do all of the 24 licensees of the '343
11:10:34   18       patent -- did each of those licensees make
11:10:35   19       representations about future sales?
11:10:38   20             A.     My understanding is a number of them made
11:10:41   21       representations regarding future sales or lack thereof.
11:10:46   22       For example, Philips made representations to
11:10:49   23       Mr. Barthelemy that it was getting out of the market of
11:10:52   24       selling webcams, and it turns out to be true because
11:10:56   25       I've seen the royalty reports that Philips paid in to


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01:57:17    1             A.     Yeah, after the fact.           But the point is
01:57:20    2       AdjustaCam did not know that there were                             HP
01:57:25    3       units that were going to be -- that were going to be
01:57:27    4       subject to a license.          AdjustaCam didn't have any
01:57:30    5       information regarding that.
01:57:32    6                           The limited information AdjustaCam had
01:57:35    7       enabled AdjustaCam to make a determination that their
01:57:37    8       imputed royalty rate they were getting was $1.05 per
01:57:42    9       unit.
01:57:42   10             Q.     So shouldn't it be the actual mathematical
01:57:45   11       implied royalty rate that matters and not AdjustaCam's
01:57:49   12       expectation?
01:57:50   13             A.     No.    Because that was after the fact.                 At the
01:57:53   14       time of the negotiations involving Chicony, certain
01:57:57   15       representations were made to AdjustaCam regarding
01:58:01   16       Chicony's customers.          Chicony didn't necessarily have
01:58:04   17       access to its three customer-specific U.S. information,
01:58:10   18       so there were some estimates provided.                But that's what
01:58:13   19       the imputed royalty was based on.
01:58:16   20             Q.     So are you saying that the imputed royalty
01:58:19   21       for those licensed HP products that we discussed, the
01:58:24   22                   units, the imputed royalty is not 41 cents per
01:58:27   23       unit?
01:58:27   24             A.     No.    The imputed royalty that AdjustaCam
01:58:30   25       understood it was getting was not 41 cents.


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02:45:51   1        accused product.
02:45:54   2              Q.    So I'm going to ask you a hypothetical, then,
02:45:57   3        based on your answer.
02:45:58   4                           If an infringing webcam is sold by a
02:46:01   5        vendor to a retailer for $52 for the webcam, wherein
02:46:08   6        the camera component is $50 and the gripping component
02:46:12   7        is $2, in that hypothetical, what is the reasonable
02:46:16   8        royalty in that case?
02:46:17   9                           MR. EDMONDS:     Objection, form.
02:46:18   10             A.    What is the $50 based on and what is the $2
02:46:24   11       based on in your hypothetical?
02:46:25   12             Q.    (By Mr. Sutton) As I said, the camera
02:46:27   13       component is $50 --
02:46:28   14             A.    But are you talking about cost or price?
02:46:30   15       Because you're selling -- you're saying that the
02:46:31   16       wholesaler is selling it for $52.
02:46:35   17             Q.    Right.    In my hypothetical, I said that the
02:46:39   18       infringing webcam is being sold by a vendor to a
02:46:43   19       retailer --
02:46:44   20             A.    Yes.
02:46:44   21             Q.    -- meaning at a wholesale price --
02:46:46   22             A.    Yes.
02:46:47   23             Q.    -- of $52 --
02:46:48   24             A.    Yes.
02:46:49   25             Q.    -- wherein the camera component is $50, as


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02:46:53   1        part of the wholesale price, and the gripping component
02:46:57   2        is $2, as part of the wholesale price.
02:47:00   3                          What is, in your opinion, the reasonable
02:47:03   4        royalty in that hypothetical?
02:47:04   5              A.    It's $1.25 per unit.
02:47:09   6              Q.    And if I -- and how does that -- how do you
02:47:12   7        apply your intrinsic value statement to that?
02:47:15   8              A.    Because as I've discussed all day today,
02:47:18   9        throughout all of these licensees that have taken
02:47:21   10       licenses over a period of ten years, and recognizing
02:47:23   11       that pricing of the accused products has changed over
02:47:28   12       time, the royalty -- imputed royalty rates or implied
02:47:31   13       royalty rates are still in the range of $1.25 to $1.50
02:47:36   14       per unit ten years out.
02:47:37   15             Q.    So your royalty rate has no relationship to
02:47:41   16       the percentage of the item?
02:47:42   17             A.    My royalty rate --
02:47:43   18                         MR. EDMONDS:     Objection, form.
02:47:44   19             A.    -- I've already established, is not tied to
02:47:47   20       the sale price of the item.
02:47:49   21             Q.    (By Mr. Sutton) And also it's not based on --
02:47:51   22             A.    And I might add --
02:47:54   23             Q.    And is it also correct to say that your
02:47:57   24       amount of $1.25 per unit has no relationship to -- as a
02:48:04   25       percentage of the sale price of the item?


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03:44:54    1           all of the lump-sum settlements?
03:44:56    2                 A.     Correct.      With the exception of Chicony and
03:44:59    3           with the exception of Gear Head, that we just
03:45:05    4           discussed.
03:45:24    5                 Q.     Did you ever check the records of -- from all
03:45:29    6           of these settled cases as to what they disclosed with
03:45:32    7           their sales?
03:45:33    8                 A.     Only what's been produced in this litigation.
03:45:37    9                 Q.     Oh, so you have reviewed that?
03:45:39   10                 A.     Well, whatever has been produced in this
03:45:41   11           litigation.
03:45:41   12                 Q.     So if any of these settled parties have
03:45:44   13           produced their sales information, you would have
03:45:48   14           reviewed that?
03:45:48   15                 A.     Yes.
03:45:48   16                 Q.     And did you -- did you check to see whether
03:45:55   17           the disclosures by the settled parties of the
03:45:58   18           quantities they sold -- did you check to see if that
03:46:00   19           matched up with $1.25 or $1.50 per unit?
03:46:05   20                 A.     No, I did not.        I don't recall which parties
03:46:08   21           provided any subsequent information, other than
03:46:11   22                       and Philips, I know, produced royalty
03:46:13   23           reports -- or generated royalty statements.
03:46:21   24                 Q.     So let me ask you a hypothetical question.
03:46:23   25                               If a majority of these settlements -- if


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03:46:24    1           it turns out that they disclosed that the units that
03:46:27    2           they sold was much more than would have amounted to
03:46:33    3           $1.25 per unit, how would that affect your analysis
03:46:38    4           here of what a reasonable royalty is?
03:46:39    5                  A.    Well, it wouldn't affect my analysis because
03:46:41    6           the target had always been in the range of $1.25 to
03:46:45    7           $1.50, based on the Philips and                         licenses.
03:46:50    8                               And what it means is if, in your
03:46:52    9           hypothetical, if it turns out that some of these
03:46:54   10           licensees sold more products than they made
03:46:56   11           representations to AdjustaCam, then if AdjustaCam had
03:47:00   12           actually known what the actual numbers were, then
03:47:03   13           AdjustaCam would have renegotiated those agreements to
03:47:06   14           reflect the $1.25 to $1.50 per unit as an effective
03:47:11   15           royalty to change the lump-sum payment upward.
03:47:14   16                  Q.    Well, actually that was not my hypothetical.
03:47:17   17                               My hypothetical was that if in the
03:47:20   18           disclosures that you have from the various settled
03:47:24   19           parties, if it turns out that they sold 150,000 units
03:47:29   20           or something like that instead of -- let's say with
03:47:32   21           RadioShack, if they disclosed they sold over 100,000
03:47:36   22           units -- and you're making an assumption that it would
03:47:38   23           have been somewhere in the range of 53,000 to
03:47:43   24           64,000 units -- if that turns out to be the case after
03:47:45   25           reviewing their discovery disclosures of their sales,


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03:47:49    1          how would that impact on your analysis?
03:47:51    2                 A.     It doesn't.
03:47:52    3                 Q.     Why?
03:47:52    4                 A.     Because it's what AdjustaCam's expectations
03:47:56    5          were and what their understanding was at the time they
03:47:58    6          executed the licenses.          That's what they based their
03:48:02    7          calculations on.        That's what they based their lump-sum
03:48:05    8          agreements on.        If it turns out --
03:48:05    9                 Q.     If there's just one --
03:48:07   10                 A.     -- after the fact -- let me finish, please.
03:48:08   11                               If it turns out after the fact that the
03:48:10   12          volumes were different than were represented, that's
03:48:12   13          just a fact of either imprecise information or the fact
03:48:17   14          that the representations were inaccurate or they were
03:48:21   15          just estimates for which subsequent information
03:48:24   16          revealed that more sales occurred than anticipated.
03:48:27   17                               But the fact is the goal and objective of
03:48:30   18          AdjustaCam, in terms of the representations made to
03:48:33   19          them in executing these lump-sum agreements, were to
03:48:36   20          get an effective royalty rate in the range of $1.25 to
03:48:41   21          $1.50 per unit.
03:48:43   22                 Q.     What --
03:48:44   23                 A.     And that's consistent with the
03:48:47   24          license agreement, because                         volumes were
03:48:49   25          $1.25 per unit all the way up until they hit 2 million


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03:48:53    1       units in sales.
03:48:54    2                           So              had been paying $1.25 per
03:48:57    3       unit on an ongoing running royalty basis for most of
03:49:03    4       the 10-, 11-year period they've been paying royalties.
03:49:05    5             Q.     Okay.       Based on your answers, would it be
03:49:08    6       correct to say that the main factor that you relied on
03:49:14    7       in determining the reasonable royalty rate of $1.25 per
03:49:20    8       unit is based almost solely on what the settlements
03:49:38    9       were in this case?
03:49:38   10             A.     I don't understand your question.
03:49:38   11                           MR. SUTTON:       Maybe the reporter can read
03:49:38   12       it back.
03:49:57   13                           (The requested portion was read.)
03:49:57   14             A.     No.    That's not true.         I base my royalty of
03:50:05   15       $1.25 based on all the analysis I did in my report and
03:50:09   16       considering all the Georgia-Pacific factors.
03:50:11   17             Q.     (By Mr. Sutton) And the settlements was only
03:50:14   18       one of those factors?
03:50:15   19             A.     That's correct.
03:50:15   20             Q.     What are -- without going into a lot of
03:50:18   21       detail, what are some of the other factors that you
03:50:21   22       think were prominent in making your analysis?
03:50:24   23                           MR. EDMONDS:       Objection, form.
03:50:25   24             A.     All the discussions I made in my report about
03:50:27   25       the degree of novelty and -- the degree of novelty, for


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03:50:33    1       example, about the patented technology that was
03:50:36    2       discussed by Dr. Muskivitch and the benefits of the
03:50:39    3       technology as discussed by -- of the patented
03:50:42    4       technology discussed by Dr. Muskivitch; the fact that
03:50:45    5       these parties, both the suppliers and resellers,
03:50:48    6       enjoyed high margins; and despite the fact that there
03:50:52    7       were differences, generally, between profit margins of
03:50:54    8       suppliers and resellers, they still all agreed to
03:50:57    9       effective royalty rates in the range of $1.25 or so per
03:51:02   10       unit.
03:51:04   11                           And the                license has been ongoing
03:51:07   12       for 11 years now, and                      has continued to pay
03:51:10   13       under that license agreement -- indicates that there is
03:51:13   14       ongoing demand for the patented product.
03:51:15   15                           That's just examples of -- I'm just
03:51:21   16       summarizing for you from all the myriad factors I've
03:51:24   17       discussed in the Georgia-Pacific analysis of my initial
03:51:28   18       report.
03:51:28   19             Q.     (By Mr. Sutton) All right.
03:51:29   20                           MR. SUTTON:      Thank you for your answers
03:51:31   21       and time.
03:51:31   22                           And I just want to make one statement to
03:51:37   23       John.    I pulled out the -- just for your information,
03:51:45   24       John, I pulled out the complaint for the '644 case.
03:51:51   25       And I'll refer you to Paragraph 17 of the '644


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                                                                              Page 1
                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

       ADJUSTACAM, LLC,                              )
                                                     )
                        Plaintiff,                   )
                                                     ) CIVIL ACTION
       vs.                                           ) NO.
                                                     ) 6:10-CV-329-LED
       AMAZON.COM, INC., ET AL,                      )
                                                     )
                        Defendants.                  )

      ******************************************************
                              ORAL DEPOSITION OF
                                 CLAYTON HAYNES
      (DESIGNATED HIGHLY CONFIDENTIAL ATTORNEYS EYES ONLY)
                              August 30th, 2012
      ******************************************************
                        ANSWERS AND DEPOSITION of CLAYTON HAYNES,
      taken at the instance of the Defendants, on the 30th
      day of August AD 2012 in the above styled and numbered
      cause at the offices of United American Reporting
      Services, Inc., 1201 Elm Street, Suite 5220 in Dallas,
      Dallas County, Texas, before David B. Jackson, RDR, a
      Certified Shorthand Reporter in and for the State of
      Texas, pursuant to the Federal Rules of Civil Procedure
      and the provisions stated on the record.




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                                                                                    Page 72
  1   Mr. Wong in preparation for your deposition today?
  2       A.     Correct.
  3       Q.     And during that preparation did you and
  4   Mr. Wong discuss the target royalty of $1.25 to $1.50
  5   per unit?
  6       A.     Yes, that was -- that was one of the topics
  7   that -- that -- that we did cover, you know, in -- in
  8   conjunction with confirming that statements made, you
  9   know, by Steve Wong to Bratic and referenced in
 10   Bratic's report, you know, confirming that those
 11   statement were true and accurate as outlined in
 12   Bratic's report.
 13       Q.     Did Mr. Wong explain to you the basis for the
 14   target of $1.25 to $1.50 per unit royalty?
 15       A.     It -- in connection with my preparation, it's
 16   my understanding that that is based on the precedent
 17   set by the                 and Phillips license agreements
 18   executed by PAR Technologies.
 19       Q.     Okay.     So Mr. Wong informed you that the
 20   target royalty of $1.25 to $1.50 per unit is based on
 21   precedence set by the PAR Technologies license and the
 22              license; is that right?
 23       A.     The -- it's my understanding that that was one
 24   of the factors considered.
 25       Q.     Okay.


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  1       A.     Based upon the                    agreement and the
  2   Phillips agreement executed by PAR Technologies.
  3       Q.                  and Phillips, I'm sorry.
  4       A.     Yes.
  5       Q.     Aside from the                    and Phillips
  6   agreements did Mr. Wong explain any other bases for the
  7   target royalty of $1.25 to $1.50 per unit?
  8       A.     Again, he -- he -- you know, we -- we
  9   discussed the statements, you know, made by Steve Wong
 10   to Bratic as referenced in his report and confirmed
 11   that those statements were indeed true and accurate as
 12   referenced by Bratic in -- in that expert report.
 13       Q.     Now, AdjustaCam was not a party to the
 14              or Phillips agreements, true?
 15       A.     That is my understanding.
 16       Q.     All right.       So putting those two agreements
 17   aside, you were preparing for this deposition speaking
 18   with Mr. Wong concerning the target royalty of $1.25 to
 19   $1.50 per unit, did he explain to you whether any of
 20   the settlement agreements that AdjustaCam has entered
 21   into in this case have any -- provide a basis to
 22   support that target, that target royalty range?
 23                     MR. EDMONDS:        Objection, scope.
 24       A.     Yeah, you know, again, the -- you know, the --
 25   you know, to the extent that Steve Wong made certain


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  1   statements to Bratic that Bratic referenced in his
  2   report, we -- you know, in connection with my
  3   preparation, I confirmed that those statements were
  4   true -- true and accurate.       And there may be some
  5   statements in there that speak to, you know, additional
  6   considerations.
  7       Q.   And in there, you mean in Mr. Bratic's report?
  8       A.   In Mr. Bratic's report, yes.            And perhaps, you
  9   know, discussed in Mr. Bratic's deposition as well.
 10       Q.   Did you and Mr. Wong, in preparation of this
 11   deposition, discuss any of the settlement agreements to
 12   which AdjustaCam is a party?
 13       A.   Well, we -- you know, in connection with
 14   confirming that the statements were true and correct,
 15   you know, we -- we -- we certainly, you know, touched
 16   upon the topic of licensing and the licensing that --
 17   that had been done, which obviously would encompass the
 18   license agreements that were executed.
 19       Q.   In preparation of your deposition when you
 20   spoke with Mr. Wong, did either you or Mr. Wong make
 21   specific mention to any of the AdjustaCam settlement
 22   agreements by name?
 23                  MR. EDMONDS:      Objection, scope.
 24       A.   Sitting here today, I -- I don't recall
 25   specifically if any specific agreement was -- was


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                 Unexamined Utility Model Application Publication H2-19997

                                                                                              (II) Japanese Unexamined Utility
                                                 (19) Japan Patent Office (JP)              Model Application Publication Number
                                        (12JJapanese Unexamined                                      H2-19997
                                       Utility Model Publication (U)
(51) Int. Cl.'        Identification codes          JPO file numbers                       (43) Publication date: February 9, 1990
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G03 B17/56                                   B          7811-2H
                                                        Request for examination: Requested Number of claims: 3 (Total of pages)

(54) Title of the device       LIGHTWEIGHT AND CONVENIENT CAMERA MOUNTING DEVICE

                                      (21) Utility Model Application S63-94014
                                      (22) Application date: July 18, 1988
(72) Inventor                   Kunia IIG                 6-7-801 Irifune, Urayasu-shi, Chiba-ken

(71) Applicant                  Kunia IKI                 6-7-801 Irifune, Urayasu-shi, Chiba-ken




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                                                      Specification


               1. Title of the Device
                  LIGHTWEIGHT AND CONVENIENT CAMERA MOUNTING DEVICE
               2. Scope of the Utility Model Registration Claim
                  1. A structure in which a camera fixed part (2) and arms (3) and (4) can be freely
                      rotated around a central shaft (1) is employed.
                  2. A structure in which the camera fixed part (2) and the arms (3) and (4) can be
[half seals:
Kunio Iki]            fixed by turning a fastening screw (5) is employed.
                         In order to supplement the fixing function, elastic rings (7) and (8) are inserted
                      and star-shaped notches are made at the points of contact between·the rings and the
                      camera fixed part (2) and the arms (3) and (4).
                  3. In order to increase the mounting stability, a mbber ring (12) and a rubber cord




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                     belt (13) are attached to prevent slippage.
                     A lightweight and convenient camera mounting device configured as described
                 above.
              3. Detailed Description of the Device
                     The present device is a lightweight and small camera mounting device which
                 enables a camera to be easily set at different positions under various different
                 conditions.
                     Conventional devices include tripods and the like, but these are difficult to carry
                 around because they are large and heavy. The expansion and contraction of the legs and
[half seal:      the operation of the screws is troublesome. A flat surface of a specific width is required
Kunio Iki]       as a location for mounting the tripod. Tripods are therefore inconvenient in that the
                 locations at which they can be mounted are limited.
                     The present device was invented in order to eliminate such inconveniences.
                     The device will be described with reference to the drawings. This camera mounting
                 device has the following characteristics, as shown in FIGS. 1, 2, 3, and 4.
                 1. A structure in which a camera fixed part (2) and arms (3) and (4) can be freely
                     rotated around a central shaft (1) is employed.




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              2. A structure in which the camera fixed part (2) and the arms (3) and (4) can be
                 fixed by turning a fastening screw (5) is employed.
                     In order to supplement the fixing function, elastic rings (7) and (8) are inserted
                 and star-shaped notches are made at the points of contact between the rings and the
                 camera fixed part (2) and the arms (3) and (4).
              3. In order to increase the mounting stability, a rubber ring (12) and a rubber cord belt
                 (13) are attached to prevent slippage.
[half seal:      This is the basic structure of the present device.
Kunio Ik:i]
                 In order to maintain the fixing function in [2], a hard ring (6) and elastic rings (7)
              and (8) are inserted, and these are fixed by making notches (0.5 mm) in the star-shaped
              regions of the rotating parts shown by (2), (3), and (4) in FIGS. 6 and 7. The elastic
              rings (7) and (8) and the tightening by the fastening screw (5) provide a structure




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              with a supplementary function for preventing slippage.
                  The nonslip rubber ring (12) attached to the arms (3) and (4) is for increasing the
              stability when mounting the camera mounting device. The rubber cord belt (13) is
              formed so that its length can be expanded and contracted. Clasps are also attached to
              both ends so that it can be easily set.
                  The rubber cord belt (13) is used to stabilize the camera mounting device when
              mounting the device on a tree, a pillar, or the like, but it is also useful for winding
[half seal:
Kunia Iki]    around the camera mounting device so that it is more compact when carrying it around.
                  The present device has the structure described above, so it can be described as
              follows with reference to the drawings.
              A Having the size shown in FIGS. 1-4, is small and lightweight.
              B As shown in FIGS. 9 and 1, the device can be made small and compact when it is
                  carried around, so it can be placed in a pocket or a purse for easy portability.




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                         C As illustrated in FIG. 9 and FIGS. 2-11, the camera can be simply and easily
                             mounted in various locations such as on a desk or a table, the back of a chair
                             indoors or in a park, a guard rail, a wall, a fence, a deck, or on the ground.
                         D The operation is simple, and the device can be fixed by simply moving the arms (3)
                             and (4) around the central shaft (I) to an appropriate angle and tightening the
                             fastening screw (5).
                         E   When mounting on a chair, a tree, or the like, stability can be ensured by fastening

           [half seal:       the device with the rubber cord belt (13) when particularly necessary.
           Kunio Iki]    There are also various other methods of using this camera mounting device, but 2-3
                         examples will be illustrated here.
                             The present camera mounting device is easy to carry around and to mount, as
                         described above, and it can be mounted in different places under various conditions.
                             This device is convenient in that it can be brought on a honeymoon, a family




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                 vacation, or the like, and pictures can be taken in various locations in the preferred
                 poses by using the device in combination with a self-timer or the like.
                     (We would like to call this camera mounting device by the pet name "Camera Setter
                 Honeymoon.")
              4. Brief Description of the Drawings
                 FIG. 1 is an oblique view of the present device.
                 FIG. 2 is a front view of the present device.
[half seal:
Kunio Iki]       FIG. 3 is a top view of the present device.
                 FIG. 4 is a side view of the present device.
                 FIG. 5 shows the states in which the camera fixed part (2) and the arms (3) and (4) of
                        the present device are set to various angles around the central shaft (1).
                 FIGS. 6, 7, and 8-1 show each section of the present device.
                 FIG. 8-2 shows a plan view and a side view of the [rub ]her cord belt (13) of the present
                        device.
                 FIG. 9-1 is a drawing showing the present camera mounting device in the compact state.




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              FIG. 9-2 is an oblique view of an example in which a camera is mounted in a flat
                     location with the present camera mounting device.
              FIG. 10 shows drawings in which a camera is mounted to the back of a chair with the
                     present camera mounting device. FIG. 10-1 is a view from the front; FIG. 10-2
                     is a view from the side; and FIG. 10-3 is a view from the side at a slight distance.
              FIG. ll shows drawings in which a camera is mounted to a tree. a pillar, or the like

[half seal:          with the present camera mounting device. FIG. 11-1 is a view from the top; FIG.
Kunio Iki]           ll-2 is a view from the side; and FIG. ll-3 is a view from a slight distance.
                 The numbers in these drawings are respectively associated with the following
                 names.
                 (1) central shaft
                 (2) camera fixed part
                 (3) arm (large)
                 (4) arm (small)
                 (5) fastening screw
                 (6) hard ring




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                (7) elastic ring (small)
                (8) elastic ring (large)
                (9) camera attachment shaft
                (10) camera attachment screw (free)

                ( 11) camera attachment screw (fixed)

                (12) nonslip rubber ring
                (13) rubber cord belt
[half seal:
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                           Drawings


                            FIG. 1




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                               Drawings


                                FIG. 2

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                            Drawings


                             FIG. 3




 [seals:
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                                         Drawings


                                           FIG.4
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                           Drawings


                            FIG. 5




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                                  Drawings


                                    FIG.6




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                                    Drawings


                                        FIG. 7




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                                                Drawings


                                                 FIG. 8

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                             Drawings


                              FIG. 9




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                                           Drawings
                                            FIG. 10

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                            Drawings


                             FIG. II




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                                  Utility Model Registration Applicant Kurrlo I:K:I

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                    ADJUSTACAM LLC v. AMAZON.COM, INC., ET AL.

                                NO. 6:10-cv-329-LED

                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

        EXPERT REPORT OF JOHN C. MUSKIVITCH REGARDING INFRINGEMENT OF
                            U.S. PATENT NO. 5,855,343




                                            Dated: June 25, 2012




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                                            JOHN C. MUSKIVITCH
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        INTRODUCTION.

                  In this litigation, Plaintiff AdjustaCam LLC ("AdjustaCam") bas asserted that the

        Defendants, namely: BEST BUY CO., INC. D/B/A BEST BUY D/B/A ROCK.ETFISH, BEST

        BUY STORES, LP, and BESTBUY.COM, LLC ("BEST BUY''); FRY'S ELECTRONICS,

        INC. ("FRY'S"); GEAR HEAD, LLC ("GEAR HEAD"); HEWLEIT-PACKARD COMPANY

        ("HP"); KOHL'S CORPORATION D/B/A KOHL'S and KOHL'S ILLINOIS, INC.

        ('•KOHL'S"); MICRO ELECTRONICS, INC. D/B/A MICRO CENTER ("MICRO CENTER");

        NEWEGG, INC., NEWEGG.COM, INC. and ROSEWILL INC. (collectively "NEWEGG");

        OFFICE DEPOT, INC. ("OFFICE DEPOT"); SAKAR INTERNATIONAL, INC. ("SAKAR"),

        and WAL-MART STORES, INC. (''WAL-MART");

        have infringed United States Patent No. 5,855,343 (the "343 patent'') relative to the Infringing

        Products listed at Exhibit A.

                  In this report, I refer to, and analyze, claims 1, 7 and 19 of the '343 patent as the

        "Asserted Claims.''      I have been asked by AdjustaCam to provide my expert opinion

        (hereinafter "opinion") on the subject of whether the Infringing Products infringe the Asserted
A0995




        Claims.

                In my opinion, the Infringing Products infringe the Asserted Claims for the reasons

        stated in this Report.

        QUALIFICATIONS.

                My Curriculum Vitae ("CV") is Exhibit B to this report. Among my other qualifications

        noted therein, I have developed and presented undergraduate and graduate level university

        courses related to design and development of useful and competitive products. Portions of the

        subject material in these courses relates to creating a focused engineering product design and

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        development process that has a practical awareness and appreciation of the role of patents in

        invention and innovation. Topics included: discussion of a best practices approach to

        documenting an invention; an overview of the sections of a patent; using the United States

        Patent and Trademark Office website; and how to integrate basic patent concepts with

        engineering principles to develop/invent a device of their choosing as a final project.

        LEVEL OF ORDINARY SKILL IN THE ART.

                   Among other things, I have reviewed the '343 patent, the prior art cited on the face of

        the patent, and its file history. The art of the '343 patent involves apparatuses that provide

        structural support and that have moving parts. This art relates specifically to camera stands

        and/or camera clips. In my opinion, one of ordinary skill in the art would have a civil, structural

        or mechanical engineering degree.

        COMPENSATION.

                   AdjustaCam pays $450 per hour for my work plus reimbursement of expenses. My

        compensation is neither based on nor contingent on the outcome of this case.

        DOCUMENTS AND MATERIALS REVIEWED.
A0996




                   Aside from any documents listed in this report, including the infringement charts, a list

        of the documents and materials referenced and/or considered in forming my opinions is attached

        to this report as Exhibit C. 1 have also inspected each of the Infringing Products. The materials

        that I am relying upon are of a type reasonably relied upon by experts in the technology of the

        '343 patent in forming opinions.

        LEGAL PRINCIPLES.

        DIRECT INFRINGEMENT. 1


        1
            I am aware that Sections 27I(b) and (c) relate to induced and contributory infringement of patents, but given the
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                 I have been informed by counsel for AdjustaCam that, pursuant to 35 U.S.C. § 27l(a),

        direct infringement occurs when one makes, uses, sells, offers for sale or imports an apparatus

        (the Asserted Claims are all apparatus claims) meeting all the limitations of a claim. As stated

        in this statute, "whoever without authority makes, uses, offers to sell, or sells any patented

        invention, within the United States, or imports into the United States any patented invention

        during the term ofthe patent therefore, infringes the patent."

        OVERVIEW OF THE '343 PATENT.

                 United States Patent Application No. 08/814,168 was filed on March 7, 1997. The '343

        patent issued on November 18, 2008. The named inventor is David E. Krekelberg. The '343

        patent has been assigned to GlobalMedia Group LLC. GlobalMedia Group LLC has exclusively

        licensed the '343 patent to AdjustaCam LLC, which is the plaintiff in this case. The title of the

        '343 patent is "CAMERA CLIP."

                 As stated by the Court in its April 10, 2012 Memorandum Opinion and Order:

                 The '343 patent, entitled "Camera Clip," is directed at a clip for supporting a
                 portable webcam. See '343 patent at ABSTRACT. The claimed apparatus is
                 specifically directed to a structure supporting a webcam both on a flat surface,
A0997




                 like a tabletop, and on an edge of a housing, like a laptop computer screen. Id. at
                 1:4-9. The camera clip is also intended to protect the camera lens when the clip is
                 not used as support. Id. Figures 2 and 4 of the patent illustrate the two different
                 configurations of the camera clip, i.e., on a flat surface (Fig. 2) and on an inclined
                 object (Fig. 4):




        clear direct infringement by each Defendant, it is not necessary for me to analyze such indirect infringement.
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               Claim 1 of the '343 patent generally covers an appararus for supporting a camera (i.e., a

        camera clip) on any generally horizontal, substantially planar surface (for example, a table or

        desk) and on an object (for example, a laptop computer), comprising a hinge member adapted to

        be rotatably attached to the camera, said camera, when the hinge member is so attached,

        rotating, about a first axis of rotation (for example, the vertical axis), relative to said hinge
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        member; a support frame rotatably attached to said hinge member and configured to support

        said hinge member on the surface and the object, said hinge member rotating about a second

        axis of rotation relative to said support frame, said first axis of rotation being generally

        perpendicular to said second axis of rotation, said second axis of rotation being substantially

        parallel to the first surface when said hinge member is supported on the object, said support

        frame having a first disposition positioned on said surface, and said support frame having a

        second disposition attached to the object, the camera being maintained adjacent the edge of the

        object said second disposition.


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                Claim 7 covers the apparatus of claim 1 wherein the object is the display screen of a

        laptop computer.

                In general, claim 19 is similar to claim 1 (with certain differences discussed in more

        detail below), with the primary difference being that the support frame is hingedly attached and

        the object is specified as the display screen of a laptop computer.

                FIG. I is a view of a preferred embodiment of the camera clip invention. FIG. 1 shows

        generally a camera apparatus 10 bas a camera 12 and a camera clip 14. Camera clip 14 is further

        comprised of a binge member 16 and a support frame 18. Hinge member 16 is rotatably

        attached to camera 12, where camera 12 rotates over a frrst axis 26 relative to binge member 16.

        Support frame 18 is hingedly attached to binge member 16 to engagingly support hinge member

        16 on an object 30. Hinge member 16 rotates over a second axis 32 relative to support frame 18.

        First axis 26 is perpendicular to second axis 32. Second axis 32 is substantially parallel to a first

        surface 36 when hinge member 16 is engagingly supported on object 30. Support frame 18 bas a

        first portion consisting of first support element 38 and a second portion consisting of a first front

        support element 40 and a second front support element 42.
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                FIG. 2 is a side view showing a first mode of a preferred embodiment of the claimed

        invention. Rear support element 38, .first front support element 40 and second front support

        element 42 support camera 12 in the first position 44, on the frrst surface 36, when rear support

        element 38, first front support element 40 and second front support element 42 are engaging

        first surface 36 and first surface 36 is substantially level. In the first position 44, camera 12 may

        be pivoted upon support frame 18 from a position 46 to a position 48. In the preferred

        embodiment, rear support element 38, first front support element 40 and second front support

        element 42 support the camera in frrst position 44 on first surface 36.


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               FIG. 4 is a side view showing a second mode of the preferred embodiment of the

        claimed invention. Second position 52 corresponds to ftrst surface 54 being inclined from the

        substantially level position. In FIG. 4, object 58 bas a second surface 60, wherein edge 56 is

        between first surface 54 and second surface 60. Camera 12 is maintained adjacent edge 56 in

        second position 52 when the uppermost portion of object 58 is edge 56. Rear support element 38

        engages first surface 54, and first front support element 40 and second front support element 42

        engage edge 56 and second surface 60. Rear support element 38, first front support element 40

        and second front support element 42 support camera 12 in second position 52 on the first

        surface 54 adjacent edge 56.

               In a preferred embodiment, object 58 may be a display screen for a laptop computer

        when support frame 18 is in second position 52, where second surface 60 is the front of the

        display screen and first surface 54 is the back of the display screen.

               FIG. 4 shows a preferred embodiment with hinge member 16 comprised of a body 74

        having a proximal end 76 and a distal end 78. A pivot element 80 at proximal end 76 of body 74

        rotatably attaches camera 12 to body 74 so the camera may rotate about first axis 26 relative to
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        body 74. A hinge element 82 at distal end 78 of body 74 hingedly attaches body 74 to support

        frame 18 so body 74 rotates about second axis 32 relative to support frame 18.

               FIGS. 5-7 show various perspectives of a third mode of the preferred embodiment of the

        claimed invention.

        OVERVIEW OF THE PROSECUTION HISTORY OF THE '343 PATENT.

               As noted above, U.S. Patent Application No. 08/814,168 was filed on March 7, 1997.

               On February 6, 1998, the Patent Examiner issued a first office action which rejected

        original claims 1-26 on various Section 112 grounds.

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                  On June 8, 1998, the Applicant submitted an amendment which mostly clarified

        antecedent basis and structure and to remove any ambiguity regarding combination/sub-

        combination issues.

                  On July 7, 1998 the Applicant and the Examiner had an interview in which the

        Applicant "agreed to amend the claims to overcome possible 112 problems and pass the case to

        issue."    Pursuant to that agreement, on July 18, 1998 the Examiner issued an Examiner's

        Amendment making certain relatively minor changes to the claims.

                  On July 18, 1998, the Examiner also issued a notice of allowability for original claims I,

        2, 4-6, 8, 11-14, 16- 21, and 25-29, which have since be renumbered to claims 1-21.

        CLAIM CONSTRUCTION.

                  The Court has construed and/or has resolved the parties' disputes relative to certain

        claim terms in its April 10, 2012 Memorandum Opinion and Order. My analysis and opinions

        for this case are compliant with the Court's ruling in this regard.

                  The Court has construed "hinge member'' to be "a structural element that joins to

        another for construction."       In so ruling, the Court rejected the Defendants' proposed
A1001




        construction, which was the following: "a structural element that may be joined to another so as

        to form a hinge joint and is capable of rotating on that hinge joint."

                  The Court has construed "rotatably attached I adapted to be rotatably attached I adapted

        to rotatably attach" as follows: "No construction necessary, sufficiently defined in the claims;

        subject to the Court's resolution of the scope of the claims." In so ruling, the Court rejected the

        Defendants' proposed construction, which was the following: "Connected such that the

        connected object is capable of being adjusted to different configurations via motion over one

        axis of rotation." The Court further ruled that, "[w)hile the Court has not explicitly construed


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        the 'rotatably attached' terms, the Court has resolved the parties' dispute regarding the proper

        scope of the claims, i.e., ' rotatably attached' objects in the patent-in-suit are limited to a single

        axis of rotation." In so holding, the Court rejected Defendants' proposed construction, which

        was "a physically distinct structural element whose different dispositions enable suppt>rt of said

        hinge member."

               The Court has construed "support frame" as follows: "No construction necessary,

        sufficiently defined in the claims; subject to the Court's resolution of the scope of the claims."

        In so holding, the Court rejected the defendants' proposed construction, which was, "A

        physically distinct structural element whose different dispositions enable support of said hinge

        member." Further, the Court ruled as follows:

               The claims are not limited to the extent that "the different dispositions enable support' of
               the hinge member. Support frame is an easily understood term and its function and
               structure are defined in the claims. While the support frame must allow for two
               structural arrangements as described in the claims, the ability to support the hinge
               member is not directly linked to the two structural arrangements.

               The Court has construed "disposition" to be "a configuration or arrangement of the

        support frame." In so holding, the Court rejected Defendants' proposed construction, which
A1002




        was "configuration of the support frame enabling support of the hinge member, accomplished

        through rotation about the second axis." Further, the Court ruled as follows:

               Defendants appear to contend that these "dispositions" may only be functionally
               accomplished through rotational motion of the support frame about the second
               axis. DEF!S RESP. at 12. On the contrary, the claims describe the binge member,
               not the support frame, as rotating about the second axis. See, e.g., '343 patent at
               6:60-61 ("[S]aid hinge member rotating about a second axis of rotation.").
               Further, the frrst clause of Defendants' proposed construction is merely a second
               bite at the same argument they advanced in construing "support frame." The
               claims, however, do not require the specific dispositions of the support frame to
               enable support of the binge member.




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               For those terms/phrases not ruled upon by the Court, in my analysis I have given them

        their customary meaning as understood by one of ordinary skill in the art at the time of the

        invention. I have been informed by counsel for AdjustCam that in the present case, the inventor

        has not yet been deposed. For purposes of this Report, I will assume that the claimed invention

        was made sometime in the year preceding the fi1ing ofthe patent application on March 7, 1997.

        For purposes of this analysis, it would not matter whether the invention was made on March 7,

        1996, on March 7, 1997, or sometime in between.

        OPINIONS ON INFRINGEMENT.

               In my opinion, each of the Infringing Products meets each element of each of the

        Asserted Claims. My technical analysis relative to the Infringing Products correlating to each

        and every element of the Asserted Claims is at Exhibit D.

        BEST BUY.

               BEST BUY resells Infringing Products at stores and from its website. BEST BUY has

        provided sales information for its Infringing products, which is noted on Exhibit C. Clearly all

        of the Infringing Webcams sold by BEST BUY were offered for sale prior to being sold. In my
A1003




        opinion, BEST BUY directly infringes the Asserted Claims when it sells and offers for sale the

        Infringing Products noted above.

        FRY'S.

               Fry's re-sells Infringing Products at stores and from its website. FRY'S has provided

        sales information for its Infringing products, which is noted on Exhibit C. Clearly all of the

        Infringing Webcams sold by FRY'S were offered for sale prior to being sold. In my opinion,

        FRY'S directly infringes the Asserted Claims when it sells and offers for sale the Infringing

        Products noted above.


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        GEAR HEAD.

               GEAR HEAD has provided sales information for its Infringing products, which is noted

        on Exhibit C. Clearly all of the Infringing Webcarns sold by GEAR HEAD were offered for

        sale prior to being sold. In my opinion, GEAR HEAD directly infringes the Asserted Claims

        when it sells and offers for sale the Infringing Products noted above.

        HP.

               HP has provided sales information for its Infringing products, which is noted on Exhibit

        C. Clearly all of the Infringing Webcams sold by HP were offered for sale prior to being sold.

        In my opinion, HP directly infringes the Asserted Claims when it sells and offers for sale the

        Infringing Products noted above.

        KOHL'S.

               KOHL'S has provided sales information for its Infringing products, which is noted on

        Exhibit C. Clearly all of the Infringing Webcams sold by KOHL'S were offered for sale prior

        to being sold. In my opinion, KOHL'S directly infringes the Asserted Claims when it sells and

        offers for sale the Infringing Products noted above.
A1004




        MICRO CENTER.

               MICRO CENTER has provided sales information for its Infringing products, which is

        noted on Exhibit C. Clearly all of the Infringing Webcams sold by MICRO CENTER were

        offered for sale prior to being sold. In my opinion, MICRO CENTER directly infringes the

        Asserted Claims when it sells and offers for sale the Infringing Products noted above.

        NEWEGG.

               NEWEGG has provided sales information for its Infringing products, which is noted on

        Exhibit C. Clearly all of the Infringing Webcams sold by NEWEGG were offered for sale prior


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        to being sold. In my opinion, NEWEGG directly infringes the Asserted Claims when it sells

        and offers for sale the Infringing Products noted above.

        OFFICE DEPOT.

                 OFFICE DEPOT has provided sales information for its Infringing products, which is

        noted on Exhibit C. Clearly all of the Infringing Webcams sold by OFFICE DEPOT were

        offered for sale prior to being sold. In my opinion, OFFICE DEPOT directly infringes the

        Asserted Claims when it sells and offers for sale the Infringing Products noted above.

        SAKAR.

                 SAKAR has provided sales information for its Infringing products, which is noted on

        Exhibit C. Clearly all of the Infringing Webcams sold by SAKAR were offered for sale prior to

        being sold. In my opinion, SAKAR directly infringes the Asserted Claims when it sells and

        offers for sale the Infringing Products noted above.

        WAL-MART.

                 WAL-MART has provided sales information for its Infringing products, which is noted

        on Exhibit C. Clearly a11 of the Infringing Webcams sold by WAL-MART were offered for sale
A1005




        prior to being sold. In my opinion, WAL-MART directly infringes the Asserted Claims when it

        sells and offers for sale the Infringing Products noted above.

        SUMMARY OF THE CLAIMED INVENTION.

                 The invention of claims 1, 7 and 19 is a highly versatile and configurable camera clip

        which is ideal for webcams used in conjunction with laptop computers2 and flat panel displays

        attached to desktop computers.




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          At the time of the invention, the technology for having webcams internal to laptops either did not exist, or, if it
        did exist somewhere, it would not have been practical or cost effective to commercialize it.
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               The invention of claim 1 focuses on a versatile, configurable camera clip which may

        optionally be configured to sit on a generally horizontal, substantially planar surface (for

        example, a table or desk) or an object (for example, a laptop computer or a flat panel display)

        having a first surface (for example, the back of a display screen), a second surface (for example,

        the front of a display screen), and an edge the first surface and the second surface upon which

        one may perch a webcam. For example, one might want to put a webcam atop the laptop in

        order to film the person using the computer, or on the table to film someone (or something) else,

        observe an event, or to capture a different angle, distance or field of view.

               In order to obtain this highly desirable versatility and configurability, the invention of

        claim I has a hinge member adapted to be rotatably attached to the camera, and the camera

        rotates about a single axis of rotation relative to the hinge member. This allows the camera to

        take pictures or videos at different angles without moving the laptop or the support frame, or

        adjusting the viewing angle of the display.

               In addition, the invention of claim 1 has a support frame rotatably attached to the hinge

        member and configured to support the hinge member on the surface (for example, the table) and
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        the object (for example, a laptop computer). Here again, the versatility of being able to place

        the webcam on a table or atop a laptop or flat panel computer display (monitor) is highly

        desirable. Further, the hinge member rotates about a second axis of rotation relative to the

        support frame, with the first axis of rotation being generally perpendicular to said second axis of

        rotation (and the second axis of rotation being substantially parallel to the first surface when

        said hinge member is supported on the object). This allows for more versatility in angling the

        camera (again without moving the laptop, display or the table) and it allows for the camera clip




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        to fit securely on the laptop screen or computer display, which important to the stability of the

        webcam.

                In addition. the support claim of claim I has a first disposition positioned on the

        generally horizontal, substantially planar surface, and a second disposition attached to the object

        when the first surface and said second surface are inclined from a generally horizontal

        orientation, with the camera being maintained adjacent the edge in said second disposition of

        said support frame. As noted above, these physical characteristics of the camera clip allows for

        versatility in that the webcam can be set upon a table (or desk), perched on a laptop screen or

        flat panel computer display.    Since the camera is maintained adjacent to the edge, it gets a

        desirable and unobstructed view, for example, of the person using a laptop computer. Although

        claim 1 does not expressly refer to a laptop, a laptop screen is something upon which it is ideal

        to perch webcam when the screen is inclined from horizontal.

                The claimed invention of claim 7 is the apparatus of claim I wherein the object is the

        display screen of a laptop computer. As noted above, the invention is ideal for webcams which

        may be used with laptop computers, including in terms of versatility, configurability and
A1007




        portability.

                The claimed invention of claim 19 is a camera clip for supporting a camera on a laptop

        computer.      Here the laptop computer has a display screen which can be inclined from a

        generally horizontal position, and the uppermost portion of the display screen defines an edge

        upon which one may perch the camera clip and webcam.

                In order to obtain its highly desirable versatility and configurability, the invention of

        claim 19 also has a hinge member adapted to be rotatably attached to the camera, and the

        camera rotates about a single axis of rotation relative to the hinge member. This allows the


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        camera to take pictures or videos at different angles without moving the laptop, changing the

        angle of the display screen or the support frame.

                In addition, the invention of claim 1 has a support frame hingedly attached to the hinge

        member to engagingly support the hinge member on the display screen. The hinged attachment

        limitation of claim 19 is narrower than the rotatable attachment of claim 1 (because rotatable

        attachments can comprise more than hinged attachments), but a hinged attachment here is still

        ideal for webcams and laptops. Here again, the versatility of being able to place the webcam on

        a laptop and maneuver it in various directions is highly desirable.

               In addition, the hinge member rotated over a second axis of rotation relative to the

        support frame, with the camera being maintained adjacent the edge, and rotation of the support

        frame being prevented along an axis substantially parallel to said second axis where said second

        axis is substantially parallel to the edge.    This highly desirable configurability allows for

        versatile and unobstructed angles of view for the webcam, as well as stability of the camera clip

        and webcam.

        BENEFITS AND ADVANTAGES OF THE CLAIMED INVENTION.
A1008




               I've been asked to opine upon the utility and advantages of the patented invention over

        the prior art, and the benefits to those who use the patented invention.

               As stated in the '343 patent:

                        With portable cameras, it is desirable to have an apparatus which can
               support the camera in any number of desired configurations. The apparatus must
               easily accommodate repositioning the camera to new orientations during use, and
               must be easily transportable. This is especially true when using the camera with a
               portable computer, such as a laptop computer...
                        In the past, camera support apparatus were not easily transportable. Often
               times these apparatus utilized designs which incorporated a tripod approach, or
               which used one or more telescoping arms to support the camera. These designs
               attempted to support the camera during use, and then collapse to a smaller size to
               facilitate storage or transportation. While these designs were transportable, often
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               times even the collapsed size of the prior art camera support apparatus could not
               be easily accommodated by a laptop computer bag. These prior art apparatus also
               did not provide means to protect the camera during transport, and if constructed of
               hard, exposed materials, tended to damage the cameras.
                       Another problem with prior art camera support apparatus was that they
               could not easily accommodate the variety of applications desired for portable
               cameras. These applications ranged from supporting the camera on the surface of
               a desk or table to supporting the camera on the upright display screen of a laptop
               computer. With the prior art, often times more than one camera support apparatus
               was necessary in order to support the desired range of applications. This
               unfortunately adversely impacted portability of the camera.
                       Thus, a desire was created within the industry for a small, easily
               transportable camera support apparatus for supporting the camera on both
               horizontal surfaces, such as the surface of a desk or table, and vertical surfaces,
               such as the display screen of a laptop computer, and to protect the camera during
               storage and transport.

               At the time the patent application was filed and even today, claimed invention is highly

        advantageous over the prior art due to its versatility, configurability, stability and portability.

        Without repeating what is stated above in describing the claimed invention, it is especially

        beneficial for webcams, laptops and flat panel display monitors. In some circumstances it is

        advantageous to place a webcam on a surface such as a table or desk. In other circumstances it

        is advantageous to place a webcam atop a laptop computer. Since laptop computers are portable,
A1009




        it was, and still is, desirable for webcams to be portable, compact and unobtrusive too. Further,

        it is highly desirable that webcams be configurable for different angles and views, and that they

        have a secure, stable perch. The claimed invention described above provided for all of these

        benefits and advantages.

               In many regards, the claimed invention has revolutionized personal and business

        communication through the ability to attach and configure a webcam for use social network and

        video conferencing applications. The use of webcams with laptops has evolved into many of

        today's laptops having a less configurable webcam integrated into their display component.

        While less configurable webcams have been integrated into some laptop displays, highly
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        configurable standalone webcams are preferred for flat panel displays used with desktop

        computers. This is demonstrated by many flat panel displays available for purchase offer stand-

        alone webcams as one of the recommended accessories.

               I have not yet seen the report of the Defendants' expert addressing the issue of validity,

        but I have been informed by counsel for AdjustaCam that certain Defendants have alleged that

        the closest prior art is one or more of the following: (I) Unexamined Utility Model Application

        Publication H2-l9997 to Irifune ("lrifune"); (2) U.S. Patent No. 5,880,783 to Ma ("Ma"); and

        (3) U.S. Design Patent No. 383,475 to Yamauchi (..Yamauchi").

               The claimed invention is advantageous over Irifune because the Irifune apparatus does

        not have a hinge member adapted to be rotatably attached to a camera as set forth in claims 1, 7

        and 19. Rather, Irifune discloses that a camera can be screwed onto a mounting device using a

        camera attachment shaft 9 and camera attachment screws l 0 and 11. The purpose of the camera

        attachment shaft and screws is to attach the camera to the camera fixed part 2. Once the camera

        is attached to the camera fixed part 2, the camera cannot rotate about a first axis relative to the

        hinge member.
A1010




               Further, with the lrifune apparatus, a partially threaded camera is not rotatably attached

        to the hinge member. FIG. 2 of Irifune shows a camera fixed part 2 that is unthreaded, and a

        camera attachment shaft 9 that is also partially unthreaded at the location where it would be

        disposed within an opening of the camera fixed part. Thus, the camera attachment shaft 9 can

        freely pass through the opening of the camera fixed part 2. Thus, camera fixed part merely has

        a hole that allows the camera attachment shaft 9 to cleanly pass through and be screwed into a

        camera. Thus, Irifune merely disclose a hole that allows a camera attachment shaft 9 to pass

        there through and provide for secure tightening of the camera to be in contact with the camera


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        fixed part 2 so that it is in a tight, stable, fixed position when fully screwed to the camera

        attachment shaft. The purpose of the camera attachment shaft 2 is to tightly secure the camera

        to the camera fixed part so that it does not rotate.

                Further, the Irifune apparatus is essentially incompatible with laptop computers. The

        Irifune apparatus is large and clunky, uses a rubber cord belt to stabilize the apparatus, and its

        large front legs would cover a large part of a laptop screen in an undesirably prominent manner.

        Further, laptop computers were well known by the July 18, 1988 filing date of the lrifune

        application.      See,      for      example,          http://www .life 123 .com/technology/computer-

        hardware/laptop/laptop-computer-history .shtml                 and            http://en.wikipedia.org/

        wiki/History_of_Iaptops. For example, lBM came out with the IBM PC Convertible in 1986,

        Toshiba came out with the TI 100 in 1985, and Toshiba came out with the TlOOO and T1200 in

        1987. Yet, despite the fact that laptops were well known, Irifune makes no mention of being

        used with a laptop computer. For example, at p. 5, lrifune states that "the camera can be simply

        and easily mounted in various locations such as on a desk or a table, the back of a chair indoors

        or in a park. a guard rail, a wall, a fence, a deck, or on the ground."
A1011




               The camera of Ma is an impractical design, it looks unstable, and it is doubtful that it

        was ever commercialized or put into widespread production.                The claimed invention is

        advantageous over Ma because Ma does not disclose an apparatus for supporting a camera.

        Rather, Ma discloses camera assembly that includes camera components which are rotatable

        with respect to one another. Further, Ma does not disclose a "hinge member adapted to be

        rotatably attached to the camera, said camera, when the hinge member is so attached, rotating,

        about a first axis of rotation, relative to said hinge member. .. " as required by claims 1, 7 and 19.

        Rather, Ma's tubular shaft 21 rotatably couples adjustment block 2 to circuit box 3. In Ma, the


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        camera is not rotating about tubular shaft 21. Instead, two camera components (adjustment

        block 2 and circuit box 3) are rotatable with respect to one another by tubular shaft 21.

        Likewise, tubular revolving shaft 11 rotatably couples two camera components (adjustment

        block 2 and photographic lens assembly 1) to one another.          Thus, the respective tubular

        revolving shafts 11 and 21 merely provide for rotatable attachment of respective camera

        components within the CCD camera. They are not part of an apparatus for supporting a camera

        let alone rotating the camera.    Further, circuit box 3 is a sub-component of the camera and

        thus is not a support frame. Thus, Ma does not disclose "a support frame rotatably attached to

        said hinge member."Furthermore, Ma discloses two hinge members 11 and 21, which is

        contrary to the single hinge member recited in claims I, 7 and 19 which is adapted to be

        rotatab1y attached to the camera. Moreover, claims l, 7 and 19 recite that the respective axes of

        rotation of the hinge member relative to the camera and the support are perpendicular,

        something which Ma Jacks.

               Yamauchi is far afield from the patented invention. First, Yamauchi discloses a camera,

        not a camera clip nor an apparatus for supporting a camera. The entire Yamauchi apparatus,
A1012




        except for the front bipod, is a video camera. Second, Yamauchi does not disclose a hinge

        member adapted to be rotatab1y attached to the camera, said camera, when the hinge member is

        so attached, rotating, about a first axis of rotation, relative to said hinge member. With respect

        to Yamauchi, the hinge member merely connects two halves of the camera. Third, Yamauchi

        does not disclose a support frame rotatably attached or hingedly attached to the hinge member

        with the hinge member rotating about a second axis of rotation relative to the support frame.

        Even if the bottom half of Yamauchi's camera was erroneously deemed to constitute a support

        frame for the top half of the camera, Yamauchi discloses only a hinge member rotating about a


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        single axis of rotation.

                In view of the above-described desirability, benefits and advantages of the claimed

        invention, it is my opinion that patented feature, as described above, at least substantially

        creates the value of the component parts of the infringing products.

        MICROCENTER LICENSES.

                I have reviewed the licenses produced by MicroCenter (i.e, Exhibits 5 -9 of the

        MicroCenter deposition) and a reasonable amount of the patents listed therein. Three of the

        licenses are with MacroVision, one with MPEG LA, and one is with Tessera. The MacroVision

        licenses generally relate to technology and devices for video transmissions and adaptive control,

        devices and circuitry for the Higher Defmition Specification video output waveforms for copy

        protection and DVD manufacturing which includes the copy protection technology. The MPEG

        LA license generally relates to the use of MPEG-2 Essential Patents for video data compression

        and data transport. The Tessera license generally relates to patented semiconductor integrated

        circuit ("IC") packaging technology. None of the MicroCenter licenses involve technology

        comparable to the patented invention as described above.
A1013




        EXHIBITS.

        Exhibits to this report are as follows:

               Exhibit A: Chart of infringing products

               Exhibit B: Curriculum Vitae of John C. Muskivitch

               Exhibit C: List of documents reviewed/considered in preparation of this report

               Exhibit 0 : Chart of asserted claims of '343 as asserted against the Infringing Products




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                                   EXHffiiT D (HERCULES CLASSIC)
                           INFRINGEMENT CHART FOR THE HERCULES CLASSIC

        l(p)    Apparatus for supporting a         As noted in the photos below, the HERCULES CLASSIC is an
                camera, having a lens, on any      apparatus (i.e., a camera clip) for supporting a camera, namely
                generally horizontal,              a webcam.
                substantially planar surface and
                on an object having a first        As noted in the photos below, the camera supported by the
                surface and a second surface       HERCULES CLASSIC has a lens.
                and an edge intersecting the
                first surface and the second       The HERCULES CLASSIC is an apparatus for supporting a
                surface, comprising:               camera on a generally horizontal, substantially planar surface,
                                                   for example, a table top or desk top. For example:




                                                   The HERCULES CLASSIC is an apparatus for supporting a
                                                   camera on an object, for example the display screen of a laptop
                                                   or notebook (collectively "laptop") computer, having a first
                                                   surface and a second surface and an edge intersecting the first
A1042




                                                   surface and the second surface. For example, with a laptop
                                                   computer, the first surface is the back of the display screen, the
                                                   second surface is the front of the display screen, and an edge
                                                   intersects those surfaces.

        l (a)   a. a hinge member adapted to       The HERCULES CLASSIC comprises a hinge member (noted
                be rotatably attached to the       with a green arrow) adapted to be rotatably attached to the
                camera, said camera, when the      camera.
                hinge member is so attached,
                rotating, about a first axis of
                rotation, relative to said hinge
                member; and




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                                                   When the hinge member is so attached the camera rotates about
                                                   a ftrSt axis of rotation (noted with a blue circular arrow) relative
                                                   to the hinge member. The axis of rotation is a single axis of
                                                   rotation which is defined by a vector from the center of the
                                                   connector             the central axis of the camera.
        l(b)   b. a support frame rotatably        The HERCULES LASSIC comprises a support frame
               attached to said hinge member       with a red arrow) which is configured to support, and which
               and configured to support said      does support, the hinge member on the surface (see above re
               hinge member on the surface         surface) and the object (see above re object).
               and the object, said hinge
               member rotating about a
               second axis of rotation relative
               to said support frame, said ftrSt
               axis of rotation being generally
               perpendicular to said second
               axis of rotation, said second
               axis of rotation being
               substantially parallel to the
               first surface when said hinge
A1043




               member is supported on the
               object,                             The support frame of the HERCULES CLASSIC is rotatably
                                                   attached to the hinge member. The hinge member rotates about
                                                   a second axis of rotation (noted with a yellow arrow), relative
                                                   to the support frame. This axis of rotation is defined by the
                                                   axis of the hinge connection to the support frame. Thus, it is a
                                                   single axis of rotation.

                                                   The first axis of rotation (noted with a blue arrow) is at least
                                                   generally perpendicular to the second axis of rotation (noted
                                                   with a yellow arrow). ). In particular, the camera always
                                                   rotates around a vector defined from the center of the connector
                                                   through the central axis of the camera.

                                                   For example:




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                                                  As noted in the photo above, the second axis of rotation (noted
                                                  with a ye11ow arrow) is at least substantially parallel to the first
                                                  surface (see above re first surface) when the hinge member (see
                                                  above re hinge member) is supported on the object (see above
                                                  re
        l (c)   said support frame having a       The support frame (see          re support frame) of the
                first disposition positioned on   HERCULES CLASSIC has a first disposition when positioned
                said genera11y horizontal,        on the generally horizontal, substantially planar surface (see
                substantially planar surface,     above re generally horizontal, substantially planar surface).
                and
                                                  For example, see the above photos at the preamble and
                                                  elements (a) and (b) of claim 1.

        l(d)    said support frame having a       The support frame (see above re support frame) of the
                second disposition attached to    HERCULES CLASSIC has a second disposition when attached
                the object when said first        to the object (see above re object) when the first surface (see
                surface and said second surface   above re first surface) of the object (see above re object) and
                are inclined from a generally     the second surface of the object (see above re second surface)
                horizontal orientation, the       are inclined from a generally horizontal orientation, for
A1044




                camera being maintained           example when a laptop computer's display screen is opened.
                adjacent said edge in said
                second disposition of said        For example:
                support frame.




                                                                                                                  of


                                                          3
                                                                                                      MV000051




                                                     A1044
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                                              the ob·ect see above re ob·ect.
        7(p)   Apparatus according to claim 1 The HERCULES ClASSIC is an apparatus according to claim
                                              1. See above re claim 1.
        7(a)   wherein the object is a display     As noted above at the preamble of claim 1 and at element d of
               screen for a laptop computer,       claim 1, the HERCULES CLASSIC is an apparatus for
                                                   supporting a camera on a display screen for a laptop computer.

                                                   For example:




        7(b)   and the second surface is the       As noted above at the preamble of claim 1 and at element d of
               front of the display screen         claim 1, the HERCULES CLASSIC is an apparatus for
                                                   supporting a camera on a display screen for a laptop computer,
                                                   wherein the second surface (noted with a dark purple arrow) is
                                                   the front of the display screen.

                                                   For example:
A1045




        7(c)   and the first surface is the back   As noted above at the preamble of claim 1 and at claim 1,
               of the display screen.              element (d) (and in the photo at claim 7, element (a)), the
                                                   HERCULES CLASSIC is an apparatus for supporting a camera
                                                   on a display screen for a laptop computer, wherein the ftrst
                                                   surface (noted with a light purple arrow) is the back of the
                                                   display screen.


                                                          4
                                                                                                    MV000052




                                                      A1045
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        19(p)   A camera clip for supporting a   As noted above at the preamble of claim l     at       1,
                camera on a laptop computer,     element (d), the HERCULES CLASSIC is a camera clip for
                the laptop computer having a     supporting a camera on a laptop computer having a display
                display screen which can be      screen which can be inclined from a generally horizontal
                inclined from a generally        position (i.e., when opened) with the uppermost portion of the
                horizontal position, an          display screen defining an edge.
                uppermost portion of the
                display screen defining an       For example:
                edge, comprising:
A1046




        19(a)   a. a binge member adapted to
                be rotatably attached to the
                camera, said camera rotating
                about a first axis of rotation
                relative to said hinge member;
                and

        19(b)   b. a support frame hingedly      The HERCULES CLASSIC comprises a support frame (see
                attached to said binge member    above re support frame) which engages and supports the hinge
                to engagingly support said       member (see above re hinge member) on the display screen.
                binge member on the display
                screen,                          For example:




                                                        5
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                                                    A1046
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                                                    As depicted in the graphic above, the support frame (see above
                                                    re support frame) is hingedly attached to the hinge member (see
                                                    above re hinge member).

        19(c)   said hinge member rotating          The HERCULES                  comprises                     (see
                over a second axis of rotation      above re hinge member) rotating over a second axis of rotation
                relative to said support frame,     (see above re second axis of rotation), as noted with a yellow
                the camera being maintained         arrow, relative to the support frame (see above re support
                adjacent the edge,                  frame).

                                                    For example:
A1047




                                                    As exemplified by the photo above, the HERCULES CLASSIC
                                                    comprises the camera being maintained adjacent the edge (see
                                                    above re edge) of the laptop computer.

        19(d)   rotation of said support frame      As exemplified by the photo above below, the HERCULES
                being prevented along an axis       CLASSIC comprises the support frame (see above re support
                substantially parallel to said      frame) being supported on the display screen, and its
                second axis where said second       movement constrained by a front lip on the hinge member, and
                axis is substantially parallel to   thus rotation of the support frame is prevented along an axis
                said edge.                          which is at least substantially horizontal.



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                                                       A1047
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                               As noted in the above photo, this at least substantially
                               horizontal axis is at least substantially parallel to the second
                               axis (see above re second axis) and the second axis is at least
                               substantially parallel to the edge.
A1048




                                       7
                                                                                  MV000055




                                   A1048
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                                      EXHIBIT D (KODAK SlOl)
                              INFRINGEMENT CHART FOR THE KODAK SlOl

        l(p)   Apparatus for supporting a         As noted in the photos below, the KODAK SlOI is an
               camera, having a lens, on any      apparatus (i.e., a camera clip) for supporting a camera, namely
               generally horizontal,              a webcam.
               substantially planar surface and
               on an object having a first        As noted in the photos below, the camera supported by the
               surface and a second surface       KODAK SlOl bas a lens.
               and an edge intersecting the
               first surface and the second       The KODAK SlOl is an apparatus for supporting a camera on
               surface, comprising:               a generally horizontal, substantially planar surface, for
                                                  example, a table top or desk top. For example:




                                                  The KODAK SlOl is an apparatus for supporting a camera on
                                                  an object, for example the display screen of a laptop or
A1132




                                                  notebook (collectively " laptop' ') computer, having a first
                                                  surface and a second surface and an edge intersecting the first
                                                  surface and the second surface. For example, with a laptop
                                                  computer, the first surface is the back of the display screen, the
                                                  second surface is the front of the display screen, and an edge
                                                  intersects those surfaces.

        l(a)   a. a binge member adapted to       The KODAK SlOt comprises a binge member (noted with a
               be rotatably attached to the       green arrow) adapted to be rotatably attached to the camera.
               camera, said camera, when the
               hinge member is so attached,
               rotating, about a first axis of
               rotation, relative to said binge
               member; and




                                                                                                     MV000139




                                                     A1 132
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                                                   When the hinge member is so attached the camera rotates about
                                                   a first axis of rotation (noted with a blue circular arrow) relative
                                                   to the hinge member. The axis of rotation is a single axis of
                                                   rotation which is defmed by a vector from the center of the
                                                                     th ..,,... ..,,h the central axis of the camera.

        l(b)   b. a support frame rotatably             n ......,J<J,,_...,. s 101                 a support frame (noted with a
               attached to said hinge member       red arrow) which is configured to support, and which does
               and configured to support said      support, the hinge member on the surface (see above resurface)
               hinge member on the surface         and the object (see above re object).
               and the object, said hinge
               member rotating about a
               second axis of rotation relative
               to said support frame, said first
               axis of rotation being generally
               perpendicular to said second
               axis of rotation, said second
               axis of rotation being
               substantially parallel to the
A1133




               first surface when said hinge
               member is supported on the
               object,                             The support frame of the KODAK S 101 is rotatably attached to
                                                   the hinge member. The hinge member rotates about a second
                                                   axis of rotation (noted with a yellow arrow), relative to the
                                                   support frame. This axis of rotation is defmed by the axis of
                                                   the hinge connection to the support frame. Thus, it is a single
                                                   axis of rotation.

                                                   The first axis of rotation (noted with a blue arrow) is at least
                                                   generally perpendicular to the second axis of rotation (noted
                                                   with a yellow arrow). In particular, the camera always rotates
                                                   around a vector defmed from the center of the connector
                                                   through the central axis of the camera.

                                                   For example:



                                                            2
                                                                                                              MV000140




                                                       A1133
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                                                 As noted in the        above, the second axis of rotation (noted
                                                 with a yellow arrow) is at least substantially parallel to the first
                                                 surface (see above re first surface) when the hinge member (see
                                                 above re hinge member) is supported on the object (see above
                                                 re
        l(c)   said support frame having a       The support frame (see above re support frame) of the ·~~·AJ,,....,.
               first disposition positioned on   SIOI has a first disposition when positioned on the generally
               said generally horizontal,        horizontal, substantially planar surface (see above re generally
               substantially planar surface,     horizontal, substantially planar surface).
               and
                                                 For example, see the above photos at the preamble and
                                                 elements (a) and (b) of claim 1.

                    support frame having a       The support frame (see above re support frame) of the KODAK
               second disposition attached to    SlOl has a second disposition when attached to the object (see
               the object when said first        above re object) when the first surface (see above re first
               surface and said second surface   surface) of the object (see above re object) and the second
               are inclined from a generally     surface of the object (see above re second surface) are inclined
               horizontal orientation, the       from a generally horizontal orientation, for example when a
A1134




               camera being maintained           laptop computer's display screen is opened.
               adjacent said edge in said
               second disposition of said        For example:
               support frame.




                                                 As noted in the    oto above, in this second               the

                                                         3
                                                                                                     MV000141




                                                     A1134
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                                              camera is maintained adjacent the edge (see above re edge) of
                                              the ob ·ect see above re ob ·ect .
        7(p)   Apparatus according to claim 1 The KODAK SlOl is an apparatus according to claim 1. See
                                              above re claim 1.
        7(a)   wherein the object is a display    As noted above at the preamble of claim 1 and at element d of
               screen for a laptop computer,      claim 1, the KODAK S 101 is an apparatus for supporting a
                                                  camera on a display screen for a laptop computer.

                                                  For example:




        7(b)   and the second surface is the      As noted above at the preamble of claim 1 and at element d of
               front of the display screen        claim I, the KODAK S101 is an apparatus for supporting a
                                                  camera on a display screen for a laptop computer, wherein the
                                                  second surface (noted with a dark purple arrow) is the front of
                                                  the display screen.

                                                  For example:
A1135




        7(c)   and the fust surface is the back   As noted above at the preamble of claim 1 and at claim I,
               of the display screen.             element (d) (and in the photo at claim 7, element (a)), the
                                                  KODAK S101 is an apparatus for supporting a camera on a
                                                  dis la screen for a la to com uter, wherein the frrst surface


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                                                                                                    MV000142




                                                      A1135
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                                                 (noted with a light purple arrow) is the back of the display
                                                 screen.




        19(p)   A camera clip for supporting a   As noted above at the preamble claim 1 and at claim 1,
                camera on a laptop computer,     element (d), the KODAK SlOI is a camera clip for supporting
                the laptop computer having a     a camera on a laptop computer having a display screen which
                display screen which can be      can be inclined from a generally horizontal position (i.e., when
                inclined from a generally        opened) with the uppermost portion of the display screen
                horizontal position, an          defining an edge.
                uppermost portion of the
                display screen defining an       For example:
                edge, comprising:
A1136




        19(a)   a. a hinge member adapted to
                be rotatably attached to the
                camera, said camera rotating
                about a first axis of rotation
                relative to said hinge member;
                and

        19(b)   b. a support frame hingedly      The KODAK SIOl               a support        (see above re
                attached to said hinge member    support frame) which engages and supports the hinge member
                to engagingly support said       (see above re hinge member) on the display screen.
                hinge member on the display
                screen,                          For example:


                                                         5
                                                                                                   MV000143




                                                    A1136
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                                                    As depicted in the graphic above, the support frame (see above
                                                    re support frame) is hingedly attached to the hinge member (see
                                                    above re hinge member).

        19(c)   said hinge member rotating          The KODAK S 101 comprises the hinge member (see above re
                over a second axis of rotation      hinge member) rotating over a second axis of rotation (see
                relative to said support frame,     above re second axis of rotation), as noted with a yellow arrow,
                the camera being maintained         relative to the support frame (see above re support frame).
                adjacent the edge,
                                                    For example:
A1137




                                                    As exemplified by the photo above, the KODAK SlOl
                                                    comprises the camera being maintained adjacent the edge (see
                                                    above re edge) of the laptop computer.

        19(d)   rotation of said support frame      As                  the                   , the KODAK SlOl
                being prevented along an axis       comprises the support frame (see above re support frame) being
                substantially parallel to said      supported on the display screen, and its movement constrained
                second axis where said second       by a front lip on the binge member, and thus rotation of the
                axis is substantially parallel to   support frame is prevented along an axis which is at least
                said edge.                          substantially horizontal.


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                                                                                                     MV000144




                                                       A1137
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                               As noted in the above photo, this at least substantially
                               horizontal axis is at least substantially parallel to the second
                               axis (see above re second axis) and the second axis is at least
                               substantially parallel to the edge.
A1138




                                       7
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                                   A1138
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                                       EXHIBIT D (KODAK Tl30)
                               INFRINGEMENT CHART FOR THE KODAK Tl30

        l(p)   Apparatus for supporting a         As noted in the photos below, the KODAK Tl30 ts an
               camera, having a lens, on any      apparatus (i.e., a camera clip) for supporting a camera, namely
               generally horizontal,              a webcam.
               substantially planar surface and
               on an object having a first        As noted in the photos below, the camera supported by the
               surface and a second surface       KODAK Tl30 bas a lens.
               and an edge intersecting the
               first surface and the second       The KODAK T130 is an apparatus for supporting a camera on
               surface, comprising:               a generally horizontal, substantially planar surface, for
                                                  example, a table top or desk top. For example:




                                                  The KODAK Tl30 is an apparatus for supporting a camera on
                                                  an object, for example the display screen of a laptop or
                                                  notebook (collectively "laptop") computer, having a first
                                                  surface and a second surface and an edge intersecting the first
                                                  surface and the second surface. For example, with a laptop
A1139




                                                  computer, the first surface is the back of the display screen, the
                                                  second surface is the front of the display screen, and an edge
                                                  intersects those surfaces.

        l(a)   a. a hinge member adapted to       The KODAK Tl30 comprises a hinge member (noted with a
               be rotatably attached to the       green arrow) ada ted to be rotatably attached to the camera.
               camera, said camera, when the
               hinge member is so attached,
               rotating, about a first axis of
               rotation, relative to said hinge
               member; and




                                                                                                     MV000146




                                                     A1139
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                                                    When the hinge member is so attached the camera rotates about
                                                    a first axis of rotation (noted with a blue circular arrow) relative
                                                    to the hinge member. The axis of rotation is a single axis of
                                                    rotation which is defined by a vector from the center of the
                                                    connector throu b the central axis of the camera.
        I (b)   b. a support frame rotatably        The KODAK Tl30 comprises a support frame (noted with a
                attached to said hinge member       red arrow) which is configured to support, and which does
                and configured to support said      support, the hinge member on the surface (see above re surface)
                hinge member on the surface         and the ·ect          above re
                and the object, said hinge
                member rotating about a
                second axis of rotation relative
                to said support frame, said first
                axis of rotation being generally
                perpendicular to said second
                axis of rotation, said second
                axis of rotation being
                substantially parallel to the
                first surface when said hinge
                member is supported on the
                object,
A1140




                                                    The support frame of the KODAK T130 is rotatably attached to
                                                    the hinge member. The hinge member rotates about a second
                                                    axis of rotation (noted with a yellow arrow), relative to the
                                                    support frame. This axis of rotation is defined by the axis of
                                                    the hinge connection to the support frame . Thus, it is a single
                                                    axis of rotation.

                                                    The first axis of rotation (noted with a blue arrow) is at least
                                                    generally perpendicular to the second axis of rotation (noted
                                                    with a yellow arrow In particular, the camera always rotates
                                                    around a vector defined from the center of the connector
                                                    through the central axis of the camera.

                                                    Forexam le:




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                                                        A1140
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                                                 As noted in the photo above, the second axis of rotation (noted
                                                 with a yellow arrow) is at least substantially parallel to the first
                                                 surface (see above re first surface) when the hinge member (see
                                                 above re hinge member) is supported on the object (see above
                                                 re
        l(c)   said support frame having a       The support frame (see above re support frame) of the KODAK
               first disposition positioned on   Tl30 has a frrst disposition when positioned on the generally
               said generally horizontal,        horizontal, substantially planar surface (see above re generally
               substantially planar surface,     horizontal, substantially planar surface).
               and
                                                 For example, see the above photos at the preamble and
                                                 elements (a) and {b) of claim 1.

               said support frame having a       The support frame        above re support frame) of the KODAK
               second disposition attached to    T130 has a second disposition when attached to the object (see
               the object when said first        above re object) when the first surface (see above re first
               surface and said second surface   surface) of the object (see above re object) and the second
               are inclined from a generally     surface of the object (see above re second surface) are inclined
               horizontal orientation, the       from a generally horizontal orientation, for example when a
A1141




               camera being maintained           laptop computer's display screen is opened.
               adjacent said edge in said
               second disposition of said        For example:
               support frame.




                                                 As noted in the

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                                                     A1141
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                                              camera is maintained adjacent the edge (see above re edge) of
                                              the ob ·ect see above re ob ·ect .
        7(p)   Apparatus according to claim 1 The KODAK Tl30 is an apparatus according to claim l. See
                                              above re claim 1.
        7(a)   wherein the object is a display     As noted above at the preamble of claim l and at element d of
               screen for a laptop computer,       claim l, the KODAK Tl30 is an apparatus for supporting a
                                                   camera on a display screen for a laptop computer.

                                                   For example:




        7(b)   and the second surface is the       As noted above at the preamble of claim l and at element d of
               front of the display screen         claim l, the KODAK Tl30 is an apparatus for supporting a
                                                   camera on a display screen for a laptop computer, wherein the
                                                   second surface (noted with a dark pwple arrow) is the front of
                                                   the display screen.
A1142




                                                   For example:




        7(c)   and the first surface is the back   As noted above at the preamble of claim 1 and at claim 1,
               of the display screen.              element (d) (and in the photo at claim 7, element (a)), the
                                                   KODAK T130 is an a aratus for su ortin a camera on a

                                                          4
                                                                                                   MV000149




                                                      A1142
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                                                 screen.




        19(p)   A camera clip for supporting a   As noted above at the preamble of claim 1 and at claim 1,
                camera on a laptop computer,     element (d), the KODAK Tl30 is a camera clip for supporting
                the laptop computer having a     a camera on a laptop computer having a display screen which
                display screen which can be      can be inclined from a generally horizontal position (i.e., when
                inclined from a generally        opened) with the uppermost portion of the display screen
                horizontal position, an          defining an edge.
                uppermost portion of the
                display screen defining an       For example:
                edge, comprising:
A1143




                a. a       member adapted to     See l(a) above.
                be rotatably attached to the
                camera, said camera rotating
                about a first axis of rotation
                relative to said binge member;
                and

        19(b)




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                                                     A1143
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                hinge member on the display
                screen,                           For example:




                                                  As depicted in the graphic above, the support frame (see above
                                                  re support frame) is hingedly attached to the hinge member (see
                                                  above re hinge member).

        19(c)   said hinge member rotating        The KODAK Tl30 comprises the binge member (see above re
                over a second axis of rotation    hinge member) rotating over a second axis of rotation (see
                relative to said support frame,   above re second axis of rotation), as noted with a yellow arrow,
                the camera being maintained       relative to the support frame (see above re support frame).
                adjacent the edge,
                                                  For example:
A1144




                                                  As exemplified by the photo above, the KODAK Tl30
                                                  comprises the camera being maintained adjacent the edge (see
                                                  above re edge) of the laptop computer.

        19(d)   rotation of said support frame    As exemplified by the photo above below, the KODAK T130
                being prevented along an axis     comprises the support frame (see above re support frame) being
                substantiall arallel to said      su   rted on the dis Ia screen, and its movement constrained


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                                                     A1144
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        second axis where said second       by a front lip on the hinge member, and thus rotation of the
        axis is substantially parallel to   support frame is prevented along an axis which is at least
        said edge.                          substantially horizontal.
                                                                     -------.




                                            As noted in the above photo, this at least substantially
                                            horizontal axis is at least substantially parallel to the second
                                            axis (see above re second axis) and the second axis is at least
                                            substantially parallel to the edge.
A1145




                                                    7
                                                                                                MV000152




                                                A1145
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                                 EXHffiiT D (ROSEWILL RCM-8163)
                         INFRINGEMENT CHART FOR THE ROSEWILL RCM-8163

        l{p)   Apparatus for supporting a         As noted in the photos below, the ROSEWILL RCM-8163 is
               camera, having a lens, on any      an apparatus (i.e., a camera clip) for supporting a camera,
               generally horizontal,              namely a webcam.
               substantially planar surface and
               on an object having a first        As noted in the photos below, the camera supported by the
               surface and a second surface       ROSEWILL RCM-8163 bas a lens.
               and an edge intersecting the
               first surface and the second       The ROSEWILL RCM-8163 is an apparatus for supporting a
               surface, comprising:               camera on a generally horizontal, substantially planar surface,
                                                  for example, a table top or desk top. For example:




                                                  The ROSEWILL RCM-8163 is an apparatus for supporting a
                                                  camera on an object, for example the display screen of a laptop
                                                  or notebook (collectively " laptop") computer, having a first
                                                  surface and a second surface and an edge intersecting the first
                                                  surface and the second surface. For example, with a laptop
A1160




                                                  computer, the first surface is the back of the display screen, the
                                                  second surface is the front of the display screen, and an edge
                                                  intersects those surfaces.

        l(a)   a. a hinge member adapted to       The ROSEWILL RCM-8163 comprises a hinge member (noted
               be rotatably attached to the       with a green arrow) adapted to be rotatably attached to the
               camera, said camera, when the      camera.
               hinge member is so attached,
               rotating, about a first axis of
               rotation, relative to said hinge
               member; and




                                                                                                     MV000167




                                                      A1160
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                                                   a first axis of rotation (noted with a blue circular arrow) relative
                                                   to the hinge member. The axis of rotation is a single axis of
                                                   rotation which is defined by a vector from the center of the
                                                   connector throu the central axis of the camera.
        l(b)   b. a support frame rotatably        The ROSEWILL RCM-8163 comprises a support frame (noted
               attached to said hinge member       with a red arrow) which is configured to support, and which
               and configured to support said      does support, the hinge member on the surface {see above re
               hinge member on the surface         surface) and the object (see above re object).
               and the object, said hinge
               member rotating about a
               second axis of rotation relative
               to said support frame, said first
               axis of rotation being generally
               perpendicular to said second
               axis of rotation, said second
               axis of rotation being
               substantially parallel to the
               first surface when said hinge       The support frame of the ROSEWILL RCM-8163 is rotatably
               member is supported on the          attached to the hinge member. The hinge member rotates about
               object,                             a second axis of rotation (noted with a yellow arrow), relative
                                                   to the support frame. This axis of rotation is by the axis of the
                                                   hinge connection to the support frame. Thus, it is a single axis
                                                   of rotation.

                                                   The first axis of rotation (noted with a blue arrow) is at least
                                                   generally perpendicular to the second axis of rotation (noted
                                                   with a yellow arrow In particular, the camera always rotates
                                                   around a vector defined from the center of the connector
                                                   through the central axis of the camera.
A1161




                                                   For example:




                                                   As noted in the photo above, the second axis of rotation (noted
                                                   with a yellow arrow) is at least substantially parallel to the first
                                                   surface (see above re first surface) when the hinge member (see
                                                   above re hinge member) is supported on the object (see above
                                                   re ob'ect.
        l(c)   said support frame having a         The support frame (see above re support frame) of the
               first di osition ositioned on       ROSEWILL RCM-8163 has a first dis osition when ositioned

                                                           2
                                                                                                       MV000168




                                                      A1161
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               said generally horizontal,        on the generally horizontal, substantially planar surface (see
               substantially planar surface,     above re generally horizontal, substantially planar surface).
               and
                                                 For example, see the above photos at the preamble and
                                                 elements (a) and (b) of claim 1.

        l(d)   said support frame having a       The support frame (see above re support frame) of the
               second disposition attached to    ROSEWILL RCM-8163 has a second disposition when
               the object when said first        attached to the object (see above re object) when the first
               surface and said second surface   surface (see above re first surface) of the object (see above re
               are inclined from a generally     object) and the second surface of the object (see above re
               horizontal orientation, the       second surface) are inclined from a generally horizontal
               camera being maintained           orientation, for example when a laptop computer's display
               adjacent said edge in said        screen is opened.
               second disposition of said
               support frame.                    For example:
A1162




                                              As noted in the photo above, in this second disposition the
                                              camera is maintained adjacent the edge (see above re edge) of
                                              the ob ·ect see above re ob ·ect .
        7(p)   Apparatus according to claim 1 The ROSEWILL RCM-8163 is an apparatus according to claim
                                              1. See above re claim 1.
        7(a)   wherein the object is a display   As noted above at the preamble of claim 1 and at element d of
               screen for a laptop computer,     claim 1, the ROSEWlLL RCM-8163 is an apparatus for
                                                 supporting a camera on a display screen for a laptop computer.

                                                 For example:




                                                         3
                                                                                                    MV000169




                                                    A1162
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               and the second surface is the      As                at                                     d of
               front of the display screen        claim 1, the ROSEWILL RCM-8163 is an apparatus for
                                                  supporting a camera on a display screen for a laptop computer,
                                                  wherein the second surface (noted with a dark purple arrow) is
                                                  the front of the display screen.

                                                  For example:
A1163




        7(c)   and the      surface is the back   As               at the preamble of         1 and at       1,
               of the display screen.             element (d) (and in the photo at claim 7, element (a)), the
                                                  ROSEWILL RCM-8163 is an apparatus for supporting a
                                                  camera on a display screen for a laptop computer, wherein the
                                                  first surface (noted with a light purple arrow) is the back of the
                                                  display screen.




                                                          4
                                                                                                     MV000170




                                                      A1163
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        19(p)   A camera clip for supporting a         As noted above at the pream        claim 1 and at claim 1,
                camera on a laptop computer,           element (d), the ROSEWlLL RCM-8163 is a camera clip for
                the laptop computer having a           supporting a camera on a laptop computer having a display
                display screen which can be            screen which can be inclined from a generally horizontal
                inclined from a generally              position (i.e., when opened) with the uppermost portion of the
                horizontal position, an                display screen defining an edge.
                uppermost portion of the
                display screen defining an             For example:
                edge, comprising:
A1164




                a. a hinge member adapted to
                be rotatably attached to the
                camera, said camera rotating
                about a first axis of rotation
                relative to said hinge member;
                and

        19(b)   b. a support frame hingedly            The ROSEWILL RCM-8163 comprises a support frame (see
                attached to said hinge member          above re support frame) which engages and supports the hinge
                to engagingly support said             member (see above re hinge member) on the display screen.
                 ·     member on the ,.,·.,... ,<" '

                                                              5
                                                                                                       MV000171




                                                          A1164
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                screen,




                                                  As depicted in the graphic above, the support frame (see above
                                                  re support frame) is hingedly attached to the hinge member (see
                                                  above re hinge member).

        l9(c)   said hinge member rotating        The ROSEWILL RCM-8163 comprises the hinge member (see
                over a second axis of rotation    above re hinge member) rotating over a second axis of rotation
                relative to said support frame,   (see above re second axis of rotation), as noted with a yellow
                the camera being maintained       arrow, relative to the support frame (see above re support
                adjacent the edge,                frame).

                                                  For example:
A1165




                                                  As exemplified by the photo above, the ROSEWILL RCM-
                                                  8163 comprises the camera being maintained adjacent the edge
                                                  (see above re edge) of the laptop computer.


                                                         6
                                                                                                  MV000172




                                                     A1165
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        19(d)   rotation of said support frame      As exemplified by the photo above below, the ROSEWll.L
                being prevented along an axis       RCM-8163 comprises the support frame (see above re support
                substantially parallel to said      frame) being supported on the display screen, and its
                second axis where said second       movement constrained by a front lip on the hinge member, and
                axis is substantially parallel to   thus rotation of the support frame is prevented along an axis
                said edge.                          which is at least substantially horizontal.




                                                    As noted in the above photo, this at least substantially
                                                    horizontal axis is at least substantially parallel to the second
                                                    axis (see above re second axis) and the second axis is at least
                                                    substantially parallel to the edge.
A1166




                                                            7
                                                                                                       MV000173




                                                       A1166
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                       PH.D. Attorneys Eyes Only                                                                               August 13, 2012
                                                                                                                               August13,
     ADJUSTACAM vs. AMAZON.COM                                                                                                               1

 1                     UNITED STATES DI STRICT COURT

 2         FOR THE EASTERN DISTRI CT OF TEXAS, TYLER DIVI SION

 3

 4    ADJUSTACAM, LLC,

 5                    Plainti f f,

 6          vs .                                                                                             Case No . : 6 :1 0 - cv- 329 - LED

 7    AMAZON .COM, I NC . ,

 8                    Defendant.

 9

10           HI GHLY CONFIDENTI AL - ATTORNEYS' EYES ONLY -
                                       RYAN M. SULLIVAN, PH.D.· Attorneys Eyes Only        August 13, 2012
                                       ADJUSTACAM vs. AMAZON.COM

11

12                                DEPOS ITI ON OF

13                            RYAN M. SULLI VAN, PH .D.

14

15                                August 13, 2012
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18                            12730 High Bl uff Dri v e
                                     Suite 300
19                             San Diego, Cal i f o r nia

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21                     J i ll B. Darl a n d, CSR No . 6140

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 1    you could point that out for me.
 2    BY MR. EDMONDS:
 3         Q.     With all due respect , you're bei ng evasive.
 4                MR. HERBERHOLZ:     Counsel, let's not do t ha t.
 5    BY MR. EDMONDS:
 6         Q.     I don ' t think you've quantified the trend.
 7    Could you point the jury to where in your point you've
 8    quantified the trend?
 9                MR. HERBERHOL Z:    Object to the form of the
10    question.
11         A.     Paragraph 49 of my report explains that the
12    marketplace for webcams trended away from external
13    webcams in favor of embedded webcams by the mid-2000s.
14    Recent estimates, for example, indicate that more than
15    70 percent of laptops have embedded webcams.            There i
16    significant and substantial information demonstrating the
17    role of external versus embedded webcams and the role
18    that plays within the marketplace.
19                For example, I also explained that the webcarn
20    business is substantially impacted by the embedding of
21    webcams in laptops.       "Everybody has a webcam in t heir
22    laptops," as noted by Logitech in its discussion wi t h
23    Morgan Stanley.
24                In addition, a Logitech representative stat ed
25    that, "Consumer webcams, the tethered webcam, the one

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 1    that you put on your PC and you plug into the USB port,
 2    that is a declining business.           That will not -- right now
 3    I don't think it's reasonable to assume it will grow
 4    again."
 5                 So the point is this trend is dec l ining over
 6    time.      Exactly when it began, as I indicated earlier, is
 7    not material as it's clear that by t he t i me of the
 8    hypothetical negotiations, the trend was in decline.                    And
 9    that is what is important for the determination of the
10    reasonable royalty is recognizing that this trend was
11    declining.        Determining an exact or precise estimate of
12    that decline is not necessary.           Rather, it's the :fact of
13    the decline and the fact of the direction of the trend
14    that helps to inform upon the reasonable royalty.
15    BY MR. EDMONDS:
16          Q.     You made a statement that everybody has a webcam
17    in his laptop.
18                MR. HERBERHOLZ:      Objection.       Form.
19    BY MR. EDMONDS :
20          Q.     Is that correct?
21                MR. HERBERHOLZ :     Same objection.
22          A.     I   do not know.   Your statement was unclear to
23    me.     Perhaps you could try it again.
24    BY MR. EDMONDS:
25          Q.    WelL you said just a minute ago that everybody

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1     analysis reveals that there is no such discernible
2     relationship.      And that is another factor as to why the
3     settlement agreements are not informative for determining
4     a reasonable royalty.
5     BY MR. EDMONDS:
6          Q.    Does your analysis factor in when a later
7     defendant's sales numbers would decrease because they
8     were selling webcams that were -- had been licensed via
 9    the settlement of an earlier licensed defendant?
10         A.    I'm not sure I follow the question.                                                          Could you
                                  RYAN M. SULLIVAN, PH.D.· Attorneys Eyes Only        August 13, 2012
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11    try that again?
12         Q.    You understand that all the defendants didn't
13    settle on the same day.                       Correct?
14         A.    That is my understanding.
15         Q.    And you understand that when some settled, if
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16    they are a supplier to another defendant, then that
17    supplier would get the benefit of that license, and these
18    webcams would now be excluded from what's royalty-bearing
19    or what's actionable.           Correct?
20               MR. HERBERHOLZ:                           Object to the form.
21         A.    Generally speaking, my understanding is that a
22    given product can only be accused once for the
23    determination of a royalty.
24    BY MR. EDMONDS:
25         Q.    Okay.    Has your analysis factored in when a


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1     later-settling defendant now has lower unit numbers by
2     virtue of an earlier-settling defendant having gotten a
3     license for those webcams?
4          A.    So in terms of Attachment 12, I have not
5     endeavored to reduce the sales volumes for overlapping
6     sales as I believe you are suggesting.                                                            Rather, I have
7     undertaken this analysis as something that Mr. Bratic has
8     not attempted, to determine whether there's any
9     relationship between the settlement amounts and the sales
10    data.     And as I demonstrate, there is no such
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11    relationship.
12         Q.     Would you agree that during a royalty
13    negotiation with these various defendants, that they
14    would not be required to pay royalties on webcams that
15    had already been licensed via a settlement of an
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16    earlier-settling defendant?
17               MR. HERBERHOLZ:                           Object to form.
18         A.     I would hope that would be the case, yet it's
19    not clear to me that that has been the case.
20    BY MR. EDMONDS:
21         Q.     Assuming they're rational, they would not pay
22    royalties on licensed webcams.                                                          Correct?
23         A.     I'm not sure how to answer that one.                                                           I don't
24    follow the question.
25         Q.     What don't you understand about it?


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1          Q.     Which ones would be excluded?
2          A.     That is demonstrated in Attachment 12.
3          Q.     How did you calculate the 1,017,766 units for
4     Creative?     No.   Excuse me.                                      That's Chicony.
5                Okay.    Yeah.        Let's take -- with Creative, how
6     did you get to your 8,083 webcams?
7          A.     That is based upon the data in Attachment 11,
8     adjusted for the pre-agreement time period of July 2nd,
9     2010, to November 18, 2011.
10         Q.     So the numbers on Attachment 11 for Creative,
                                   RYAN M. SULLIVAN, PH.D.· Attorneys Eyes Only        August 13, 2012
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11    which of those numbers are relevant to your analysis?
12         A.     Well, I've considered all of the sales data, yet
13    with respect to the calculation of pre-agreement units as
14    listed on Attachment 12, that is based upon the sales in
15    2010 and 2011.
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16         Q.     All right.      Let's take Chicony.                                                     So for Chicony,
17    how did you get to the 1,017,266 pre-agreement units?
18         A.     Well, that is based upon the sales data for
19    Chicony, and it is calibrated to the time period of
20    January 1, 2006, up through June 28, 2011.
21         Q.     Why did you start at 2006?
22         A.     That is based upon the beginning of the sales
23    data for Chicony.
24         Q.     Well, if Chicony and AdjustaCam were both aware
25    when they negotiated the Chicony license that Chicony was


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1     not required to pay royalties for webcams because of
2     marking, would that affect your analysis?
3          A.    No, not in any material way.
4          Q.    Why not?
5          A.    Well, I have approached this both from a
6     pre-agreement perspective as well as a post-agreement
7     perspective, as well as a perspective that includes both
 8    of those.     And really, any way you cut it, there's not
 9    any sort of a relationship that can be discerned between
10    unit sales and settlement amounts.
                                  RYAN M. SULLIVAN, PH.D.· Attorneys Eyes Only        August 13, 2012
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11         Q.     If Chicony and AdjustaCam were both aware that
12    Chicony was not required to pay royalties on webcams
13    because of lack of marking, would that affect your
14    implied royalty rate for Chicony?
15         A.     The rate -- the implied rate for pre-agreement
                                                                                 800.211.DEPO (3376)
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16    units would be different if one were to reduce the number
17    of units.     That's just simply a matter of simple math.
18    Yet the calculation of the implied rate for
19    post-agreement would not change based upon the
20    assumptions that you're providing.
21         Q.     Well, with Chicony, what are you basing your
22    post-agreement sales on?
23         A.     Post-agreement units are calculated based on
24    average annual unit sales applied to the applicable time
25    range.


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1          Q.    And where -- how did you decide that those
2     were -- Chicony didn't supply that information.                                                                Correct?
3          A.    I'm not sure what you're asking.                                                            Which
4     information?
5          Q.    Once Chicony settled with AdjustaCam, they
6     didn't supply any additional sales information.                                                                Correct?
7                MR. HERBERHOLZ:                           Object to form.
 8         A.    I did not follow that.
 9    BY MR. EDMONDS:
10         Q.    Once Chicony settled with AdjustaCam, they did
                                  RYAN M. SULLIVAN, PH.D.· Attorneys Eyes Only        August 13, 2012
                                  ADJUSTACAM vs. AMAZON.COM


11    not provide any further sales information.                                                              Correct?
12               MR. HERBERHOLZ:                           Object to the form.
13         A.    I'm not aware of any additional information
14    supplied by Chicony subsequent to their settlement
15    agreement.
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16    BY MR. EDMONDS:
17         Q.    Do you have any understanding of what Chicony
18    told AdjustaCam that their past sales had been?
19         A.    There is information on past sales that I have
20    provided in my report, for example, at Attachment 11.
21               MR. HERBERHOLZ:                           Counsel, is now a good time to
22    break for lunch?
23               MR. EDMONDS:         Yeah.                                      Let's just finish this
24    Chicony issue, and then we'll break.                                                              That's fine.
25


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1     BY MR. EDMONDS:
2          Q.    Okay.    Your cite for the Chicony sales numbers
3     is the Bratic report; is that correct?
4          A.    Yes.
5          Q.    Are you aware of what Chicony told AdjustaCam
6     its sales numbers were when they negotiated the license?
7                MR. HERBERHOLZ:                           Object to form.
 8         A.    I did not participate in that negotiation.                                                            So I
 9    cannot say, as I did not personally hear any
10    conversations.
                                  RYAN M. SULLIVAN, PH.D.· Attorneys Eyes Only        August 13, 2012
                                  ADJUSTACAM vs. AMAZON.COM


11    BY MR. EDMONDS:
12         Q.    Okay.    And if Chicony gave AdjustaCam lower
13    sales numbers than actuals, would that affect the implied
14    royalty rate of that license?
15         A.    Mathematically, if you want to put in different
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16    sales numbers, it will change the implied rate.                                                             It's a
17    basic mathematical formula, so it's all based on the
18    inputs.
19               MR. EDMONDS:         Okay.                                      Let's take our lunch break.
20    What time should we recommence?
21               MR. HERBERHOLZ:                           Let's come back at 2:00.                                   Does
22    an hour work?
23               MR. EDMONDS:         That's fine.
24                                           *                           *                    *
25                             (LUNCHEON RECESS)


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1                                            *                           *                    *
2     BY MR. EDMONDS:
3          Q.    All right.     So let's take a look at your report
4     again, please, and specifically on Attachment 12 where
5     you go into post-agreement implied rates.
6          A.    Okay.
7          Q.    All right.     So with respect to Dell, you
8     calculated post-agreement sales based upon average
9     monthly unit sales from 2010 to 2011.                                                                  Correct?
10         A.    As applied to the applicable time range, yes.
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11         Q.    Yet you made no assumptions about the
12    declining sales.       Correct?
13         A.    The post-agreement units for Dell are not based
14    upon an assumption of decline.
15         Q.    In fact, none of Dell, Digital Innovations, KYE,
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16    Mace Group, Overstock, Systemax, are -- have any
17    assumptions of declining sales.                                                                   Correct?
18               MR. HERBERHOLZ:                           Object to the form.
19         A.    Which ones are you referring to?                                                                  Dell
20    through --
21    BY MR. EDMONDS:
22         Q.    Yeah.    Sources G through L, Dell through
23    Systemax.
24         A.     Okay.   L, Systemax, is set to zero based on a
25    declining sales trend, whereas the others within that


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 1    r ange are based upon actual uni t sales applied to the
 2    applicable time range.       And that can embed a degree of
 3    decline with in the data, yet there's not a separate
 4    declining time trend that has been imposed for t he
 5    post-agreement uni ts.
 6           Q.   What ' s the degree of decline you're referring
 7    to?
 8           A.   With regards to Systemax or the others?
 9           Q.   Any of them.     You projected linearly, didn't
10    you?
11           A.   It is a l inear projection, yes.
12           Q.   Why didn ' t you use the same t ime period for all
13    of them?
14           A.   Generally speaking, because the agreement s were
15    entered into at d i fferent poi nts in time .
16           Q.   Why do some span two years and others span one?
17           A.   I'm not sure I follow the question.
18           Q.   Well --
19           A.   In other words, I don ' t know which span you ' re
20    referring to.
21           Q.   Okay.     Well, for example, CDW, you looked at
22    2011 sales.      Correct?    For CDW, you used their 2011 sales
23    numbers to project post-agreement sal es.         Correct ?
24           A.   I do utilize 2011 sales for CDW in estimat ing
25    post-agreement sales.

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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

ADJUSTACAM LLC

  v.                                        NO. 6:10-cv-329-LED

AMAZON.COM, INC.; ET AL.                    JURY

 PLAINTIFF’S RESPONSE TO NEWEGG/ROSEWILL’S MOTION FOR DECLARATION OF
                           EXCEPTIONAL CASE
                     AND REQUEST FOR ORAL HEARING

                              FILED UNDER SEAL




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        Plaintiff AdjustaCam, LLC (“AdjustaCam”) submits this response to the above-styled motion filed

by Newegg Inc., Newegg.com Inc. and Rosewill, Inc. (collectively “NewEgg/Rosewill”):

I.      Introduction.

        Plaintiff voluntarily dismissed NewEgg/Rosewill from this case for strategic reasons—to

streamline the case to focus on larger defendant Sakar. NewEgg/Rosewill now seeks to take advantage of

AdjustaCam’s good faith efforts, and to distort its good fortune into an unwarranted exceptional case

finding. In essence, NewEgg/Rosewill alleges that it should have been dismissed earlier, apparently in

April, when the Court issued its Markman Order, instead of in August. NewEgg’s arguments and

allegations lack both factual and legal support. NewEgg has not shown that its arguments are factually

correct, or that this is an exceptional case, and it certainly has not met its burden of providing an

exceptional case by clear and convincing evidence.

II.     Factual background.

        A.      The ‘343 patent.

        The patent-in-suit is U.S. Patent No. 5,855,343 (the “‘343 patent”). Exhibit 2. The two previously

asserted independent claims, nos. 1 and 19, each cover an apparatus comprising a hinge member rotatably

attached to a camera, and a support frame rotatably (claim 1) or hingedly (claim 19) attached to the hinge

member, the support frame having a first disposition on a surface and a second disposition on an inclined

object. Id.

        B.      The Court’s Markman Order.

        NewEgg’s Motion appears to focus on the “rotatably attached” element in claims 1 and 19. On

April 10, 2012, the Court issued a Memorandum Opinion and Order (Doc. No. 627 & Exhibit 3). In its

Markman Order, the Court rejected both sides proposed construction of “rotatably attached,” and found

that, “[w]hile the Court has not explicitly construed the ‘rotatably attached’ terms, the Court has resolved

the parties’ dispute regarding the proper scope of the claims, i.e., ‘rotatably attached’ objects in the patent-

in-suit are limited to a single axis of rotation.” Id. at 10.
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Due to the Court’s construction of “rotatably attached,” AdjustaCam dropped sixteen (16) webcams from

the suit because the rotatable attachment between the hinge member and camera was not limited to a single

axis of rotation.1 Exhibit 1.

        C.       The dismissal of NewEgg/Rosewill was for strategic reasons unrelated to the merits.

        NewEgg is a reseller of electronics including webcams. See www.newegg.com. Rosewill is a

wholly owned subsidiary of NewEgg that manufactures, inter alia, a house brand of webcams sold by

NewEgg which are labeled as Rosewill webcams.                        AdjustaCam originally accused NewEgg of

infringement relative to various webcams sold by NewEgg which were manufactured by Auditek,

Creative, Digital Innovations, Gearhead, Hercules, HP, iMicro, Lifeworks, jWin, Pixxo and Rosewill.

Exhibit 1. However, during the course of the lawsuit, most of NewEgg’s suppliers reached settlements

with AdjustaCam which licensed the sale of their webcams by NewEgg. Id.2 Finally, on August 10, 2012,

AdjustaCam settled with NewEgg’s supplier GearHead, and on August 17th, AdjustaCam settled with

NewEgg’s supplier HP. Id.

        With the HP and GearHead licenses, AdjustaCam’s claims against almost all of remaining retailers

in the case became essentially de minimis,3 and the only significant remaining defendants were Sakar and

its primary distributor Kohl’s. Id. Sakar/Kohl’s were also unique among the remaining defendants in that

they failed to designate a damages expert, and thus had no expert to rebut AdjustaCam’s damages expert,

Mr. Walt Bratic. Id. Therefore, in view of the HP and GearHead settlements, and in an effort to streamline

this case by winnowing out de minimis infringers,4 and to focus on Sakar/Kohl’s (who lacked a damages




1
  The dropped webcams were the HP 3100, Gearhead WC 740, Gearhead WC 745, Gearhead WC 750, Gearhead WC 740I,
Gearhead WC 1100, Gearhead WC 1200, Gearhead WC 1300, Gearhead WC 1400, Gearhead WC 1500, Gearhead WCF 2600,
Gearhead WCF 2750, Gearhead WC 4750 and Gearhead WC 8301. Exhibit 1 (Edmonds Declaration).
2
  As of July 2012, AdjustaCam had settled with Auditek, Creative, Digital Innovations, iMicro, Lifeworks and jWin.
3
  At that point, AdjustaCam’s damage number against NewEgg/Rosewill was $17,736.
4
  In making its decision to dismiss de minimis infringers, AdjustaCam was mindful that this Court would not likely be pleased
if its valuable trial time was spent by parties fighting over relatively de minimis damages.
                                                             2
                                                                                            ATTORNEY’S EYES ONLY

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expert), AdjustaCam voluntarily dismissed its claims against the remaining retailers who had sold HP

and/or GearHead webcams, namely Best Buy, Fry’s, MicroCenter, Office Depot and Walmart. Id.5

Despite its newfound indignance at not being sooner dismissed from the case, NewEgg/Rosewill initially

refused to be dismissed. Id. Thus, AdjustaCam was required to take the unusual measure of filing an

opposed motion to dismiss NewEgg/Rosewill pursuant to Super Sack Corp. v. Chase Packaging Corp., 57

F.3d 1054 (Fed. Cir. 1995), accompanied by a covenant not to sue. Doc. No. 687.

        On August 30, 2012, while AdjustaCam’s opposed motion to dismiss was pending and at the

culmination of reexamination proceedings involving the ‘343 patent, the USPTO issued a Final Office

Action rejecting the Asserted Claims as being unpatentable but allowing additional new and amended

claims. Exhibit 4. On September 20, 2012, in response to that Final Office Action, AdjustaCam canceled

the Asserted Claims of the ‘343 patent, Exhibit 5, so that a certificate of reexamination could issue

concerning the multiple new and amended claims deemed allowable. Exhibit 1. In view of the foregoing,

NewEgg/Rosewill finally relented and agreed to be dismissed on September 27, 2012. See Unopposed

Motion to Dismiss at Doc. No. 719.

        D.      AdjustaCam’s infringement claims against NewEgg/Rosewill were never baseless.
                NewEgg/Rosewill’s non-infringement argument lacks merit.

        As noted above, in an effort to streamline this case by winnowing out de minimis infringers,

AdjustaCam dismissed NewEgg/Rosewill (and several other retailers) in view of manufacturer settlements

culminating in the HP and GearHead settlements to focus on Sakar/Kohl’s (who lacked a damages expert).

NewEgg/Rosewill’s allegation that they were dismissed because AdjustaCam’s infringement case lacked

merit is baseless. Apparently NewEgg/Rosewill contend that two allegedly “representative” webcams have

“ball and socket” joints, which they allege lack a rotatable attachment limited to a single axis between the

hinge member and the camera and that, as such, AdjustaCam should have dismissed them in April (when

the Court issued its Markman Order) instead of September.

5
  The dismissals of Best Buy, Fry’s, MicroCenter, Office Depot and Walmart are at Doc Nos. 668, 670, 666, 667 and 669,
respectively.
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       In the first instance, NewEgg/Rosewill’s newfound indignance over non-infringement is

inconsistent with its conduct during this litigation. First, NewEgg/Rosewill did not articulate this non-

infringement theory in its response to AdjustaCam’s interrogatory requesting the basis for its contention of

non-infringement. Exhibit 6, pp. 7-8. Second, NewEgg/Rosewill’s counsel committed clear misconduct,

and hid the ball, by refusing to allow NewEgg and Rosewill’s Rule 30(b)(6) designees to testify as to the

basis of their non-infringement contentions. Exhibit 7, pp. 7-8 & 46-47 & Exhibit 8, pp. 38-40. Third, if

the issue of infringement had been so cut and dried after the Court issued its Markman Order in April

2012, NewEgg/Rosewill presumably would have promptly raised the issue with either AdjustaCam or the

Court (for example, via a letter brief or motion). However, they did not.

       Irrespective of the foregoing, NewEgg/Rosewill’s motion alleging non-infringement by the

allegedly “representative” RCM 8163 and Hercules Classic webcams lacks factual or technical merit. The

only non-infringement argument raised by NewEgg/Rosewill is the limitation in the two independent

Asserted Claims (claims 1 and 19) that the “hinge member” is “adapted to be rotatably attached” to the

camera. As noted above, in its Markman Order, the Court construed “rotatably attached” as “rotating over

a single axis.” As AdjustaCam’s technical expert Dr. Muskivitch has explained in detail, AdjustaCam’s

infringement positions are entirely consistent with the Court’s construction. Exhibit 9, pp. 143-45, 149-54,

154-55, 158-59, 287-88 & 327-29. See also Exhibit 10 (Muskivitch CV).

What NewEgg/Rosewill allege is a ball and socket joint is actually a modified ball and socket joint. Id. at

pp. 71. It is a modified ball and socket joint because there is a channel that restricts movement, as noted

by the following red arrows:




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Exhibit 1 & Exhibit 9, p. pp. 143-45, 94-95, 151-52, 154-55 & 159. This restricted movement results in

two functionally independent joints which have ranges of movement independent of each other. Id., pp.

94-95, 143-45, 149-50, 287-88 & 327-29. One of these joints – the one which allows the camera to pan

left and right relative to its base – meets the claim limitation of the hinge member being rotatably attached

to the camera in a single axis of rotation. Id. at pp. 69-70, 91, 97-98, 143, 149-50, 151-52, 287-88 & 327-

29.

       Not only is AdjustaCam’s infringement position entirely consistent with the Court’s Markman

Order and properly supported by AdjustaCam’s technical expert, but it is also consistent with the preferred

embodiment of the ‘343 patent. As can be seen, the preferred embodiment webcam has essentially the

same configurability and range of movement as either the Rosewill or the Hercules webcams:




NewEgg/Rosewill’s allegation that the allegedly representative Rosewill RCM 1863 and Hercules Classic

webcams do not meet the “rotatably attached” element (as construed by the Court) lacks merit.

AdjustaCam’s infringement position (1) is correct from a technical perspective; (2) follows the Court’s

construction; (3) is properly supported by reasoned analysis from AdjustaCam’s technical expert; and (4)

accords with the preferred embodiment.

       E.      AdjustaCam has not “extorted nuisance value settlements” during this case.

       NewEgg Rosewill’s allegation that AdjustaCam has “extorted nuisance value settlements” is

baseless hyperbole and speculation.       The amounts of AdjustaCam’s settlements with the various



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defendants are directly related to its target royalty of $1.25 - $1.50 per webcam. This royalty rate was

established many years before this suit and before AdjustaCam even obtained rights in the ‘343 patent.

          AdjustaCam’s damages expert Mr. Bratic issued an extensive, well-reasoned report opining that the

reasonable royalty for infringement of the ‘343 patent is $1.25 - $1.50 per webcam. Exhibit 11; See Exhibit

12 (Bratic CV); Exhibit 13 (Bratic depo). As discussed in the Bratic damages report, on October 22, 2001,

AdjustaCam’s predecessor PAR Technologies entered into a Settlement and License Agreement with

Philips. Exhibit 11 at pp. 15-16. This agreement called for running royalties on webcam sales as follows:

0 – 20,000 units: $1.00 / unit; 20,001 - 40,000: $2.00 / unit; 40,001 - 60,000: $6.00 / unit; and more than

60,000: $8.00 / unit. Id. at p. 16. Using the unit ranges of 0 - 20,000 ($1.00 / unit) and 20,001 - 40,000

($2.00 / unit) as a conservative baseline, PAR was expected to receive an average royalty payment of

approximately $1.50 per licensed product. Id. at p. 17.

          Further, as detailed in the Bratic damages report, on December 31, 2001, PAR entered into a

Settlement and License Agreement with                involving rights to the ‘343 Patent. Id. That agreement

called for running royalties of $1.25 per webcam for total aggregate royalties up to $2 million. Id. In fact,

to date            has paid post-suit running royalties on over 2.2 million units, Exhibit 13, p. 52, which is

far from “nuisance value.”

          In its licensing program for this litigation, AdjustaCam used this $1.25 - $1.50 per webcam royalty

rate as a baseline for licensing the various defendants. Exhibit 11, pp. 18-32; Exhibit 13, pp. 36-40 & 44;

& Exhibit 14 (AdjustaCam Rule 30(b)(6) depo), pp. 4, 67-68 & 72-74. Specifically, AdjustaCam entered

into six (6) settlement and license agreements for rights to the ‘343 Patent that included both a lump-sum

payment relating to a certain number of units of webcams and also a running royalty rate for sales of

webcams that exceed the units sold that were covered by the lump-sum payment. Exhibit 11, p. 18. The

implied royalty rate related to the lump-sum payments was approximately $1.50 per unit for five license

agreements and $1.25 per unit for one license agreement. Id. The running royalty rates for sales of units


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exceeding the volume included in the lump-sum payments for each of the six (6) licenses were $1.50 per

unit. Id.

        Further, AdjustaCam entered into 14 settlement and license agreements for rights to the ‘343 Patent

that included only a paid up, lump-sum payment. Id. at p. 22. For these licenses AdjustaCam also

considered, and negotiated using the benchmark of, the same $1.25 to $1.50 per unit royalty rates its

predecessor had obtained from the Philips and            licenses discussed above. Id.

        AdjustaCam’s use of the $1.25 - $1.50 benchmark for its licensing negotiations with the various

defendants was explained in detail in the deposition of AdjustaCam’s Rule 30(b)(6) designee and by

AdjustaCam’s damages expert Mr. Bratic. Exhibit 11, pp. 18-32. & Exhibit 14, pp. 4, 67-68 & 72-74.

Further, Mr. Bratic’s report explains in detail how the sums paid to AdjustaCam in settlement tie directly

to this $1.25 - $1.50 benchmark. Exhibit 11, pp. 18-32. The amounts of settlement agreements with

AdjustaCam are tied to the value of the patented technology, not to any “nuisance value.”

        NewEgg’s Motion relies upon its own damages expert’s opinions without laying any predicate for

those opinions being well founded or reliable. In fact, they are deeply flawed. For example, Dr. Sullivan’s

purported “imputed royalty” calculations (1) improperly include sales volumes for webcam sales for which

no royalties were recoverable due to the lack of pre-suit marking, see Exhibit 22, pp. 114-115 & Exhibit

13, p. 45; (2) improperly fail to account for the fact that some defendants’ infringing sales numbers

declined via the doctrine of exhaustion once companies upstream of them took licenses, Ex. 22, pp. 104-

05; (3) improperly include sales numbers which were not provided to AdjustaCam when the licenses were

negotiated, see id. at p. 117 & Ex. 13, p. 50; and (4) improperly include assumptions of linear sales into

the future, Ex. 22, at pp. 118-19, despite the fact that Dr. Sullivan also opines that webcam sales are in a

decline. Id. at pp. 34-35.

        F.     NewEgg’s complaints about its settlement negotiations with AdjustaCam, aside from
               violating the mediation privilege, are naïve and misguided.



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       In the first instance, NewEgg’s purported recitation of what occurred at mediation violates the

mediation privilege and this Court’s Local Rules. See Local Rules Appendix H, Court–Annexed Mediation

Plan at VII. As this Court has Ordered, “[a]ll proceedings of the mediation, including statements made by

a party, attorney, or other participant, are privileged and confidential in all respects. . . Mediation

proceedings may not be reported, recorded, placed in evidence, made known to the trial court.” NewEgg’s

inclusion of statements made during mediation are an inexcusable violation of this well-established rule,

and they should be properly disregarded.

       Irrespective of the foregoing, NewEgg’s recitation of what occurred at mediation is naïve and

misguided. In the first instance, NewEgg admits it disclosed infringing sales of approximately 20,000

units for approximately a year’s worth of sales since suit had been filed. Applying AdjustaCam’s $1.50

royalty target to those units results in royalties of $30,000 for past infringement.      For its opening

settlement number AdjustaCam naturally increased that number – to $75,000 – to account for both past

and expected future infringement for the life of the ‘343 patent. Exhibit 1. NewEgg’s apparent belief that

settlements, which necessarily would include a license going forward, should only include compensation

for past infringement is naïve and unrealistic.      Further, NewEgg’s apparent belief that an opening

settlement offer must be a litigants bottom line number is also naïve and unrealistic.

       Further, NewEgg’s allegation that “Plaintiff refused to explain the basis for demanding nearly three

times its “target” per-unit” is a falsehood. At the mediation, AdjustaCam explained that its settlement

number was based upon a $1.50 per webcam metric, and that it took into account past infringement as well

as some future infringement. Id.

       Paradoxically, NewEgg next complains that AdjustaCam reduced its settlement offer to $65,000 in

March 2012. What NewEgg neglects to mention is that AdjustaCam and NewEgg did not have any direct

communications about settlement during March 2012. Id. All communications were conducted using Mr.

Jim Knowles as an intermediary in furtherance of his role as mediator. Id. Again, NewEgg’s recitation of

what occurred during the mediation process violates the mediation privilege and this Court’s Local Rules.
                                                      8
                                                                                 ATTORNEY’S EYES ONLY

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See Local Rules Appendix H, Court–Annexed Mediation Plan at VII. Further, NewEgg’s allegation that

AdjustaCam “refus[ed] to provide an explanation as to how that figure was calculated” is yet another

falsehood. Id. First, NewEgg and AdjustaCam did not have any communications at all, so no explanation

was refused. Id.         Second, AdjustaCam did explain to the Mr. Knowles, who was well aware of

AdjustaCam’s $1.25 per webcam metric, that its settlement number for NewEgg was based upon past

infringement and estimated future infringement. Id.

           NewEgg next complains that AdjustaCam made a $51,543 settlement offer on July 11, 2012. Here,

NewEgg again misleads the Court by alleging that AdjustaCam “refus[ed] to provide an explanation as to

how that figure was calculated.” The truth is that the $51,543 settlement offer was communicated to

NewEgg via email, and that neither Mr. Zarian nor anyone else representing NewEgg asked for an

explanation. Id. Had NewEgg bothered to ask for an explanation of how AdjustaCam arrived at that

number, it would have been informed that AdjustaCam took its expert’s damage figure of $17,928 based

upon two years of past infringement,6 and then extrapolated a royalty number for future infringement

based upon 3.75 more years of infringement (i.e., $33,615) through the term of the ‘343 patent, for a total

of $51,543.

           There has been nothing improper about AdjustaCam’s settlement negotiations with NewEgg.

NewEgg’s apparent belief that settlements, which necessarily would include a license going forward,

should only include compensation for past infringement is naïve and unrealistic.

III.       Legal Standards.

           Under 35 U.S.C. § 285, a “court in exceptional cases may award reasonable attorney fees to the

prevailing party.” Once it is determined that the party seeking fees is a prevailing party, determining

whether to award attorneys' fees under 35 U.S.C. § 285 is a two-step process. Highmark, Inc. v. Allcare

Health Management Systems, Inc., 687 F.3d 1300, 1308 (Fed. Cir. 2012). First, a prevailing party must

establish by clear and convincing evidence that the case is “exceptional.” Id. “It is established law under

6
    NewEgg’s infringing sales numbers had decreased from before due to manufacturer settlements.
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                                                                                             ATTORNEY’S EYES ONLY
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section 285 that absent misconduct in the course of the litigation or in securing the patent, sanctions may

be imposed against the patentee only if two separate criteria are satisfied: (1) the litigation is brought in

subjective bad faith, and (2) the litigation is objectively baseless. Id. The requirement that the litigation be

objectively baseless “does not depend on the state of mind of the [party] at the time the action was

commenced, but rather requires an objective assessment of the merits.” Id. at 1308-09. “To be objectively

baseless, the infringement allegations must be such that no reasonable litigant could reasonably expect

success on the merits.” Id. at 1309. This is known as the subjective prong of the inquiry. Id. This same

objective/subjective standard applies for both patentees asserting claims of infringement and alleged

infringers defending against claims of infringement. Id. With respect to the subjective prong, “there is a

presumption that an assertion of infringement of a duly granted patent is made in good faith.” Id.

Even if a case is deemed exceptional, a court must determine whether an award of attorneys' fees is

appropriate and, if so, the amount of the award. Id. “[T]he amount of the attorney fees [awarded] depends

on the extent to which the case is exceptional.” Id.

IV.    Argument.

       A.      NewEgg’s reliance upon the Eon-Net case is misplaced, because that case has no
               meaningful similarities to this one.

       NewEgg’s reliance upon the Eon-Net case is misplaced. See Eon-Net LP v. Flagstar Bancorp, 653

F.3d 1314 (Fed. Cir. 2011). In Eon-Net, the Federal Circuit affirmed a District Court’s exceptional case

finding based upon the totality of (1) Eon-Net destroying relevant documents from a prior lawsuit prior to

filing suit; (2) Eon–Net failing to engage in the claim construction process in good faith; (3) Eon-Net

displaying a “lack of regard for the judicial system” and a “cavalier attitude” towards the “patent litigation

process as a whole,” as evidenced by an interrogatory response which “snidely stated” that “the skill in the

art required is that sufficient to converse meaningfully with [Eon-Net’s president] Mitchell Medina,” and

statements by Mr. Median at his deposition that it was “an inconvenience and a bother”; (4) because the

written description of the patent-in-suit repeatedly defined the invention as a system for processing

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                                                                                  ATTORNEY’S EYES ONLY

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information that originates from hard copy documents, which the Defendant Fisher did not do; and (5)

Eon-Net had had filed over 100 lawsuits, with each complaint being followed by a “demand for a quick

settlement…using a license fee schedule based on the defendant's annual sales: $25,000 for sales less than

$3,000,000; $50,000 for sales between $3,000,000 and $20,000,000; and $75,000 for sales between

$20,000,000 and $100,000,000.” Eon-Net is an extreme case. None of these facts, or anything close to

them, are present in this case.

       NewEgg alleges that this case is exceptional because “Plaintiff settled with dozens of defendants

for substantially less than the costs to defend against Plaintiff’s baseless infringement allegations.” This

allegation is baseless because, as explained above (and further below) AdjustaCam’s settlement numbers

were tied to a pre-established unit royalty of $1.25 - $1.50 per infringing device, and the size of its

settlements were directly related to the amount of infringement by each defendant, not to any cost of

litigation considerations. This allegation is also meritless because AdjustaCam’s settlements were not

premised upon “baseless infringement claims.”

       B.      AdjustaCam did not extract nuisance settlements from any defendants.
               AdjustaCam’s settlements were directly related to each Defendants’ number of
               infringing units and an established royalty.

       As explained in Section II.E above and in further detail in the expert report of AdjustaCam’s

damages expert, Mr. Bratic, AdjustaCam’s settlements in this case followed the $1.25 - $1.50 per webcam

royalty which had been established years prior with the Philips and               licenses.   AdjustaCam’s

settlements with the various defendant are directly linked to their sales volumes and to this $1.25 - $1.50

per unit royalty.

       There has been no “extortion” of “nuisance value settlements.” This case is far different from Eon-

Net, in which that defendant would file complaints followed by a “demand for a quick settlement …using a

license fee schedule based on the defendant's annual sales: $25,000 for sales less than $3,000,000; $50,000

for sales between $3,000,000 and $20,000,000; and $75,000 for sales between $20,000,000 and

$100,000,000.”
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                                                                               ATTORNEY’S EYES ONLY

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       NewEgg also complains that Mr. Bratic “admitted that his opinion was not influenced by the cost

or sales price of the accused products or the cost of the patented feature (a clip) of the accused products on

the grounds that the cost of the patented feature is ‘not relevant.’” However, NewEgg/Rosewill fails to

explain why the manufacturing cost of an infringing product should be considered in the reasonable

royalty analysis.    Mr. Bratic was entirely correct in deeming manufacturing costs irrelevant to the

reasonable royalty determination.     Further, Mr. Bratic’s determination of the appropriate reasonable

royalty relied substantially on an established royalty rate and the number of infringing units sold.

       In one line, NewEgg/Rosewill makes the bold and baseless assertion that Mr. Bratic’s expert

opinions in this case “clearly do[] not meet the requirements of Rule 702 of the Federal Rules of

Evidence.” To the contrary, Mr. Bratic’s Report contains a detailed and reasoned analysis of the facts and

the Georgia-Pacific factors. Further, Mr. Bratic’s report properly takes into account the best measure of

the value of the patented technology -- what prior licensees paid as a unit royalty for similar infringing

products. When, as here, “the methodology is sound, and the evidence relied upon sufficiently related to

the case at hand, disputes about the degree of relevance or accuracy (above this minimum threshold) may

go to the testimony's weight, but not its admissibility.” i4i Ltd. P'ship v. Microsoft Corp., 589 F.3d 1246,

2009 WL 4911950, at *14 (Fed. Cir. Dec.22, 2009). Sometimes – as NewEgg has mistakenly done –

litigants “conflate the question of whether the methodology involved is proper with whether the expert's

conclusions are proper.” Anascape, Ltd. v. Microsoft Corp., 2008 WL 7180757, *2 (E.D. Tex. April 28,

2008). The role of the court under Daubert is to “ensure that a theory or technique ... can be (and has

been) tested,” [citation omitted], “not to evaluate the correctness of facts underlying one expert's

testimony.” Anascape, Ltd., 2008 WL 7180757, *2. When defendants attack the “data relied on” by an

expert, rather than the “methodology he relied upon to reach his results,” this “goes to the weight to be

given to, rather than the admissibility of, the expert's testimony.” Id. See Liquid Dynamics Corp. v.

Vaughan Co., Inc., 449 F.3d 1209, 1221 (Fed.Cir.2006) (an attack on the underlying data of an expert's

report goes to its weight rather than admissibility).       Further, factual disputes concerning the data
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                                                                                 ATTORNEY’S EYES ONLY

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underlying an expert’s opinions are not grounds for exclusion under Daubert. Anascape, Ltd., 2008 WL

7180757, *2. See State Contracting & Engineering Corp. v. Condotte America, Inc., 346 F.3d 1057, 1072

(Fed.Cir.2003). In short, NewEgg’s allegations of litigation misconduct are built on a house of cards that

relies upon baseless allegations that AdjustaCam’s damages expert’s opinions should somehow be ignored.

NewEgg also alleges in a footnote that AdjustaCam’s damage expert Mr. Bratic violated Lucent Techs.,

Inc. v. Gateway, Inc., 580 F.3d 1301, 1324 (Fed. Cir. 2009), because he did not argue that “the webcam

clip was the basis of consumer demand for the accused products.” To the contrary, Mr. Bratic opined that

“a reasonable royalty rate of $1.25 represents the contribution of the Accused Feature to the overall

device.” Exhibit 9, p. 5. Further, Mr. Bratic was relying upon prior licenses for the exact same technology.

When an expert is relying upon prior licenses with unit royalties for the exact same technology for a

running royalty, there is no need to conduct any further apportionment. The running royalty has already

accomplished that.

       C.      AdjustaCam’s infringement claims were not brought in bad faith nor were they
               objectively baseless.

       NewEgg/Rosewill’s motion alleging non-infringement by the allegedly “representative” RCM

8163 and Hercules Classic webcams lacks factual or technical merit. The only non-infringement argument

raised by NewEgg/Rosewill is the limitation in the two independent Asserted Claims(claims 1 and 19) that

the “hinge member” is “adapted to be rotatably attached” to the camera. However, as explained in detail in

Section II.E above, AdjustaCam’s technical expert Dr. Muskivitch’s infringement positions are entirely

consistent with the Court’s construction of “rotatably attached.”

       In sum, what NewEgg/Rosewill allege is a ball and socket joint is actually a constrained ball and

socket joint because there is a channel that restricts movement. Exhibit 9, p. pp. 143-45, 94-95, 151-52,

154-55 & 159. This restricted movement results in two functionally independent joints which have ranges

of movement independent of each other. Id., pp. 94-95, 143-45, 149-50, 287-88 & 327-29. As stated by

Dr. Muskivitch, there are “two distinct joints,” and “[i]t's a separate motion; it's a separate functional

                                                     13
                                                                               ATTORNEY’S EYES ONLY
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joint.” Id. at pp. 96 & 150. One of these independent joints – the one which allows the camera to pan left

and right relative to its base – meets the claim limitation of the hinge member being rotatably attached to

the camera in a single axis of rotation. Id. at pp. 69-70, 91, 97-98, 143, 149-50, 151-52, 287-88 & 327-29.

       NewEgg/Rosewill’s allegation that the allegedly representative Rosewill RCM 1863 and Hercules

Classic webcams do not meet the “rotatably attached” element as construed by the Court is also baseless.

AdjustaCam’s infringement position (1) is correct from a technical perspective; (2) follows the Court’s

construction; (3) is properly supported by AdjustaCam’s technical expert; and (4) accords with the

preferred embodiment.

       D.      There has been no litigation misconduct by AdjustaCam.

       Rehashing its non-infringement argument, NewEgg/Rosewill argues that AdjustaCam should have

dismissed its claims in April due to the Court’s Construction of “rotatably attached” instead of dismissing

them in August for strategic reasons. However, as established above, AdjustaCam’s infringement position

is well founded and meritorious. Thus, NewEgg’s allegations of “misconduct” due to not being earlier

dismissed are baseless.

       E.      AdjustaCam did not serve a “new” infringement report at the deposition of its
               technical expert.

       Apparently in an effort to throw mud and distract from the merits, NewEgg alleges that

AdjustaCam served a “new” infringement report at the deposition of its technical expert. This allegation is

unfounded and misleading. During his deposition, AdjustaCam’s technical expert Dr. Muskivitch realized

that Exhibit D of his report was not the final version of Exhibit D to his final report. Exhibit 9, pp. 12-16.

Neither AdjustaCam nor Dr. Muskivitch were aware that an early version of Exhibit D had inadvertently

been served until that point in time. In order to remedy the situation, Dr. Muskivich provided the correct

version of Exhibit D and counsel for NewEgg/Rosewill was given every opportunity to review it and to

question Dr. Muskivitch about it.



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                                                                                 ATTORNEY’S EYES ONLY
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          No “new” infringement report was ever generated. Rather, the correct version of Exhibit D to the

Muskivitch report was substituted for the incorrect earlier version that had inadvertently been served due

to a version control mistake. An honest mistake in which versions of an Exhibit are confused does not

constitute generating a “new” report nor does it constitute litigation misconduct. The parties were in the

process of meeting and conferring over this issue when the case was dismissed, so it never required court

action.

          F.     AdjustaCam’s validity arguments were not baseless. In fact, they were meritorious.

          The claims of the ‘343 patent duly issued from the USPTO and they are presumed valid by law.

NewEgg complains that AdjustaCam worked to protect its intellectual property rights by traversing

rejections during reexamination proceedings for the ‘343 patent. However, AdjustaCam had every right to

traverse the USPTO’s rejections, including because the USPTO’s reasoning was flawed.                      Here,

NewEgg/Rosewill appears to focus upon their contention that the alleged Irifune publication (which

NewEgg has never proven up as a publication) meets the “rotatably attached” limitation in claims 1 and

19.

          However, Irifune does not meet the “rotatably attached” limitation in the Asserted Claims for the

reason’s set forth in the Report of AdjustaCam’s technical expert Dr. Muskivitch. Exhibit 15. See Exhibit

16 (Irifune). This is illustrated by Fig. 2 of Irifune and by the illustration of screw (9) as follows:




          As stated in Dr. Muskivitch’s report, a camera partially threaded onto camera attachment

shaft 9 is not “rotatably attached because:

                                                       15
                                                                                    ATTORNEY’S EYES ONLY

                                                      A1205
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       … camera attachment shaft 9 can freely pass through the opening of the camera fixed
       part 2. Thus, camera fixed part merely has a hole that allows the camera attachment shaft
       9 to cleanly pass through and be screwed into a camera. Thus, Irifune merely disclose a
       hole that allows a camera attachment shaft 9 to pass there through and provide for secure
       tightening of the camera to be in contact with the camera fixed part 2 so that it is in a
       tight, stable, fixed position when fully screwed to the camera attachment shaft.

Exhibit 15, pp. 18-19. Further, the Muskivitch report describes how Irifune fails to disclose how a camera

fully screwed down is “rotatably attached,” including as follows:

       . . . Irifune discloses that a camera can be screwed onto a mounting device using a camera
       attachment shaft 9 and camera attachment screws 10 and 11. The purpose of the camera
       attachment shaft and screws is to attach the camera to the camera fixed part 2. Once the
       camera is attached to the camera fixed part 2, the camera cannot rotate about a first axis
       relative to the hinge member. . . the purpose of the camera attachment shaft 2 is to tightly
       secure the camera to the camera fixed part so that it does not rotate. . . Thus, for the
       camera to be rotatable, it must be un-tightened and thus unattached and unstable.

Exhibit 15, pp. 18-20. To summarize, Irifuni lacks a “rotatable attachment” because the camera either has

to be screwed tightly down, in which case it is not rotatable, or it has to be loosely appended via an

unthreaded hole, in which case it is not attached. As set forth in detail in the Muskivitch Report,

AdjustaCam had ample basis, in fact meritorious basis, to contend that Irifune was not invalidating.

       Although the USPTO issued final rejections based upon Irifuni in September 2012, the USPTO

took many months to reach a final decision, it is not perfect, and those final rejections were erroneous.

Nonetheless, since the appellate process is lengthy and expensive, AdjustaCam made the strategic decision

to cancel the asserted claims in order to expedite the issuance of a reexamination certificate containing new

and amended claims, all of which were deemed patentable over Irifune. See Exhibits 13 (Office Action

Response) and 16 (Issue Notice).

       Moreover, AdjustaCam had already filed a motion to dismiss NewEgg/Rosewill before the final

rejection by the USPTO as a result of the GearHead and HP licenses, and AdjustaCam renewed that

motion once the asserted claims had been canceled.              If anything, the voluntary dismissal of

NewEgg/Rosewill shows a lack of bad faith and a lack of litigation misconduct.



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       NewEgg alleges that AdjustaCam’s distinctions of Irifuni were “objectively baseless” because “if

the camera disclosed in the ‘343 Patent was “permanently fixed to,” or had to be “fully tightened down to”

the hinge member, then the camera could not rotate about the first axis of rotation as the Asserted Claims

and specification require.” NewEgg is both mistaken and confused. NewEgg is mistaken because a

permanently attached camera can rotate about a first axis of rotation.           In fact, the USPTO has

acknowledged this. In particular, as a result of the reexamination proceedings instituted by Defendants,

the USPTO has allowed multiple new claims, including independent claims 20 and 44, both of which

comprise: “a hinge member adapted to be rotatably and permanently attached to the camera, said camera,

when the hinge member is so permanently attached, rotating, about a first axis of rotation, relative to said

hinge member . . .” Exhibit 5, pp. 5 & 8-10 & Exhibit 4, p. 12. As stated by the USPTO,

       Claim 22 requires "a hinge member adapted to be rotatably and permanently attached to the
       camera". Similarly, claim 40 requires "a hinge member adapted to be permanently rotatably
       attached to the camera" and claim 41 requires "a hinge member adapted to be permanently
       rotatably joined to the camera". This type of connection is not shown by the cited art.

Exhibit 4, p. 12. In the second part of its argument – which asserts that if a camera was “fully tightened

down” to the hinge member, then the “camera could not rotate about the first axis of rotation as the

Asserted Claims and specification require” – NewEgg is confused as this is one of the reasons that Irifuni

does not meet the “rotatably attached” limitation. Apparently, in its confusion, NewEgg agrees with

AdjustaCam’s position distinguishing Irifune.

       Finally NewEgg argues that “the arguments advanced by Plaintiff and its expert contradicted

Plaintiff’s proposed construction of ‘rotatably attached’ in this very litigation because an object

‘permanently fixed’ to another object is not ‘capable of being rotated.’” Here again, as noted above, the

USPTO has agreed with AdjustaCam that being permanently attached is not inconsistent with being

rotatably attached.

        G.     AdjustaCam did not maintain any “frivolous” arguments against the Ma Patent. In
               fact, the USPTO has agreed with AdjustaCam’s arguments.


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       NewEgg’s allegations regarding Ma are mistaken. As set forth in detail the report of AdjustaCam’s

technical expert Dr. Muskivitch, Ma is not anticipatory because:

       Ma discloses a camera with moveable parts. On a horizontal surface, the camera is
       supported on circuit box 3. On a laptop display screen, the camera is supported with a
       combination of circuit box 3 and sliding hook plate 31. As noted in Ma’s title and
       throughout the patent, the invention described in Ma is a “camera.” For example, claim 1
       of Ma is directed to “[a] digital camera for a computer comprising: a photographic lens
       assembly . . . an adjustment block . . . steering element[s] . . . [and] “a circuit box.” …
       Contrary to the assertions in the Klopp Report, the camera of Ma cannot be rotated
       relative to the hinge member, because the camera of MA is the combination of
       photographic lens assembly (1), adjustment block (2), circuit box (3), tubular revolving
       shaft (11) and tubular revolving shaft (21). In the illustration below, the various parts of
       the camera are noted in red:




Exhibit 15, pp. 28-30. See Exhibit 17 (Ma). Not only is AdjustaCam’s assessment of Ma correct, but the

USPTO agrees with it. During reexamination proceedings, the USPTO initially rejected the Asserted

Claims as being anticipated by Ma. Exhibit 18, p.10. However, AdjustaCam made the same arguments

noted above, Exhibit 19, pp. 27-28. Acknowledging the merit of AdjustaCam’s arguments, the USPTO

dropped Ma as an anticipatory reference, and wrote that “The rejections that relied on Ma in the prior

Office action have been overcome.” Exhibit 20, p. 16. Moreover, NewEgg/Rosewill’s apparent belief that

every dispute of point it advocates (including when disputed by experts applying reasoned analysis),

constitutes a “frivolous” argument is unfounded.

       H.     AdjustaCam did not “fabricate” a per-unit royalty to “justify nuisance value
              settlements.”

       As set forth in detail in Section II.E, AdjustaCam’s target royalty of $1.25 - $1.50 per webcam was

established years prior to this lawsuit in the Phillips and               Licenses.    AdjustaCam did not

“fabricate” anything. Its damages expert Mr. Bratic performed a detailed, reasoned and well founded

analysis. The running royalties in those licenses set the precedent that AdjustaCam used throughout this

                                                    18
                                                                                ATTORNEY’S EYES ONLY

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case. In fact, twenty settling defendants agreed with AdjustaCam’s royalty metric and paid lump sums

according to that established royalty rate. Here again, NewEgg/Rosewill has not shown that the

methodology employed by AdjustaCam’s damages expert is unsound. NewEgg/Rosewill’s criticisms

involve a battle of the experts, and they go, if anything, to the weight that a jury would be entitled to give

to Mr. Bratic’s opinions. Again, NewEgg/Roswell’s apparent belief that every point of disagreement,

including among experts applying reasoned analysis, constitutes something “fabricated” is unfounded.

       I.      NewEgg/Rosewill has not met its burden of showing this is an exceptional case, and it
               is not entitled to any award of fees.

       AdjustaCam does not dispute that NewEgg is the “prevailing party” since it was voluntarily

dismissed, nor does AdjustaCam dispute the amount of NewEgg’s taxable costs claimed in Doc No. 726.

There is nothing exceptional about this case. AdjustaCam initially sought to dismiss NewEgg/Rosewill –

over NewEgg/Rosewill’s objection – for strategic reasons based in large part on a dimished royalty base

due to settlements with other defendants. Ultimately, the USPTO rejected the asserted claims after lengthy

reexamination proceedings, and although AdjustaCam disagrees with the USPTO’s conclusions, it has

decided to move on by accepting a reexamination certificate with new and amended claims deemed

patentable over the prior art by the USPTO. NewEgg/Rosewill has not shown, much less shown by clear

and convincing evidence, that AdjustaCam’s claims were frivolous or that there has been any litigation

misconduct. For the most part, NewEgg/Rosewill is simply narcissistic and naïve in arguing that disputed

points, based upon the reasoned and sound analysis of experts, are “frivolous” solely because

NewEgg/Rosewill disagrees with them. Moreover, at best, NewEgg/Rosewill’s motion argues that

AdjustaCam should have dismissed NewEgg/Rosewill in April 2012 instead of August 2012. Moreover, at

best, NewEgg/Rosewill’s motion argues that AdjustaCam should have dismissed NewEgg/Rosewill in

April 2012 instead of August 2012.

       Even if NewEgg/Rosewill’s arguments had factual merit, which they do not, its claim for all fees

expended over the lengthy course of this case is unfounded. Further, NewEgg/Rosewill incurred

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approximately $160,761.50 of its $286,102.53 in attorney’s fees post-Markman. See NewEgg/Rosewill

Motion; Zarian Declaration. However, if the infringement issues with the “rotatably attached” element

were as cut and dry as NewEgg/Rosewill has represented, NewEgg/Rosewill could have and should have

sought summary judgment immediately following receipt of the Court’s Markman Order.                 Rather,

NewEgg/Rosewill chose to continue this litigation, incurring more attorney’s fees (56% of the total) in the

five months post-Markman than it did in the almost two years prior. The reality is that these issues are not

as NewEgg/Rosewill has represented and, in addition to be incorrect as to the facts, NewEgg/Rosewill has

cited nothing more than a dispute between competing experts – a situation common to each and every

patent case. Nothing NewEgg/Rosewill has shown supports a finding that this case is exceptional.

       Finally, NewEgg/Rosewill’s claim for reimbursement of expert expenses constitutes a gross and

unfounded overreach. A court has inherent authority “to impose sanctions in the form of reasonable expert

fees in excess of what is provided for by statute.” Takeda Chem. Indus., Ltd. v. Mylan Labs., Inc., 549 F.3d

1381, 1391 (Fed.Cir.2008). However, use of this inherent authority is reserved for cases where the district

court makes a “finding of fraud or bad faith whereby the ‘very temple of justice has been defiled.’ ”

Amsted Indus. Inc. v. Buckeye Steel Castings Co., 23 F.3d 374, 378 (Fed.Cir.1994). NewEgg/Rosewill has

not even argued this very high standard because it has not been met. Further, all of NewEgg/Rosewill’s

expert fees were incurred post-Markman. Again, if the infringement issues with the “rotatably attached”

element were as cut and dry as NewEgg/Rosewill has led the Court to believe, then it begs the question of

why NewEgg/Rosewill paid so much for experts when the case against it was allegedly frivolous and could

have been disposed of summarily by summary judgment at an earlier stage

V.     Conclusion and Request for Oral Hearing.

       For at least the foregoing reasons, NewEgg/Rosewill has failed to meet its burden of proving this is

an exceptional case, or proving any entitlement to fees, and NewEgg’s Motion should be denied. Finally,

AdjustaCam requests an oral hearing so that the Court may be fully informed of these issues, including

how NewEgg/Rosewill have failed to carry their burden of showing this to be an exceptional case.
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                                                                               ATTORNEY’S EYES ONLY
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November 7, 2012                       Respectfully submitted,

                                       By: /s/ John J. Edmonds
                                       John J. Edmonds – LEAD COUNSEL
                                       Texas State Bar No. 789758
                                       Michael J. Collins
                                       Texas Bar No. 4614510
                                       Stephen F. Schlather
                                       Texas Bar No. 24007993
                                       COLLINS, EDMONDS, POGORZELSKI,
                                       SCHLATHER & TOWER, PLLC
                                       1616 S. Voss Rd., Suite 125
                                       Houston, Texas 77057
                                       Telephone: (713) 501-3425
                                       Facsimile: (832) 415-2535
                                       jedmonds@cepiplaw.com
                                       mcollins@cepiplaw.com
                                       sschlather@cepiplaw.com

                                       Andrew W. Spangler
                                       Texas Bar No. 24041960
                                       Spangler & Fussell P.C.
                                       208 N. Green Street, Suite 300
                                       Longview, Texas 75601
                                       (903) 753-9300
                                       (903) 553-0403 (fax)
                                       spangler@spanglerlawpc.com

                                       ATTORNEYS FOR PLAINTIFF
                                       ADJUSTACAM LLC




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                                                                   ATTORNEY’S EYES ONLY



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                     CERTIFICATE OF AUTHORITY TO FILE UNDER SEAL

I hereby certify that authority to file this document under seal is found in the protective order governing
this case.

November 7, 2012                                            /s/ John J. Edmonds
                                                          John J. Edmonds

                                     CERTIFICATE OF SERVICE

I hereby certify that all counsel of record who are deemed to have consented to electronic service are being
served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3).

November 7, 2012                                            /s/ John J. Edmonds
                                                            John J. Edmonds




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settlement agreement, which covered 82,670 units for an implied royalty of $.80/unit. (Bratic Depo.

at 137:18-138:2.) Hewlett-Packard paid $25,000, which according to the number of units sold as

stated in Mr. Bratic’s report, covered 8,829 units for an implied royalty of $2.83/unit. (Bratic Depo.

at 137:18-138:2; 184:12-185:1; Supplemental Report of Walt Bratic, Exhs. 4, 4.1.)

        11.    Attached hereto as Exhibit 7 are true and accurate excerpts of the transcript of the

deposition of John Muskivitch (sans exhibits), taken on August 24, 2012.

        12.    Attached hereto as Exhibit 8 are true and accurate excerpts of the transcript of the

deposition of Walter Bratic (sans exhibits), taken on August 28, 2012.

        13.    Attached hereto as Exhibit 9 are true and accurate excerpts of the transcript of the

30(b)(6) deposition of AdjustaCam LLC by Clayton Haynes (sans exhibits), taken on August 30,

2012.

B.      CASE MANAGEMENT AND SETTLEMENT DIALOGUE

        14.    On February 7, 2011, the Court held an initial status conference. A true and correct

transcript of the proceedings is attached as Exhibit 10.

        15.    Attached hereto as Exhibit 11 is a true and accurate copy of Newegg and Rosewill’s

sales data for the accused products, produced to AdjustaCam pursuant to the Court’s order following

status conference on February 7, 2011. (See Minute Entry Re Status Conference [Dkt. 386]).

        16.    On November 9, 2011, I represented Newegg Inc., Newegg.com Inc., and Rosewill

Inc. at mediation in Dallas, Texas before mediator Jim Knowles. Other defendants (particularly the

“supplier defendants”) attended and participated in the mediation. Lee Cheng, Chief Legal Officer

of Newegg also attended the mediation. At the mediation, Plaintiff demanded $75,000 from Newegg

and Rosewill. Plaintiff provided no calculations or bases in support of its demand.




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         17.     On March 16, 2012, Plaintiff agreed to reduce its settlement demand to Newegg from

$75,000 to $65,000.

         18.     On July 11, 2012, Plaintiff’s counsel emailed Newegg’s counsel with a settlement

demand to Newegg in the amount of $51,543. Plaintiff provided no calculations or bases in support

of its demand.     A true and correct copy this email is attached hereto as Exhibit 12.

C.       THE ‘343 PATENT, PRIOR ART, AND DOCUMENTS FILED DURING
         REEXAMINATION

         19.     Attached hereto as Exhibit 13 is a true and accurate copy of 5,855,343 (the ‘343

Patent).

         20.     Attached hereto as Exhibit 14 is a true and correct copy of Japanese Utility Model

Publication No. H2-19997 to Irifune, with certificate of translation.

         21.     Attached hereto as Exhibit 15 is a true and correct copy of U.S. Patent No. 5,880,783

to Ma.

         22.     Attached hereto as Exhibit 16 is a true and accurate copy of the USPTO’s Non-Final

Action dated August 12, 2011.

         23.     Attached hereto as Exhibit 17 is a true and accurate copy of the patentee’s February

10, 2012 Remarks/Arguments in response to the USPTO’s Office Action dated August 12, 2011.

         24.     Attached hereto as Exhibit 18 is a true and accurate copy of the USPTO’s Non-Final

Office Action dated March 8, 2012.

         25.     Attached hereto as Exhibit 19 is a true and accurate copy of the patentee’s July 20,

2012 Remarks/Arguments in response to the USPTO’s Office Action dated March 8, 2012.

         26.     Attached hereto as Exhibit 20 is a true and accurate copy of the USPTO’s Final

Rejection dated August 30, 2012.




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        55.     Attached hereto as Exhibit 28 are true and accurate copies of invoices from

Defendants’ of non-infringement expert, John Hamilton. Defendants have paid the invoiced

amounts.

        56.     Attached hereto as Exhibit 29 are true and accurate copies of invoices from

Defendants’ damages expert, Ryan Sullivan, Ph.D. Defendants have paid the invoiced amounts.

        57.     Attached hereto as Exhibit 30 are true accurate copies of invoices from Defendants’

invalidity expert, Richard Klopp, Ph.D. Defendants have paid the invoiced amounts.

        58.     As more particularly set forth in Exhibits 28, 29, and 30, Defendants incurred expert

witness fees in the amount of $68,183.93 during the period June 2012 through September 2012.

E.      CONCLUSION

        59.     Based upon my experience and knowledge, under the circumstances, in my opinion,

the total sum of $286,102.52 in attorney’s fees, in addition to $68,183.93 in expert witness fees, is a

reasonable amount for Defendants to have incurred in litigating this action from July 2010 through

September 2012. In my opinion, this sum is reasonable given the experience, specialty and

competence of the attorneys and paralegals involved, and the nature of the legal, procedural and

factual issues at issue in this case.

        I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

        Executed this 11th day of October, 2012, at Boise, Idaho.




                                               /s/ John N. Zarian
                                               John N. Zarian




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period. It is my understanding that damages for each of the Defendants can only begin on July 2,
2010, as this is the date upon which the Defendants were first notified of the '343 Patent. Based
upon a damage period of July 2, 2010 through June 25 , 2012, I have calculated the royalty base
by Defendant as follows:267




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                                      II
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           6.6         Reasonable Royalty Conclusion


109.       It is my opinion that damages for infringement in this matter are appropriately measured
by a reasonable royalty rate applied to a royalty base comprised of the total U.S. lmit sales of the
Accused Products as calculated above. As a result of applying a royalty rate of $1.25 to U. S.
sales of Accused Products, I calculated reasonable royalty damages owed to AdjustaCam for
each of the Defendants as follows: 268




267
      See Exhibit 4.
268
      See Exhibit 4.

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                                                          Al244
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                                    II
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110.        The royalty damages above are not additive as the Defendants involve both suppliers and
resellers and therefore include an overlap in sales among the Defendants. In an effort to
eliminate any duplication, I have eliminated overlapping sales in my royalty base at the retail
level due to the exhaustion principle. The following table provides a breakdown of royalty
damages by Defendant, eliminating any overlapping sales:269




269
      See Exhibit 4. 1.

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                                                         A1245
                                                         Al245
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            ADJUSTACAM LLC v. AMAZON.COM, INC., ET AL.

                         NO. 6:10-cv-329-LED

               IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF TEXAS
                          TYLER DIVISION

EXPERT REPORT OF JOHN C. MUSKIVITCH REGARDING INFRINGEMENT OF
                    U.S. PATENT NO. 5,855,343




                                        Dated: June 25, 2012


                                        Respectfully submitted,




                                        JOHN C. MUSKIVITCH




                                  1
                                                      HIGHLY CONFIDENTIAL
                                                     ATTORNEY’S EYES ONLY

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                         EXHIBIT D (ROSEWILL RCM-8163)
                 INFRINGEMENT CHART FOR THE ROSEWILL RCM-8163

1(p)   Apparatus for supporting a         As noted in the photos below, the ROSEWILL RCM-8163 is
       camera, having a lens, on any      an apparatus (i.e., a camera clip) for supporting a camera,
       generally horizontal,              namely a webcam.
       substantially planar surface and
       on an object having a first        As noted in the photos below, the camera supported by the
       surface and a second surface       ROSEWILL RCM-8163 has a lens.
       and an edge intersecting the
       first surface and the second       The ROSEWILL RCM-8163 is an apparatus for supporting a
       surface, comprising:               camera on a generally horizontal, substantially planar smface,
                                          for example, a table top or desk top. For example:




                                          The ROSEWILL RCM-8163 is an apparatus for supp01iing a
                                          camera on an object, for example the display screen of a laptop
                                          or notebook (collectively "laptop") computer, having a fust
                                          surface and a second smface and an edge intersecting the fust
                                          surface and the second surface. For example, with a laptop
                                          computer, the fust surface is the back of the display screen, the
                                          second surface is the front of the display screen, and an edge
                                          intersects those surfaces.

1(a)   a. a hinge member adapted to       The ROSEWILL RCM -8163 comprises a hinge member (noted
       be rotatably attached to the       with a green arrow) adapted to be rotatably attached to the
       camera, said camera, when the      camera.
       hinge member is so attached,
       rotating, about a first axis of
       rotation, relative to said hinge
       member; and




                                          When the hin e member is so attached the camera rotates about



                                                 A1254
                                                 A1254
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                                           a fust axis of rotation (noted with a blue circular anow) relative
                                           to the hinge member. The axis of rotation is a single axis of
                                           rotation which is petpendicular to the trunk of the hinge
                                           member.




1(b)   b. a support frame rotatably        The ROSEWILL RCM-8163 comprises a suppot1 frame (noted
       attached to said hinge member       with a red anow) which is configured to suppol1, and which
       and configured to support said      does support, the hinge member on the surface (see above re
       hinge member on the surface         smface) and the object (see above re object).
       and the object, said hinge
       member rotating about a
       second axis of rotation relative
       to said support frame, said first
       axis of rotation being generally
       petpendicular to said second
       axis of rotation, said second
       axis of rotation being
       substantially parallel to the
       first surface when said hinge       The suppol1 frame of the ROSEWILL RCM-8163 is rotatably
       member is suppot1ed on the          attached to the hinge member. The hinge member rotates about
       object,                             a second axis of rotation (noted with a yellow anow), relative
                                           to the support frame. This axis of rotation is defmed by a
                                           channel in the suppot1 frame. Thus, it is a single axis of
                                           rotation.

                                           The first axis of rotation (noted with a blue anow) is at least
                                           generally petpendicular to the second axis of rotation (noted
                                           with a yellow arrow). In pal1icular, the camera always rotates
                                           perpendicular to the bunk of the hinge member. For example:




                                           As noted in the photo above, the second axis of rotation (noted
                                           with a yellow arrow) is at least substantially parallel to the first
                                           surface (see above re first surface) when the hinge member (see
                                           above re hinge member) is supported on the object (see above




                                                   2


                                                   A1255
                                                   A1255
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       first disposition positioned on   ROSEWILL RCM-8163 has a first disposition when positioned
       said generally horizontal,        on the generally horizontal, substantially planar surface (see
       substantially planar surface,     above re generally horizontal, substantially planar surface).
       and
                                         For example, see the above photos at the preamble and
                                         elements (a) and (b) of claim 1.

1(d)   said support frame having a       The support frame (see above re support frame) of the
       second disposition attached to    ROSEWILL RCM-8163 has a second disposition when
       the object when said first        attached to the object (see above re object) when the first
       surface and said second surface   surface (see above re first surface) of the object (see above re
       are inclined from a generally     object) and the second surface of the object (see above re
       horizontal orientation, the       second surface) are inclined from a generally horizontal
       camera being maintained           orientation, for example when a laptop computer’s display
       adjacent said edge in said        screen is opened.
       second disposition of said
       support frame.                    For example:




                                      As noted in the photo above, in this second disposition the
                                      camera is maintained adjacent the edge (see above re edge) of
                                      the object (see above re object).
7(p)   Apparatus according to claim 1 The ROSEWILL RCM-8163 is an apparatus according to claim
                                      1. See above re claim 1.
7(a)   wherein the object is a display   As noted above at the preamble of claim 1 and at element d of
       screen for a laptop computer,     claim 1, the ROSEWILL RCM-8163 is an apparatus for
                                         supporting a camera on a display screen for a laptop computer.

                                         For example:




                                                 3


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7(b)   and the second surface is the      As noted above at the preamble of claim 1 and at element d of
       fi:ont of the display screen       claim 1, the ROSEWILL RCM-8163 is an apparatus for
                                          supporting a camera on a display screen for a laptop computer,
                                          wherein the second smface (noted with a dark purple anow) is
                                          the front of the display screen.

                                          For example:




7(c)   and the first smface is the back   As noted above at the preamble of claim 1 and at claim 1,
       of the display screen.             element (d) (and in the photo at claim 7, element (a)), the
                                          ROSEWILL RCM-8163 is an apparatus for supp011ing a
                                          camera on a display screen for a laptop computer, wherein the
                                          first smface (noted with a light pmple anow) is the back of the
                                          display screen.




                                                 4


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                                                 A1 257
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19(p)   A camera clip for supporting a   As noted above at the preamble of claim 1 and at claim 1,
        camera on a laptop computer,     element (d), the ROSEWILL RCM-8163 is a camera clip for
        the laptop computer having a     supporting a camera on a laptop computer having a display
        display screen which can be      screen which can be inclined fi:om a generally horizontal
        inclined from a generally        position (i.e., when opened) with the uppetmost portion of the
        horizontal position, an          display screen defming an edge.
        uppetmost portion of the
        display screen defming an        For example:
        edge, comprising:




19(a)   a. a hinge member adapted to
        be rotatably attached to the
        camera, said camera rotating
        about a first axis of rotation
        relative to said hinge member;
        and

19(b)   b. a support frame hingedly      The ROSEWILL RCM-8163 comprises a support frame (see
        attached to said hinge member    above re supp011 frame) which engages and supp011s the hinge
        to engagingly support said       member (see above re hinge member) on the display screen.
          ·    member on the ·

                                                5


                                                A1258
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        screen,




                                          As depicted in the graphic above, the suppol1 fi:ame (see above
                                          re suppol1 frame) is hingedly attached to the hinge member (see
                                          above re hinge member), wherein the range of motion is
                                          defined by a channel in the supp01t frame.

19(c)   said hinge member rotating        The ROSEWILL RCM-8163 comprises the hinge member (see
        over a second axis of rotation    above re hinge member) rotating over a second axis of rotation
        relative to said suppol1 frame,   (see above re second axis of rotation), as noted with a yellow
        the camera being maintained       auow, relative to the suppol1 frame (see above re supp01t
        adjacent the edge,                frame). This axis of rotation is defined by channel in the
                                          supp01t frame.

                                          For example:




                                          As exemplified by the photo above, the ROSEWILL RCM-
                                          8163 com rises the camera bein maintained ad·acent the ed e

                                                 6


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                                            (see above re edge) of the laptop computer.

19(d)   rotation of said support frame      As exemplified by the photo above below, the ROSEWILL
        being prevented along an axis       RCM-8163 comprises the support frame (see above re support
        substantially parallel to said      frame) being supported on the display screen, and its
        second axis where said second       movement constrained by a front lip, and thus rotation of the
        axis is substantially parallel to   support frame is prevented along an axis which is at least
        said edge.                          substantially horizontal.




                                            As noted in the above photo, this at least substantially
                                            horizontal axis is at least substantially parallel to the second
                                            axis (see above re second axis) and the second axis is at least
                                            substantially parallel to the edge.




                                                    7


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(2). Thus, by all indications, camera attachment shaft (9) freely passes through camera fixed

part (2).

        When a camera is mounted on the Irifune device, it would be screwed onto camera

attachment shaft (9) and tightened against camera fixed part (2) using camera attachment screws

(10) and (11). See elsewhere herein for further observations/opinions applicable to Irifune.

        At paragraph 39, the Klopp Report states that Irifune “describes a device that can be

rotatably attached to a camera . . .” I disagree that Irifune discloses the “rotatably attached”

element.2 First, the plain and ordinary meaning, to one of ordinary skill in the art at the time of

the invention, of “attached” is to be permanently fixed, joined, connected, or bound. See e.g.,

Merriam-Webster Dictionary, or Oxford Dictionary.                    A partially threaded camera is not

permanently fixed, joined, connected, or bound to the hinge member. In addition, a partially

threaded camera is unstable, which is counter to the intended support to be provided by the

Irifune device. With Irifune, the camera is not even attached to the hinge member until fully

tightened down using camera attachment shaft (9) and camera attachment screws (10) and (11).

        Further, even assuming for the sake of argument that with Irifune the camera is attached,

it is not “rotatably attached.” As stated in my prior report:

        . . . Irifune discloses that a camera can be screwed onto a mounting device using a
        camera attachment shaft 9 and camera attachment screws 10 and 11. The purpose
        of the camera attachment shaft and screws is to attach the camera to the camera
        fixed part 2. Once the camera is attached to the camera fixed part 2, the camera
        cannot rotate about a first axis relative to the hinge member.

        Further, with the Irifune apparatus, a partially threaded camera is not rotatably
        attached to the hinge member. FIG. 2 of Irifune shows a camera fixed part 2 that
        is unthreaded, and a camera attachment shaft 9 that is also partially unthreaded at
        the location where it would be disposed within an opening of the camera fixed
        part. Thus, the camera attachment shaft 9 can freely pass through the opening of

2
 The specific language found in claims 1, 7, 8 and 19 is a “hinge member adapted to be rotatably attached to the
camera . . .”

                                                        18


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 THE MATERIAL OMITTED DISCLOSES MATERIAL DEEMED CONFIDENTIAL UNDER LICENSE
                                                                                                                              Attachment 7
                                                                                                               Terms of '343 Patent Settlement Agreements




                                                                                                                                                                                                       •
                                PAR Technologies                                                       12/31/2001   12/31/2011                                Yes         n/a   GLOBALMEDIA000013-Q34

I Adjustacam                                                                                           9/21/2010     3/7/2017                                 Yes         Yes   ADJCAM -SETILE00006Q-69

I Adjustacam                                                                                                                                                                                            II




                                                                                                                                                                     A1282
                                                                             lntcomex, et al.          11/22/2010    3/7/2017                                 Yes         Yes   ADJCAM-SETILE000038-Q48

I Adjustacam                                                                 Jasco                     12/28/2010    3/7/2017                                 Yes         Yes   ADJCAM-SETILE000016-Q26
                                                                                                                                                                                                       I
I AdjustaCam                                                                 Phoebe Micro              3/17/2011     3/7/2017                                 Yes         Yes   ADJCAM-SETILE000049-Q59I
I AdjustaCam                                                                 jWIN                      3/23/2011     3/7/2017                                 Yes         Yes   ADJCAM-SETILE000027-Q37I

I Adjustacam                                                                 KYE, et al.               3/24/2011     3/7/2017                                 Yes         Yes   ADJCAM-SETILE000244-254

I AdjustaCam                                                                 Trust International        6/3/2011     3/7/2017                                 Yes         Yes   ADJCAM000106-116

I AdjustaCam                                                                 Chicony                   6/28/2011     3/7/2017                                 Yes         Yes   ADJCAM000097-Q105

I Adjustacam                                                                 RadioS hack                8/8/2011     3/7/2017                   n/a           Yes         Yes   ADJCAM000117- 126

I Adjusta Cam
                                                                                                                                                                                                  -
                                                                             Balt ic Latvia n          8/11/2011     3/7/2017                   n/a           Yes         Yes   ADJCAM000127- 139

I AdjustaCam                                                                 Overstock                 9/12/2011     3/7/2017                   n/a           Yes         Yes   ADJCAM-SETILE000191-Q201

I AdjustaCam                                                                 Dell                      11/2/2011     3/7/2017                   n/a           Yes         Yes   ADJCAM-SETILE000153- 163 I
I AdjustaCam                                                                 Mace Group, et al.        11/11/2011    3/7/2017                   n/a           Yes         Yes   ADJCAM-SETILE000176-190
                                                                                                                                                                                                         I
I Adjustacam                                                                 Creative, et al.          11/18/2011    3/7/2017                   n/a           Yes         Yes   ADJCAM-SETILE000142- 152I

I AdjustaCam                                                                 J&R                       12/30/2011    3/7/2017                   n/a           Yes         Yes   ADJCAM-SETILE000164- 175
                                                                                                                                                                                                         I
I Adjusta cam                                                                Systemax, et al.          3/15/2012     3/7/2017                   n/a           Yes         Yes   ADJCAM-SETILE000202- 212I

I Adjusta Cam                                                                Amazon                    3/22/2012     3/7/2017                                 Yes         Yes   ADJCAM-SETILE000213- 222I

I AdjustaCam                                                                 Aud itek                  5/10/2012     3/7/2017                                 Yes         Yes   ADJCAM -SETILE000214- 222I

II!
  AdjustaCam                                                                 Digital Innovations       5/31/2012     3/7/2017                                 Yes         Yes   ADJCAM-SETILE000202- 213I
                                         •• staCam                           COW, et al.               6/22/2012     3/7/2023                   n/a           Yes         Yes   cow    reement, 6/22/2012




HIGHLY CONFIDENTIAL- ATTORNEYS' EYES ONLY                                                                                                                                                        Page 1 of 1
                                                                                                                                 A1282
                                 THE MATERIAL OMITTED DISCLOSES MATERIAL DEEMED CONFIDENTIAL UNDER LICENSE
                                                             Attachment 12
                                                           Implied Royalty Rates


                                      Settlement                Data Period                         Pre‐Agreement
   Licensee              Source
                                       Amount
                                                        Start                 End     Start        End        Units   Implied Rate




                                                                                                                                        Case: 13-1665
   Amazon                 [A]                          9/7/2007         5/23/2011    7/2/2010    3/22/2012
   Auditek                 [B]                        7/14/2010         9/13/2011    7/2/2010    5/10/2012
   Baltic Latvian          [C]                         1/1/2009         6/30/2010    1/1/2009    8/11/2011
   CDW, et al.            [D]                         1/29/2007         12/4/2011    7/2/2010    6/22/2012
   Chicony                 [E]                         1/1/2006         12/31/2012   1/1/2006    6/28/2011
   Creative, et al.        [F]                         1/1/2004         12/31/2011   7/2/2010   11/18/2011




                                                                                                                                        Document: 97-2
   Dell                   [G]                          1/1/2007          5/1/2011    7/2/2010    11/2/2011
   Digital Innovations    [H]                           7/2010            4/2012     7/2/2010    5/31/2012
   KYE, et al.             [I]                         1/1/2008         12/31/2010   1/1/2008    3/24/2011
   Mace Group, et al.      [J]                         1/1/2008         7/31/2011    7/2/2010   11/11/2011
   Overstock               [K]                         7/2/2010         4/13/2011    7/2/2010    9/12/2011
   Systemax, et al.        [L]                        2/22/2008          4/5/2011    7/2/2010    3/15/2012




                                                                                                                                        Page: 177
   Trust International    [M]                          9/1/2007         3/31/2009    9/1/2007    6/3/2011
   Minimum
   Maximum




                                                                                                                                        Filed: 12/11/2014
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                                                                                                           Case: 13-1665        Document: 97-2   Page: 178   Filed: 12/11/2014
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                                                                             Aud itek              [B]                   3/7/ 2017                           7/ 2/ 2010   3/7/2017
                                                                             Baltic Latvian        [C]     8/ 11/ 2011   3/7/ 2017                           1/ 1/ 2009   3/ 7/ 2017
                                                                             COW, et al.           [D]     6/ 22/ 2012   3/ 7/ 2017                          7/ 2/2010    3/ 7/ 2017
                                                                             Chicony               [E]     6/ 28/ 2011   3/7/2017                            1/ 1/ 2006   3/7/2017




                                                                                                                                                                              A1284
                                                                             Creative, et al.      [F]    11/ 18/ 2011   3/ 7/ 2017                          7/ 2/ 2010   3/ 7/ 2017
                                                                             Dell                  [G]    11/ 2/ 2011    3/7/ 2017                           7/2/ 2010    3/7/2017
                                                                             Digital Innovations   [H]     5/ 31/ 2012   3/7/ 2017                           7/ 2/ 2010   3/7/2017
                                                                             KYE, et al.            [I]    3/ 24/ 2011   3/ 7/ 2017                          1/ 1/ 2008   3/ 7/ 2017
                                                                             Mace Group, et al.    [J]    11/ 11/ 2011   3/ 7/ 2017                          7/ 2/2010    3/7/2017
                                                                             Overstock                    9/ 12/ 2011    3/ 7/ 2017
                                                                             Systemax, et al.              3/ 15/ 2012   3/ 7/ 2017
                                                                             Trust International


                                                                             Maximum




                                                                            HIGHLY CONFIDENTIAL- ATTORNEYS' EYES ONLY                                                                  Page 2 of 3



                                                                                                                                          A1 284
 Notes and sources:
 Sullivan Attachments 7, 11.
 Bratic Report, 6/25/2012, at ¶¶37–66.
 Unit data come from sources identified in Sullivan Attachment 11.
 "Pre‐Agreement Units" are calculated as the sum of reported units for "Licensee" in the specified time period.
 "Implied Rate" = ("Settlement Amount" / "Units").
 The "Pre‐Agreement" period begins as of the date of earliest available "Licensee" data for agreements entered into prior to 8/17/2011 and 7/2/2010 otherwise.
 See Plaintiff's Response to the Motions (DKT Nos. 473, 376, and 483) for Partial Summary Judgment Regarding Pre‐Suit Damages Pursuant to Section 287(A) Filed by Certain Defendants, 8/17/2011.




                                                                                                                                                                                                          Case: 13-1665
 The "Pre‐Agreement" period ends as of the date of the settlement agreement.
 The "Post‐Agreement" period extends to the expiration of the patent.
 [A] Post‐agreement units are set to zero based on declining sales trend.
 [B] Post‐agreement units are set to zero based on the cessation of sales by Auditek.See Email from Jeff Lee to John Edmonds, 9/13/2011 (ADJCAM000502–03).
 [C] Post‐agreement units are set to zero based on declining sales trend.
 [D] Post‐agreement units are calculated based on annual 2011 unit sales applied to the applicable time range.
 [E] Post‐agreement units are calculated based on average annual unit sales applied to the applicable time range.
 [F] Post‐agreement units are set to zero based on declining sales trend.
 [G] Post‐agreement units are calculated based on average monthly unit sales from 2010 – 2011 applied to the applicable time range.




                                                                                                                                                                                                          Document: 97-2
 [H] Post‐agreement units are calculated based on average monthly unit sales from 2011 – 2012 applied to the applicable time range.
 [I] Post‐agreement units are calculated based on annual 2010 unit sales applied to the applicable time range.
 [J] Post‐agreement units are calculated based on average annual unit sales applied to the applicable time range.
 [K] Post‐agreement units are calculated based on average annual unit sales from 7/2/2010 – 4/13/2011 applied to the applicable time range.
 [L] Post‐agreement units are set to zero based on declining sales trend.
 [M] Post‐agreement units are set to zero based on cessation of sales in the U.S. after March 2009.




                                                                                                                                                                                                          Page: 179
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HIGHLY CONFIDENTIAL–ATTORNEYS' EYES ONLY                                                                                                                                                    Page 3 of 3
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                                                                                                                 Page 36
             1                      Q.         What specifically do you recall about that

             2            interview?

             3                      A.         Well, everything I discussed with

             4            Mr. Barthelemy is cited in my report, so I'll just

             5            refer you to the footnotes where I talk about that.

             6                                             If you'll go to Page 14.

             7                      Q.         Uh-huh.

             8                      A.         If you'll look at Footnote 61, 62, and 63,

             9            which are referenced in Paragraph 33 --

           10                       Q.         Uh-huh.

           11                       A.         -- that's the subject matter of my discussion

           12             with Mr. Barthelemy.                     I believe that's the extent of

           13             it.

           14                                              Now, go to Footnote 211, which is on

           15             Page 33, Paragraph 75.                     And that's it.

           16                       Q.         Okay.         So aside from Footnote 61 to 63,

           17             Footnote 211, are you aware of any other --

           18                       A.         Subject matter?

           19                       Q.         Yes, thank you -- any other areas of subject

           20             matter that you discussed with Mr. Barthelemy that

           21             aren't listed here in your report?

           22                       A.         No.

           23                       Q.         Let's take a look at Footnote 61 briefly.

           24                       A.         Okay.         All right.

           25                       Q.         Is it fair to say that you and



                                                                  "CONFIDENTIAL"


Electronically signed by Lesia Wagner (501-206-347-7161)                                          a24a3702-8128-4c23-8f62-53d84b4a9f47
                                                                     A1303
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                                                                                                                 Page 37
             1            Mr. Barthelemy, during your interview, discussed what

             2            GlobalMedia and PAR Technologies would have considered

             3            in a hypothetical negotiation for rights to the '343

             4            patent?

             5                      A.         Yes.

             6                      Q.         And you understand that Mr. Barthelemy was a

             7            representative of PAR Technologies at the time of PAR's

             8            license with Philips.                     Is that correct?

             9                      A.         Well, I don't know what his capacity was, but

           10             he certainly told me that he was involved in PAR's

           11             negotiations with Philips and

           12                       Q.         Okay.

           13                       A.         The first two licenses that were executed for

           14             the '343 patent.

           15                       Q.         Did he tell you what his specific role in

           16             those negotiations was?

           17                       A.         No, other than he was very involved in them,

           18             and so that would have set the predicate for all

           19             subsequent licensing that took that licensing model.

           20                       Q.         Do you recall speaking with Mr. Barthelemy

           21             about a minimum per-unit royalty of $1.25?

           22                       A.         Yes.

           23                       Q.         What did you specifically discuss with

           24             Mr. Barthelemy in that regard?

           25                       A.         Well, the minimum royalty of -- let me look.



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                                                                     A1304
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                                                                                                                    Page 38
             1            I'm sorry.               Would you repeat your question?

             2                      Q.         Yeah.         I asked:       What specifically did you

             3            discuss with Mr. Barthelemy in that regard; that is, in

             4            regard to a minimum per-unit royalty of $1.25?

             5                      A.         Well, they were looking -- he explained to me

             6            the situation with respect to the Philips license,

             7            where they granted Philips the "most favored nations"

             8            clause for any subsequent licenses.                             And so they -- in

             9            recognition of that, his understanding was, based on

           10             their negotiation with Philips, that Philips was not --

           11             did not have high volumes nor did they expect to have

           12             high volumes in sales of webcams, but their target was

           13             to get around $1.25 effective royalty per unit.

           14                       Q.         Okay.         And you're saying that was their

           15             target, was to get around $1.25 effective royalty per

           16             unit.          Are you referring to PAR Technologies?

           17                       A.         Well, PAR, and then subsequently that would

           18             have been GlobalMedia's mindset, was to seek a royalty

           19             in the $1.25 to $1.50 frame.

           20                       Q.         So Mr. Barthelemy, during your interview,

           21             told you that it was both PAR's desire and the desire

           22             of GlobalMedia to seek a minimum per-unit royalty of

           23             $1.25 for the '343 patent?                        Is that right?

           24                       A.         No, that's not what I said.                 That the target

           25             was in the range of $1.25 to $1.50 per unit.



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                                                                                                                 Page 39
             1                      Q.         Okay.         And that applies to both PAR

             2            Technologies and GlobalMedia?

             3                      A.         Yes.

             4                      Q.         Okay.         Did you discuss any of the accused

             5            products in this matter with Mr. Barthelemy?

             6                      A.         No.

             7                      Q.         Did you discuss the expert reports of any

             8            other expert in this matter with Mr. Barthelemy?

             9                      A.         No.

           10                       Q.         Did Mr. Barthelemy explain to you why --

           11             well, first of all, did Mr. Barthelemy explain to you

           12             that there was an established royalty of $1.25 per unit

           13             or minimum -- established royalty of a minimum of $1.25

           14             per unit at the time you spoke with him?

           15                       A.         Well, I don't know that he used the word

           16             "established royalty," but he clearly made it clear

           17             that that was the goal, was the $1.25 to $1.50 per

           18             unit.          But they recognized that with the Philips "most

           19             favored nation" clause and then the license of the

           20             subsequent that they executed with                                    who was

           21             the volume leader in the industry, that they were

           22             targeting $1.25 to $1.50 per unit.

           23                       Q.         Did Mr. --

           24                       A.         And that was consistent with what they had

           25             observed with other licenses.



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Electronically signed by Lesia Wagner (501-206-347-7161)                                          a24a3702-8128-4c23-8f62-53d84b4a9f47
                                                                     A1306
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                                                                                                                 Page 74
             1            consider the fact that all these licensees, irrespective

             2            of where they were in the distribution chain, they

             3            recognized that the intrinsic value associated with the

             4            patented feature was in the area of $1.25 to $1.50 per

             5            unit.

             6                      Q.         And I understand that.              I'm just asking if

             7            there's a specific equation, for example, that you used

             8            to arrive at your conclusion of a reasonable royalty

             9            rate that involved the profit margin as a variable.

           10                       A.         Well, the profit margin was used as -- for

           11             illustrative purposes and as a benchmark to show that

           12             these products are profitable.

           13                       Q.         Okay.

           14                       A.         And to show that after paying a royalty of

           15             $1.25, $1.50 per unit, for example, the licensee would

           16             still generate a profit.

           17                       Q.         Sure.         But it wasn't used in an equation,

           18             right, the profit margin?

           19                       A.         No, it wasn't used in a specific equation

           20             because it wasn't necessary.

           21                       Q.         Okay.         So it's your opinion that the

           22             reasonable royalty in this case is not dependent on the

           23             sales price of the accused products.                          Is that right?

           24                       A.         I'm sorry?

           25                       Q.         Is it your opinion that the reasonable



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                                                                                                                 Page 75
             1            royalty that you've formulated for this case is not

             2            dependent on the sales price of the accused products?

             3                      A.         That's correct.

             4                      Q.         Okay.         And what's the -- what's the basis for

             5            that opinion?

             6                      A.         The discussion -- the discussion we've just

             7            had, that so many licensees in the industry have all

             8            taken license with the imputed royalty rate in the

             9            range of $1.25 to $1.50, irrespective of where they are

           10             in the stream of commerce, is a strong indication to me

           11             that they've all recognized that that's the intrinsic

           12             value of the patented feature.

           13                       Q.         So it's because other companies have paid

           14             between $1.25 and $1.50 per unit to license the

           15             technology.                Is that right?

           16                                              MR. EDMONDS:     Objection, form.

           17                       A.         It's because so many companies, during the

           18             entire course of the licensing history of the '343

           19             patent, have all agreed to pay imputed royalties or

           20             effective royalty rates in the range -- with a few

           21             exceptions -- but generally speaking, within the range

           22             of $1.25 to $1.50.

           23                       Q.         (By Mr. Herberholz) Any other reason?

           24                       A.         Well, to me -- well, that, in light of the

           25             differing profit margins that resellers compared to



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                                                                                                                 Page 77
             1                      Q.         Can you think of any other reasons as you sit

             2            here today?

             3                      A.         I'd have to give it some more thought or just

             4            go back through my report again.

             5                      Q.         Okay.

             6                      A.         But those are the primary reasons as I see

             7            it.

             8                      Q.         Now, your reasons concerning a reasonable

             9            royalty in this case are not based on the manufacturing

           10             cost of the clip itself of the accused products.                             Is

           11             that right?

           12                       A.         No.         That's correct.

           13                       Q.         Okay.         Why didn't you take that into account

           14             as part of your analysis?

           15                       A.         Because it's not relevant.

           16                       Q.         Why is that not relevant?

           17                       A.         Because I've looked at what the licensing

           18             history of these products are and I've looked at the

           19             fact that licensees have uniformly agreed to pay in the

           20             range of $1.25 to $1.50 per unit.

           21                       Q.         Okay.

           22                       A.         So that tells me that that's -- that is a

           23             good benchmark, for me, as to what the intrinsic value

           24             of -- in the form of a license of the patented

           25             technology is.



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                                                                                                                 Page 79
             1                      Q.         Okay.

             2                      A.         11 and 12.          What is the benefit to those who

             3            have practiced, not what is the cost of the benefit.

             4                      Q.         That's a fair point, and we'll get to the

             5            value in a second.

             6                                             But just to be clear, you didn't consider

             7            the actual cost to manufacture the clip of any accused

             8            products, right?

             9                      A.         I didn't believe it to be relevant.

           10                       Q.         So you didn't consider it?

           11                       A.         I didn't consider it.

           12                       Q.         Okay.

           13                       A.         I considered it, but I determined it not to

           14             be relevant.

           15                       Q.         So the cost of the clip, in other words, of

           16             the accused products is not part of your opinions as to

           17             a reasonable royalty in this case?

           18                       A.         Correct.         It does not bear on the

           19             determination of a reasonable royalty.

           20                       Q.         Let's talk about value, as you pointed out.

           21             It's your opinion that -- first of all, is it your

           22             opinion that the value of the clip of each of the

           23             accused products is somewhere between $1.25 and $1.50?

           24                       A.         Well, in my opinion, it's no less than $1.25

           25             per unit.



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             1            others did not involve -- they either involved lump

             2            sums, which -- because of the representations that they

             3            were getting out of the business or had gotten out of

             4            the business of selling these particular type of

             5            webcams, or they didn't exercise their option.

             6                      Q.         Okay.         In fact, you mentioned the lump-sum

             7            agreements.                16 of the settlement agreements that

             8            involved AdjustaCam involved lump-sum payments.                            Is

             9            that right?

           10                       A.         Lump sums with no royalty option.

           11                       Q.         Right.

           12                       A.         No running royalty option.               That's correct.

           13                       Q.         And then there's six agreements involving

           14             AdjustaCam that involve a lump sum plus a running

           15             royalty option.                    Is that right?

           16                       A.         Correct.

           17                       Q.         Okay.

           18                       A.         Which, by the way, is another indication

           19             of -- when you asked what bases I had for -- that's --

           20             of the six licenses that had the running royalty option,

           21             all of them were tied to a running royalty per unit;

           22             they were not tied -- those options were not tied to

           23             the sale price of a webcam.

           24                       Q.         Okay.         So for those six agreements that have

           25             the running royalty option plus a lump sum --



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                                                                                                                Page 98
              1                     A.         Yes.

              2                     Q.         -- are you aware of whether any of those

              3           licensees had actually paid a runn1ng royalty beyond

              4           the lump sum?

              5                     A.         I am not.          My understanding is they have not.

              6                     Q.         Okay.         Do you understand that any of those

              7           six licensees met their, for lack of a better term,

              8           minimum number of sales -- I should say maximum number

              9           of sales, before they had to pay their running royalty?

            10            Do you follow me?

            11                      A.         My understanding 1s they did, based on the

            12            $1.25 to $1.50 royalty rate range.

            13                      Q.         Okay.         But you're not aware of any of the s1x

           14             licensees pay1ng any royalties beyond the lump-sum

           15             payments already made, correct?

           16                       A.         You ' ve asked me that question, and my answer

            17            1s I'm not aware of that.

           18                       Q.         Okay.         Let's take a look at Paragraph 36 1n

            19            your report.

           20                       A.         Okay.

            21                      Q.         I ' m looking at the second to last full

            22            sentence in that paragraph, beginning with "In some

            23            circumstances."                    Do you see where I'm at?

            24                      A.         Uh-huh.

            25                      Q.         And you say here:             "In some circumstances,



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                                                                                                                  Page 229
             1                                             Based on my discussions with Mr. Wong at

             2            AdjustaCam, that was my understanding, is that the 14

             3            lump-sum settlements were based on negotiations

             4            targeting a royalty of $1.25 to $1.50 per unit.

             5                      Q.         Would I be correct in saying that to the

             6            extent that these settlements that you're looking at --

             7            to the extent that they included a future license that

             8            was considered paid up, would I be correct in saying

             9            that there's no way that Mr. Wong or anybody would have

           10             known what the future sales would be?                          Correct?

           11                       A.         That's not true.

           12                       Q.         Why not?

           13                       A.         Well, because if somebody came to Mr. Wong

           14             and AdjustaCam and told them, "Here's what our sales

           15             have been.               Here's what our sales have been to date.

           16             And by the way, we're getting out of the market and

           17             we're phasing out," then you can get a pretty good

           18             handle on what future sales would be, particularly if

           19             they're tapering off.

           20                       Q.         Well, all right.             So if that's the -- if

           21             you're saying that's what the negotiations may have

           22             been, that the future sales are tapering off, then the

           23             bulk -- would it be -- would it be fair to say that the

           24             bulk of the lump-sum payment was for past sales?

           25                       A.         Past licensable sales.



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             1            sales in these lump-sum settlements for which there was

             2            no running royalty option were based on what AdjustaCam

             3            understood were the licensable sales going back to July

             4            2, 2010 through whenever the defendant or particular

             5            licensee told them that they were getting out of the

             6            market.

             7                      Q.         Okay.         I don't know if you misspoke, but let

             8            me just clarify something.                        I think you said that

             9            Mr. Wong told you that the settlement amount -- or

           10             actually, you read from the statement there that

           11             Mr. Wong told you that it was for -- I think you said

           12             future sales.

           13                       A.         Yeah.         Well, it was total sales, past and

           14             future.

           15                       Q.         Oh, is that what you said?

           16                       A.         Yes.

           17                       Q.         I'm sorry.          I must have misheard you.          Okay.

           18                                              So Mr. Wong told you that the settlement

           19             was based on a quantity for the past and the future

           20             sales?

           21                       A.         Correct.         In other words, they -- most of

           22             these licensees who were paying lump-sum amounts were

           23             not going to be selling licensed products in the future

           24             and were phasing out.                     So they provided -- in their

           25             discussions, they worked off of estimated numbers in



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             1            order to bracket the amount of the lump-sum payment,

             2            based on AdjustaCam's target of $1.25 to $1.50 per

             3            unit.

             4                      Q.         So again -- I'm being a little bit

             5            repetitive, but going back to RadioShack, where they

             6            paid                     , and using the yardstick of $1.25, it's

             7            your understanding that RadioShack would have sold,

             8            from July 2010 to the time the agreement was signed,

             9            approximately                          units?

           10                       A.         Well, no.         It's -- what I'm saying is

           11             somewhere in that -- in the discussions between

           12             RadioShack and AdjustaCam, it was AdjustaCam's

           13             understanding that the total licensed units were going

           14             to be somewhere in the range of

           15             licensed units, total.

           16                       Q.         I'm sorry.          You're saying --

           17                                              MR. SUTTON:      Maybe I can have the

           18             reporter repeat that answer.

           19                                              (The requested portion was read.)

           20                       Q.         (By Mr. Sutton) So you changed -- you added

           21             that number                         , based on a yardstick of $1.50 as

           22             well?

           23                       A.         Correct.

           24                       Q.         And what you just said with regard to the

           25             RadioShack agreement, you believe that's applicable to



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             1            all of the lump-sum settlements?

             2                      A.         Correct.         With the exception of Chicony and

             3            with the exception of Gear Head, that we just

             4            discussed.

             5                      Q.         Did you ever check the records of -- from all

             6            of these settled cases as to what they disclosed with

             7            their sales?

             8                      A.         Only what's been produced in this litigation.

             9                      Q.         Oh, so you have reviewed that?

           10                       A.         Well, whatever has been produced in this

           11             litigation.

           12                       Q.         So if any of these settled parties have

           13             produced their sales information, you would have

           14             reviewed that?

           15                       A.         Yes.

           16                       Q.         And did you -- did you check to see whether

           17             the disclosures by the settled parties of the

           18             quantities they sold -- did you check to see if that

           19             matched up with $1.25 or $1.50 per unit?

           20                       A.         No, I did not.           I don't recall which parties

           21             provided any subsequent information, other than

           22             LogiTech and Philips, I know, produced royalty

           23             reports -- or generated royalty statements.

           24                       Q.         So let me ask you a hypothetical question.

           25                                              If a majority of these settlements -- if



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             1            it turns out that they disclosed that the units that

             2            they sold was much more than would have amounted to

             3            $1.25 per unit, how would that affect your analysis

             4            here of what a reasonable royalty is?

             5                      A.         Well, it wouldn't affect my analysis because

             6            the target had always been in the range of $1.25 to

             7            $1.50, based on the Philips and LogiTech licenses.

             8                                             And what it means is if, in your

             9            hypothetical, if it turns out that some of these

           10             licensees sold more products than they made

           11             representations to AdjustaCam, then if AdjustaCam had

           12             actually known what the actual numbers were, then

           13             AdjustaCam would have renegotiated those agreements to

           14             reflect the $1.25 to $1.50 per unit as an effective

           15             royalty to change the lump-sum payment upward.

           16                       Q.         Well, actually that was not my hypothetical.

           17                                              My hypothetical was that if in the

           18             disclosures that you have from the various settled

           19             parties, if it turns out that they sold 150,000 units

           20             or something like that instead of -- let's say with

           21             RadioShack, if they disclosed they sold over 100,000

           22             units -- and you're making an assumption that it would

           23             have been somewhere in the range of 53,000 to

           24             64,000 units -- if that turns out to be the case after

           25             reviewing their discovery disclosures of their sales,



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             1            that information, in 2012 is 14,189 units.

             2                      Q.         Okay.         And as of the date of your

             3            supplemental report, it is your opinion that AdjustaCam

             4            is entitled to no less than $1.25 per unit --

             5                      A.         Yes.

             6                      Q.         -- for those units?

             7                      A.         Yes.

             8                      Q.         And that works out to a total of $17,736.                     Is

             9            that right?

           10                       A.         That's right.

           11                       Q.         Do you believe that a per-unit royalty for

           12             Newegg of $3 or more than $3 would be reasonable?

           13                       A.         No.         In a hypothetical negotiation, which is

           14             what I've done, setting aside real-world negotiations,

           15             I believe an appropriate hypothetically negotiated

           16             royalty under Georgia-Pacific would yield $1.25 per

           17             unit.

           18                       Q.         And at any time in this matter, have you

           19             formed any opinions that AdjustaCam is entitled to more

           20             than $3 per unit for Newegg sales of the accused

           21             products?

           22                       A.         No, I have not.

           23                       Q.         Have you heard of a company called Irez

           24             Corporation?                 It's I-r-e-z, one word.

           25                       A.         I-r-e-z?         I don't recall that name.



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                                                                                              Page 69
   1           Q.   He's an employee, he's not an officer?
   2           A.   Correct.       That's my understanding.
   3           Q.   What's his title at ARG?
   4           A.   I believe his title is vice president of
   5     licensing.
   6           Q.   So we've looked at a number of settlement
   7     agreements involving AdjustaCam here today.                            I don't
   8     think we need to go through each and every one of them,
   9     but is your testimony -- would your testimony with
 10      respect to the AdjustaCam settlement agreements that we
 11      haven't looked at be similar to what you've just
 12      described with Exhibit Numbers 9 and 10 concerning the
 13      number of units that -- that are subject to each of
 14      those agreements?
 15                        MR. EDMONDS:           Objection, form.
 16      Objection, scope.
 17            A.   Yes, in general I believe the testimony with
 18      respect to each of the agreements would be similar.
 19            Q.   (BY MR. HEBERHOLZ)              Okay.       So in order to
 20      determine the number of units that were subject to any
 21      of the AdjustaCam settlement agreements we've looked at
 22      today, you're saying you would need to look at the
 23      books and records of AdjustaCam?
 24                        MR. EDMONDS:           Objection, form.
 25      Objection, scope.


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   1           A.    I -- I don't believe that was my testimony.                            I
   2     believe it was that -- that, you know, Steve Wong, in
   3     connection with outside counsel, were involved in the
   4     negotiations.      And that I believe that Bratic may have
   5     dealt with each one of the license agreements in his
   6     expert report as well as his deposition.                         And there may
   7     be some information in that report with respect to --
   8     to the units associated with each of the agreements.
   9           Q.    (BY MR. HEBERHOLZ)             So aside from what's in
 10      Mr. Bratic's report and Mr. Bratic's deposition, and
 11      aside from Mr. Wong's negotiations with the AdjustaCam
 12      licensees, are you aware of any other sources that one
 13      could consult to determine the number of units that are
 14      subject to any of the license agreements we've looked
 15      at today?
 16                        MR. EDMONDS:           Objection, scope.
 17            A.   I guess I would ask, is the question, I guess,
 18      sources at AdjustaCam's disposal or that AdjustaCam has
 19      access to?
 20            Q.   (BY MR. HEBERHOLZ)              Yes.
 21            A.   Not to my knowledge.
 22            Q.   You said you spoke with Mr. Wong in
 23      preparation for today's deposition?
 24            A.   Yes.
 25            Q.   Did Mr. Wong -- did you and Mr. Wong discuss


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                   EXHIBIT 11




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                                                              OUTSIDE COUNSEL EVESONI.V
N~wea Warehou5t'• •          Description
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Item#                                                                 Qty         Cost        1!11101(.1!. Qty        Amount            Rtllllnue
26·158..029                  Crat~tlve Uwl Cam Video IM Pro Wdlcem    741         26943.64    75.1                    znn.47             333.83
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 26·1SS.061                  CrM!IIHl Uvel Cem Vldolo IM Pro Wd1aom   gg          1711.51     100                     4227                515.4_3
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26-fi64-014               Pluo AW.U113l Webcam                        il02        3213        312                     5329.!12           2tl'6.92
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.from:           Jpbo Edmon<!~
 To:             !)apa M. Herllerhotr.: Ca! bv Portal: : lpho rl. Zadan
SUbject:         AdjustaCam I Newegg I R~ewlll - Rule 408 communt atlon
 Date:           Wednest!av, July u , 2012 lli:Jii:'Z.S AM


CONFIDENTIAL SETTLEMENT COMMUNl CATION I SUBJECf TO fRE 408

Counsel,

AdjustaCam hereby offers to settle its lawsuit against NewEgg/Rosewill for $51 ,543.00, su'qjeet of
course to agreement on miscellaneous tenns. AdjustaCam's prior sett.lements have standard lerms
tha~ are good go-by. If you'd like us to send you a draft settlement agreement, pl.ease le.t us know.

This offer expires at the end of next week. lfyou have any questions. or would like to discuss the
foregoing, please let us know.


John Edmonds

CEPIP
CoLLINS EDMONDS PoGORZELSKI
Sct~LATHER & ToWER, PLLC
1616 S. Voss Road., Suite 125
Houston, Texas 77057
713.364.5291
jedmonds@cepjplaw com


Houston, TX                          Longview, TX                    santa Ana, CA




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         l. Brian Toth. the undersigned. being duly :sworn. depose and stare:

I.     I carefully translateJ the Patent Publication No. H2- 19997 (puhl'ication date Februarv 9.
1990) d<'>cumenl from Japanese to English il) September of 2010. I am qualified to translate
from the Japanese language into the En£!.1 ish language by virtue of being thoroughly conversant
and schooled in these languages.


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No. l-12 - 199~7 document. is a true and accurate rendition from .la1)anese to English. and
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                                                                                              (11) Japanese Unexamined Utility
                                                 (19) Japan Patent Office (JP)
                                                                                            Model Application Publication Number

                                            Japanese Unexamined
                                         (12)                                                        H2-19997
                                       Utility Model Publication (U)
(51) Int. Cl. 5       Identification codes          JPO file numbers                       (43) Publication date: February 9, 1990
F 16M 13/02                                  T          7312-3G
G03 B 17/56                                  B          7811-2H
                                                        Request for examination: Requested Number of claims: 3 (Total of pages)

(54) Title of the device       LIGHTWEIGHT AND CONVENIENT CAMERA MOUNTING DEVICE

                                      (21) Utility Model Application 563-94014

                                      (22) Application date: July 18, 1988

(72) Inventor                   Kunia IKI                 6-7-801 Irifune, Urayasu-shi, Chiba-ken

(71) Applicant                  Kunia IKI                 6-7-801 Irifune, Urayasu-shi, Chiba-ken




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                                                       Specification


               1. Title of the Device
                  LIGHTWEIGHT AND CONVENIENT CAMERA MOUNTING DEVICE
               2. Scope of the Utility Model Registration Claim
                  1. A structure in which a camera fixed part (2) and arms (3) and (4) can be freely
                      rotated around a central shaft ( 1) is employed.
                  2. A structure in which the camera fixed part (2) and the arms (3) and (4) can be
[half seals:
Kunia Iki]            fixed by turning a fastening screw (5) is employed.
                         In order to supplement the fixing function, elastic rings (7) and (8) are inserted
                      and star-shaped notches are made at the points of contact between the rings and the
                      camera fixed part (2) and the arms (3) and (4).
                  3. In order to increase the mounting stability, a rubber ring (12) and a rubber cord




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                     belt (13) are attached to prevent slippage.
                     A lightweight and convenient camera mounting device configured as described
                 above.
              3. Detailed Description of the Device
                     The present device is a lightweight and small camera mounting device which
                 enables a camera to be easily set at different positions under various different
                 conditions.
                     Conventional devices include tripods and the like, but these are difficult to carry
                 around because they are large and heavy. The expansion and contraction of the legs and

[half seal:      the operation of the screws is troublesome. A flat surface of a specific width is required
Kunia Iki]       as a location for mounting the tripod. Tripods are therefore inconvenient in that the
                 locations at which they can be mounted are limited.
                     The present device was invented in order to eliminate such inconveniences.
                     The device will be described with reference to the drawings. This camera mounting
                 device has the following characteristics, as shown in FIGS. 1, 2, 3, and 4.
                 1. A structure in which a camera fixed part (2) and arms (3) and (4) can be freely
                     rotated around a central shaft ( 1) is employed.




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              2. A structure in which the camera fixed part (2) and the arms (3) and (4) can be
                 fixed by turning a fastening screw (5) is employed.
                     In order to supplement the fixing function, elastic rings (7) and (8) are inserted
                 and star-shaped notches are made at the points of contact between the rings and the
                 camera fixed part (2) and the arms (3) and (4).
              3. In order to increase the mounting stability, a rubber ring (12) and a rubber cord belt
                 (13) are attached to prevent slippage.
[half seal:      This is the basic structure of the present device.
Kunia Iki]
                 In order to maintain the fixing function in [2], a hard ring (6) and elastic rings (7)
              and (8) are inserted, and these are fixed by making notches (0.5 mm) in the star-shaped
              regions of the rotating parts shown by (2), (3), and (4) in FIGS. 6 and 7. The elastic
              rings (7) and (8) and the tightening by the fastening screw (5) provide a structure




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              with a supplementary function for preventing slippage.
                  The nonslip rubber ring (12) attached to the arms (3) and (4) is for increasing the
              stability when mounting the camera mounting device. The rubber cord belt (13) is
              formed so that its length can be expanded and contracted. Clasps are also attached to
              both ends so that it can be easily set.
                  The rubber cord belt (13) is used to stabilize the camera mounting device when
              mounting the device on a tree, a pillar, or the like, but it is also useful for winding
[half seal:
Kunia Iki]    around the camera mounting device so that it is more compact when carrying it around.
                  The present device has the structure described above, so it can be described as
              follows with reference to the drawings.
              A Having the size shown in FIGS. 1-4, is small and lightweight.
              B As shown in FIGS. 9 and 1, the device can be made small and compact when it is
                  carried around, so it can be placed in a pocket or a purse for easy portability.




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              C As illustrated in FIG. 9 and FIGS. 2-11, the camera can be simply and easily
                 mounted in various locations such as on a desk or a table, the back of a chair
                 indoors or in a park, a guard rail, a wall, a fence, a deck, or on the ground.
              D The operation is simple, and the device can be fixed by simply moving the arms (3)
                 and (4) around the central shaft ( 1) to an appropriate angle and tightening the
                 fastening screw (5).
              E When mounting on a chair, a tree, or the like, stability can be ensured by fastening

[half seal:      the device with the rubber cord belt (13) when particularly necessary.
Kunia Iki]    There are also various other methods of using this camera mounting device, but 2-3
              examples will be illustrated here.
                 The present camera mounting device is easy to carry around and to mount, as
              described above, and it can be mounted in different places under various conditions.
                 This device is convenient in that it can be brought on a honeymoon, a family




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                 vacation, or the like, and pictures can be taken in various locations in the preferred
                 poses by using the device in combination with a self-timer or the like.
                     (We would like to call this camera mounting device by the pet name "Camera Setter
                 Honeymoon.")
              4. Brief Description of the Drawings
                 FIG. 1 is an oblique view of the present device.
                 FIG. 2 is a front view of the present device.
[half seal:
Kunia Iki]       FIG. 3 is a top view of the present device.
                 FIG. 4 is a side view of the present device.
                 FIG. 5 shows the states in which the camera fixed part (2) and the arms (3) and (4) of
                        the present device are set to various angles around the central shaft (1).
                 FIGS. 6, 7, and 8-1 show each section of the present device.
                 FIG. 8-2 shows a plan view and a side view of the [rub ]ber cord belt (13) of the present
                        device.
                 FIG. 9-1 is a drawing showing the present camera mounting device in the compact state.




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              FIG. 9-2 is an oblique view of an example in which a camera is mounted in a flat
                     location with the present camera mounting device.
              FIG. 10 shows drawings in which a camera is mounted to the back of a chair with the
                     present camera mounting device. FIG. 10-1 is a view from the front; FIG. 10-2
                     is a view from the side; and FIG. 10-3 is a view from the side at a slight distance.
              FIG. 11 shows drawings in which a camera is mounted to a tree, a pillar, or the like

[half seal:          with the present camera mounting device. FIG. 11-1 is a view from the top; FIG.
Kunia Iki]           11-2 is a view from the side; and FIG. 11-3 is a view from a slight distance.
                 The numbers in these drawings are respectively associated with the following
                 names.
                 (1) central shaft
                 (2) camera fixed part
                 (3) arm (large)
                 (4) arm (small)
                 (5) fastening screw
                 (6) hard ring




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                (7) elastic ring (small)
                (8) elastic ring (large)
                (9) camera attachment shaft
                (10) camera attachment screw (free)
                (11) camera attachment screw (fixed)
                (12) nonslip rubber ring
                (13) rubber cord belt
[half seal:
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                                           Utility Model Registration Applicant    Kunio IKI




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                           Drawings


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Case: 13-1665     Document: 97-2      Page: 213         Filed: 12/11/2014



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                               Drawings


                                FIG. 2




 [seals:
Kunio Iki]




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                            Drawings


                             FIG. 3




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                              Drawings


                                 FIG. 4




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                                                Drawings


                                                 FIG. 5




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                                 Drawings


                                  FIG. 6




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                                       Drawings


                                            FIG. 7




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                                       Drawings


                                           FIG. 8




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                              Drawings


                               FIG. 9




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                                          Drawings
                                           FIG. 10




 [seals:
Kunia Iki]




                                               Utility Model Registration Applicant   Kunio IKI

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                                Drawings


                                 FIG. 11




 [seals:
Kunia Iki]




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        APPLICATION NO.        FlUNG DATE                 FIRST NAMED INVENTOR         ATTORNEY DOCKET NO.           CONFIRMATION NO.

           90/011,366           12/06/2010                      5855343                  20145.0001.EP343                     7040

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           HIMANSHU AMIN, LLC
           127 Public Square
           57th Floor                                                                        ART UNIT                     PAPER NUMBER

           Cleveland, OH 44114
                                                                                      DATE MAILED: 08/12/2011




    Please find below and/or attached an Office communication concerning this application or proceeding.




    PT0-90C (Rev. 10/03)



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Application/Control Number: 90/011,366 and
90/011,316                                                                         Page 4
Art Unit: 3993

Summary of the Proceeding to Date


       In reexamination 90/011,366, a Third Party Requester requested reexamination

of claims 1,2,5-8,10,14-17 and ~9 of U.S. Patent No. 5,855,343 (hereinafter "the '343

patent") based upon the following proposed rejections:

A. Claims 1, 2, 5, 6, 8, 10 and 14-17 are anticipated by lrifune (JP-H2-19997) under
35USC 102(b).
B. Claims 1, 7, 8 and 19 are anticipated by Ma (US Patent No. 5,880,783) under 35
USC 102(e).

C. Claims 7 and 19 are rendered obvious by lrifune in view of Maunder 35 USC 103(a).


   An order granting reexamination based on above substantial new questions of

patentability affecting claims 1,2,5-8, 10,14-17 and 19 of the '343 patent was mailed on

December 21, 2010 (reexamination 90/011,366).

       In reexamination 90/011,316 another Third Party Requester requested

reexamination of claims 1,10 and 19 of U.S. Patent No. 5,855,343 (hereinafter "the '343

patent) based upon the following proposed rejections:

A. Claims 1, 10 and 19 are anticipated by Ma (US Patent No. 5,880,783) under 35 USC
102(e).

B. Claims 1, 10 and 19 are obvious over Yamauchi (US Patent No. Des. 383,475) under
35 USC 103(a).

C. Claims 1, 10 and 19 are obvious over Yamauchi in view of Ma under 35 USC 103(a).

D. Claims 1, 10 and 19 are obvious over Yamauchi in view of Wakabayashi (US Patent
No. 5,808,672) under 35 USC 103(a).

E. Claims 1, 10 and 19 are obvious over Yamauchi in view of Ohmura (US Patent No.
4,493,542) under 35 USC 103(a).




                                        A1431
       Case: 13-1665             Document: 97-2           Page: 225   Filed: 12/11/2014




  Application/Control Number: 90/011,366 and
. 90/011,316                                                                              Page 5
 Art Unit: 3993


 F. Claims 1 and 10 are anticipated by Dovey (US Patent No. 4,526,308) under 35 USC
 103{a).


        An order granting reexamination based on above substantial new questions of

    patentability affecting claims 1,10 and 19 of the '343 patent was mailed on March 23,

    2011. The March 23, 2011 order did not find a SNQ for proposed rejection A

    regarding claims 1 and 19 (as this would be a duplicate of the '366 reexam) or

    proposed rejection B (as Yamauchi is seen as the technical equivalent of McAII,

    which was relied upon during the original prosecution) See both the December 21,

    2010 and the March 23, 2011 orders.

    Reexamination was not requested or ordered for claims 3,4,9, 11, 12, 13,18,20 and 21

    of the '343 patent. Accordingly, these claims will not be examined in this merged

    proceeding.

    The patent owner did not file a statement under 37 CFR 1.530 for either

 reexamination.




 Grounds of Rejection
 The following grounds of rejection are set forth:

                                  Claim Rejections· 35 USC§ 102

        The following is a quotation of the appropriate paragraphs of 35 U.S.C. 102 that

 form the basis for the rejections under this section made in this Office action:

        A person shall be entitled to a patent unless -




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       (b) the invention was patented or described in a printed publication in this or a foreign country or in
       public use or on sale in this country, more than one year prior to the date of application for patent in
       the United States.

       (e) the invention was described in (1) an application for patent, published under section 122(b), by
       another filed in the United States before the invention by the applicant for patent or (2) a patent
       granted on an application for patent by another filed in the United States before the invention by the
       applicant for patent, except that an international application filed under the treaty defined in section
       351 (a) shall have the effects for purposes of this subsection of an application filed in the United States
       only if the international application designated the United States and was published under Article 21(2)
       of such treaty in the English language.




       Claims 1,2,5,6,8,10,14-17 and 19 are rejected under 35 U.S.C. 102(b) as being

anticipated by lrifune.

       lrifune discloses a camera support apparatus which is shown supporting a

camera on a horizontal planar surface in figure 9-2 and on an object having first and

second surfaces having an edge intersecting the first and second surfaces in figure 10-

2. lrifune shows a hinge (around shaft 1) which is rotatably attached to the camera

using threaded camera attachment shaft 9. Although lrifune does not explicitly state

that the camera can rotate about the threaded post, such rotation is seen as inherent to

such a connection, as the post is designed to rotate to fasten the camera and the

camera can be securely fastened in any position using shaft 9 as an axis while the

camera rests on the camera fixed part 2. The large arm 3 and small arm 4 are seen as

a support frame which is rotatably attached to the hinge member and which, as shown

in figures 9-2 and 10-2, can support the camera on either a horizontal surface or

supported adjacent the edge between two inclined surfaces. The central shaft 1,

around which the large arm, small arm and camera fixed part rotate is perpendicular to




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the camera attachment shaft 9, around which the camera can be rotated for proper

positioning.

       In regard to claim 2, arms 3 and 4 are seen as the first and second portion of the

support frame. Figure 9-2 shows the arms in a first disposition with the distal

extremities of the arms engaging a generally horizontal planar surface. Figure 10

shows the arms engaging opposing outer surfaces to maintain the camera at an edge

between the two surfaces.

       In regard to claim 5, lrifune shows nonslip rubber rings 12 attached to arms 3 and

4, so that the arms engage a generally horizontal surface at four locations and

unwanted rotation of the frame is avoided.

       In regard to claim 6, figures 10-1 and 10-2 show the large leg contacting the

surface further away from the edge than the short leg contacts the opposite surface.

       In regard to claim 8, the camera attachment shaft 9, which provides a pivoting

support for the camera is above the central portion of shaft 1, and is thus seen as being

located in a proximal end of the body. lrifune states that the structure is "(a) structure in

which a camera fixed part (2) and arms (3) and (4) can be freely rotated about a central

shaft (1 )". This is seen as the body (camera fixed part 2) being able to rotate about the

second axis (shaft 1) relative to the support frame (arms 3 and 4).

       In regard to claim 10, the camera supported by the lrifune device in figure 9-2 is

shown to have both a housing and a lens and the camera is shown supported on a

generally horizontal substantially planar surface. Figure 10 also shows the camera

housing and lens, but in this instance it is supported on an edge intersecting a first




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surface and a second surface. The camera fixed part 2 is adapted to be rotatably

attached to the camera using shaft 9. While a pivotable connection between the

camera and the camera fixed part is not explicitly recited, "adapted to be rotatably

attached to the camera" is functional language, and the threaded shaft 9 is clearly

capable of mounting the camera in various orientations relative to the long sides of the

camera fixed part. Due to this potential movement, shaft 9 is seen as the first axis.

Arms 3 and 4 are seen as the support frame, as each arm is rotatably attached to shaft

1 (which also pivotably supports camera fixed part 2). Because of this arrangement,

shaft 1 forms the second axis of rotation relative to the support frame, with the first and

second axes being perpendicular and the second axis substantially parallel to the first

surface when the hinge member is supported on the object. As shown in figures 9 and

10, the arms can support the camera on either a planar surface or by contacting

opposite surfaces of an object by changing the disposition of the arms relative to the

second axis. As non-slip rings 12 are the parts of the frame which contact the surface,

the device of lrifune is seen to have two rear support elements and two front support

elements (the non-slip rings on each arm). When in the second disposition (with the

arms contacting opposite surfaces of an object) the non-slip rings associated with large

arm contact one surface, while the non-slip rings associated with the small arm contact

the opposite surface which will prevent the frame from rotating.

       In regard to claims 14 and 15, figure 9 shows the front and rear support elements

(non-slip rubber rings 12) contacting the planar horizontal surface at a total of four

locations, with the non-slip surfaces preventing rotation of the support frame.




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       In regard to claim 16, lrifune uses a small arm {3) and a large arm (4). lrifune

does not specify which is the front arm, and in fact has figures showing both the small

arm in front (fig 11) and the large arm in front (fig 10). This is seen as evidence that

lrifune shows an embodiment with the rear support element further away from the edge

than the front support element. T~is is further seen as evidence of lrifune showing

multiple camera positions relative to the first axis.

       In regard to claim 17, the camera attachment shaft 9, which provides a pivoting

support for the camera is above the central portion of shaft 1, and is thus seen as being

located in a proximal end of the body. lrifune states that the structure is "(a) structure in

which a camera fixed part (2) and arms (3) and (4) can be freely rotated about a central

shaft (1 )". This is seen as the body (camera fixed part 2) being able to rotate about the

second axis (shaft 1) relative to the support frame (arms 3 and 4 ).

       Claim 19 is seen as claiming the same structure as claim 1, with the claiming of

the specific use, "for supporting a camera on a laptop camera". This is seen as

intended use, which does not impart any structural elements to the claim. lrifune

discloses that the disclosed camera support is designed for use in a variety of positions,

including fastened to opposite surfaces of generally vertical opposing surfaces (as

shown in figure 10 and described on page 7, "the back of a chair, ... a guard rail, a wall,

a fence". As claim 19 is an apparatus claim, and "for supporting a camera on a laptop

computer", is functional language which the structure of lrifune is capable of performing,

claim 19 is seen as anticipated by lrifune.




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Application No(s). 90/011,366 and 90/011,316
Reexam of U.S. Patent No. 5,855,343
Attorney Docket No. GMGP101 US
Reply to Office Action dated August 12, 2011




                           a.     a hinge member adapted to be rotatably attached to the
                  camera, said camera, when the hinge member is so attached, rotating, about
                  a first axis ofrotation, relative to said hinge member [emphasis added]; and

                           b.     a support frame rotatably attached to said hinge member and
                  configured to support said hinge member on the surface and the object, said
                  hinge member rotating about a second axis of rotation relative to said support
                  frame, said first axis of rotation being generally perpendicular to said second
                  axis of rotation, said second axis of rotation being substantially parallel to the
                  first surface when said hinge member is supported on the object, said support
                  frame having a first disposition positioned on said generally horizontal,
                  substantially planar surface, and said support frame having a second
                  disposition attached to the object when said first surface and said second
                  surface are inclined from a generally horizontal orientation, the camera being
                  maintained adjacent said edge in said second disposition of said support
                  frame.



                  Contrary assertions in the Office Action, Irifune does not disclose or suggest a hinge
        member adapted to be rotatably attached to the camera, said camera, when the hinge member
        is so attached, rotating, about a first axis of rotation, relative to said hinge member [emphasis
        added]. Rather, Irifune teaches that a camera can be screwed onto a mounting device using a
        camera attachment shaft (9) and camera attachment screws (10), (11). The purpose ofthe
        camera attachment shaft and the attachment screws is to attach the camera to the camera fixed
        part (2). Once the camera is attached to the camera fixed part (2), the camera, when the hinged
        member is so attached, cannot rotate about a first axis relative to the hinge member as in Patent
        Owner's claimed subject matter.
                  During the Examiner Interview, the Examiners indicated that they considered a partially
        threaded camera of Irifune to still be considered "attached" to the hinge member. Patent
        Owner's representative respectfully disagrees, and submits that the plain and ordinary meaning
        of the term "attached" is to be permanently fixed, joined, connected, or bound. See e.g.,
        Merriam-Webster Dictionary 1, Oxford English Dictionary 2 , or Webster's New Universal


        1
            "attached." Merriam- Webster. com. Merriam-Webster, 2011.


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Reply to Office Action dated August 12, 2011




        Unabridged Dictionary 3 . A partially threaded camera is not joined, connected or bound to the
        hinge member. Rather, at best, provided the camera has been threaded sufficiently it can be
        suspended or hung as a result of the threads. The camera is not attached to the hinge member
        until fully screwed or threaded to the hinge member. However, at such point, the camera of
        Irifune is no longer rotatable relative to the hinge member. The foregoing distinction is
        supported by the Declaration of Expert John Vronay submitted herewith.
                   Furthermore, Irifune fails to disclose a hinge member adapted to be rotatably attached to
        the camera, said camera, when the hinge member is so attached, rotating, about a first axis of
        rotation, relative to said hinge member; and a support frame rotatably attached to said hinge
        member and configured to support said hinge member on the surface and the object, said
        hinge member rotating about a second axis of rotation relative to said support
        frame ... [emphasis added]. The Office Action fails to clearly identify the alleged hinge member
        of Irifune. The Office Action states that the hinge is around shaft 1 but does not identify which
        element around shaft 1 is the alleged hinge that is adapted to be rotatably attached to the camera.
        Notwithstanding this lack of specificity, it is readily apparent that Irifune does not disclose any
        member, much less a hinge member, that is respectively attached to the camera as well as a
        support frame let alone such hinge member being respectively rotatably attached to both the
        camera and the support frame. Moreover, claim 1 further recites that the respective axes of
        rotation of the hinge member relative to the camera and the support are perpendicular - this
        feature is also clearly not disclosed by Irifune.
                   Claims 2, 5, 6, and 8 respectively depend from independent claim 1, and are not
        anticipated by Irifune for at least the same reasons noted above regarding claim 1.
                   In addition, claim 8 recites ... wherein the hinge member includes a body having a
        proximal and a distal end, a pivot element at said proximal end of said body adapted to

                                                             Web. 10 October 2011.
        2
            "attached." Dictionary.oed.com. Oxford English Dictionary Online. 2nd ed. 1989.
                                                              Web. 10 October 2011.


        3
            "attached." Webster's New Universal Unabridged Dictionary, 2nd ed, 1983.


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   APPLICATION NO.             FILING DATE               FIRST NAMED INVENTOR        ATTORNEY DOCKET NO.            CONFIRMATION NO.

       90/011,316               12/30/2010                     5855343                     76958.0000 I                      5680

                        7590          03/08/2012                                                              EXAMINER

       HIMANSHU AMIN, LLC
       127 Public Square
                                                                                             ART UNIT                    PAPER NUMBER
       57th Floor
       Cleveland, OH 44114
                                                                                     DATE MAILED: 03/08/2012




Please find below and/or attached an Office communication concerning this application or proceeding.




PT0-90C (Rev. 10/03)



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Art Unit: 3993

       In reexamination 90/011,366, a Third Party Requester requested reexamination

of claims 1,2,5-8,10,14-17 and 19 of U.S. Patent No. 5,855,343 (hereinafter "the '343

patent") based upon the following proposed rejections:

A. Claims 1, 2, 5, 6, 8, 10 and 14-17 are anticipated by lrifune (JP-H2-19997) under
35USC 102(b).

B. Claims 1, 7, 8 and 19 are anticipated by Ma (US Patent No. 5,880,783) under 35
USC 102(e).

C. Claims 7 and 19 are rendered obvious by lrifune in view of Maunder 35 USC 103(a).



   An order granting reexamination based on above substantial new questions of

patentability affecting claims 1,2,5-8,1 0,14-17 and 19 of the '343 patent was mailed on

December 21, 2010 (reexamination 90/011,366).

      In reexamination 90/011,316 another Third Party Requester requested

reexamination of claims 1,10 and 19 of U.S. Patent No. 5,855,343 (hereinafter "the '343

patent) based upon the following proposed rejections:

A. Claims 1, 10 and 19 are anticipated by Ma (US Patent No. 5,880,783) under 35 USC
102(e).

B. Claims 1, 10 and 19 are obvious over Yamauchi (US Patent No. Des. 383,475) under
35 USC 103(a).

C. Claims 1, 10 and 19 are obvious over Yamauchi in view of Maunder 35 USC 103(a).

D. Claims 1, 10 and 19 are obvious over Yamauchi in view of Wakabayashi (US Patent
No. 5,808,672) under 35 USC 103(a).

E. Claims 1, 10 and 19 are obvious over Yamauchi in view of Ohmura (US Patent No.
4,493,542) under 35 USC 103(a).

F. Claims 1 and 10 are anticipated by Dovey (US Patent No. 4,526,308) under 35 USC
103(a).




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this dimension, across either the front of rear surface. No support is in the specification

for the first support extending across this entire dimension, the "length of the edge".



       The following is a quotation of the second paragraph of 35 U.S.C. 112:

       The specification shall conclude with one or more claims particularly pointing out and distinctly
       claiming the subject matter which the applicant regards as his invention.

       Claims 22-30,32 and 34-39 are rejected under 35 U.S.C .. 112, second paragraph,

as being indefinite for failing to particularly point out and distinctly claim the subject

matter which applicant regards as the invention.

       Line 4 of claim 22 calls for the hinge member "adapted to be rotatably and fixedly

attached to the camera". Dictionary.com defines fixed as "fastened, attached or placed

so as to be firm and not readily movable; firmly implanted; stationary; rigid." By this

definition pieces that are "fixedly attached" will not be able to rotate. The terms

rotatably and fixedly are seen to contradict each other. Claim 32 also contains the

"rotatably and fixedly" language and claims 22-30 and 34-39 depend from claim 22, so

they are unclear due to this apparent contradiction.



                                 Claim Rejections - 35 USC § 102

       The following is a quotation of the appropriate paragraphs of 35 U.S.C. 102 that

form the basis for the rejections under this section made in this Office action:

       A person shall be entitled to a patent unless -

       (b) the invention was patented or described in a printed publication in this or a foreign country or in
       public use or on sale in this country, more than one year prior to the date of application for patent in
       the United States.




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       (e) the invention was described in (1) an application for patent, published under section 122(b), by
       another filed in the United States before the invention by the applicant for patent or (2) a patent
       granted on an application for patent by another filed in the United States before the invention by the
       applicant for patent, except that an international application filed under the treaty defined in section
       351 (a) shall have the effects for purposes of this subsection of an application filed in the United States
       only if the international application designated the United States and was published under Article 21 (2)
       of such treaty in the English language.       ·




       Claims 1,2,5,6,8, 10,14-17,19,40,41 and 42 are rejected under 35 U.S.C. 102(b)

as being anticipated by lrifune.

       lrifune discloses a camera support apparatus which is shown supporting a

camera on·a horizontal planar surface in figure 9-2 and on an object having first and

second surfaces having an edge intersecting the first and second surfaces in figure 10-

2. lrifune shows a hinge (around shaft 1) which is rotatably attached to the camera

using threaded camera attachment shaft 9. Although lrifune does not explicitly state

that the camera can rotate about the threaded post, such rotation is seen as inherent to

such a connection, as the post is designed to rotate to fasten the camera and the

camera can be securely fastened in any position using shaft 9 as an axis while the

camera rests on the camera fixed part 2. The large arm 3 and small arm 4 are seen as

a support frame which is rotatably attached to the hinge member and which, as shown

in figures 9-2 and 10-2, can support the camera on either a horizontal surface or

supported adjacent the edge between two inclined surfaces. The central shaft 1,

around which the large arm, small arm and camera fixed_part rotate is perpendicular to

the camera attachment shaft 9, around which the camera can be rotated for proper

positioning.




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       In regard to claim 2, arms 3 and 4 are seen as the first and second portion of the

support frame. Figure 9-2 shows the arms in a first disposition with the distal

extremities of the arms engaging a generally horizontal planar surface. Figure 10

shows the arms engaging opposing outer surfaces to maintain the camera ·at an edge

between the two surfaces.

       In regard to claim 5, lrifune shows nonslip rubber rings 12 attached to arms 3 and

4, so that the arms engage a generally horizontal surface at four locations and

unwanted rotation of the frame is avoided.

       In regard to claim 6, figures 10-1 and 10-2 show the large leg contacting the

surface further away from the edge than the short leg contacts the opposite surface.

       In regard to claim 8, the camera attachment shaft 9, which provides a pivoting

support for the camera is above the central portion of shaft 1, and is thus seen as being

located in a proximal end of the body. lrifune states that the structure is "(a) structure in

which a camera fixed part (2) and arms (3) and (4) can be freely rotated about a central

shaft (1)". This is seen as the body (camera fixed part 2) being able to rotate about the

second axis (shaft 1) relative to the support frame (arms 3 and 4).

       In regard to claim 10, the camera supported by the lrifune device in figure 9-2 is

shown to have both a housing and a lens and the camera is shown supported on a

generally horizontal substantially planar surface. Figure 10 also shows the camera

housing and lens, but in this instance it is supported on an edge intersecting a first

surface and a second surface. The camera fixed part 2 is adapted to be rotatably

attached to the camera. using shaft 9. While a pivotable connection between the




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 camera and the camera fixed part is not explicitly recited, "adapted to be rotatably

 attached to the camera" is functional language, and the threaded shaft 9 is clearly

 capable of mounting the camera in various orientations relative to the long sides of the

 camera fixed part. Due to this potential movement, shaft 9 is seen as the first axis.

 Arms 3 and 4 are seen as the support frame, as each arm is rotatably attached to shaft

 1 (which also pivotably supports camera fixed part 2). Because of this arrangement,

 shaft 1 forms the second axis of rotation relative to the support frame, with the first and

 second axes being perpendicular and the second axis substantially parallel to the first

 surface when the hinge member is supported on the object. As shown in figures 9 and

· 10, the arms can support the camera on either a planar surface or by contacting

 opposite surfaces of an object by changing the disposition of the arms relative to the

 second axis. As non-slip rings 12 are the parts of the frame which contact the surface,

 the device of lrifune is seen to have two rear support elements and two front support

 elements (the non-slip rings on each arm). When in the second disposition (with the

 arms contacting opposite surfaces of an object) the non-slip rings associated with large

 arm contact one surface, while the non-slip rings associated with the small arm contact·

 the opposite surface which will prevent the frame from rotating.

        In regard to claims 14 and 15, figure 9 shows the front and rear support elements

 (non-slip rubber rings 12) contacting the planar horizontal surface at a total of four

 locations, with the non-slip surfaces preventing rotation of the support frame.

        In regard to claim 16, lrifune uses a small arm (3) and a large arm (4). lrifune

 does not specify which is the front arm, and in fact has figures showing both the small




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arm in front (fig 11) and the large arm in front (fig 10). This is seen as evidence that

lrifune shows an embodiment with the rear support element further away from the edge

than the front support element. This is further seen as evidence of lrifune showing

multiple camera positions relative to the first axis.

       In regard to claim 17, the camera attachment shaft 9, which provides a pivoting

support for the camera is above the central portion of shaft 1, and is thus seen as being

located in a proximal end of the body. lrifune states that the structure is "(a) structure in

which a camera fixed part (2) and arms (3) and (4) can be freely rotated about a central

shaft (1)". This is seen as the body (camera fixed part 2) being able to rotate about the

second axis (shaft 1) relative to the support frame (arms 3 and 4 ).

       Claim 19 is seen as claiming the same structure as claim 1, with the claiming of

the specific use, "for supporting a camera on a laptop camera". This is seen as

intended use, which does not impart any structural elements to the claim. lrifune

discloses that the disclosed ca.mera support is designed for use in a variety of positions,

including fastened to opposite surfaces of generally vertical opposing surfaces (as

shown in figure 10 and described on page 7, "the back of a chair, ... a guard rail, a wall,

a fence". As claim 19 is an apparatus claim, and "for supporting a camera on a laptop

computer", is functional language which the structure of lrifune is capable of performing,

claim 19 is seen as anticipated by lrifune.

        Claim 40 is similar to claim 1, but specifies "a hinge member adapted to be

rotatably bound to the. camera, said camera, when the hinge member is so rotatably

bound, rotating, about a first axis of rotation, relative to said hinge member;". The




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"adapted to be" makes the limitation functional. The fixed part 2 and the associated

screw are clearly capable of being bound to the camera to permit rotation (about the

screw as an axis).

       Claim 41 is substantially similar to claim 40, with "joined" replacing "bound" in the

functional language. The fixed part 2 and the screw of lrifune are capable of being

joined to the camera, as that is their stated purpose. When so attached, the camera is

capable of rotating about the screw.

       In regard to claim 42, the hinge member is seen to comprise the screw, which is

inserted into the housing of the camera during use.



                                 Claim Rejections- 35 USC§ 103

       The following is a quotation of 35 U.S.C. 103(a) which forms the basis for all

obviousness rejections set forth in this Office action:

       (a) A patent may not be obtained though the invention is not identically disclosed or described as set
       forth in section 102 of this title, if the differences between the subject matter sought to be patented and
       the prior art are such that the subject matter as a whole would have been obvious at the time the
       iiwention was made to a person having ordinary skill in the art to which said subject matter pertains.
       Patentability shall not be negatived by the manner in which the invention was made.



       Claim 7 is rejected under 35 U.S.C. 103(a) as being unpatentable over lrifune in

view ofM~.

      As discussed above, lrifune shows a camera support device which can be placed

in different configurations to be supported where the user desires. Figure 2 shows the

camera in a position in which the camera is supported by opposing generally vertical

planar surfaces. lrifune does not explicitly state that the device can be used to support




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function if the parts were integrated into a unitary body. The same reasoning applies to

claims 23-25. Claim 33 depends from claim 31, so it is allowable for at least the above

reason. Claims 44 and 45 contain allowable subject matter, as none of the cited

references show or fairly teach a hinge member with a lip for rotatable attachment to the

camera. In regard to claims 46 and 47, none of the cited reference show or fairly teach

a front support that engages the froht surface, and the intersection of the edge with both

the first and second surfaces.



                         Response to Patent Owner's Remarks

       While the camera support of lrifune is capable of being locked in place by

attachment shaft 9, it is clearly possible to loosen the attachment screw, to enable the

pivoting of the camera relative to support (fixed part 2) while the camera is still attached

to the support. This (the axis of screw 9) represents a first axis of rotation relative to the

hinge member. Patent owner (PO) states that the partially tightened screw is not

attached. PO gives a dictionary definition for attached as "permanently fixed, joined

connected or bound." Dictionary.com's definition is the final three words of this given

definition. When the screw is slightly loosened, the camera is still joined or connected

to the fixed part of the support. Thus, lrifune is seen to show a camera attached to a

support, as claimed. To support their position, PO submitted a declaration of John

Vronay. This declaration states in part, "a rqtatably attached connection describes a

joint in which two members are attached or fixed but the connection allows rotation of at

least one member relative to the other about at least one axis with control of a rotated




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   APPLICATION NO.             FILING DATE               FIRST NAMED INVENTOR        ATTORNEY DOCKET NO.             CONFIRMATION NO.

       90/011,316               12/3012010                     5855343                     76958.00001                        5680

                        7590          08/3012012                                                           EXAMINER

       HIMANSHU AMIN, LLC
       127 Public Square
       57th Floor                                                                           ART UNIT                   PAPER NUMBER

       Cleveland, OH 44114
                                                                                     DATE MAILED: 08/3012012




Please find below and/or attached an Office communication concerning this application or proceeding.




PT0-90C (Rev. 10/03)



                                                              A1493
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noted using the earlier amendment as a basis, instead of the patent, so a Notice of

Informal Amendment was mailed June 20, 2012. A compliant amendment was recei~ed

July 20, 2012.




Grounds of Rejection
The following grounds of rejection are set forth:



                                 Claim Rejections - 35 USC § 102

       The following is a quotation of the appropriate paragraphs of 35 U.S.C. 102 that

form the basis for the rejections under this section made in this Office action:

       A person shall be entitled to a patent unless -

       (b) the invention was patented or described in a printed publication in this or a foreign country or in
       public use or on sale in this country, more than one year prior to the date of application for patent in
       the United States.




       Claims 1,2,5,6,8,10,14-17 and 19 are rejected under 35 U.S.C. 102(b) as being

anticipated by lrifune.

       lrifune discloses a camera support apparatus which is shown supporting a

camera on a horizontal planar surface in figure 9-2 and on an object having first and

second surfaces having an edge intersecting the first and second surfaces in figure 10-

2. lrifune shows a hinge (around shaft 1) which is rotatably attached to the camera

using threaded camera attachment shaft 9. Although lrifune does not explicitly state

that the camera can rotate about the threaded post, such rotation is seen as inherent to

such a connection, as the post is designed to rotate to fasten the camera and the




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camera can be securely fastened in any position using shaft 9 as an axis while the

camera rests on the camera fixed part 2. The large arm 3 and small arm 4 are seen as

a support frame which is rotatably attached to the hinge member and which, as shown

in figures 9-2·and 10-2, can support the camera on either a horizontal surface or

supported adjacent the edge between two inclined surf~ces. The central shaft 1,

around which the large arm, small arm and camera fixed part rotate is perpendicular to

the camera attachment shaft 9, around which the camera can be rotated for proper

positioning.

       In regard to claim 2., arms 3 and 4 are seen as the first and second portion of the

support frame. Figure 9-2 shows the arms in a first disposition with the distal

extremities of the arms engaging a generally horizontal planar surface. Figure 10

shows the arms engaging opposing outer surfaces to maintain the camera at an edge

between the two surfaces.

       In regard to claim 5, lrifune shows nonslip rubber rings 12 attached to arms 3 and

4, so that the arms engage a generally horizontal surface at four locations and

unwanted rotation of the frame is avoided.

       In regard to claim 6, figures 10-1 and 10-2 show the large leg contacting the

surface further away from the edge than the short leg contacts the opposite surface.

       In regard to claim 8, the camera attachment shaft 9, which provides a pivoting

support for the camera is above the central portion of shaft 1, and is thus seen as being

located in a proximal end of the body. lrifune states that the structure is "(a) structure in

which a camera fixed part (2) and arms (3) a~d (4) can be freely rotated about a central




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shaft (1)". This is seen as the body (camera fixed part 2) being able to rotate about the

second axis (shaft 1) relative to the support frame (arms 3 and 4).

       In regard to claim 10, the camera supported by the lrifune device in figure 9-2 is

shown to have both a housing and a lens and the camera is shown supported on a

generally horizontal substantially planar surface. Figure 10 also shows the camera

housing and lens, but in this instance it is supported on an edge intersecting a first

surface and a second surface. The camera fixed part 2 is adapted to be rotatably

attached to the camera using shaft 9. While a pivotable conneetion between the

camera and the camera fixed part is not explicitly recited, "adapted to be rotatably

attached to the camera" is functional language, and the threaded shaft 9 is clearly

capable of mounting the camera in various orientations relative to the long sides of the

camera fixed part. Due to this potential movement, shaft 9 is seen as the first axis.

Arms 3 and 4 are seen as the support frame, as each arm is rotatably attached to shaft

1 (which aiso pivotably supports camera fixed part 2). Because. of this arrangement,

shaft 1 forms the second axis of rotation relative to the support frame, with the first and

second axes being perpendicular and the second axis substantially parallel to the first

surface when the hinge member is supported on the object. As shown in figures 9 and

10, the arms can support the camera on either a planar surface or by contacting

opposite surfaces of an object by changing the disposition of the arms relative to the

second axis. As non-slip rings 12 are the parts of the frame which contact the surface,

the device of lrifune is seen to have two rear support elements and two front support

elements (the non-slip rings on each arm). When in the second disposition (with the




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 arms contacting opposite surfaces of an object) the non-slip rings associated with large

 arm contact one surface, while the non~slip rings associated with the small arm contact

 the opposite surface which will prevent the frame from rotating.

        In regard to claims 14 and 15, figure 9 shows the front and rear support elements

 (non-slip rubber rings 12) contacting the planar horizontal surface at a total of four

 locations, with the non-slip surfaces preventing rotation of the support frame.

        In regard to claim 16, lrifune uses a small arm (3) and a large arm (4). lrifune

does not specify which is the front arm, and in fact has figures showing both the small

 arm in front (fig 11) and the large arm in front (fig 10). This is seen as evidence that

 lrifune shows an embodiment with the rear support element further away from the edge

 than the front support element. This is further seen as evidence of lrifune showing

 multiple camera positions relative to the first axis.

        In regard to claim 17, the camera attachment shaft 9, which provides a pivoting

support for the camera is above the central portion of shaft 1, and is thus seen as being

 located in a proximal end of the body. lrifune states that the structure is "(a) structure in

which a camera fixed part (2) and arms (3) and (4) can be freely rotated about a central

·shaft (1)". This is ~een as the body (camera fixed part 2) being able to rotate about the

second axis (shaft 1) relative to the support frame (arms 3 and 4 ).

        Claim 19 is seen as claiming the same structure as claim 1, with the claiming of

the specific use, "for supporting a camera on a laptop camera". This is seen as

intended use, which does not impart any structural elements to the claim. lrifune

discloses that the disclosed camera support is designed for use in a variety of positions,




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inc!uding fastened to opposite surfaces of generally vertical opposing surfaces (as

shown in figure 10 and described on page 7, "the back of a chair, ... a guard rail, a wall,

a fence". As claim 19 is an apparatus claim, and "for supporting a camera on a laptop

computer", is functional language which the structure of lrifune is capable of performing,

claim 19 is seen as anticipated by lrifune.




                                 Claim Rejections • 35 USC § 103

       The following is a quotation of 35 U.S.C. 103(a) which forms the basis forall

obviousness rejections set forth in this Office action:

       (a) A patent may not be obtained though the invention is not identically disclosed or described as set
       forth in section 102 of this title, if the differences between the subject matter sought to be patented and
       the prior art are such that the subject matter as a whole would have been obvious at the time the
       invention was made to a person having ordinary skill in the art to which said subject matter pertains.
       Patentability shall not be negatived by the manner in which the invention was made.



       Claim 7 is rejected under 35 U.S.C. 103(a) as being unpatentable over lrifune in

view of Ma.

       As discussed above, lrifune shows a camera support device which can be placed

in different configurations to be supported where the user desires. Figure 2 shows the

camera in a position in which the camera is supported by opposing generally vertical

planar surfaces. lrifune does not explicitly state that the device can be used to support

a camera on a display screen for a laptop computer. Figure 3 of Ma shows the camera

supported by the screen of a laptop computer, with the circuit box 3 ·forming the rear leg

on the back of the display screen and the hook plate pivoted to its open position to




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above, such a connection is not shown in the cited art. Claim 43 requires the hinge

member to be capable of being inserted into a joint within a housing of the camera.

This is not shown by the cited prior art. Claims 44 and 45 are allowable, as none of the

cited references show or fairly teach a hinge member with a lip for rotatable attachment

to the camera. In regard to claims 46 and 47, none of the cited references show or

fairly teach a front support that engages the front surface, and the intersection of the

edge with both the first and second surfaces. In regard to claim 48, the cited references

fail to show or fairly teach the support frame having a front support element that can sit

atop a portion of the length of the edge between the first and second surfaces when

supporting the camera. The support of lrifune contacts only the first and second

surfaces and would not function if one of the legs was attached to the edge between

surfaces.



                         Response to Patent Owner's Remarks

       The amendments made by the patent owner have overcome the rejections under

35 USC 112 (both first and second paragraphs).

       While the camera support of lrifune is capable of being locked in place by

attachment shaft 9, it is clearly possible to loosen the attachment screw, to enable the

pivoting of the camera relative to support (fixed part 2) while the camera is still attached

to the support. This (the axis of screw 9) represents a first axis of rotation relative to the

hinge member. Patent owner (PO) states that the partially tightened screw is not

attached. PO gives a dictionary definition for attached as "permanently fixed, joined,




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connected or bound." Dictionary.com's definition is the final three words of this given

definition (not counting "or"). When the screw is slightly loosened, the camera is still

joined or connected to the fixed part of the support. Thus, lrifune is seen to show a

camera attached to a support, as claimed. To support their position, PO submitted a

decl~ration of John Vronay.   This declaration states in part, "a rotatably attached

connection describes a joint in which two members are attached or fixed but the

connection allows rotation of at least one member relative to the other about at least

one axis with control of a rotated position without initiating disassembly of the

members." In the opinion of the examiner, this definition reads limitations into the

claims that are not found in the common definition of the terms, or having a definition in

the specification. If the screw of lrifune was slightly loosened, the camera would be

able to pivot and if the camera were picked up, the support would be picked up as well,

through the action of the screw. Loosening the screw does not require the

deconstruction of any component of the system.

       lrifune's fixed part (2) is seen as the hinge member, as the camera can pivot

about one axis (screw 9) at one end (proximal) of the hinge member and a support

frame (legs 3 and 4) pivots about a perpendicular axis at the other (distal) end. This is

seen to meet the claimed limitations of claims 8 and 17. It is further noted that

independent claims 1 and 10 use the functional phrase "a hinge member adapted to be

rotatably attached". A reference that is capable of performing this function is seen to

meet the limitation. The hinge member (2) of lrifune is clearly capable of being attached

(connected or joined to the camera), while enabling rotation of the camera relative to the




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hinge member. The examiner agrees that if the claims are amended to clearly claim

that the hinge is permanently, yet rotatably fastened to the camera, lrifune could be

overcome. The newly added claims clearly claim that the connection is permanent and

able to rotate (and have thus been indicated as allowable). The original patent claims

which remain rejected use only functional language to establish a rotating connection

between parts, and lrifune is capable of performing this function.

       PO states that figure 2 of lrifune shows an unthreaded hole through fixed part 2.

It is unclear how an unthreaded hole would overcome the rejection. If the hole is

unthreaded, it is still possible (and easier than it would be if the hole were threaded) to

rotate fixed part 2, while the screw is still firmly attached to the camera.

       PO states that lrifune does not show the camera rotating about a first axis of

rotation relative to the hinge member as claimed in claim 10. The camera can pivot

about the screw, which provides an ·axis of rotation relative to the hinge member (2).



· All correspondence relating to this ex parte reexamination proceeding should be
directed:

  By EFS:       Registered users may submit via the electronic filing system EFS-Web, at
                https ://efs. uspto. gov/efi le/myporta 1/efs-reg istered .



. By Mail to:    Mail Stop Ex Parte Reexam
                  Central Reexamination Unit
                  Commissioner for Patents
                  United States Patent & Trademark Office
                  P.O. Box 1450
                  Alexandria, VA 22313-1450




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                                                                                 Attorney Docket No. GMGPlOJUS

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               IN THE UNITED STATES PATENT AND TRADEMARK OJi'Fl:CE

Application No(s).                     90/0 11 ,366 and 90/01 1,316 Confirmation No.                          5680
Patent No .                            5,855,343                                Patentee:           David E. K.rekc:lberg
Assignee                               Global Media Group LLC
Filed                                  March 7, 1997
Art Unit                               3993
Examiner                               William C. Doerrler
Docket No .                            GMGPIOIUS



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Central Reexamination Unit
Commissioner for Patents
 United States Patent and Trademark OtTicc
'P.O. Box 1450
Alexandria, VA 223 I 3-1450

                REPLY TO FINAL OFF1CE ACTIQN DATEIJ AUGUST 30,2011

Dear Sir,


         This is in response to the Final Offic-e Action dated August 30, 2012.                                      Favorable
reconsideration of the subject patent under reexamination is respectfully requested In view of the
following amendments and comments. The Commissioner is authorized to charge any fees due
in relation to this filing to Deposit Accouni No. 50~ 1063 [GMGPIOI US).
         A Marked-Up Version or All Pending Claims begins on page 2 of this paper.
         Remarks/Arguments begin on page 15 of this paper.




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 Applic:uion No(s). 90/IH I,J66 and <JO/Oi t,JI6
 Reexom of U.S. Patent No. 5,855,343
.Attorney Do(:kct No. GMGPIOl US
 Rcp'ly t(l) f ihnl Office Action dated August JO, 2012




         U sting of Claims:


          I. (Cancelled - Subject to Reexamination)


         2. (Cancelled - Subject to R~xami nation)


         3. {Not Subj ect to Reexamination)               Apparatus according to claim 2 wherein the support frame
         includes a cover adapted to protect the camera lens when the camera is rotated about the second
         ax is until the camera is between the first portion and the second portion.


         4. {Not Subject to Reexamination)                Apparatus according to claim 3 wherein the first portion of
         the support frame further includes said cover, said cover being mounted at the distal end of the
         first portion and adapted the lens of the camera.


         S. (Cancelled - Subject to Reexamination)


         6. (Cancelled - Subject to Reexamination)


         7. (Cancellod - Subject to Reexamination)


         8. (Cancelled - Subject to 'Reexaminalion}


         9. (Not Subject to Reexamination)                Apparatus according to claim 8 wherein the pivot element
         has a bore along the first aKis of rotation to receive an electri cal wiring harness and pass sajd
         wiring harness to the camera.


          lO. (Cancelled- Subject to Reexamination)




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Rcexam of U.S. Palent No. 5,855,34)
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         II. (Not Subject to Reexamination) Apparatus according to claim I0 whore in the support frame
         adapted to protect the camera when the camera is rotated about the second axis towards ~he rear
         sLlpport element of the support frame until the camera is· between the rear support element and
         the first and second front support elements, and is releasably held between the rear su:pport
         element and the first and second front support elements.


         12. (Not Subject to Reexamination) Apparatus according to claim l I wherein the first and
         second front support elements are spaced a distance apart, and wherein said distance is less than
         a diameter of the housing of the camera so· that as the camera is being rotated about the second
         axis in the direction towards the rear support element, said housing passes between !lite ftrsi and
         second front support elements and the first and second front support elements,resiliently flex
         outwardly to accommodate p;!Ssage of said housing, said housing being rele.asabliy he'ld once
         passing between the first and second front support. elements by the rear support ele.ment engaging
         said housing at the lens.


         13. (Not Subject to Reexamination) Apparatus according to C·laim II wherein the first portiom
         ofthe support frame further has a cover. said covet being mounted at a distal end ofthe .r.ear
         support element and adapted to receive the lens of the camera when the-camem is releasably held
         between the rear support element and the first and second front support elements.


         14. {Cancelled ~ Subject to Reexamination)


         15. (Cancelled- Subjtct to Reexamination)


         16. (Cancelled- Subjectto Reexamination)

         17. (Cancelled- Subjecr to Reexamination)




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Reply to Final Office Action dlltcd Au~:ust 30, 20 12




         18. (Not Subject to Reexamination) Apparatus according to claim 17 wherein the pivot element
         has a bore along the fi rst axis of rotation to receive said electrical wiring harness and pass said
         wiring harness lo the camera.


         19. (Cancelled -Subject to Reexamination)


         20. (Not Subject to Reexamination) Apparatus for supporting a camera having a lens on a
         substantially level surface:, comprising:


                  a.       a hinge member adapted to be rotatably attached to the camera, the camera
         rotating about a first axis of rotation relative to said hinge member; and


                  b.       a support frame rotatably atlached to said hinge member and configured to
         suppon said hinge member on a generally horizontal, substantially planar surface, said hinge
         member rotating about a second axis of rotation relative to said support frame, said first axis of
         rotation being generally perpendicular to said second axis of rotation, said second axis of rotation
         being substantially parallel to the generally horizontal, substantially planar surface when said
         hinge member is supported on the generally horizontal, substantially planar surface, said support
         frame having a first portion and a second portion wherein said support frame protects the camera
         when said hinge member Is not supported on the generally horizontal, substantially planar
         surface, and when the camera is rotated around said second a.xis in a direction from said second
         portion towards said first portion of said support frame until the camera is between said fi rst
         portion and said second portion and is releasably held between said fi rst portion and said second
         portion.


        21. (Not Subject to Reexamination) Apparatus for supporting a camera, having a lens, on an
         object having a first surface and a second surface, wherein a thickness measured between the
         first surface and tho second surface defines an edge therebetween, comprising:



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                 a.       a hinge member adapted to be rotatably attached to the camera; said camera, when
        the hinge member is so adapted, rotating about a first allis of rotation relative 10 said hinge
        member; and


                 b.       a support frame rotatably attached to said hinge member and configured to
        support said hinge member on the object, said hinge member rotating about a sec.ond axis of
        rotation relative to said support frame, said first axis of rotation being generally perpendicular to
        said second axis of rotation, said second axis of rotation being substanti,ally paral'le:l to the first
        surface when said hinge member is supported by said support frame on the objeet, said support
        frame supporting said hinge member on the object when said first surface is inclined from :a
        substantially horizontal position, th~ camera b~ing maintained adjacent the edge when an
        uppermost extremity of the object is the edge, rotation of said s.uppo.rt frame being precluded
        about an axis substantially parallel to said second axis, said second axis being substantially
        parallel to said edge, said support frame having a first portion and a second portion wherein sairl
        support frame releasably holds and protects the camera when said hinge member is not supported
        by said support frame on the object and the camera is rotated around said second axis in a
        direction from said second portion towards said first portion of said support franl(l until the
        camera is between said first portion and said second portion and is releasably held between said
        .first portion and said second portion.


        12, (Pending • ~ubject to Reexamjnalionl Aptmratus for supporting a camera. having a lens. q:n
        11ny generally hori:r~ntal. substantially planat surface and on. an, object havirtg a filn~ sur.fate amd
        a second surface and an edge intersecting tho first surfact and the secorr.d surface, oomJ2ris1ng::


                 a.       a hinge member adapted to be rotatabl.y and permanently atta:G!fled to the cann~ra.
        said eam~ra, when the hinge Mtrtiber is so permanently affached, totaling, about.a fitst axis of
        rotation, relati'\le to said hinge member; and



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tilted down, the angle at which the camera is tilted will change and the lens of the camera will be

pointing up when the camera has been rotated 180 degrees.

       B.       Constmed Claim Terms

       29.      In reviewing the claims of the '343 Patent and formulating my opinions in this

case, I have followed the constmctions determined by the Court and agreed to by the patties.

Those constructions are smnmarized in the following chrut:

'343 Claim Term                      Construction
Hinge Member                         A stmctural element that joins to another for rotation

Rotatably attached I adapted to be   No construction necessruy, sufficiently defined in the
rotatably attached I adapted to      claims; subject to the Comt' s resolution of the scope of the
rotatably attached                   claims that "rotatably attached objects" are "limited to a
                                     single axis of rotation."

Support Frame                        No construction necessruy, sufficiently defined in the
                                     claims; subject to the Comt' s resolution of the scope of the
                                     claims

Disposition                          A configmation or anangement of the supp01t frame

"Hingedly attached/hingedly          Connected or joined via a hinge joint
attaching"


VII.   THE ACCUSED PRODUCTS

       30.      In his repott, and more pruticularly in his conected Supplemental Rep01t, Dr.

Muskivitch identifies the following accused webcams regarding Newegg, HP, Gear Head, and

Sakar (collectively the "Accused Products"):




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Accused Webcams identified with Newegg 1:

   Supplier       Brand                  Newegg/Rosewill SKU
   Guillemot      HERCULES               26-606-004 WEBCAM HERCULES 4780401
                  CLASSIC A/K./A         DELUXERT
                  DELUXE                 26-606-006 WEBCAM HERCULES 4780466 RT
                                         26-606-007 WEBCAM HERCULES CLASSIC
                                         SILVERRT
   Guillemot      HERCULES               26-606-005- WEBCAM HERCULES 4780463 RT
                  DUALPIX A/K./A         26-606-014- WEBCAM HERCULES 4780655 R
                  Exchange, Emotion,     26-606-011 _ WEBCAM HERCULES 4780515 RT,
                  Sunset, Infinite, HD   26-606-002- WEBCAM HERCULES DUALPIX HD
                                         RT
   iMicro         iMICRO                 26-563-004 WEBCAM !MICRO IMV6 RTL
                  IMV6/ZB029             26-717-019_ WEBCAM IMC I ZB029 R
   iMicro         !MICRO CH-8118         26-717-012- WEBCAM IMC CH-8118 R
   Rosewill       Rosewill RCM-8163      RCM-8163

Accused webcams identified with Hp2:

   Supplier           Brand                                 HPSKU
   HP                  HP Elite/Elite Autofocus             HP GX607AA, aka AU927AA
   HP                  HP 2 Megapixel Webcam                HP RZ406AA, aka EW099AA,
                                                            EW191AA, GS360AA




    My analysis of the Hercules-brand webcams applies to other retailers in the suit, including
Best Buy Co., Inc. , Best Buy Stores, LP, BestBuy.com, LLC (collectively "Best Buy"), Wal-
Mart Stores, Inc. , and Office Depot, Inc.
2
    I ha:ve been infonned that HP-branded webcams sourced from Chicony Global, Ltd have
been licensed by AdjustaCam and are therefore not in issue. I understand that Dr. Muskivitch's
report still includes one Chicony webcam, the QP896AT, but that this inclusion is in enor.
Therefore, my repo11 addresses only those webcams identified with respect to HP that are not
licensed.
    In addition, I ha:ve been infonned that AdjustaCam's damages rep011 also included another
HP branded webcam, con esponding to model number RD345AA. However, Dr. Muskivitch's
rep011 does not identify this webcam as being associated with HP at all nor does it provide any
infringement-related analysis. Therefore, my rep011 is limited only to those webcam models that
Dr. Muskivitch's repo11 has identified and analyzed as being infringing.

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Accused webcams identified with Gear Head:

    Supplier           Brand                 Gear Head SKU
    Gear Head          Gear Head WC4500      WC4500
    Gear Head          Gear Head WC3301      WC3301
    Gear Head          Gem· Head WC5351      Gear Head WC5351
    Gear Head          Gem· Head WC7351      Gear Head WC7351


Accused webcams identified with Sakm· and F1y' s:

    Supplier            Brand                               SakarSKU
    Sakar               A4 Tech PK-720MJ
    Sakar               Kodak W100

        31.     Many of the accused products have a ball-and-socket design. In these products,

the camera rotates relative to the support frame via a ball-and-socket The ball-and-socket of

these designs enables rotation about more than a single axis. The following accused products

have such a ball-and-socket design and are refened to throughout the remainder of my rep011 as

the ("Ball-and-Socket Accused Products"):

                     1. Hercules Classic/Deluxe webcams
                     2. Hercules DualPix/Exchange/Emotion/Sunset/Infmite/HD webcams
                     3. iMicro CH-8118 webcam
                     4. Rosewill RCM-8163 webcam
                     5. Gear Head WC4500 webcam
                     6. Gear Head WC330I webcam sold after April19, 2011
                     7. Gear Head WC535I webcam sold after April19, 2011
                     8. Gear Head WC735I webcam sold after April19, 2011
                     9. A4 Tech PK-720MJ
                     10. Kodak W100

        32.     One of the accused products (the iMicro IMV6/ZB029) has a traditional pan-and-

tilt design.




                                             - 12-

                                             A1757
                                             A1 757
                                                           EXHIBIT
                                                           E       3
                                             NON-INFRINGEMEN
                                                           NT OF ROSEW
                                                                     WILL RCM-81 63

’3433 Patent Claim                                   Rosewill RCM
                                                                M-8163
1. AApparatus for supporting a camera, having a      I understand thhat preambles of claims are nott generally limittations on the claimed
   llens, on any generally horizontal,               invention, andd that in this casee the parties havve not contended that the pream
                                                                                                                                     mble is a




                                                                                                                                                         Case: 13-1665
   ssubstantially planar surface and on an object    limitation.
   hhaving a first surface and a second surface      Therefore, I shhall focus my an nalysis of the Roosewill RCM-8163 product to tthe claim
   aand an edge intersecting the first surface and   limitations reccited below.
   tthe second surface, comprising:
   aa. a hinge member adapted to be rotatably        The Rosewill RCM-8163
                                                                     R            doees not include a hhinge member rrotatably attacheed to the
       attached to the camera, said camera,          camera such th hat the camera rotates
                                                                                      r      about a ffirst axis of rotattion relative to tthe hinge
       when the hinge member is so attached,         member. Hing   ge member haviing been define d as a structurall element that jooins to another




                                                                                                                                                         Document: 97-2
       rotating, about a first axis of rotation,     for rotation.
       relative to said hinge member; and            The structural element that the camera of the Rosewill RCM       M-8163 is mountted on rotates
                                                     relative to the camera clip in multiple
                                                                                      m        axes o f rotation via a bball-and-socket jjoint. As
                                                     Figure 1 illustrrates, the ball- and-socket
                                                                                      a          join t of the Rosewilll RCM-8163 coonsists of a ball
                                                     resting in a soccket within the camera
                                                                                       c      clip, an d a stem conneccting the cameraa to the ball:




                                                                                                                                                         Page: 258
                                                                                                                                                         Filed: 12/11/2014
                                                                       Figure 1 – Ball-and-socket
                                                                                   B                  jjoint of Rosewilll RCM-8163
                                                     The top of the stem is fixed too the camera, annd the bottom off the stem is fixeed to the ball.
                                                     The stem doess not rotate indep pendent of, or rrelative to, the bball. The stem ddoes not rotate
                                                     independent of, or relative to, the camera.
                                                     Dr. Muskivitchh identifies the camera clip of the Rosewill RC     CM-8163 as the “support
                                                     frame” and thee ball, socket, an
                                                                                    nd stem of the R Rosewill RCM-88163 as the “hinnge member.”

                                                                       -1-
                                                                       A1758
                                                            EXHIBIT
                                                            E       3
                                              NON-INFRINGEMEN
                                                            NT OF ROSEW
                                                                      WILL RCM-81663

’3433 Patent Claim                                     Rosewill RCM   M-8163
                                                       However, the camera is fixed to what he callss the hinge mem  mber and cannott rotate relative
                                                       to said hinge member.
                                                                      m              use the hinge meember is not rotaatably attached, and cannot
                                                                                 Becau




                                                                                                                                                         Case: 13-1665
                                                       rotate relative to, the camera, the camera doees not rotate “aboout a first axis oof rotation
                                                       relative to [thee] hinge member.”
   bb. a support frame rotatably attached to said      The Rosewill RCM-8163
                                                                        R           doees not include a support frame rotatably attacheed to said
       hinge member and configured to support          hinge memberr and configured    d to support sai d hinge memberr on the surface and the object.
       said hinge member on the surface and the        The support frrame of the Roseewill RCM-81 63 is not “rotatabbly attached” too the hinge
       object,                                         member, as the Court has con   nstrued that ter m. This is becauuse what Dr. Muuskivitch
                                                       identifies as th
                                                                      he support framee of the Rosewi ll RCM-8163 atttaches to what hhe identifies




                                                                                                                                                         Document: 97-2
                                                       the hinge mem  mber in such a way
                                                                                      w that the sup port frame and hhinge member rrotate relative
                                                       to one anotherr about multiple axes. Figure 2 shows a close-uup of the ball annd socket,
                                                       illustrating thee multiple axes of
                                                                                        o rotation:




                                                                                                                                                         Page: 259
                                                                                                                                                         Filed: 12/11/2014
                                                                         Figure 2 – Ball-and-socket
                                                                                    B               jjoint of Rosewilll RCM-8163
   ssaid hinge member rotating about a second          The Rosewill RCM-8163
                                                                       R            doees not include a hinge member rrotating about a second axis of
   aaxis of rotation relative to said support frame,   rotation relativ
                                                                      ve to a support frame,
                                                                                        f        said first axis of rotationn being generallyy
   ssaid first axis of rotation being generally        perpendicular to said second axis a of rotation, said second axiis of rotation beeing
   pperpendicular to said second axis of rotation,     substantially parallel
                                                                      p        to the firrst surface whe n said hinge mem    mber is supportted on the
   ssaid second axis of rotation being                 object.
   ssubstantially parallel to the first surface when
                                                                         -2-
                                                                        A1759
                                  Case: 13-1665          Document: 97-2        Page: 260      Filed: 12/11/2014

                                                           EXHIBIT 3
                                             NON-INFRINGEMENT OF ROSEWILL RCM-8163

'343 Patent Claim                                     Rosewill RCM-8163
   said hinge member is suppmted on the               As described above, the Rosewill RCM-8163 does not include a hinge member rotatably
   object,                                            attached to a camera and, therefore, does not include the claimed "first axis of rotation."
                                                      Because the Rosewill RCM-8 163 does not have the "first axis of rotation," it does not
                                                      have the "second axis of rotation," let alone a second axis of rotation that is "generally
                                                      perpendicular to" the first axis of rotation.
                                                      In addition, and as described above, what Dr. Muskivitch identifies as the hinge member
                                                      of the Rosewill RCM-8163 rotates relative to what he identifies as the suppott frame in a
                                                      multiple axes of rotation. Therefore, the hinge member does not rotate in a single axis of




                                                                                                                A1760
                                                      rotation (the claimed "Second Axis of Rotation") relative to the suppot1 frame.
   said suppoti fi.·ame having a first disposition    As described above, the Rosewill RCM-8163 does not include a suppot1 frame rotatably
   positioned on said generally horizontal,           attached to the hinge member or a suppm1 fi.·ame that rotates relative to the hinge member
   substantially planar smface, and said suppot1      in the second axis of rotation. Because the Rosewill RCM-8163 does not include the
   fi.·ame having a second disposition attached to    claimed suppoti fi.·ame, it does not include "said support frame having a first disposition
   the object when said first surface and said        positioned on said generally horizontal, substantially planar sm-face.
   second surface are inclined fi.·om a generally
   horizontal orientation, the camera being
   maintained adjacent said edge in said second
   disposition of said suppott fi.·ame.
7. Apparatus according to claim 1 wherein the         See above analysis for claim 1 of the '343 Patent.
   object is a display screen for a laptop
   computer, and the second sm-face is the fi.·ont
   of the display screen and the first surface is
   the back of the display screen.
19. A camera clip for supporting a camera on a        I understand that preambles of claims are not generally limitations on the claimed
    laptop computer, the laptop computer having       invention, and that in this case the patiies have not contended that the preamble is a
    a display screen which can be inclined fi.·om a   limitation.
    generally hmizontal position, an uppem1ost        Therefore, I shall focus my analysis of the Rosewill RCM-8163 product to the claim
    pottion of the display screen defming an          limitations recited below.
    edge, comprising:
   a. a hinge member adapted to be rotatably          See above to conesponding element of claim 1 of the '343 Patent.
      attached to the camera, said camera
      rotating about a first axis of rotation
      relative to said hinge member; and


                                                                       -3-
                                                                      A1760
                                                           EXHIBIT
                                                           E       3
                                             NON-INFRINGEMEN
                                                           NT OF ROSEW
                                                                     WILL RCM-81663

’3433 Patent Claim                                    Rosewill RCM
                                                                 M-8163
   bb. a support frame hingedly attached to said      The Rosewill RCM-8163
                                                                      R           doees not include a support frame hhingedly attacheed to said hinge
       hinge member to engagingly support said        member to eng  gagingly supporrt said hinge meember on the dissplay screen, saiid hinge




                                                                                                                                                         Case: 13-1665
       hinge member on the display screen, said       member rotating over a secon   nd axis of rotatioon relative to saiid support framee, the camera
       hinge member rotating over a second axis       being maintain ned adjacent thee edge, rotation of said support frame being preevented along
       of rotation relative to said support frame,    an axis substanntially parallel to
                                                                                      t said second aaxis where said ssecond axis is suubstantially
       the camera being maintained adjacent the       parallel to said
                                                                     d edge.
       edge, rotation of said suppo ort frame being   What Dr. Musskivitch identifiees as the supporrt frame of the R  Rosewill RCM-88163 is not
       prevented along an axis substantially          “hingedly attached” to what he h identifies as tthe hinge membber based on the parties’
       parallel to said second axis where said        agreed constru uction of “hingeedly attached.” This is because the support fram   me attaches to
       second axis is substantially parallel to       the hinge mem mber via a ball-aand-socket joint,, whereas claim m 19 requires thaat the hinge




                                                                                                                                                         Document: 97-2
       said edge.                                     member conneect or join to thee support frame via a hinge joinnt. The Rosewilll RCM-8163
                                                      contains no suuch hinge joint.
                                                      Figure3 showss a close-up of the ball and sockket, illustrating the multiple axees of rotation
                                                      of the support frame with resp  pect to the rest oof the apparatus:




                                                                                                                                                         Page: 261
                                                                                                                                                         Filed: 12/11/2014
                                                                         Figure 3 – Ball-and-socket
                                                                                    B                joint of Rosewilll RCM-8163
                                                      The Rosewill RCM-8163
                                                                     R           doees not include a hinge member rrotating about a second axis of
                                                      rotation relativ
                                                                     ve to a support frame
                                                                                     f     for the sam
                                                                                                     me reasons desccribed in connecction with
                                                      claim 1. See above.
                                                                     a



                                                                        -4-
                                                                       A1761
                                       Case: 13-1665           Document: 97-2            Page: 262        Filed: 12/11/2014

                                                              EXIDBIT4
                                             NON-INFRINGEMENT OF HERCULES CLASSIC/DELUXE

'343 Patent Claim                                        Hercules Classic/Deluxe1
1. Apparatus for supporting a camera, having             I lmderstand that preambles of claims are not generally limitations on the claimed invention,
   a lens, on any generally horizontal,                  and that in this case the pru1ies have not contended that the preamble is a limitation.
   substantially planar smface and on an
   object having a first smface and a second             Therefore, I shall focus my analysis of the Hercules Classic/Deluxe products to the claim
   smface and an edge intersecting the first             limitations recited below.
   smface and the second smface, comprising:




                                                                                                                               A1762
    a. a hinge member adapted to be rotatably            The Hercules Classic/Deluxe Webcams do not include a hinge member rotatably attached to
       attached to the camera, said camera,              the camera such that the crunera rotates about a fn·st axis of rotation relative to the hinge
       when the hinge member is so attached,             member. Hinge member having been defined as a structmal element that joins to another
       rotating, about a fust axis of rotation,          for rotation.
       relative to said hinge member; and


                                                         The stmctmal element that the camera of the Hercules Classic/Deluxe Webcams is mmmted
                                                         on rotates relative to the camera clip in multiple axes of rotation via a ball-and-socket joint.
                                                         As Figme 1 illustrates, the ball-and-socket joint of the Hercules Classic/Deluxe Webcams
                                                         consists of a ball resting in a socket within the crunera clip, and a stem connecting the
                                                         crunera to the ball:




1
 My opinions concerning the Hercules Classic/Deluxe Webcams apply to all Hercules Classic/Deluxe webcams identified in Dr. Muskivitch' s report, all of which include
the same fiUictionality for ptuposes of my analysis. These products include the Hercules Classic, Hercules Classic Link, Hercules RT, Hercules Deluxe RT, Hercules
Deluxe Optical Glass, and Hercules Classic Silver RT.



                                                                                - 1-
                                                                               A1762
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                                                      EXHIBIT 4
                                     NON-INFRINGEMENT OF HERCULES CLASSIC/DELUXE

'343 Patent Claim                             Hercules Classic!Deluxe1




                                                                                                           A1763
                                                         Figure 1 - Ball-and-socket joint ofa Hercules Classic/Deluxe Webcam
                                              The top of the stem is fixed to the camera, and the bottom of the stem is fixed to the ball.
                                              The stem does not rotate independent of, or relative to, the ball. The stem does not rotate
                                              independent of, or relative to, the camera.
                                              Dr. Muskivitch identifies the camera clip of the Hercules Classic/Deluxe Webcams as the
                                              "supp01t frame" and the ball, socket, and stem of the Hercules Classic/Deluxe Webcams as
                                              the "hinge member." However, the camera is fixed to what he calls the hinge member and
                                              cannot rotate relative to said hinge member. Because the hinge member is not rotatably
                                              attached, and cannot rotate relative to, the camera, the camera does not rotate "about a first
                                              axis of rotation relative to [the] hinge member."
   b. a supp011 frame rotatably attached to   The Hercules Classic/Deluxe Webcams do not include a supp011 frame rotatably attached to
      said hinge member and configmed to      said hinge member and configmed to support said hinge member on the smface and the
      supp011 said hinge member on the        object.
      smface and the object,                  The supp011 fi·ame of the Hercules Classic/Deluxe Webcams is not "rotatably attached" to
                                              the hinge member, as the Comt has construed that tetm. This is because what Dr.
                                              Muskivitch identities as the su art fi·ame of the Hercules Classic/Deluxe Webcams
                                                                 -2-
                                                                A1763
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                                                                 EXillBIT 4
                                      NON-INFRINGEMENT OF HERCULES CLASSIC/DELUXE

'343 Patent Claim                                Hercules Classic/Deluxe1
                                                 attaches to what he identifies the hinge member in such a way that the support fi:ame and
                                                 hinge member rotate relative to one another about multiple axes. Figure 2 shows a close-up
                                                 of the ball and socket, illustrating the multiple axes of rotation:




                                                                                                               A1764
                                                    Figure 2 - Hercules Classic/Deluxe Webcam Shown With Camera Detached from Clip
   said hinge member rotating about a second     The Hercules Classic/Deluxe Webcams do not include a hinge member rotating about a
   axis of rotation relative to said suppmt      second axis of rotation relative to a suppmt fi·ame, said first axis of rotation being generally
   fi·ame, said first axis of rotation being     perpendicular to said second axis of rotation, said second axis of rotation being substantially
   generally petpendicular to said second axis   parallel to the first surface when said hinge member is supported on the object.
   of rotation, said second axis of rotation     As described above, the Hercules Classic/Deluxe Webcams do not inc.lude a hinge member
   being substantially parallel to the first     rotatably attached to a camera and, therefore, do not include the c.lain1ed "first axis of
   smface when said hinge member is              rotation." Because the Hercules Classic/Deluxe Webcams do not have the "first axis of
   supported on the object,                      rotation," the do not have the "second axis of rotation," let alone a second axis of rotation
                                                                     -3-
                                                                    Al764
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                                                       EXIDBIT4
                                      NON-INFRINGEMENT OF HERCULES CLASSIC/DELUXE

'343 Patent Claim                                 Hercules Classic/Deluxe1
                                                  that is "generally pe1pendicular to" the first axis of rotation.
                                                  In addition, and as described above, what Dr. Muskivitch identifies as the hinge member of
                                                  the Hercules Classic/Deluxe Webcams (a ball and socket) rotates relative to what he
                                                  identifies as the support fi.·ame in multiple axes of rotation. Therefore, the hinge member
                                                  does not rotate in a single axis of rotation (the claimed "second axis of rotation") relative to
                                                  the suppol1 fi.·ame.
   said support frame having a fust               As desctibed above, the Hercules Classic/Deluxe Webcams do not include a suppott fi.·ame




                                                                                                                A1765
   disposition positioned on said generally       rotatably attached to the hinge member or a suppmt fi.·ame that rotates relative to the hinge
   horizontal, substantially planar smface, and   member in the second axis of rotation. Because the Hercules Classic/Deluxe Webcams do
   said support fi.·ame having a second           not include the claimed support fi·ame, they do not include "said support frame having a
   disposition attached to the object when said   first disposition positioned on said generally hmizontal, substantially planar smface.
   first smface and said second smface are
   inclined fi.·om a generally horizontal
   orientation, the camera being maintained
   adjacent said edge in said second
   disposition of said suppol1 fi.·ame.
7. Apparatus according to claim 1 wherein the See above analysis for claim 1 of the '343 Patent.
   object is a display screen for a laptop
   computer, and the second smface is the
   fi.·ont of the display screen and the first
   smface is the back of the display screen.
19. A camera clip for suppmiing a camera on a     I tmderstand that preambles of claims are not generally limitations on the claimed invention,
    laptop computer, the laptop computer          and that in this case the pal1ies have not contended that the preamble is a limitation.
    having a display screen which can be          Therefore, I shall focus my analysis of the Hercules Classic/Deluxe products to the claim
    inclined fi.·om a generally horizontal        limitations recited below.
    position, an uppermost pol1ion of the
    displa~ ~creen defining an edge,
    compnsmg:
   a. a hinge member adapted to be rotatably      See above to coiTesponding element of claim 1 of the '343 Patent.
      attached to the camera, said camera
      rotating about a first axis of rotation
      relative to said hinge member; and
   b. a suppmi fi·ame hingedly attached to        The Hercules Classic/Deluxe Webcams do not include a suppoli fi.·ame hingedly attached to
      said hinge member to engagingly             said hinge member to engagingly suppmi said hinge member on the display screen, said
                                                                    -4-
                                                                     A1765
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                                                        EXHIBIT4
                                       NON-INFRINGEMENT OF HERCULES CLASSIC/DELUXE

'343 Patent Claim                                Hercules Classic/Deluxe1
       support said hinge member on the          hinge member rotating over a second axis of rotation relative to said suppol1 frame, the
       display screen, said hinge member         camera being maintained adjacent the edge, rotation of said suppol1 frame being prevented
       rotating over a second axis of rotation   along an axis substantially parallel to said second axis where said second axis is
       relative to said support frame, the       substantially parallel to said edge.
       camera being maintained adjacent the      What Dr. Muskivitch identifies as the suppol1 frame of the Hercules Classic/Deluxe
       edge, rotation of said suppm1 frame       Webcams is not "hingedly attached" to what he identifies as the hinge member based on the
       being prevented along an axis             pal1ies' agreed constmction of "hingedly attached." lbis is because the support fi.·ame
       substantially parallel to said second     attaches to the hinge member via a ball-and-socket joint, whereas claim 19 requires that the




                                                                                                            A1766
       axis where said second axis is            hinge member connect or join to the suppoli fi.·ame via a hinge joint. The Hercules
       substantially parallel to said edge.      Classic/Deluxe Webcams contain no such hinge joint.
                                                 Figure 3 shows a close-up of the ball-and-socket joint:




                                                            Figure 3 - Ball-and-socket joint ofHercules Classic/Deluxe Webcam
                                                 The Hercules Classic/Deluxe Webcams do not include a hinge member rotating about a
                                                 second axis of rotation relative to a suppm1 fi.·ame for the same reasons described in
                                                 connection with claim 1. See above.
                                                                    - 5-
                                                                   A1 7 66
                                        Case: 13-1665           Document: 97-2           Page: 267         Filed: 12/11/2014

                                                             EXIDBIT 5
                                           NON-INFRINGEMENT OF HERCULES DUALPIX PRODUCTS

'343 Patent Claim                                         Hercules Dualpix1
1. Apparatus for supporting a camera, having              I lmderstand that preambles of claims are not generally limitations on the claimed invention,
   a lens, on any generally horizontal,                   and that in this case the pru1ies have not contended that the preamble is a limitation.
   substantially planar smface and on an
   object having a first smface and a second
   smface and an edge intersecting the first
   smface and the second smface, comprising:              Therefore, I shall focus my analysis of the Hercules Dualpix products to the claim
                                                          limitations recited below.




                                                                                                                                A1767
    a. a hinge member adapted to be rotatably             The Hercules Dualpix Webcruns do not include a hinge member rotatably attached to the
       attached to the crunera, said camera,              camera such that the camera rotates about a first axis of rotation relative to the hinge
       when the hinge member is so attached,              member. Hinge member having been defmed as a strucnu·al element that joins to another
       rotating, about a first axis of rotation,          for rotation.
       relative to said hinge member; and


                                                          The stmcnu·al element that the crunera of the Hercules Dualpix Webcams is mOlmted on
                                                          rotates relative to the camera clip in multiple axes of rotation via a ball-and-socket joint. As
                                                          Figme 1 illustrates, the ball-and-socket of the Hercules Dualpix Webcruns consists of a ball
                                                          resting in a socket within the camera clip:




1
 My opinions conceming the Hercules Dualpix Webcams apply to all Hercules Dualpix webcalllS identified in Dr. Muskivitch's report, all of which have the same
functionality for purposes of my analysis. 1l1ese products include the Hercules Dualpix, Dualpix Exchange, Dualpix Emotion, Dualpix Sunset, Dualpix Infinite, and
DualpixHD.



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                                                                               A1767
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                                                     EXIDBIT 5
                                   NON-INFRINGEMENT OF HERCULES DUALPIX PRODUCTS

'343 Patent Claim                             Hercules Dualpix1




                                                                                                            A1768
                                                              Figure 1 -Ball-and-socket joint ofHercules Dualpix Webcams
                                              TI1e top of the ball is fixed to the camera, and the bottom of the ball rotates in multiple axes
                                              of rotation relative to the camera clip. The camera does not rotate independent of, or
                                              relative to, the ball.
                                              Dr. Muskivitch identifies the camera clip of the Hercules Dualpix Webcams as the "supp011
                                              frame" and the ball and socket of the Hercules Dualpix Webcams as the ''hinge member."
                                              However, the camera is fixed to what he calls the hinge member and cannot rotate relative
                                              to said binge member. Because the hinge member is not rotatably attached, and cannot
                                              rotate relative to, the camera, the camera does not rotate "about a first axis of rotation
                                              relative to [the] hinge member."
   b. a supp011 frame rotatably attached to   The Hercules Dualpix Webcams do not include a suppmi frame rotatably attached to said
      said hinge member and c.onfigured to    hinge member and configured to suppmi said hinge member on the smface and the object.
      supp011 said hinge member on the
      smface and the object,
                                              The support frame of the Hercules Dualpix Webcams is not "rotatably attached" to the
                                              hinge member, as the Comi has constmed that te1m. Tins is because what Dr. Muskivitch
                                              identifies as the supp011 frame of the Hercules Dualpix Webcams attaches to what he
                                              identifies the hinge member in such a way that the suppm1 frame and hinge member rotate
                                              relative to one another about multiple axes.
                                                                  -2-
                                                                 A1768
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                                                      EXIDBIT 5
                                    NON-INFRINGEMENT OF HERCULES DUALPIX PRODUCTS

'343 Patent Claim                                Hercules Dualpix1
   said hinge member rotating about a second     The Hercules Dualpix Webcams do not include a hinge member rotating about a second
   axis of rotation relative to said suppmt      axis of rotation relative to a suppmt frame, said fust axis of rotation being generally
   frame, said fu·st axis of rotation being      perpendicular to said second axis of rotation, said second axis of rotation being substantially
   generally perpendicular to said second axis   parallel to the fu·st surface when said hinge member is suppmted on the object.
   of rotation, said second axis of rotation     As described above, the Hercules Dualpix Webcams do not include a hinge member
   being substantially parallel to the fu·st     rotatably attached to a camera and, therefore, do not include the clain1ed " fu·st axis of
   surface when said hinge member is             rotation." Because the Hercules Dualpix Webcams do not have the "ftrst axis of rotation,"
   suppmted on the object,                       they do not have the "second axis of rotation," let alone a second axis of rotation that is




                                                                                                              A1769
                                                 "generally perpendicular to" the fu·st axis of rotation.
                                                 In addition, and as described above, what Dr. Muskivitch identifies as the hinge member of
                                                 the Hercules Dualpix Webcams rotates relative to what he identifies as the suppolt frame in
                                                 multiple axes of rotation. Therefore, the hinge member does not rotate in a single axis of
                                                 rotation (the claimed "Second Axis of Rotation") relative to the suppmt frame.

   said suppolt frame having a fust              As described above, the Hercules Dualpix Webcams do not include a suppmt frame
   disposition positioned on said generally      rotatably attached to the hinge member or a suppmt frame that rotates relative to the hinge
   horizontal, substantially planar stuface, and member in the second axis of rotation. Because the Hercules Dualpix Webcams do not
   said suppmt fi.·ame having a second           include the claimed suppolt frame, they do not include "said support frame having a ftrst
   disposition attached to the object when said disposition positioned on said generally horizontal, substantially planar surface.
   first surface and said second surface are
   inclined from a generally horizontal
   orientation, the camera being maintained
   adjacent said edge in said second
   disposition of said suppmt fi.·ame.
7. Apparatus according to claim 1 wherein the    See above analysis for claim 1 of the '343 Patent.
   object is a display screen for a laptop
   computer, and the second surface is the
   fi.·ont of the display screen and the ftrst
   surface is the back of the display screen.
19. A camera clip for suppmting a camera on a    I understand that preambles of claims are not generally limitations on the claimed invention,
    laptop computer, the laptop computer         and that in this case the parties have not contended that the preamble is a limitation.
    having a display screen which can be         Therefore, I shall focus my analysis of the Hercules Dualpix products to the claim
    inclined fi.·om a generally horizontal       limitations recited below.
    position, an uppe1most portion of the
    display screen defuling an edge,

                                                                    -3-
                                                                    Al769
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                                                      EXIllBIT 5
                                    NON-INFRINGEMENT OF HERCULES DUALPIX PRODUCTS

'343 Patent Claim                               Hercules Dualpix1
   compnsmg:
   a. a hinge member adapted to be rotatably    See above to conesponding element of claim 1 of the '343 Patent.
      attached to the camera, said camera
      rotating about a first axis of rotation
      relative to said hinge member; and
   b. a suppmt frame hingedly attached to       The Hercules Dualpix Webcams do not include a support frame hingedly attached to said
      said hinge member to engagingly           hinge member to engagingly suppmt said hinge member on the display screen, said hinge




                                                                                                              A1770
      suppmt said hinge member on the           member rotating over a second axis of rotation relative to said suppott frame, the camera
      display screen, said hinge member         being maintained adjacent the edge, rotation of said suppmt frame being prevented along an
      rotating over a second axis of rotation   axis substantially parallel to said second axis where said second axis is substantially parallel
      relative to said supp01t frame, the       to said edge.
      camera being maintained adjacent the      What Dr. Muskivitch identifies as the support frame of the Hercules Dualpix Webcams is
      edge, rotation of said support frame      not "hingedly attached" to what he identifies as the hinge member based on the pruties'
      being prevented along an axis             agreed construction of"hingedly attached." This is because the support frame attaches to
      substantially parallel to said second     the hinge member via a ball-and-socket joint, whereas claim 19 requires that the hinge
      axis where said second axis is            member connect or join to the suppmt fi:ame via a hinge joint. The Hercules Dualpix
      substantially parallel to said edge.      Webcams contain no such hinge joint.
                                                Figure 2 shows the ball-and-socket joint, illustrating the multiple axes of rotation of the
                                                suppolt frame with respect to the hinge member:




                                                               Figure 2 - Ball-and-socket joint ofHercules Dualpix Webcams
                                                The Hercules Dualpix WebcainS do not include a hinge member rotating about a second
                                                axis of rotation relative to a support frame for the same reasons described in connection
                                                with claim 1. See above.


                                                                    -4-
                                                                   A1770
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                                                                  EXIDBIT6
                                              NON-INFRINGEMENT OF iMICRO CH-811 8

'343 Patent Claim                                 iMICRO CH-8118
1. Apparatus for supporting a camera, having      I lmderstand that preambles of claims are not generally limitations on the claimed invention,
   a lens, on any generally horizontal,           and that in this case the patties have not contended that the preamble is a limitation.
   substantially planar smface and on an
   object having a first smface and a second      Therefore, I shall focus my analysis of the iMICRO CH-81 18 product to the claim
   smface and an edge intersecting the first      limitations recited below.
   smface and the second smface, comprising:
   a. a hinge member adapted to be rotatably      The iMICRO CH-8118 Webcam does not include a hinge member rotatably attached to the




                                                                                                                A1771
      attached to the camera, said camera,        camera such that the camera rotates about a first axis of rotation relative to the hinge
      when the hinge member is so attached,       member. Hinge member having been defrned as a stmctmal element that joins to another
      rotating, about a first axis of rotation,   for rotation.
      relative to said hinge member; and          The structmal element that the camera of the iMICRO CH-8118 Webcam is mmmted on
                                                  rotates relative to the camera clip in multiple axes of rotation via a ball-and-socket joint. As
                                                  the following figme illusti"ates, the ball-and-socket joint ofthe iMICRO CH-8118 Webcam
                                                  consists of a ball resting in a socket within the camera clip, and a stem collllecting the
                                                  camera to the ball:




                                                   Figure 1 -Reproduction ofPhotograph of iMICRO CH-8118 from Expert Report ofJohn
                                                              C. Muskivitch, Showing Ball-and-Socket Joint (annotations added)


                                                                      - 1-
                                                                     A1771
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                                         EXIDBIT6
                             NON-INFRINGEMENT OF iMICRO CH-8118

'343 Patent Claim               iMICRO CH-8118

                                The components that make up the ball-and-socket joint of the iNllCRO CH-811 8 are shown
                                in Figure 2:
                                          ~------------~~--~~~----~,
                                                        Oo~pofball with
                                                        squared slot for stem.__   ..___




                                                                                                        A1772
                                               camera                Structural member

                                                                                   BaD




                                                                                                        Screw attach Ins ball to rtem


                                                           Figure 2- iMICRO CH-8118 Disassembled
                                The top of the stem is fixed to the can1era, and the bottom of the stem is fixed to the ball by
                                a screw. The ball includes a square slot in which the square stem of the camera inserts to
                                prevent rotation of the stem with respect to the ball. The stem does not rotate independent
                                of, or relative to, the ball. The stem does not rotate independent of, or relative to, the
                                camera.
                                Dr. Muskivitch identifies the camera clip of the iMICRO CH-8118 Webcam as the " supp011
                                frame" and the ball, socket, and stem of the iMICRO CH-81 18 Webcam as the "hinge
                                member." However, the camera is fixed to what he calls the hinge member and cannot
                                rotate relative to said hinge member. Because the hinge member is not rotatably attached,
                                and callllot rotate relative to, the camera, the camera does not rotate "about a first axis of
                                rotation relative to [the] hinge member."

                                                    -2-
                                                   A1772
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                                                                  EXIDBIT6
                                                 NON-INFRINGEMENT OF iMICRO CH-8118

'343 Patent Claim                                  iMICRO CH-8118
   b. a suppmt :fi:ame rotatably attached to      The iMICRO CH-8118 Webcam does not include a suppmt :fi.·ame rotatably attached to said
      said hinge member and configmed to          hinge member and configured to support said hinge member on the surface and the object.
      suppmt said hinge member on the             The support :fi.·ame of the iMICRO CH-8118 Webcam is not "rotatably attached" to the
      smface and the object,                      hinge member, as the Court has construed that term. This is because what Dr. Muskivitch
                                                  identifies as the suppmt :fi.·ame of the iMICRO CH-81 18 Webcam attaches to what he
                                                  identifies as the hinge member in such a way that the suppoli :fi.·ame and hinge member
                                                  rotate relative to one another about multiple axes.




                                                                                                               A1773
   said hinge member rotating about a second      The iMICRO CH-8118 Webcam does not include a hinge member rotating about a second
   axis of rotation relative to said suppmt       axis of rotation relative to a support :fi.·ame, said fu·st axis of rotation being generally
   :fi.·ame, said fu·st axis of rotation being    perpendicular to said second axis of rotation, said second axis of rotation being substantially
   generally perpendicular to said second axis    parallel to the first smface when said hinge member is suppmted on the object.
   of rotation, said second axis of rotation      As described above, the iMICRO CH-811 8 Webcam does not include a hinge member
   being substantially parallel to the first      rotatably attached to a camera and, therefore, does not include the claimed "fu·st axis of
   surface when said hinge member is              rotation." Because the iMICRO CH-8118 Webcam does not have the " first axis of
   suppolied on the object,                       rotation," it does not have the "second axis of rotation," let alone a second axis of rotation
                                                  that is "generally perpendicular to" the first axis of rotation.
                                                  In addition, and as described above, what Dr. Muskivitch identifies as the hinge member of
                                                  the iMICRO CH-8118 Webcam rotates relative to what he identifies as the suppmt :fi.·ame in
                                                  multiple axes of rotation. Therefore, the binge member does not rotate in a single axis of
                                                  rotation (the claimed "Second Axis of Rotation") relative to the suppmt :fi.·ame.
   said suppmt :fi.·ame having a first          As described above, the iMICRO CH-8118 Webcam does not include a suppmi frame
   disposition positioned on said generally     rotatably attached to the hinge member or a suppm1 :fi.·ame that rotates relative to the hinge
   horizontal, substantially planar smface, and member in the second axis of rotation. Because the iMICRO CH-811 8 Webcam does not
   said suppmi :fi.·ame having a second         include the claimed support frame, it does not include "said support frame having a first
   disposition attached to the object when said disposition positioned on said generally horizontal, substantially planar surface.
   first surface and said second surface are
   inclined :fi.·om a generally horizontal
   orientation, the camera being maintained
   adjacent said edge in said second
   disposition of said suppmt :fi.·ame.
7. Apparatus according to claim 1 wherein the      See above analysis for claim 1 of the '343 Patent.
   object is a display screen for a laptop
   computer, and the second surface is the
                                                                      -3-
                                                                     A1773
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                                                                  EXIDBIT6
                                                NON-INFRINGEMENT OF iMICRO CH-811 8

'343 Patent Claim                                 iMICRO CH-8118
   front of the display screen and the first
   smface is the back of the display screen.
19. A camera clip for suppmting a camera on a     I tmderstand that preambles of claims are not generally limitations on the claimed invention,
    laptop computer, the laptop computer          and that in this case the parties have not contended that the preamble is a limitation.
    having a display screen which can be          Therefore, I shall focus my analysis of the iMICRO CH-81 18 product to the claim
    inclined from a generally horizontal          limitations recited below.
    position, an uppe1most pmtion of the
    displa~ ~creen defining an edge,




                                                                                                                A1774
    compnsmg:
   a. a hinge member adapted to be rotatably      See above to corresponding element of claim 1 of the '343 Patent.
      attached to the camera, said camera
      rotating about a first axis of rotation
      relative to said hinge member; and
   b. a suppmt fiame hingedly attached to         The iMICRO CH-8118 Webcam does not include a suppoli fi·ame hingedly attached to said
      said hinge member to engagingly             hinge member to engagingly suppolt said hinge member on the display screen, said hinge
      suppoli said hinge member on the            member rotating over a second axis of rotation relative to said suppmt fi·ame, the camera
      display screen, said binge member           being maintained adjacent the edge, rotation of said suppmt fi·ame being prevented along an
      rotating over a second axis of rotation     axis substantially parallel to said second axis where said second axis is substantially parallel
      relative to said suppmt frame, the          to said edge.
      camera being maintained adjacent the        What Dr. Muskivitch identifies as the suppmt fi·ame of the iMICRO CH-8118 Webcam is
      edge, rotation of said suppo11 fiame        not "hingedly attached" to what he identifies as the hinge member based on the palties'
      being prevented along an axis               agreed constmction of "hingedly attached." This is because the suppol1 fi·ame attaches to
      substantially parallel to said second       the hinge member via a ball-and-socket joint, whereas claim 19 requires that the binge
      axis where said second axis is              member connect or join to the suppmt frame via a hinge joint. The iMICRO CH-8118
      substantially parallel to said edge.        Webcam contains no such hinge joint.
                                                  Figme 3 shows a close-up of the ball and socket, illustrating the multiple axes of rotation of
                                                  the suppmt fi·ame with respect to the rest of the apparatus:




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                                                                     A1774
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                                          EXHIBIT6
                              NON-INFRINGEMENT OF iMICRO CH-8118

'343 Patent Claim               iMICRO CH-8118
                                                  Oose-up of bal wfth
                                                  squared slot for stem




                                                                                                A1775
                                                               Structural member

                                                      Stem                Ball
                                                                          I




                                                                                               Screw attaching ball to stem


                                                Figure 3 - Ball-and-socket joint ofiMICRO CH-8118 Webcam
                                TI1e iMICRO CH-8118 Webcam does not include a hinge member rotating about a second
                                axis of rotation relative to a support frame for the same reasons described in connection
                                with claim 1. See above.




                                                   - 5-
                                                 A1775
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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


ADJUSTACAM LLC,

                 Plaintiff,                     Case No. 6:10-CV-329-LED

vs.
                                                JURY TRIAL DEMANDED
AMAZON.COM, INC., ET AL.,

                 Defendants.



      NEWEGG INC., NEWEGG.COM INC. AND ROSEWILL INC.’S OPPOSED
 MOTION FOR DECLARATION OF EXCEPTIONAL CASE AND AWARD OF FEES
                   AND NONTAXABLE EXPENSES


                                    FILED UNDER SEAL




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I.      INTRODUCTION
        Very early in this litigation, this Court expressed concern over the possibility that plaintiff

filed its Complaint with the purpose of exacerbating “cost-of-defense type settlements” divorced

from the merits of the case. As discussed below, the Court’s expression of concern was entirely

accurate. Plaintiff AdjustaCam LLC (“Plaintiff” or “AdjustaCam”) is a non-practicing entity and a

wholly-owned subsidiary of Acacia Research Group LLC. Plaintiff sued more than 30 defendants

(including suppliers and retailers) for infringement of U.S. Patent 5,855,343 entitled “Camera Clip”

(the ‘343 Patent). Shortly after filing its Complaint, Plaintiff began its pattern of extorting nuisance-

value settlements from defendants in amounts far below the costs of defense. Plaintiff continued this

pattern over the next two years, and by August 2012, Plaintiff had settled for nuisance value with

nearly all of the defendants in this case.

        This case was exceptional. As described below, this lawsuit was objectively baseless and

was brought for no other reason than to extract nuisance-value settlements for sums divorced from

the merits and far below the costs of defense. Plaintiff had no reasonable chance of success on its

infringement claims against Newegg Inc., Newegg.com Inc. and Rosewill Inc. (collectively

“Newegg”), particularly after the Court’s Claim Construction Order. Even so, Plaintiff continued to

assert untenable infringement claims, to demand unjustified settlement sums, and to prolong this

litigation in bad faith, all in the hopes of extorting money from Newegg.

        Newegg refused to participate in the shakedown by simply buying their way out of this

lawsuit, but instead vigorously defended this case on the merits, convicted by the fact that Plaintiff’s

infringement claims and validity defenses were baseless. Eventually conceding the meritless nature

of the claims asserted against Newegg in this case, Plaintiff was forced to extend a unilateral

covenant not to sue and to dismiss its claims with prejudice.        But by the time Plaintiff finally


                                                       1


                                                 A1779
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       Here, as in Eon-Net, Plaintiff settled with dozens of defendants for substantially less than the

costs to defend against Plaintiff’s baseless infringement allegations. Indeed, like the patent owner in

Eon-Net, AdjustaCam offered to settle with Newegg and Rosewill for substantially less than the cost

for Newegg and Rosewill to defend this lawsuit. Ultimately, Plaintiff voluntarily dismissed Newegg

and Rosewill when it became clear that they would not agree to a nuisance-value settlement. These

facts render this case exceptional.

                  1.    AdjustaCam Extracted Nuisance-Value Settlements From Multiple
                        Defendants Before Voluntarily Dismissing Newegg

       Just two months after filing this lawsuit, Plaintiff executed its first nuisance-value settlement

with defendant                         in the amount of $25,000. (Zarian Decl. ¶ 9; Sullivan Rpt. ¶¶

62-63, Attachment 7.) On November 22, 2012, Plaintiff settled with defendants

                                                          for $25,000, and in March 2011, Plaintiff

settled with defendants                and        for $15,000 and $18,000, respectively. (Id.) By the

time Plaintiff dismissed Newegg in 2012, Plaintiff settled with at least:

           •     Twelve defendants for $25,000 or less;
           •     Three defendants for an amount between $25,001 and $50,000;
           •     Five defendants for an amount between $50,001 and $100,000; and
           •     Two defendants for an amount between $100,001 and $225,000.

(Id.; Zarian Decl. ¶ 10).

       AdjustaCam’s settlements are consistent with the nuisance-value settlements in the range of

$25,000 to $75,000 in Eon-Net. Like the patent owner in Eon-Net, Plaintiff employed the strategy

of exploiting the high cost of defending against Plaintiff’s baseless claims, effectively ensuring that

the frivolous nature of those claims was not exposed. Eon-Net LP, 653 F.3d at 1327.

                  2.    Plaintiff’s Nuisance-Value Settlements and Settlement Demands Had No
                        Relationship to Defendants’ Exposure




                                                      4


                                                A1782
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         As further evidence that Plaintiff filed this litigation in bad faith and for an improper purpose,

the amounts that defendants agreed to pay AdjustaCam under the 22 settlement agreements have no

connection to the defendants’ sales of accused products. To be sure, Plaintiff and its damages expert

maintained that AdjustaCam’s settlement agreements (and demands) were based on a minimum

target royalty of $1.25/unit. 1 However, this assertion was objectively baseless. For example, the

implied royalty2 for 15 of the settlement agreements for which sales data was disclosed ranged from

a minimum of $0.10/unit to a maximum of $161.29/unit. (Zarian Decl. ¶¶ 9, 10; Sullivan Rpt.

Attachment 12.) Of those 15 settlement agreements, not a single agreement included an implied

royalty of $1.25 per unit. (Id.)

         Indeed, Plaintiff’s own damages expert admitted that his opinion concerning the appropriate

per-unit royalty was not calculated based on the number of units sold by any of the defendants that

settled with AdjustaCam. (Zarian Decl. ¶ 12, Bratic Dep. at 97:6-98:17; 118:8-119:7; 146:6-24;

177:20-178:16; 231:16-234:3). He also admitted that his opinion was not influenced by the cost or

sales price of the accused products or the cost of the patented feature (a clip) of the accused products

on the grounds that the cost of the patented feature is “not relevant.” 3 (Id. at 74:25-75:3; 77:8-15;

79:4-19.) Rather, his opinions were based on his understanding of what someone else viewed as a

“target royalty” based (allegedly) on two settlement agreements executed in 2001by the prior owner

of the ‘343 Patent (PAR Technologies). (Id. at 36:23-39:22; 41:17-42:16; 229:1-4; 233:18-234:3;

235:24-236:15.) Of course, this clearly does not meet the requirements of Rule 702 of the Federal

Rules of Evidence. Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147 (1999).

1
 Expert Report of Walt Bratic, dated June 25, 2012 at ¶ 107 (Zarian Decl. ¶ 3; Exh. 1.)
2
 “Implied Royalty” = (Settlement amount / units sold). For example, one defendant sold 6,584 accused units and settled
for $40,000 for an implied royalty of $6.08/unit. (Zarian Decl. ¶ 9; Sullivan Rpt., Attachment 12.)
3
 Plaintiff’s potential damages were limited to the value of the patented feature, absent a showing that the
patented feature constitutes the basis for consumer demand. Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d
1301, 1324 (Fed. Cir. 2009). At no point did Plaintiff or its expert argue that the webcam clip was the basis of
consumer demand for the accused products.
                                                              5


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        Similarly, Plaintiff was unable to point to any evidence to support the claim that the 22

settlement agreements were based on a “target” royalty of $1.25. In fact, Plaintiff’s 30(b)(6)

representative was unaware of the number of units that any defendant sold prior to settling with

AdjustaCam and, therefore, was unable to verify whether any of the 22 defendants paid a minimum

per-unit royalty of $1.25. (Zarian Decl. ¶ 13; Exh. 9, AdjustaCam 30(b)(6) Depo. at 69:6-70:21.)

        More particularly, Plaintiff’s nuisance-value settlement demands to Newegg were entirely

divorced from Newegg’s sales of the accused products. On November 9, 2011, several defendants

(including Newegg and Rosewill) participated in mediation with Plaintiff in Dallas, Texas before

Mr. James Knowles. At the time of the mediation, Rosewill had confirmed sales of 14,499 units of

the accused products for total revenues of $63,760 and Newegg had confirmed sales of 5,904 units

of the Newegg accused products—the majority of which were supplied to Newegg by other named

defendants—for total revenues of $33,379. Despite claiming entitlement to a minimum per-unit

royalty between $1.25 and $1.50, Plaintiff demanded $75,000 from Newegg and Rosewill at

mediation. Plaintiff refused to explain the basis for demanding nearly three times its “target” per-

unit royalty and more than 75% of Newegg and Rosewill’s total revenue from sales of the accused

products.     (Zarian Decl. ¶ 15; Exh. 11.)

        After mediation and before eventually dismissing Newegg, Plaintiff made two additional

nuisance-value settlement demands. In March 2012, after many of the accused Newegg products

had been the subject of settlements between Plaintiff and Newegg Inc.’s suppliers, Plaintiff

demanded $65,000 from Newegg and Rosewill, refusing to provide an explanation as to how that

figure was calculated. (Zarian Decl. ¶ 17.) Then, on July 11, 2012 - less than two weeks after

serving a report from its damages expert 4 - AdjustaCam demanded $51,543 to settle this matter with


4
 In his June 28, 2012 Supplemental Report, Mr. Bratic opined that AdjustaCam was entitled to reasonable-royalty
damages from Newegg and Rosewill in the amount of $17,928. Mr. Bratic calculated this figure by multiplying the total

                                                              6


                                                       A1784
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Newegg and Rosewill—a demand nearly three times the damages calculation performed by its

own expert. Again, Plaintiff offered no explanation for its demand, which equated to an implied

per-unit royalty of $3.60, or nearly three times Plaintiff’s alleged target royalty. (Zarian Decl. ¶ 18;

Exh. 12.) Mr. Bratic testified that at no time did he form an opinion that a per-unit royalty of $3.00

or more would be reasonable.             In fact, Mr. Bratic testified that such a royalty would be

unreasonable. (Bratic Dep. at 242:11-22.)

        B.       Plaintiff’s Infringement Claims Were Brought in Bad Faith and Were
                 Objectively Baseless

        This lawsuit was frivolous from the very outset because, as explained below, Newegg simply

could not infringe the Asserted Claims under any reasonable interpretation. Unlike the accused

Newegg products, the ‘343 Patent claims a camera clip with two separate and distinct axes of

rotation. The camera disclosed in the ‘343 Patent is “rotatably attached” to the “hinge member” of

the claimed apparatus such that the camera rotates about a single axis of rotation (the “first axis of

rotation”). The “support frame” of the apparatus is “rotatably attached” to the “hinge member” such

that the support frame rotates relative to the hinge member about a separate, single axis of rotation

(the “second axis of rotation”). (Zarian Decl. ¶ 19; Exh. 13, ‘343 Patent, col 6:57-57; col. 7:39-42;

col 9:20-22 (emphasis added.)) Thus, as illustrated by Figures 1 and 2 of the ‘343 Patent, the claimed

apparatus is aimed by rotating the camera in a left-to-right direction about the “first axis of rotation”

(28) and in an up-and-down direction by rotating the support frame and hinge member about the

“second axis of rotation” (32). (Id. at Figs. 1, 2.)

        Unlike the camera disclosed in the ‘343 Patent, none of the accused Rosewill webcams rotate

about a single axis of rotation, and the vast majority of the accused Newegg webcams do not rotate



number of accused Newegg and Rosewill products (14,342 units) by a per-unit royalty of $1.25. (Bratic Report ¶¶ 109-
110.)

                                                             7


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about a single axis of rotation, as the claims of the ‘343 Patent require. Instead, these products (the

“Accused Ball-and-Socket Products”) include a camera connected to a clip via a ball-and-socket

joint, which facilitates rotation about multiple axes. 5 The substantial and material differences

between the Accused Ball-and-Socket Products and the Asserted Claims are illustrated by the

following photographs of the accused Rosewill RCM-8163 (below left) and Hercules Classic (below

right) webcams, which are both representative of the Accused Ball-and-Socket Products:




        Comparing the Accused Products to the claims and specification of the ‘343 Patent shows

that Plaintiff’s infringement allegations were spurious. Indeed, as the Court explained in its Claim

Construction Order, “[e]very reference to a ‘rotatably attached’ object in the specification and claims

describes the attachment as permitting motion over a single axis of rotation,” and “[t]he claims

plainly describe each ‘rotatably attached’ object as rotating about a single axis.”                       (Claim

Construction Order (Dkt. 627) at 9-10.) Accordingly, Plaintiff’s infringement allegations against

Newegg were objectively baseless.

IV.     PLAINTIFF’S LITIGATION MISCONDUCT PROVIDES ADDITIONAL AND
        SUFFICIENT EVIDENCE TO ESTABLISH THIS CASE AS EXCEPTIONAL
        A.       Plaintiff Continued to Maintain Its Frivolous Infringement Claims Even After
                 the Court’s Claim Construction Order
        Maintaining infringement claims after an unfavorable claim construction may constitute

litigation misconduct and provide additional grounds for declaring a case exceptional. MarcTec, 664

5
 See Expert Report of John H. Hamilton Re Non-Infringement, Claim Charts, Exhs. 3-5 claim limitation 1(a), attached
as Exhibit 31 to the Zarian Decl.

                                                             8


                                                      A1786
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Excerpts from Dr. Muskivitch’s June 25 Report (left) and August 24 Report (right) identifying the
“second axis of rotation” of the accused Rosewill RCM-8163 (yellow arrow) and “support frame”
(red arrow) (Zarian Decl. at ¶¶ 5, 7; Exhs. 3, 5.)




Excerpts from Dr. Muskivitch’s June 25 Report (left) and August 24 Report (right) identifying the
“hinge member” of the accused Rosewill RCM-8163 (green arrow) and first axis of rotation” (blue
arrow) (Zarian Decl. at ¶¶ 5, 7; Exhs. 3, 5.)
         Underscoring the significance of these changes, Dr. Muskivitch acknowledged that

Newegg’s expert (Mr. Hamilton) would not be able even to understand his infringement opinions

absent the so-called “final” August 24 Report. (Muskivitch Dep. at 34:16-35:4.) Plaintiff has yet to

provide any justification for serving the untimely report. Plaintiff has suggested an apparent

“mistake,” but this argument strains credulity. If Plaintiff’s counsel truly served an earlier draft of

Dr. Muskivitch’s opinion on June 25, this error would have come to Plaintiff’s attention when Mr.

Hamilton served his rebuttal report on July 27, 2012 and certainly before Plaintiff’s counsel

examined Mr. Hamilton at his deposition on August 17, 2012.

         C.       Plaintiff Continued to Maintain Objectively Baseless Invalidity Defenses
         On several occasions, including as early as August 12, 2011, Examiner Doerrler of the

USPTO rejected the Asserted Claims as anticipated and/or obvious based on Japanese Utility Model

Publication No. H2-19997 to Irifune (the “Irifune Publication”) and U.S. Patent No. 5,880,783 to Ma

entitled “Digital Camera for a Computer” (the “Ma Patent”). (Zarian Decl. at ¶ 22; Exh. 16, OA

dated August 12, 2011). The patentee, Global Media Group LLC (“Global Media”) 6, was able to

prolong the reexamination until Examiner Doerrler issued a Final Office Action on August 30, 2012


6
 Plaintiff has represented that Global Media is the owner of the ‘343 Patent and AdjustaCam is the exclusive licensee of
the ‘343 Patent.

                                                               11


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reference to a ‘rotatably attached’ object in the specification and claims describes the attachment as

permitting motion over a single axis of rotation.”).)

                    2.     The Ma Patent

         Plaintiff and its expert also advanced and maintained frivolous arguments concerning the Ma

Patent. As illustrated in the annotated figure from the Ma Patent (below left), and as the USPTO

correctly concluded, the Ma Patent discloses a camera (1) rotatably attached to a hinge member (2),

a support frame (3), and the claimed first and second axes of rotation. (Zarian Decl. at ¶ 21; Exh.

15.) As shown in the figure (below right) excerpted from Dr. Muskivitch’s report, remarkably, Dr.

Muskivitch opined that the Ma device does not disclose a camera and a support frame, but instead “a

camera with moveable parts.” 7 (Muskivitch Rebuttal Report at 28, 29 (showing alleged “camera” in

red)).




         The ‘343 Patent does not ascribe a unique definition of a camera that would include

structures used to support a camera.

         D.       Plaintiff Fabricated a Per-Unit Royalty In An Attempt to Justify its Nuisance-
                  Value Settlements
         As described above, Plaintiff lacked a good faith basis for asserting that AdjustaCam’s

settlements were based on a minimum royalty of $1.25/unit. Neither Plaintiff, nor its damages

expert, could identify any reliable evidence in support of such an alleged royalty. Indeed, Mr. Bratic

7
 Dr. Muskivitch maintained that the circuit box (3) of the Ma device was not a support frame because it was part of the
camera, despite conceding that “circuit box (3) does support tubular shaft 21, which in turn supports adjustment block
(2).” (Id. at 31).

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ignored the obvious fact that the implied royalty rate for at least 15 of AdjustaCam’s settlement

agreements ranged from $0.10/unit to $161.29/unit. In addition, Mr. Bratic did not even take into

consideration the costs or profits associated with the accused feature of the webcam. Evidently,

Plaintiff simply had Mr. Bratic “proffer junk science” and “bogus theories” to justify its pattern of

extracting nuisance-value settlements. Such conduct makes this case exceptional and warrants

reimbursement for Newegg’s expert fees.                   See MarcTec, 664 F.3d 907, 921-22 (affirming

exceptional case finding and award of expert fees and expenses in excess of $800,000 where

MarcTec offered unreliable and irrelevant expert testimony and “had its experts proffer junk

science,” which unnecessarily extended the litigation).

V.         UNDER THE CIRCUMSTANCES, THE COURT SHOULD AWARD REASONABLE
           ATTORNEYS’ FEES AND EXPENSES TO NEWEGG
           By this motion, pursuant to 35 U.S.C. § 285, Newegg seeks to recover all reasonable

attorneys’ fees and expert witness fees incurred in this litigation. 8 Specifically, Newegg respectfully

requests that the Court enter an order requiring AdjustaCam to reimburse Newegg for attorneys’ fees

in the amount of $286,102.52 and expert witness fees, pursuant to the Court’s inherent authority to

award such fees, in the amount of $68,183.93. The attorneys’ fees for which Newegg seeks

reimbursement were necessarily and reasonably incurred in the defense of this action. Furthermore,

the billing rates for Newegg’s attorneys are reasonable and below market rates for patent litigation

counsel in Texas and nationally. (Zarian Decl. ¶¶ 49-54). In addition, this case was handled with the

appropriate level of diligence and concern for costs and efficiencies. The total fees and costs

incurred on behalf of Newegg are in line with, and significantly below, the total fees and costs billed

on average in patent infringement cases in Texas and nationally for cases of this size. (Id.)




8
    Newegg is also requesting reimbursement for taxable costs in a separate, itemized Bill of Costs.

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VI.    CONCLUSION

       Based on the foregoing, Newegg respectfully requests the Court to declare this case

exceptional and to award it $354,286.45, which amount equals a reasonable portion of Newegg’s

attorney fees and expert witness fees incurred in the defense of this litigation.

       DATED THIS 11th day of October, 2012.

                                                          PARSONS BEHLE & LATIMER




                                                          By /s/ Dana M. Herberholz
                                                          John N. Zarian (Admitted E.D. Texas)
                                                          Dana M. Herberholz (Admitted E.D. Texas)
                                                          960 Broadway, Suite 250
                                                          Boise, Idaho 83706
                                                          Telephone: (208) 562-4900
                                                          Facsimile: (208) 562-4901
                                                          E-mail: jzarian@parsonsbehle.com
                                                                  dherberholz@parsonsbehle.com

                                                          YARBROUGH WILCOX GUNTER PLLC
                                                          Trey Yarbrough, State Bar No. 22133500
                                                          Debby E. Gunter, State Bar No. 24012752
                                                          100 E. Ferguson Street, Ste. 1015
                                                          Tyler, Texas 75702
                                                          Telephone: (903) 595-3111
                                                          Facsimile: (903) 595-0191
                                                          E-mail:trey@yw-lawfirm.com
                                                                 debby@yw-lawfirm.com

                                                          Attorneys For Defendants
                                                          Newegg Inc., Newegg.com Inc., and Rosewill, Inc.




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

ADJUSTACAM LLC

   v.                                                    NO. 6:10-cv-329-LED

AMAZON.COM, INC.; ET AL.                                 JURY

   NOTICE OF SUPPLEMENTAL AUTHORITY FOR PLAINTIFF’S MOTION TO
      DISMISS ITS CLAIMS AGAINST SAKAR AND KOHL’S AND THEIR
   COUNTERCLAIMS AGAINST PLAINTIFF FOR LACK OF SUBJECT MATTER
                           JURISDICTION

        Plaintiff AdjustaCam, LLC (“AdjustaCam”) respectfully submits this notice of

supplemental authority in support of its opposed Motion to Dismiss (Doc. No. 721), as follows:

        As noted in Plaintiff’s Motion, the cancellation of the Asserted Claims in reexamination

proceedings moots or near moots the issues remaining in this case – e.g., infringement of the

Asserted Claims, validity of the Asserted Claims and damages due for infringement of the

Asserted Claims. In fact, at this point, all Defendants except Sakar/Kohl’s have been dismissed

either by settlement or mutual agreement. See, e.g., Orders of Dismissal at Doc Nos. 665, 671,

672, 673, 674, 675, 677 and 720. Further, in order to overcome Sakar/Kohl’s opposition to being

dismissed with prejudice relative to the now-canceled Asserted Claims that are no longer in

dispute, AdjustaCam has taken the further step of granting Sakar/Kohl’s a covenant not to sue

under the ‘343 patent. See Doc. No. 721, Exhibit 2.

        As noted in Plaintiff’s Motion to Dismiss, irrespective of the canceled claims and

irrespective of Sakar/Kohl’s opposition to being dismissed with prejudice, AdjustaCam’s

covenant not to sue under the ‘343 patent divests the Court of subject matter jurisdiction with

respect to Sakar/Kohl’s counterclaims for invalidity and non-infringement. See, e.g., Super Sack

Mfg. Corp. v. Chase Packaging Corp., 57 F.3d 1054, 1058 (Fed. Cir. 1995).

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       As further support for its Motion to Dismiss, Plaintiff respectfully submits Exhibit A

hereto, which is the Jury Verdict form that was submitted yesterday as part of the parties’ Joint

Pretrial submission. (Doc No. 723, Exhibit 6). As can be seen, Plaintiff has not requested any

jury questions since the parties’ prior dispute over the Asserted Claims is now moot. More

importantly, Defendants’ purported jury questions relate solely to their baseless allegation that

that this is an exceptional case, which is an issue to be decided by the Court, not by the jury. See,

e.g., Eon–Net LP v. Flagstar Bancorp, 653 F.3d 1314, 1323 (Fed. Cir. 2011).

       Although Defendants are free to reserve or pursue their baseless exceptional case

allegations with the Court, there are no triable issues left for jury, and the case should be

dismissed without further burdening the parties and the Court with pretrial motions and

submissions.



October 3, 2012                                      Respectfully submitted,

                                                     By: /s/ John J. Edmonds
                                                     John J. Edmonds – LEAD COUNSEL
                                                     Texas State Bar No. 789758
                                                     Michael J. Collins
                                                     Texas Bar No. 4614510
                                                     Stephen F. Schlather
                                                     Texas Bar No. 24007993
                                                     COLLINS, EDMONDS, POGORZELSKI,
                                                     SCHLATHER & TOWER, PLLC
                                                     1616 S. Voss Rd., Suite 125
                                                     Houston, Texas 77057
                                                     Telephone: (713) 501-3425
                                                     Facsimile: (832) 415-2535
                                                     jedmonds@cepiplaw.com
                                                     mcollins@cepiplaw.com
                                                     sschlather@cepiplaw.com

                                                     Andrew W. Spangler
                                                     Texas Bar No. 24041960
                                                     Spangler & Fussell P.C.


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                                                    208 N. Green Street, Suite 300
                                                    Longview, Texas 75601
                                                    (903) 753-9300
                                                    (903) 553-0403 (fax)
                                                    spangler@spanglerlawpc.com

                                                    ATTORNEYS FOR PLAINTIFF
                                                    ADJUSTACAM LLC



                                CERTIFICATE OF SERVICE

        I hereby certify that all counsel of record who are deemed to have consented to electronic
service are being served with a copy of this document via the Court’s CM/ECF system per Local
Rule CV-5(a)(3).

October 3, 2012                                       /s/ John J. Edmonds
                                                      John J. Edmonds




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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                              TYLER DIVISION

 ADJUSTACAM LLC

    v.                                           NO. 6:10-cv-329-LED

 AMAZON.COM, INC.; ET AL.                        JURY


                          JURY VERDICT FORM




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          Question No. 1 1

                 Do you find that Adjustacam conducted an adequate pre-filing investigation
 before filing this lawsuit against the various defendants?

                   Yes ________

                   No _________

          Question No. 2

                   Do you find that Adjustacam conducted this lawsuit in bad faith?

                   Yes ________

                   No _________

          Question No. 3

               Do you find that this is an exceptional case justifying the award of attorneys fees
 to Sakar and Kohl’s?

                   Yes ________

                   No _________

          Question No. 4

                   Do you find that defendants Sakar and Kohl’s are entitled to attorneys fees in this
 case?

                   Yes ________

                   No _________

          Question No. 5

               If the answer to question no. 7 is yes, state the amount of attorneys fees that
 should be awarded to Sakar.

 1
   Questions 1 - 5 are requested by Defendants. Plaintiff objects to Questions 1 - 5 for, inter alia, lack of evidence
 and lack of relevance, and because they are not proper questions for a jury to answer. Plaintiff has no jury questions
 to submit because come time of trial the Asserted Claims will have been officially canceled by the USPTO, and on
 account of Plainitff’s covenant not to sue Defendants on the ‘343 patent. See Plaintiff’s pending Motion to Dismiss.


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 The foreperson is requested to initial and date this document in the spaces provided below as the
 unanimous verdict of the jury.




 ____________________                                     ________________________________
 DATE                                                     FOREPERSON INITIAL




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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

ADJUSTACAM LLC

     v.                                                     NO. 6:10-cv-329-LED

AMAZON.COM, INC.; ET AL.                                    JURY

                                   JOINT PRE-TRIAL ORDER

          This cause came before the court at a pre-trial management conference held on December

18, 2012, pursuant to Local Rule CV-16 and Rule 16 of the Federal Rules of Civil Procedure.

A.        COUNSEL FOR THE PARTIES

Plaintiff:                                           Defendants:

John Edmonds                                         Ezra Sutton
Stephen Schlather                                    EZRA SUTTON, P. A.
Joshua Long
COLLINS, EDMONDS & POGORZELSKI,
SCHLATHER & TOWER, PLLC

Andrew W. Spangler
Spangler & Fussell P.C.

B.        STATEMENT OF JURISDICTION

          Plaintiff:

          Per plaintiff’s pending motion to dismiss at Dkt No. 721, Plaintiff contends that subject

matter jurisdiction is lacking due to Plaintiff’s covenant not to sue defendants. Further, by the

time of the pretrial conference, the asserted claims will have been canceled in connection with

the issuance of a reexamination certificate, thus rendering moot the prior disputes over the

asserted claims. Accordingly, this Court lacks subject matter jurisdiction to take what is left of

this case to trial.


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       Defendants:

       This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C. §§

1131, 1338(a), 2201, and 2202. Also, venue is proper in this district under 28 U.S.C. §§ 1391 (b)

and (c).

       By the time of the pretrial conference, the Re-examination Certificate will have issued

with new independent claims 22, 31, 40, 41, 44, 45, 46 and 47 which have been allowed by the

U.S.P.T.O. The plaintiff’s covenant not to sue defendants Sakar International, Inc. (“Sakar”),

Kohl’s Illinois, Inc., and Kohl’s Corporation, Inc. (“Kohl’s”) (collectively “Sakar/Kohl’s”) does

not include these new re-examined claims, and the plaintiff has refused to include them in the

covenant.   Therefore, there is still a dispute and case or controversy between the parties

regarding the `343 patent in suit.

       Thus, this Court presently has subject matter jurisdiction, and will continue to have

subject matter jurisdiction over the new re-examined claims of the `343 patent when the Re-

examination Certificate issues.

C.     NATURE OF ACTION

       Plaintiff:

       In this case plaintiff originally contended that Defendants infringed claims 1, 7 and 19

(the “Asserted Claims”) of U.S. Patent No. 5,855,343 (the “‘343 patent”). However, on August

30, 2012, at the culmination of reexamination proceedings involving the ‘343 patent, the

U.S.P.T.O. issued a Final Office Action rejecting the Asserted Claims as being unpatentable over

prior art, but allowing additional new and amended claims. On September 20, 2012, in response

to that Final Office Action, AdjustaCam canceled the Asserted Claims of the ‘343 patent so that




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a certificate of reexamination can issue concerning the multiple new and amended claims

deemed allowable.

       By the time of the pretrial conference, the cancellation of the Asserted Claims in

reexamination proceedings will have mooted the issues remaining in this case – e.g.,

infringement of the Asserted Claims, validity of the Asserted Claims and damages due for

infringement of the Asserted Claims. At this point, all Defendants except Sakar/Kohl’s have

been dismissed either by settlement or mutual agreement. See, e.g., Orders of Dismissal at Doc

Nos. 665, 671, 672, 673, 674, 675, 677 and 720.

       Despite the foregoing, for reasons that perhaps it can explain to the Court, Sakar/Kohl’s

has to date opposed being dismissed from this case with prejudice. In order to overcome

Sakar/Kohl’s opposition to being dismissed with prejudice relative to canceled asserted claims

that are no longer in dispute, AdjustaCam has taken the further step of granting Sakar/Kohl’s a

covenant not to sue under the ‘343 patent. Dkt No. 721. Irrespective of the canceled claims and

irrespective of Sakar/Kohl’s opposition to being dismissed with prejudice, AdjustaCam’s

covenant not to sue under the ‘343 patent divests the Court of subject matter jurisdiction with

respect to Sakar/Kohl’s First and Second counterclaims in this matter, since they relate solely to

Sakar/Kohl’s claims that it does not infringe the ‘343 patent and that the ‘343 patent is invalid.

       Accordingly, as of the date of this submission, pending before the Court is AdjustaCam’s

Motion (Dkt No. 721) for the Court issue an Order dismissing AdjustaCam’s claims against

Sakar/Kohl’s for infringement of the ‘343 Patent as well as Sakar/Kohl’s First and Second

Counterclaims of its Amended Answer and Counterclaims.




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       Defendants:

       As stated by Adjustacam, when the Certificate of Re-examination issues, the asserted

claims (1, 7, and 19) will be cancelled, and the new and allowed re-examined claims will be

issued (including independent claims 22, 31, 40, 41, 44, 45, 46 and 47). Adjustacam has refused

(during a meet and confer on September 29, 2012) to issue a covenant not to sue Sakar/Kohl’s on

these new re-examined claims of the `343 patent. Thus, the controversy continues regarding the

re-examined claims of the `343 patent. That is, Adjustacam can continue to sue Sakar/Kohl’s on

the `343 patent as to the webcams in issue for infringement of these claims. Thus, the Court has

not been divested of subject matter jurisdiction. In addition, Sakar/Kohl’s reserves its right to

file a motion for attorneys fees and costs.

       This is a patent infringement case wherein Plaintiff AdjustaCam has asserted that

Defendants Sakar International, Inc., Kohl’s Illinois, Inc., and Kohl’s Corporation, Inc.,

(collectively, “Defendants”) directly infringe claims 1, 7 and/or 19 (the “asserted claims”) of

United States Patent No. 5,855,343 (“the `343 patent”). Defendants contend that none of their

products infringe the asserted claims of the `343 patent and that the asserted claims are invalid

because they fail to meet one or more of the requirements for patentability. Defendants also deny

AdjustaCam’s allegations of willful infringement and deny AdjustaCam’s claim for damages.

D.     CONTENTIONS OF THE PARTIES

       (1)     Plaintiff’s Contentions.

       a.      GlobalMedia Group LLC is, and at all relevant times as been, the assignee of the

‘343 patent.

       b.      Plaintiff is, and at all relevant times has been, the exclusive licensee of the ‘343

patent, with the right to sue for infringements thereof.



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       c.        By time of trial, Asserted Claims 1, 7 and 19 of the ‘343 patent will be canceled

and moot.

       d.        Prior to the cancelation of the Asserted Claims and Plaintiff granting a covenant

not to sue to Defendants, Plaintiff contended that Defendants infringed the Asserted Claims by

making, selling, offering for sale and importing the Kodak S101/W100 and T130, including as

set forth in the Expert Report of John Muskivitch.

       e.        Prior to the cancelation of the Asserted Claims and Plaintiff granting a covenant

not to sue to Defendants, Plaintiff contended that Defendants owed Plaintiff reasonable royalties,

prejudgment interest and post-judgment interest, including as set forth in the Expert Report of

Walter Bratic.

       f.        Defendants’ defenses and counterclaims lack merit and are nonetheless moot.

       g.        Notwithstanding Plaintiff’s cancelation of the Asserted Claims that a certificate of

reexamination can issue concerning the multiple new and amended claims deemed allowable, to

the extent the issue will not be moot come time of trial, Defendants have not rebutted the

presumption of validity accorded the patent-in-suit under 35 U.S.C. § 282.

       h.        All claims of the ‘343 patent are entitled to priority no later than the March 7,

1997

       i.        Notwithstanding Plaintiff’s cancelation of the Asserted Claims that a certificate of

reexamination can issue concerning the multiple new and amended claims deemed allowable, to

the extent the issue will not be moot come time of trial, none of the Asserted Claims are invalid.

       j.        Notwithstanding Plaintiff’s cancelation of the Asserted Claims that a certificate of

reexamination can issue concerning the multiple new and amended claims deemed allowable, to




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the extent the issue will not be moot come time of trial, Defendants bear the burden of proving

non-infringement of the Asserted Claims by a preponderance of the evidence.

       k.      Notwithstanding Plaintiff’s cancelation of the Asserted Claims that a certificate of

reexamination can issue concerning the multiple new and amended claims deemed allowable, to

the extent the issue will not be moot come time of trial, Defendants bear the burden of proving

invalidity of the Asserted Claims by clear and convincing evidence.

       l.      Notwithstanding Plaintiff’s cancelation of the Asserted Claims that a certificate of

reexamination can issue concerning the multiple new and amended claims deemed allowable, to

the extent the issue of damages will not be moot come time of trial, Defendants have no relevant

or admissible proof concerning damages because they never designated a damages expert.

       m.      Defendants are not entitled to any declaratory relief or any other relief, award,

finding, verdict or judgment.

       n.      Notwithstanding Plaintiff’s cancelation of the Asserted Claims that a certificate of

reexamination can issue concerning the multiple new and amended claims deemed allowable, to

the extent the issue of validity of the will not be moot come time of trial, AdjustaCam reserves

the right to rely upon the validity opinions of its technical expert Dr. Muskivitch. To the extent

necessary, the validity report of Dr. Muskivitch is incorporated herein by reference for notice

purposes.

       n.      Notwithstanding Plaintiff’s cancelation of the Asserted Claims that a certificate of

reexamination can issue concerning the multiple new and amended claims deemed allowable, to

the extent the issue of infringement will not be moot come time of trial, AdjustaCam reserves the

right to rely upon the infringement opinions of its technical expert Dr. Muskivitch. To the extent




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necessary, the infringement report of Dr. Muskivitch, at Exhibit 4 to the Muskivitch deposition,

is incorporated herein by reference for notice purposes.

        n.      Notwithstanding Plaintiff’s cancelation of the Asserted Claims that a certificate of

reexamination can issue concerning the multiple new and amended claims deemed allowable, to

the extent the issue of damages will not be moot come time of trial, AdjustaCam reserves the

right to rely upon the damages opinions of its damages expert Mr. Bratic. To the extent

necessary, the damages report of Mr. Bratic is incorporated herein by reference for notice

purposes. Further, to the extent that damages is still deemed to be relevant, AdjustaCam reserves

the right to recover pre and post-judgment interest and costs.

        o.      Plaintiff reserves the right to include additional contentions and disputed issues of

fact and law based on (i) the Court’s rulings on pending motions that may arise between the date

of the filing of the parties’ joint pretrial order and (ii) the pre-trial conference and (iii) trial.

        (2)     Defendants’ Contentions.

        By providing these contentions, Defendants do not concede that all of these issues are

appropriate for trial. In particular, Defendants do not waive any of their motions in limine,

motions for summary judgment, or Daubert motions, which, if granted, would render some or all

of these issues moot. Defendants’ contentions in this case are detailed in their answers,

affirmative defenses and counterclaims to AdjustaCam’s Third Amended Complaint, and

Defendants’ invalidity contentions, all of which are incorporated herein by reference. In sum,

Defendants contend the following:

        a. By the time of trial, new re-examined claims (including new independent claims 22,

31, 40, 41, 44, 45, 46 and 47) will be granted by the Re-examination Certificate to AdjustaCam,

and AdjustaCam has refused to agree not to assert these claims against Sakar/Kohl’s.



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       b. The re-examined `343 patent is still in dispute between the parties with regard to the

webcams Sakar has been selling.

       c. AdjustaCam’s refusal to provide Sakar/Kohl’s with a covenant agreeing not to assert

the allowed claims of the reexamined `343 patent against Sakar/Kohl’s means that there is a

continuing controversy between the parties regarding infringement of the `343 patent.

       d. Defendants’ defenses and counterclaims have merit and are not moot.

                                        Non-Infringement

       e. Defendants do not directly infringe, and have not directly infringed, the asserted `343

patent claims.

       f. If Defendants are found to infringe any claim of the `343 patent, and those asserted

claims of the `343 patent are found to be valid, then Defendants’ infringement was not willful.

       g. Defendants are entitled to a declaratory judgment finding that Defendants are not

directly or indirectly infringing, and have not directly or indirectly infringed, any claim of

the `343 patent.

       h. All of Sakar/Kohl’s accused Kodak webcams (Model Nos. Kodak S101 and Kodak

T130) comprise a ball and socket joint or hinge member that is fixedly attached to the bottom of

the camera and is not “rotatably attached” to the camera. Moreover, Sakar/Kohl’s accused

Kodak webcams (Kodak S101 and Kodak T130) with a ball and socket joint do not have a hinge

member that is “rotatably attached” about a single axis of rotation relative to the camera (or an

equivalent thereof), as required by all of the independent claims of the original and reexamined

`343 patent.

       i. The accused ball and socket clips of Sakar/Kohl’s accused Kodak webcams (Model

Nos. Kodak S101 and Kodak T130) rotate relative to the camera about multiple axes of rotation.



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       j. AdjustaCam’s own infringement expert, Dr. Muskivitch admitted that Sakar/Kohl’s

Kodak webcams with a ball and stem fixed to the camera do not rotate as required by claims.

       k. The support frame of Sakar/Kohl’s Kodak webcams (Kodak S101 and Kodak T130) is

not “rotatably attached” to the hinge member about a single axis either literally or under the

doctrine of equivalence. Specifically, Sakar/Kohl’s Kodak webcams have a ball-and-socket

hinge member whereby the ball-and-socket hinge member rotates in multiple axes of rotation

relative to the support frame (legs). Moreover, because the ball and socket structure of the hinge

member permits the “support frame” to rotate in multiple axes of rotation relative to the hinge

member, the hinge member of Sakar/Kohl’s Kodak webcams is not “rotatably attached” about a

“single axis of rotation” relative to the support frame as specified by this Court.

       l. One half of the webcam clips of Sakar/Kohl’s accused Kodak webcams (Model Nos.

Kodak S101 and Kodak T130) cannot support anything and does not have two “dispositions” as

required by the claims of the `343 patent. Moreover, one half of a webcam clip clearly cannot

support a webcam on a display (such as a laptop computer), as the claims require.

       m. Plaintiff’s noninfringement expert, Dr. Muskivitch, improperly submitted a new and

untimely expert report on August 24, 2012 that changed the identification of many claim

limitations concerning defendants’ accused products (including Sakar/Kohl’s infringing

products) from those first identified in his original June 25, 2012 infringement report. Dr.

Muskivitch even admitted during his deposition that his June 25, 2012 was incorrect.

Specifically, in his original June 25, 2012 report, Dr. Muskivitch identified the “ball-and-stick”

portion of the accused Sakar/Kohl’s Kodak webcams as the “hinge member,” and the clip of

those products as the “support frame.” In his untimely August 24 Report, however, Dr.

Muskivitch moved his identification of the “hinge member” from the “ball and stick” of the



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                                                A1881
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 accused products to the top half of the webcam clip. In addition, in his untimely August 24

 Report, Dr. Muskivitch also opines that the “support frame” is no longer the clip of the accused

 products, but is only one half (the bottom half) of the clip.

        n. Under Rule 26(a)(2)(B), Dr. Muskivitch may not offer any opinion at trial which was

 not disclosed in his June 25 Report, and any subsequent report should be stricken.

        o. Adjustacam did not conduct an adequate pre-filing investigation under Rule 11 for its

 infringement claims against Sakar/Kohl’s Kodak webcams.

                                              Invalidity

        p. There is no presumption of validity for reexamined asserted claims 1, 7, and 19 (as

 well as claims 2, 5, 6, 8, 10, 14, 15 , 16, 17) of the `343 patent because the U.S.P.T.O. finally

 rejected these claims. See Dow Jones v. Albaise, Ltd., 606 F.3d 1338, n. 3 (Fed. Cir. 2010).

        q. The asserted claims 1, 7, and 19 are invalid and AdjustaCam knew or should have

 known that they were invalid. During the last 2 years, the asserted claims were rejected 3 times

 by the U.S. Patent Office over the Irifune and Ma prior art references under 35 U.S.C. § 102,

 meaning the claims were fully anticipated by these prior art references. However, Adjustacam

 continued to prosecute these asserted invalid claims in bad faith against Sakar/Kohl’s, and other

 defendants in this case.

        r. Even before the U.S.P.T.O. finally rejected the asserted claims 1, 7, and 19 (as well as

 claims 2, 5, 6, 8, 10, 14, 15 , 16, 17) of the `343 patent, Plaintiff’s own infringement expert, Dr.

 Muskivitch, admitted during his deposition that the Irifune publication anticipated asserted

 claims 1, 7, and 19 of the `343 patent by testifying that the camera disclosed in Irifune is

 rotatably attached to the hinge member, as claimed in the `343 patent.

        s. Sakar/Kohl’s are entitled to a declaratory judgment finding that the claims of the `343



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                                                 A1882
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 patent are invalid under one or more sections of Title 35 of the United States Code,

 including, without limitation, 35 U.S.C. §§ 102, 103, and/or 112.

                                             Damages

         t. If Defendants Sakar/Kohl’s are found to infringe any of the claims of the `343 patent,

 and those claims are found to be valid, AdjustaCam is entitled to no more than the amount set

 forth in the Expert Report of Dr. Sullivan. Also, AdjustaCam, through the report of its damages

 expert, has no proof of a damage royalty of $1.25 per webcam.

         u. Plaintiff through its damages expert, Mr. Bratic, has failed to properly establish a

 royalty calculation based on the Entire Market Value Rule. Specifically, AdjustCam has failed

 to provide any proof that the clip for Sakar/Kohl’s Kodak webcams motivates consumers to buy

 the webcams in the first place; and AdjustaCam has failed to conduct market studies or consumer

 surveys to ascertain whether the demand for Sakar/Kohl’s Kodak webcams in question is driven

 by the clip patented technology, as required by the Federal Circuit.

         v. Plaintiff AdjustaCam’s evidence of past settlement agreements from approximately 24

 defendants in this case are not determinative of a reasonable royalty because they: (1) did not

 include the quantities sold by respective defendants, (2) did not show a discernible link to the

 claimed technology, and (3) were extracted as nuisance value settlements. This evidences

 Plaintiff’s bad faith strategy.

         w.   AdjustaCam tried to extract a settlement from Sakar/Kohl’s in the amount of

 $550,000 and $250,000, as part of AdjustaCam’s strategy, when AdjustaCam knew that their

 asserted claims had been rejected twice by the U.S.P.T.O. and knew that their asserted claims

 would be finally rejected by the U.S.P.T.O. This strategy of Adjustacam was in bad faith.

         x. AdjustaCam delayed its prosecution of the re-examination of the `343 patent for as



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                                               A1883
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 long as it could until all but 2 or 3 defendants had settled. Then, as part of its strategy to avoid a

 trial on the merits, AdjustaCam dismissed its claims against Newegg and Sakar/Kohl’s.

         y. AdjustaCam is now trying to cover up its bad faith strategy by ending the case before

 trial with a dismissal of the case.

         z. Sakar will prove that Adjustacam had no proof of a damage royalty of $1.25 through

 the damage expert of Adjustacam.

         aa. Sakar will prove that Adjustacam caused Sakar to spend over $300,000 in legal fees,

 costs, and expenses to defend this case that was brought and conducted in bad faith.

         bb. Sakar reserves the right to include additional contentions and disputed issues of fact

 and law based on the Court’s expected rulings on invalidity and non-infringement, and on

 motions set forth in Defendants’ letter briefs.

 E.      STIPULATIONS AND UNCONTESTED FACTS

 1.      Stipulations

         a.      Highlighted, underlined or enlarged exhibit pages, or portions of pages, shall not

 count as demonstratives unless the text has been changed but shall not be admitted as separate

 exhibits.

         b.      The parties shall not object to the authenticity of any documents authored and

 produced by the other side.

         c.      During trial, each Party shall provide notice by email no later than 8 pm each day

 of all witnesses and all exhibits associated with each witness that are intended to be used as

 direct evidence the following day at trial.

         d.      Each Party shall provide by email no later than 9 pm each day a copy of all

 demonstratives that are intended to be presented the following day at trial.



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                                                   A1884
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 2.      Uncontested Facts

         a.      GlobalMedia Group LLC is the assignee of the ‘343 patent.

         b.      AdjustaCam LLC is the exclusive licensee of the ‘343 patent.

         c.      Sakar International, Inc. (“Sakar”) is a New York corporation with its principal

 place of business located in Edison, New Jersey.

         d.      Kohl’s Corporation d/b/a Kohl’s has a place of business in Menomonee Falls,

 Wisconsin.

         e.      Kohl’s Illinois, Inc. has a place of business in Menomonee Falls, Wisconsin.

         f.      The ‘343 patent was filed on March 7, 1997, and it issued on January 5, 1999.

         g.      All claims of the ‘343 patent are entitled to priority from its March 7, 1997 filing

 date.

         h.      During this litigation, Adjustacam obtained settlements from at least 15

 defendants in this case.

 F.      CONTESTED ISSUES OF FACT AND LAW

         The Parties identify the following issues of fact that remain to be litigated. To the extent

 any issue of law discussed below is deemed to be an issue of fact, it is incorporated into this

 section. The Parties reserve the right to identify additional factual or legal issues as permitted by

 the Court.

         (1)     Plaintiff’s List of Contested Issues of Fact and Law

         a.      Whether, at time of trial, Defendants’ counterclaims, including issues involving

 the infringement, validity and damages relative to the Asserted Claims are moot due to the

 cancelation of those claims in reexamination proceedings.

         b.      Whether Defendants are entitled to any declaratory relief or any other relief.



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                                                 A1885
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         c.      Whether Defendants’ inexplicable and vexatious conduct after being offered a

 dismissal (and in fact after a motion to dismiss was filed) – based upon the cancelation of the

 Asserted Claims during reexamination proceedings and the covenant not to sue under the ‘343

 patent granted to Defendants -- renders this a exceptional case, including an award of attorney’s

 fees and/or cost to Plaintiff.

         (2)     The Defendants’ List of Contested Issues of Fact and Law.

         (To the extent any issue of law is deemed to be an issue of fact, it is incorporated into this

         section).

         a. Whether, at time of trial, Defendants’ counterclaims, including issues involving the

 infringement, validity and damages relative to the Allowed Reexamined Claims are not moot as

 a result of the issuance of the reexamination certificate.

                                          Non-Infringement

         b. Whether AdjustaCam has proven by a preponderance of the evidence that each

 of Sakar/Kohl’s accused Kodak webcam products literally and directly infringes any claim of the

 `343 patent.

         c. If Defendants are found to have infringed any claim of the `343 patent, and the claims

 are found to be valid, the amount Adjustacam has proven by a preponderance of the evidence

 that it is entitled to damages for that infringement.

         d. If Defendants are found to infringe any claim of the `343 patent, and those asserted

 claims of the `343 patent are found to be valid, whether Adjustacm has proven by clear and

 convincing evidence that Defendants’ infringement was willful.

         e. Whether Defendants have proven that Defendants are entitled to a declaratory

 judgment finding that Defendants are not directly infringing, and have not directly



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 infringed, any claims of the `343 patent.

        f. Whether each accused product of the Defendants infringes any of the claims of the

 `343 patent.

        g. All of Sakar/Kohl’s accused Kodak webcams (Model Nos. Kodak S101 and Kodak

 T130) comprise a ball and socket joint or hinge member that is fixedly attached to the bottom of

 the camera and is not “rotatably attached” to the camera. Moreover, Sakar/Kohl’s accused

 Kodak webcams (Kodak S101 and Kodak T130) with a ball and socket joint do not have a hinge

 member that is “rotatably attached” about a single axis of rotation relative to the camera (or an

 equivalent thereof), as required by all of the independent claims of the original and reexamined

 `343 patent.

        h. The accused ball and socket clips of Sakar/Kohl’s accused Kodak webcams (Model

 Nos. Kodak S101 and Kodak T130) rotate relative to the camera about multiple axes of rotation.

        i. AdjustaCam’s own infringement expert, Dr. Muskivitch admitted that Sakar/Kohl’s

 Kodak webcams with a ball and stem fixed to the camera do not rotate as required by claims.

        j. The support frame of Sakar/Kohl’s Kodak webcams (Kodak S101 and Kodak T130) is

 not “rotatably attached” to the hinge member about a single axis either literally or under the

 doctrine of equivalence. Specifically, Sakar/Kohl’s Kodak webcams have a ball-and-socket

 hinge member whereby the ball-and-socket hinge member rotates in multiple axes of rotation

 relative to the support frame (legs). Moreover, because the ball and socket structure of the hinge

 member permits the “support frame” to rotate in multiple axes of rotation relative to the hinge

 member, the hinge member of Sakar/Kohl’s Kodak webcams is not “rotatably attached” about a

 “single axis of rotation” relative to the support frame as specified by this Court.

        k. One half of the webcam clips of Sakar/Kohl’s accused Kodak webcams (Model Nos.



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 Kodak S101 and Kodak T130) cannot support anything and does not have two “dispositions” as

 required by the claims of the `343 patent. Moreover, one half of a webcam clip clearly cannot

 support a webcam on a display (such as a laptop computer), as the claims require.

        l. Plaintiff’s noninfringement expert, Dr. Muskivitch, improperly submitted a new and

 untimely expert report on August 24, 2012 that changed the identification of many claim

 limitations concerning defendants’ accused products (including Sakar/Kohl’s infringing

 products) from those first identified in his original June 25, 2012 infringement report. Dr.

 Muskivitch even admitted during his deposition that his June 25, 2012 was incorrect.

 Specifically, in his original June 25, 2012 report, Dr. Muskivitch identified the “ball-and-stick”

 portion of the accused Sakar/Kohl’s Kodak webcams as the “hinge member,” and the clip of

 those products as the “support frame.” In his untimely August 24 Report, however, Dr.

 Muskivitch moved his identification of the “hinge member” from the “ball and stick” of the

 accused products to the top half of the webcam clip. In addition, in his untimely August 24

 Report, Dr. Muskivitch also opines that the “support frame” is no longer the clip of the accused

 products, but is only one half (the bottom half) of the clip.

        m. Under Rule 26(a)(2)(B), Dr. Muskivitch may not offer any opinion at trial which was

 not disclosed in his June 25 Report, and any subsequent report should be stricken.

        n. Adjustacam did not conduct an adequate pre-filing investigation under Rule 11 for its

 infringement claims against Sakar/Kohl’s Kodak webcams.

                                              Invalidity

        o.   Whether Defendants have proven that Defendants are entitled to a declaratory

 judgment finding that the claims of the `343 patent are invalid under one or more sections of




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 Title 35 of the United States Code, including, without limitation, 35 U.S.C. §§ 102, 103, and/or

 112.

          p. Whether the asserted claims of the `343 Patent are valid.

          q. Whether there is no presumption of validity for reexamined asserted claims 1, 7, and

 19 (as well as claims 2, 5, 6, 8, 10, 14, 15 , 16, 17) of the `343 patent because of the U.S.P.T.O.

 finally rejected these claims. See Dow Jones v. Albaise, Ltd., 606 F.3d 1338, n. 3 (Fed. Cir.

 2010).

          r. The asserted claims 1, 7, and 19 are invalid and AdjustaCam knew or should have

 known that they were invalid. During the last 2 years, the asserted claims were rejected 3 times

 by the U.S. Patent Office over the Irifune and Ma prior art references under 35 U.S.C. § 102,

 meaning the claims were fully anticipated by these prior art references. However, Adjustacam

 continued to prosecute these asserted invalid claims in bad faith against Sakar/Kohl’s, and other

 defendants in this case.

          s. Even before the U.S.P.T.O. finally rejected the asserted claims 1, 7, and 19 (as well as

 claims 2, 5, 6, 8, 10, 14, 15 , 16, 17) of the `343 patent, Plaintiff’s own infringement expert, Dr.

 Muskivitch, admitted during his deposition that the Irifune publication anticipated asserted

 claims 1, 7, and 19 of the `343 patent by testifying that the camera disclosed in Irifune is

 rotatably attached to the hinge member, as claimed in the `343 patent.

          t. Sakar/Kohl’s are entitled to a declaratory judgment finding that the claims of the `343

 patent are invalid under one or more sections of Title 35 of the United States Code,

 including, without limitation, 35 U.S.C. §§ 102, 103, and/or 112.

          Sakar states that Adjustacam and Sakar conducted a meet and confer with regard to the

 following statements u to z, and Adjustacam refused to include them in the Uncontested Fact



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 Section, on the grounds that they were not relevant, even though they are factually correct.

        u.      U.S. Patent Nos. 5,880,783 to Ma; D383,475 to Yamauchi; 4,526,308 to Dovey;

 5,808,672 to Wakabayashi; and 4,493,542 to Ohmurawere; and Japanese Unexamined Utility

 Model App. Pub. No. 11219997 to Irifune (referred to in this case as “the Irifune Publication”)

 are all prior art to AdjustaCam’s `343 patent.

        v.      AdjustaCam did not inform Sakar/Kohl’s of the `343 patent before filing this

 lawsuit.

        w.      With regard to allowed reexamined claims 22 through 48 (including independent

 claims 22, 31, 40, 41, 44, 45, 46 and 47) of the `343 patent, Plaintiff has refused to grant a

 covenant not to sue on these claims against Sakar/Kohl’s in the imminent future when the

 U.S.P.T.O. issues a reexamination certificate granting these claims.

        x.      AdjustaCam’s asserted claims 1, 7, and 19 (as well as claims 2, 5, 6, 8, 10, 14, 15,

 16, 17) of the `343 patent were finally rejected by the U.S.P.T.O. on August 30, 2012.

        y.      On September 20, 2012, AdjustaCam cancelled the asserted claims asserted

 claims 1, 7, and 19 (as well as claims 2, 5, 6, 8, 10, 14, 15, 16, 17) of the `343 patent.

        z.      AdjustaCam knew of the Irifune prior art for over one year during this litigation.

                                               Damages

        u. If Defendants are found to infringe any claim of the `343 patent, and those claims are

 found to be valid, AdjustaCam is entitled to no more than the amount set forth in the Expert

 Report of Dr. Sullivan.

        v. If Defendants are found to infringe any claim of the `343 patent, and those claims are

 found to be valid, Defendants’ infringement was not willful and AdjustaCam is not entitled to

 enhanced damages of up to three times actual damages.



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         w. If Defendants are found to infringe any claim of the `343 patent, and those claims are

 found to be valid, Adjustacam is not entitled to prejudgment interest and costs.

         x. Whether this is an exceptional case that entitles Defendants to attorneys’

 fees, costs and interest.

         y. If Defendants Sakar/Kohl’s are found to infringe any of the claims of the `343 patent,

 and those claims are found to be valid, AdjustaCam is entitled to no more than the amount set

 forth in the Expert Report of Dr. Sullivan. Also, AdjustaCam, through the report of its damages

 expert, has no proof of a damage royalty of $1.25 per webcam.

         z. Plaintiff through its damages expert, Mr. Bratic, has failed to properly establish a

 royalty calculation based on the Entire Market Value Rule. Specifically, AdjustCam has failed

 to provide any proof that the clip for Sakar/Kohl’s Kodak webcams motivates consumers to buy

 the webcams in the first place; and AdjustaCam has failed to conduct market studies or consumer

 surveys to ascertain whether the demand for Sakar/Kohl’s Kodak webcams in question is driven

 by the clip patented technology, as required by the Federal Circuit.

         aa. Plaintiff AdjustaCam’s evidence of past settlement agreements from approximately

 24 defendants in this case are not determinative of a reasonable royalty because they: (1) did not

 include the quantities sold by respective defendants, (2) did not show a discernible link to the

 claimed technology, and (3) were extracted as nuisance value settlements. This evidences

 Plaintiff’s bad faith strategy.

         bb.    AdjustaCam tried to extract a settlement from Sakar/Kohl’s in the amount of

 $550,000 and $250,000, as part of AdjustaCam’s strategy, when AdjustaCam knew that their

 asserted claims had been rejected twice by the U.S.P.T.O. and knew that their asserted claims

 would be finally rejected by the U.S.P.T.O. This strategy of Adjustacam was in bad faith.



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         cc. AdjustaCam delayed its prosecution of the re-examination of the `343 patent for as

 long as it could until all but 2 or 3 defendants had settled. Then, as part of its strategy to avoid a

 trial on the merits, AdjustaCam dismissed its claims against Newegg and Sakar/Kohl’s.

         dd. AdjustaCam is now trying to cover up its bad faith strategy by ending the case before

 trial with a dismissal of the case.

         ee. Sakar will prove that Adjustacam had no proof of a damage royalty of $1.25 through

 the damage expert of Adjustacam.

         ff. Sakar will prove that Adjustacam caused Sakar to spend over $300,000 in legal fees,

 costs, and expenses to defend this case that was brought and conducted in bad faith.

         gg. Sakar reserves the right to include additional contentions and disputed issues of fact

 and law based on the Court’s expected rulings on invalidity and non-infringement, and on

 motions set forth in Defendants’ letter briefs.

 G.      WITNESS LISTS.

         Plaintiff’s witness list is at Exhibit 1. Defendants’ witness list is at Exhibit 2.

 H.      EXHIBIT LISTS.

         Plaintiff’s exhibit list is at Exhibit 3. Defendants’ exhibit list is at Exhibit 4.

 I.      LIST OF ANY PENDING MOTIONS.

          The following motions are pending:

 Docket No.      Pending Motion
    721          Plaintiff’s Motion to Dismiss the Claims and Counterclaims Involving
                 Defendants


         Based upon Defendants’ inputs into this joint submission, Plaintiff is preparing a motion

 to stay this case pending issuance of the reexamination certificate, at which time the Court can

 hold a status conference to determine the future, if any, of this case relative to newly issued

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 claims. (Although Plaintiff would prefer just to have the case dismissed per its pending motion

 to dismiss based upon the cancelation of the Asserted Claims during reexamination proceedings

 and the covenant not to sue under the ‘343 patent granted to Defendants.).

         Defendants are preparing to file motions for summary judgment on invalidity, and non-

 infringement; a motion to strike the expert report of Dr. Muskivitch; and a motion to strike

 portions of the expert report of Walter Bratic. See Defendants Letter Briefs on file. It is

 necessary for defendants to continue work on these motions because Adjustacam’s covenant not

 to sue under the `343 patent granted to defendants fails to make it clear that Adjustacam will not

 sue Sakar in the future with regard to the Kodak webcam products that Sakar has been selling for

 the last 2 years. In a final meet and confer on October 2, 2012, Adjustacam’s counsel, Mr,

 Edmonds, refused to grant such a covenant not to sue.

         In addition, Defendants are preparing to file a motion for attorney’s fees, costs and

 interests.

 J.      PROBABLE LENGTH OF TRIAL.

         The parties estimate that the probable length of trial is three court days, with time split

 evenly between both sides.

 K.      MANAGEMENT CONFERENCE LIMITATIONS.

         None.

 L.      JURY CHARGE.

         The parties joint proposed jury charge is at Exhibit 5. The parties proposed jury verdict

 form is at Exhibit 6.

 M.      MOTIONS IN LIMINE.




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        The parties’ will submit motions in limine in accordance with the procedure set forth in

 the Court’s Docket Control Order.

 L.     CERTIFICATIONS.

        The undersigned counsel for each of the parties in this action do hereby certify and

 acknowledge the following:

        (1)     Full and complete disclosure has been made in accordance with the Federal Rules

 of Civil Procedure and the Court’s orders;

        (2)     Discovery limitations set forth in the Federal Rules of Civil Procedure, the Local

 Rules, and the Court’s orders have been complied with;

        (3)     Each exhibit that is not specifically designated as a demonstrative in the List of

 Exhibits herein: a. is in existence; b. is numbered; and c. has been shown (or will be shown if

 requested) to opposing counsel.



 Approved as to form and substance:

 /s/ John J. Edmonds
 Attorney for Plaintiff

 /s/ Ezra Sutton
 Attorney for Defendants




 This Joint Pre-Trial Order is hereby approved this ______ day of ____________________, 2012.



                                                     _____________________________
                                                     United States District Judge




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                                 CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who are deemed to have consented to electronic
 service are being served with a copy of this document via the Court’s CM/ECF system per Local
 Rule CV-5(a)(3).

 October 2, 2012                                      /s/ John J. Edmonds
                                                      John J. Edmonds




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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                          TYLER DIVISION

 ADJUSTACAM LLC

     v.                                                                  NO. 6:10-cv-329-LED

 AMAZON.COM, INC.; ET AL.                                                JURY

                                  PLAINTIFF’S TRIAL WITNESS LIST 1

          Pursuant to the Court’s schedule and procedures, Plaintiff AdjustaCam LLC designates

 the following witnesses, live and/or by deposition:

       Witness                       Employer                    Topic(s)                     WC 2       MC          PWNC

1.     Barthelemy, Joel              GlobalMedia                 GlobalMedia; Kritter                        X
                                                                 Cam; ‘343 patent;
                                                                 Rights to ‘343 patent
2.     Bratic, Walter                Overmont                    Damages; Royalties;                         X
                                                                 See report and depo
3.     Haynes, Clayton               Acacia Research             AdjustaCam; Rights              X
                                     Corp. and                   to ‘343 patent; See
                                     AdjustaCam LLC              depo
4.     Hermann, David                Kohl’s                      Infringement and                                        X
                                                                 damages
5.     Krekelberg, David             Illunis                     Inventorship; Kritter                       X
                                                                 Cam
6.     Muskivitch, John              Independent                 Infringement;                   X
                                     consultant                  Validity; See
                                                                 Muskivitch reports
                                                                 and depo; See Bratic
                                                                 report and depo
7.     Sandhosh, George              Sakar                       Infringement and                                        X
                                                                 damages
8.     Sasson, Ralph                 Sakar                       Infringement and                                        X
                                                                 damages

 1
   Pending before the Court is AdjustaCam’s motion to dismiss the remaining defendants, Sakar and Kohl’s, with
 prejudice, which is based upon the cancelation of the Asserted Claims in reexamination proceedings and a
 covnenant not to sue granted to Sakar/Kohl’s. Sakar/Kohl’s opposition to this case being dismissed at this point is
 ill-informed and mystifying. Thus, subject to its pending motion to dismiss, in an abundance of caution AdjustaCam
 respectfully submits this Witness List, despite the fact that the issues in this litigation are moot or near moot at this
 point, and will clearly be moot come time of trial.
 2
   “WC” means will call. “MC” means may call. “PWNC” means probably will not call.

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9.      Wong, Steve            Acacia Research        GlobalMedia;                        X
                               Group LLC              AdjustaCam; Rights
                                                      to ‘343 patent;
                                                      Royalties; See Bratic
                                                      report and depo; See
                                                      Haynes depo
10.     Any Defendant          Various                Infringement and                    X
        employees/representa                          damages
        tives/witnesses who
        attend the trial
11.     Anyone Designated      Various                Infringement,                       X
        by Defendants to                              validity and
        testify.                                      damages


          Plaintiff reserves the right to supplement, amend, or withdraw witnesses from this

 submission in accordance with the Court’s schedule and procedures.



     October 2, 2012                                  Respectfully submitted,

                                                      /s/ John J. Edmonds
                                                      John J. Edmonds – LEAD COUNSEL
                                                      Texas Bar No. 789758
                                                      Stephen F. Schlather
                                                      Texas Bar No. 24007993
                                                      Michael J. Collins
                                                      Texas Bar No. 4614510
                                                      COLLINS, EDMONDS POGORZELSKI
                                                      SCHLATHER & TOWER, PLLC
                                                      1616 S. Voss Rd., Suite 125
                                                      Houston, Texas 77057
                                                      Telephone: (281) 501-3425
                                                      Facsimile: (832) 415-2535
                                                      jedmonds@cepiplaw.com
                                                      sschlather@cepiplaw.com
                                                      mcollins@cepiplaw.com

                                                      Andrew W. Spangler
                                                      State Bar No. 24041960
                                                      Spangler & Fussell P.C.
                                                      208 N. Green Street, Suite 300
                                                      Longview, Texas 75601
                                                      (903) 753-9300


                                                  2
                                              A1897
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                                                     (903) 553-0403 (fax)
                                                     spangler@sfipfirm.com

                                                     ATTORNEYS FOR PLAINTIFF
                                                     ADJUSTACAM LLC



                                 CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who are deemed to have consented to electronic
 service are being served with a copy of this document via the Court’s CM/ECF system per Local
 Rule CV-5(a)(3).

 October 2, 2012                                      /s/ John J. Edmonds
                                                      John J. Edmonds




                                                 3
                                               A1898
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 SAKAR 6.0-018

                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION



                                                     :
 ADJUSTACAM, L.L.C.                                  :
                                                     : Civil Action No. 6:10-cv-00329
                       Plaintiff,                    :
                                                     :
 vs.                                                 :
                                                     :
 SAKAR INTERNATIONAL, INC., et al                    :
                                                     :
                  Defendants.                        :
 ______________________________________
 ___

                                           EXHIBIT 2

                   DESIGNATION OF TRIAL WITNESSES OF
           SAKAR INTERNATIONAL, INC., KOHL’S ILLINOIS, INC., AND
                         KOHL’S CORPORATION

          The parties hereby designate the following Trial Witnesses:

          Name                               Testimony

       1) Ralph Sasson, Vice                 Sakar’s purchase and sales of accused Kodak
          President of Sakar                 webcams, where purchased, the prices, who
          International, Inc., 195           developed the webcams, the customers, gross
          Carter Drive, Edison, NJ           profits, net profits, cost of the web cam clip and
                                             cost of camera, how the web cams operate, no
                                             notice prior to lawsuit, and related matters; the
                                             amount of legal fees, costs, and expenses
                                             incurred by Sakar in this case.




                                                1
                                              A1899
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    2) Santhosh George, Vice            Sakar’s purchase and sales of accused Kodak
       President of Sakar               webcams, where purchased, the prices, who
       International, Inc., 195         developed the webcams, the customers, gross
       Carter Drive, Edison, NJ         profits, net profits, cost of the web cam clip and
                                        cost of camera, how the web cams operate, no
                                        notice prior to lawsuit, and related matters.

    3) David Krekelberg                 Inventor with regard to his knowledge of prior
       Minneapolis, MN                  art and the relevance of the Irifune prior art and
                                        other references.

    4) Adjustacam’s 30 (b)(6)           His knowledge of Adjustacam’s Rule 11 pre-
       witness – Clayton Haynes         filing investigation, and his knowledge of
                                        Settlement Agreements entered into by
                                        Adjustacam with regard to the patent in suit,
                                        and his knowledge of royalty payments and
                                        royalty calculations.

       Experts                          Testimony

    5) John Hamilton                    Topics sets forth in his Expert Report, including
       3031 Tisch Way, Suite            non-infringement, claim charts, rebutting the
       1010, San Jose, CA               Report of Plaintiff’s Expert on infringement
                                        and related matters.

    6) Richard Klopp                    Topics set forth in his Expert Report, including
       525 West Monroe                  Invalidity, rebutting the Report of Plaintiff’s
       Street, Suite 1050               Expert on validity, and related topics, the
       Chicago, IL                      prosecution history in the U.S. Patent Office,
                                        the prior art, claim charts, the re-examination
                                        proceeding of the `343 patent in suit, the final
                                        rejection, and related topics.

    7) John Muskivitch                  His testimony regarding his two Expert Reports
       San Francisco, CA                on infringement and validity.

    8) Walter Bratic                    His testimony regarding his Expert Report on
       Houston, TX                      settlements and damages.




                                           2
                                         A1900
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                                             IN THE UNITED STATES DISTRICT COURT
                                              FOR THE EASTERN DISTRICT OF TEXAS
                                                        TYLER DIVISION

    ADJUSTACAM LLC

         v.                                                                        NO. 6:10-cv-329-LED

    AMAZON.COM, INC.; ET AL.                                                       JURY

                                              PLAINTIFF’S TRIAL EXHIBIT LIST 1



       PLT                                                          EXPECT       MAY                     OFFERE
      EXH.                       DESCRIPTION                        TO USE       USE      MARKED           D           ADMITTED
       NO.
         1. U.S. Patent No. 5,855,343                                   X


         2. Assignment history for the ‘343 patent                      X


         3. Exclusive license to the ‘343 patent                        X


         4. Assignment of exclusive license to the ‘343                 X
            patent

         5. Kodak S101/W100 webcam                                      X


         6. Kodak T130 webcam                                           X


         7. ADJCAM000133-147                                                       X


         8. AdjustaCam and PAR’s license                                           X
            agreements, including at ADJCAM-
            SETTLE000001-270

1
 Pending before the Court is AdjustaCam’s motion to dismiss the remaining defendants, Sakar and Kohl’s, with prejudice, which is based
upon the cancelation of the Asserted Claims in reexamination proceedings and a covnenant not to sue granted to Sakar/Kohl’s. Sakar/Kohl’s
opposition to this case being dismissed at this point is ill-informed and mystifying. Thus, subject to its pending motion to dismiss, in an
abundance of caution AdjustaCam respectfully submits this Exhibit List, despite the fact that the issues in this litigation are moot or near moot
at this point, and will clearly be moot come time of trial.
                                                                       3


                                                                   A1901
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9. Bratic CV                                         X


10. Documents, namely HP and WalMart                 X
    documents and prior license agreements,
    cited in the Bratic Report
11. GLOBALMEDIA 2701-2714                            X


12. GLOBALMEDIA 2715-2720                            X


13. GLOBALMEDIA 2721-2760                            X


14. GLOBALMEDIA 2761-66                              X


15. GLOBALMEDIA0000013 – 34                          X


16. HP000023 - 415;                                  X


17. HP000201 – 214                                   X


18. HP000215 – 229                                   X


19. HP00023 – 57                                     X


20. HP000244 – 295                                   X


21. HP000296 – 370                                   X


22. HP000371 – 406                                   X


23. HP00230 - 243                                    X




                                                4


                                        A1902
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       24. Invoices from Dr. Klopp                                 X


       25. Invoices from Dr. Sullivan                              X


       26. Muskivitch CV                                           X


       27. Exhibit 4 to Muskivitch Deposition –                    X
           Muskivitch Report (redacted to relate to
           Sakar/Kohl’s only)

       28. Sales numbers produced by Kohl’s                        X


       29. Sales numbers produced by Sakar                         X


       30. WMT-ACAM0001100 – 1200;                                 X


       31. WMT-ACAM0001128 – 1131                                  X


       32. Updated sales numbers produced by Kohl’s                X


       33. Updated sales numbers produced by Sakar                 X


       34. AdjustaCam reserves the right to introduce              X
           one or more of the Exhibits listed on
           Defendants' Trial Exhibit List, to the extent
           it may be admissible


       Plaintiff reserves the right to supplement, amend, or withdraw exhibits from this submission in accordance

with the Court’s schedule and procedures.



 October 2, 2012                                   Respectfully submitted,

                                                   /s/ John J. Edmonds
                                                   John J. Edmonds – LEAD COUNSEL
                                                   Texas Bar No. 789758
                                                           5


                                                      A1903
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       Case 6:10-cv-00329-LED Document 723-3 Filed 10/02/12 Page 4 of 4 PageID #: 6461

                                                  Stephen F. Schlather
                                                  Texas Bar No. 24007993
                                                  Michael J. Collins
                                                  Texas Bar No. 4614510
                                                  COLLINS, EDMONDS POGORZELSKI
                                                  SCHLATHER & TOWER, PLLC
                                                  1616 S. Voss Rd., Suite 125
                                                  Houston, Texas 77057
                                                  Telephone: (281) 501-3425
                                                  Facsimile: (832) 415-2535
                                                  jedmonds@cepiplaw.com
                                                  sschlather@cepiplaw.com
                                                  mcollins@cepiplaw.com

                                                  Andrew W. Spangler
                                                  State Bar No. 24041960
                                                  Spangler & Fussell P.C.
                                                  208 N. Green Street, Suite 300
                                                  Longview, Texas 75601
                                                  (903) 753-9300
                                                  (903) 553-0403 (fax)
                                                  spangler@sfipfirm.com

                                                  ATTORNEYS FOR PLAINTIFF
                                                  ADJUSTACAM LLC


                                          CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record who are deemed to have consented to electronic service are being

served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3).


October 2, 2012                                     /s/ John J. Edmonds
                                                    John J. Edmonds




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                                                      A1904
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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                              TYLER DIVISION



                                                 :
 ADJUSTACAM, L.L.C.                              :
                                                 : Civil Action No. 6:10-cv-00329 (LED)
                   Plaintiff,                    :
                                                 : Jury Trial Demanded
 vs.                                             :
                                                 :
 AMAZON.COM, INC., et al                         :
                                                 :
                   Defendants.                   :
 _________________________________________

                                         EXHIBIT 4


                           SAKAR/KOHL’S EXHIBIT LIST

 Exhibit No.               Description

 1.                        Expert Report of Ryan Sullivan, Ph. D., 7-26-12 (#2 – Sullivan)

 2.                        Invoice 202893 (Highly Confidential) (#2 – Klopp)

 3.                        Expert Report of Dr. Richard Klopp, P.E. (#3 – Klopp)

 4.                        Expert Report of John Hamilton

 5.                        Document entitled, “Expert Report of John C. Muskivitch
                           Regarding Infringement of J.S. Patent No. 5,855,343,” dated 6-25-
                           12, 173 pages (Highly Confidential, Attorneys’ Eyes Only (#4 –
                           Muskivitch)

 6.                        Document entitled “Unexamined Utility Model Application
                           Publication H2-19997,” “Japanese Unexamined Utility Model
                           Publication,” Bates numbers ADJDEFPA000093.1 through
                           ADJDEFPA000093.40 (#13 – Muskivitch)

 7.                        United States Patent No. 5,880,783 by Ma, dated 3-9-99, Bates
                           numbers ADJDEF000001 through ADJDEFPA000005 (#14 –

                                           A1905
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                          Muskivitch)

 8.                       United States Patent Number Des. 383,475 by Yamauchi et al.,
                          dated 9-9-97, Bates numbers ADJDEFPA000006 through
                          ADJDEFPA000012 (#15 – Muskivitch)

 9.                       United States Patent Number 4,526,308 by Dovey, dated 7-2-85,
                          Bates numbers ADJDEFPA000013 through ADJDEFPA000018
                          (#16 – Muskivitch)

 10.                      06-25-12 “Expert Report of Walt Bratic” (#3 – Bratic)

 11.                      06-28-12 “Supplement Expert Report of Walt Bratic” (#4 – Bratic)

 12.                      “Settlement and License Agreement” between PAR Technologies,
                          Inc. and Philips Electronics North America Corporation, HIGHLY
                          CONFIDENTIAL/ATTORNEY’S EYES ONLY, Bates
                          ADJCAM-SETTLE000001 through 000015 (#5 – Bratic)

 13.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and Jasco Products Company, LLC, HIGHLY
                          CONFIDENTIAL/ATTORNEY’S EYES ONLY, Bates
                          ADJCAM-SETTLE000016 through 000026 (#6 – Bratic)

 14.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and jWIN Electronics Corp., HIGHLY
                          CONFIDENTIAL/ATTORNEY’S EYES ONLY, Bates
                          ADJCAM-SETTLE000027 through 000037 (#7 – Bratic)

 15.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and Tripp Manufacturing Company, LLC, HIGHLY
                          CONFIDENTIAL/ATTORNEY’S EYES ONLY, Bates
                          ADJCAM-SETTLE000060 through 000069 (#8 – Bratic)

 16.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and Creative Technology, Ltd., HIGHLY
                          CONFIDENTIAL, Bates ADJCAM-SETTLE000142 through
                          000152 (#9 – Bratic)

 17.                      “Subject to FRE 408 and NDA Settlement and Patent License
                          Agreement” between Adjustacam LLC and Intcomex, Inc., et al,
                          HIGHLY CONFIDENTIAL/ATTORNEY’S EYES ONLY, Bates
                          ADJCAM-SETTLE000038 through 000048 (#10 – Bratic)

 18.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and Phoebe Micro, Inc., HIGHLY

                                         A1906
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                          CONFIDENTIAL/ATTORNEY’S EYES ONLY, Bates
                          ADJCAM-SETTLE000049 through 000059 (#11 – Bratic)

 19.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and Dell, Inc., HIGHLY CONFIDENTIAL, Bates ADJCAM-
                          SETTLE000153 through 000163 (#12 – Bratic)

 20.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and J&R Electronics Inc., HIGHLY CONFIDENTIAL, Bates
                          ADJCAM-SETTLE000164 through 000175 (#13 – Bratic)

 21.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and Mace Group, Inc. and Macally Peripherals, Inc.,
                          HIGHLY CONFIDENTIAL, Bates ADJCAM-SETTLE000176
                          through 000190 (#14 – Bratic)

 22.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and Overstock.com, HIGHLY CONFIDENTIAL, Bates
                          ADJCAM-SETTLE000191 through 000201 (#15 – Bratic)

 23.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and, et al., HIGHLY CONFIDENTIAL, Bates
                          ADJCAM-SETTLE000202 through 000212 (#16 – Bratic)

 24.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and Amazon.com, Inc., HIGHLY CONFIDENTIAL, Bates
                          ADJCAM-SETTLE000213 through 000222 (#17 – Bratic)

 25.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and Auditek Corporation, HIGHLY CONFIDENTIAL, Bates
                          ADJCAM-SETTLE000235 through 000243 (#18 – Bratic)

 26.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and Digital Innovations, LLC, HIGHLY CONFIDENTIAL,
                          Bates ADJCAM-SETTLE000223 through 000234 (#19 – Bratic)

 27.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and KYE International Corporation, et al, HIGHLY
                          CONFIDENTIAL, Bates ADJCAM-SETTLE000244 through
                          000254 (#20 – Bratic)

 28.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and Trust International B.V., HIGHLY CONFIDENTIAL-
                          FOR COUNSEL ONLY, Bates ADJCAM000106 through 000116
                          (#21 – Bratic)


                                        A1907
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 29.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and Baltic Latvian Universal Electronics, LLC, HIGHLY
                          CONFIDENTIAL-FOR COUNSEL ONLY, Bates ADJCAM
                          000127 through 000135 (#22 – Bratic)

 30.                      “Settlement Agreement” between Adjustacam LLC and Chicony
                          Global, Inc., HIGHLY CONFIDENTIAL-FOR COUNSEL
                          ONLY, Bates ADJCAM000097 through 000105 (#23 – Bratic)

 31.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and RadioShack Corporation, HIGHLY CONFIDENTIAL-
                          FOR COUNSEL ONLY, Bates ADJCAM 000117 through 000126
                          (#24 – Bratic)

 32.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and PC Gear Head, LLC, HIGHLY CONFIDENTIAL-
                          ATTORNEY’S EYES ONLY, Bates ADJCAM 000255 through
                          000262 (#25 – Bratic)

 33.                      “Settlement and Patent License Agreement” between Adjustacam
                          LLC and Hewlett-Packard Company, HIGHLY
                          CONFIDENTIAL-ATTORNEY’S EYES ONLY, Bates
                          ADJCAM-SETTLE 000263 through 000271 (#26 – Bratic)

 34.                      Sakar’s legal fees, costs, and expenses incurred in the litigations
                          with Adjustacam.




                                          A1908
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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                           TYLER DIVISION

 ADJUSTACAM LLC

 v.                                                                        NO. 6:10-cv-329-LED

 AMAZON.COM, INC.; ET AL.

                                     PROPOSED JURY INSTRUCTIONS

 1. INTRODUCTION 1

      MEMBERS OF THE JURY: 23

          You have heard the evidence in this case. I will now instruct you on the law that you

 must apply. It is your duty to follow the law as I give it to you. On the other hand, you the jury

 are the judges of the facts. Do not consider any statement that I have made during trial or make

 in these instructions as an indication that I have any opinion about the facts of this case. After I

 instruct you on the law, the attorneys will have an opportunity to make their closing arguments.

 Statements and arguments of the attorneys are not evidence and are not instruction son the law.

 They are intended only to assist you in understanding and resolving the evidence and the parties’

 contentions. A verdict form has been prepared for you. You will take this form to the jury room

 and when you have reached unanimous agreement as to your verdict, you will have your


 1
   Jury charge in CEATS v. Continential Airlines, et al., 6:10cv120, Doc No. 970.
 2
   Defendants state that this jury instruction applies up until the time that the reexamination certificate for the `343
 patent is granted. Sakar does not wish to litigate the asserted claims or the re-examined claims. However,
 Adjustacam has refused to provide Sakar, along with its Motion to Dismiss, a Covenant Not To Sue against Sakar’s
 accused products that Sakar has been selling for 2 years, by asserting Adjustacam’s new re-examined claims against
 Sakar’s accused products. In addition, these Jury Instructions and the Pre-Trial Order would not have been
 necessary if Adjustacam had agreed to postpone the Pre-Trial Order and Jury Instructions that Sakar had requested
 on September 24, 2012. After 2 years of litigation with Adjustacam, Sakar does not want another lawsuit by
 Adjustacam asserting the new re-examined claims against the same products that Sakar has been selling for 2 years.
 3
   Plaintiff states that it is at a loss as to why we need this jury instruction, or for that matter any jury instructions, in
 view of Plaintiff’s Motion to Dismiss, which is based upon the cancelation of the Asserted Claims in reexamination
 proceedings (which will be final long before the scheduled trial of this matter) and the Covenant Not To Sue granted
 to Defendants. Rather than wasting everyone’s time, including most importantly the Court’s on this jury charge,
 Defendants should withdraw their meritless opposition to the dismissal of this case.

                                                           A1909
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 foreperson fill in, date, and sign the form. Answer each question from the facts as you find them.

 Do not decide who you think should win and then answer the questions accordingly. Your

 answers in your verdict must be unanimous. Unless otherwise instructed, in determining whether

 any fact has been proved in this case, you may consider the testimony of all witnesses, regardless

 of who may have called them, and all exhibits received in evidence, regardless of who may have

 produced them, and any stipulations as to facts. In deciding the facts of this case, you must not

 be influenced by bias or prejudice or favor as to any party. Our system of law does not permit

 jurors to be governed by prejudice or sympathy or public opinion. The parties and the public

 expect that you will carefully and impartially consider all of the evidence in the case, follow the

 law as stated by the Court, and reach a just verdict regardless of the consequences.

 1.1 CONSIDERING WITNESS TESTIMONY 4

            You the jurors are the sole judges of the credibility of all witnesses and the weight and

 effect of all evidence. By the Court allowing testimony or other evidence to be introduced over

 the objection of an attorney, the Court did not indicate any opinion as to the weight or effect of

 such evidence. When the Court sustained an objection to a question addressed to a witness, you

 must disregard the question entirely, and may draw no inference from the wording of it or

 speculate as to what the witness would have testified to, if he or she had been permitted to

 answer the question. You must not consider the question or answer for any purpose. At times

 during the trial it was necessary for the Court to talk with the lawyers here at the bench out of

 your hearing, or by calling a recess. We met because often during a trial something comes up

 that does not involve the jury. You should not speculate on what may have been discussed during

 such times. In determining the weight to give to the testimony of a witness, you may ask yourself

 whether there was evidence tending to prove that the witness testified falsely concerning some
 4
     Jury charge in CEATS v. Continential Airlines, et al., 6:10cv120, Doc No. 970.

                                                            2
                                                         A1910
                 Case: 13-1665           Document: 97-2            Page: 331          Filed: 12/11/2014

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 important fact, or whether there was evidence that at some other time the witness said or did

 something, or failed to say or do something, that was different from the testimony the witness

 gave before you during the trial. You should keep in mind, of course, that a simple mistake by a

 witness does not necessarily mean that the witness was not telling the truth as he or she

 remembers it, because people may forget some things or remember other things inaccurately. So,

 if a witness has made a misstatement, you should consider whether that misstatement was an

 intentional falsehood or simply an innocent lapse of memory; and the significance of that may

 depend on whether it has to do with an important fact or with only an unimportant detail.

 1.2 HOW TO EXAMINE THE EVIDENCE 5

            Certain testimony in this case has been presented to you through a deposition. A

 deposition is the sworn, recorded answers to questions asked a witness in advance of the trial.

 Under some circumstances, if a witness cannot be present to testify from the witness stand, the

 witness testimony may be presented, under oath, in the form of a deposition. Some time before

 this trial, attorneys representing the parties in this case questioned this witness under oath. This

 deposition testimony is entitled to the same consideration and is to be judged by you as to

 credibility and weight and otherwise considered by you insofar as possible the same as if the

 witness had been present and had testified from the witness stand in court. While you should

 consider only the evidence in this case, you are permitted to draw such reasonable inferences

 from the testimony and exhibits as you feel are justified in the light of reason and common

 experience. In other words, in reaching your verdict, you may reach conclusions that reason and

 common sense lead you to draw from the facts that have been established by the testimony and

 evidence in the case. Unless you are instructed otherwise, the testimony of a single witness may

 be sufficient to prove any fact, even if a greater number of witnesses may have testified to the
 5
     Jury charge in CEATS v. Continential Airlines, et al., 6:10cv120, Doc No. 970.

                                                            3
                                                         A1911
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 contrary, if after considering all the other evidence you believe that single witness more than the

 other witnesses. There are two types of evidence that you may consider in properly finding the

 truth as to the facts in the case. One is direct evidence such as testimony of an eyewitness. The

 other is indirect or circumstantial evidence — the proof of a chain of circumstances that indicates

 the existence or nonexistence of certain other facts. As a general rule, the law makes no

 distinction between direct and circumstantial evidence and simply requires that you find the facts

 after considering all the evidence, both direct and circumstantial.

 1.3 DEMONSTRATIVE EXHIBITS 6

            Certain exhibits shown to you are illustrations of the evidence, but are not themselves

 evidence. We call these types of exhibits “demonstrative exhibits.”Demonstrative exhibits are a

 party’s description, picture, or model to describe something involved in this trial. If your

 recollection of the evidence differs from the exhibit, rely on your recollection.

 1.4 EXPERT WITNESSES 7

            When knowledge of a technical subject matter may be helpful to the jury, a person who

 has special training or experience in that technical field, called an expert witness, is permitted to

 state his or her opinion on those technical matters. However, you are not required to accept that

 opinion. As with any other witness, it is up to you to decide whether and to what extent to rely

 upon it. In deciding whether to accept or rely upon the opinion of an expert witness, you may

 consider any bias of the witness, including any bias you may infer from evidence that the expert

 witness has been or will be paid for reviewing the case and testifying.

 2. CONTENTIONS OF THE PARTIES 8




 6
     Jury charge in CEATS v. Continential Airlines, et al., 6:10cv120, Doc No. 970.
 7
     Jury charge in CEATS v. Continential Airlines, et al., 6:10cv120, Doc No. 970.

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                                                         A1912
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         Defendants contend that they do not infringe claims 1, 7 and 19 of the ‘343 patent. I will

 sometimes refer to claims 1, 7 and 19 of the ‘343 patent as the “Disputed Claims.” Defendants

 contend that all of the Disputed Claims are invalid on one or more grounds. Your job is first to

 decide (1) whether the Disputed Claims have been infringed, and then decide (2) whether the

 Disputed Claims are invalid. Infringement and invalidity are separate questions and should be

 considered and answered separately.

 2.1 BURDENS OF PROOF 9

         In any legal action, facts must be proved by a required amount of evidence, known as the

 “burden of proof.” In a patent case such as this, there are two different burdens of proof that are

 used. The first is the “preponderance of the evidence “standard and the second is the “clear and

 convincing” standard. The “preponderance of the evidence” standard means that the evidence

 persuades you that a claim is more likely true than not true. The “clear and convincing standard”

 means that the evidence produces in your mind a firm belief or conviction as to the matter at

 issue. The clear and convincing evidence standard requires greater proof than is necessary for the

 preponderance of the evidence standard.

         Plaintiff:

         Defendants bear the burden of proving non-infringement by a preponderance of the

 evidence. In determining whether any fact has been proved by a preponderance of the evidence,

 you may, unless otherwise instructed, consider the stipulations, the testimony of all witnesses

 regardless of who may have called them, and all exhibits received in evidence regardless of who

 may have produced them. If the proof establishes that all essential parts of the Defendants’ non-
 8
   Jury charge in CEATS v. Continential Airlines, et al., 6:10cv120, Doc No. 970; Medtronic Inc. v. Boston Scientific
 Corp., No. 11-1313 (Fed. Cir. Sept. 18, 2012) (party seeking declaratory relief has burden of proving non-
 infringement).
 9
   Jury charge in CEATS v. Continential Airlines, et al., 6:10cv120, Doc No. 970; Medtronic Inc. v. Boston Scientific
 Corp., No. 11-1313 (Fed. Cir. Sept. 18, 2012) (party seeking declaratory relief has burden of proving non-
 infringement).

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                                                       A1913
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 infringement of a claim are more likely true than not true, then you should find for Defendants as

 to that claim. As I told you during the preliminary instructions, each Defendant has the burden of

 individually proving non-infringement as to each Disputed Claim.

        As an issued United States patent, the ‘343 patent is presumed to be valid. Defendants

 have the burden of overcoming that presumption and proving invalidity of the ‘343 patent by

 clear and convincing evidence. In determining whether any fact has been proved by clear and

 convincing evidence, you may, unless otherwise instructed, consider stipulations, the testimony

 of all witnesses regardless of who may have called them, and all exhibits received in evidence

 regardless of who may have produced them. Evidence of prior art which was not reviewed by the

 Patent Office may be more probative of meeting this standard than prior art which was reviewed

 by the Patent Office. The clear and convincing evidence standard requires a greater degree of

 proof than is necessary for the preponderance of the evidence standard. The proof must establish

 a firm belief or conviction in your mind that Defendants’ invalidity claims are correct for you to

 find for them that the ‘343 patent is invalid.

        Defendants:

        Plaintiff bears the burden of proving infringement by a preponderance of the evidence. In

 determining whether any fact has been proved by a preponderance of the evidence, you may,

 unless otherwise instructed, consider the stipulations, the testimony of all witnesses regardless of

 who may have called them, and all exhibits received in evidence regardless of who may have

 produced them. If the proof establishes that all essential parts of the Plaintiff’s claim for

 infringement of a claim are more likely true than not true, then you should find for Plaintiff as to

 that claim. As I told you during the preliminary instructions, Plaintiff has the burden of proving

 infringement as to each Disputed Claim.



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                                                  A1914
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            The ‘343 patent is NOT presumed to be valid because the asserted claims have been

 finally rejected by the U.S. Patent Office. In determining whether any fact has been proved by

 clear and convincing evidence, you may, unless otherwise instructed, consider stipulations, the

 testimony of all witnesses regardless of who may have called them, and all exhibits received in

 evidence regardless of who may have produced them. Evidence of prior art which was not

 reviewed by the Patent Office may be more probative of meeting this standard than prior art

 which was reviewed by the Patent Office. The clear and convincing evidence standard requires a

 greater degree of proof than is necessary for the preponderance of the evidence standard. The

 proof must establish a firm belief or conviction in your mind that Defendants’ invalidity claims

 are correct for you to find for them that the ‘343 patent is invalid.

 3. THE CLAIMS OF THE PATENTS-IN-SUIT

 3.1 PATENT CLAIMS 10

            The claims of a patent are the numbered sentences at the end of the patent. The claims

 describe the invention made by the inventor and describe what the patent owner owns and what

 the patent owner may prevent others from doing. Claims may describe products, such as

 machines or chemical compounds, or processes for making or using a product. Claims are

 usually divided into parts or steps, called limitations or elements. For example, a claim that

 covers the invention of a table may recite the tabletop, four legs and the glue that secures the legs

 on the tabletop. In this example, the tabletop, legs and glue are each a separate limitation of the

 claim.




 10
      Jury charge in CEATS v. Continential Airlines, et al., 6:10cv120, Doc No. 970.

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 3.2 CONSTRUCTION OF THE CLAIMS 11

          In deciding whether or not a patent is infringed, the first step is to understand the

 meaning of the words used in the patent claims. It is my job as Judge to determine what the

 patent claims mean and to instruct you about that meaning. You must accept the meanings I give

 you and use those meanings when you decide whether or not the patent claims are infringed, and

 whether or not they are invalid. I have interpreted the meaning of some of the language in the

 patent claims involved in this case. My interpretation of that claim language appears in Appendix

 A to this charge. The claim language I have not interpreted for you in Appendix A is to be given

 its ordinary and accustomed meaning as understood by one of ordinary skill in the art, which is

 to say, in the field of technology of the patent. The meaning of the words in the patent claims

 must be the same when deciding both infringement and validity.

 3.3 OPEN-ENDED OR “COMPRISING” CLAIMS 12

          The beginning, or preamble, of certain claims uses the word “comprising.”“Comprising”

 means “including” or “containing but not limited to.” That is, acclaim that uses the word

 “comprising” is not limited to products or methods having only the requirements that are recited

 in the claim limitations: it also covers products or methods that have all of the requirements and

 add additional requirements without changing the required limitations. This means that if you

 decide that the Defendants’ accused webcam clips include all of the requirements in a claim, the

 claim is infringed. This is true even if the accused webcam clip includes components in addition

 to those requirements.

 3.4 INDEPENDENT AND DEPENDENT CLAIMS 13

          This case involves two types of patent claims: independent claims and dependent claims.

 11
    Jury charge in CEATS v. Continential Airlines, et al., 6:10cv120, Doc No. 970.
 12
    Jury charge in CEATS v. Continential Airlines, et al., 6:10cv120, Doc No. 970.
 13
    Federal Circuit Bar Association, Model Pattern Jury Instructions, § 2.2a (Feb. 2012).

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                                                        A1916
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            An “independent claim” sets forth all of the requirements that must be met in order to be

 covered by that claim. Thus, it is not necessary to look at any other claim to determine what an

 independent claim covers. In this case, claims 1 and 19 of the ‘343 patent are each independent

 claims.

            Claim 7 of the ‘343 patent is a “dependent claim.” A dependent claim does not itself

 recite all of the requirements of the claim but refers to another claim for some of its

 requirements. In this way, the claim “depends” on another claim. A dependent claim incorporates

 all of the requirements of the claim to which it refers. The dependent claim then adds its own

 additional requirements. To determine what a dependent claim covers, it is necessary to look at

 both the dependent claim and any other claim to which it refers. A product that meets all of the

 requirements of both the dependent claim and the claim to which it refers is covered by that

 dependent claim. You are tasked with determining whether there is infringement of these three

 claims.

 4. INFRINGEMENT 14

            Plaintiff:

            I will now instruct you as to the rules you must follow when deciding whether

 Defendants have proven that they have not infringed any of the Disputed Claims of the ‘343

 patent. Patent law gives the owner of a valid patent the right to exclude others from making,

 using, offering to sell, selling, or importing, the patented invention within the United States

 during the term of the patent. Any business entity that has engaged in any of those acts without

 the patent owner’s permission infringes the patent. Someone can infringe a patent without

 knowing that what they are doing is an infringement of the patent. They also may infringe a



 14
      Jury charge in CEATS v. Continential Airlines, et al., 6:10cv120, Doc No. 970.

                                                            9
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  patent even though they believe in good faith that what they are doing is not an infringement of

  any patent.

             Defendants:

             I will now instruct you as to the rules you must follow when deciding whether Plaintiff

  has proven that Defendants have infringed any of the Disputed Claims of the ‘343 patent. Patent

  law gives the owner of a valid patent the right to exclude others from making, using, offering to

  sell, selling, or importing, the patented invention within the United States during the term of the

  patent. Any business entity that has engaged in any of those acts without the patent owner’s

  permission infringes the patent. Someone can infringe a patent without knowing that what they

  are doing is an infringement of the patent. They also may infringe a patent even though they

  believe in good faith that what they are doing is not an infringement of any patent.

             You must decide whether any Defendant has made, used, sold, or offered for sale within

  the United States an apparatus covered by the Disputed Claims in the ‘343 patent. To decide

  infringement, you must compare the Defendants’ disputed product to each Asserted Claim of the

  patent to determine whether every requirement or element of the Asserted Claim is included in

  the disputed product. To prove infringement, Plaintiff must prove that each disputed product

  meets all of the requirements or elements of an Asserted Claim. If the disputed product omits any

  requirement recited in an asserted patent claim, it does not infringe that claim.

  5. INVALIDITY 15

  5.1 INVALIDITY—GENERALLY 16

             Patent invalidity is a defense to patent infringement. Even though the Patent Office

  examiner has allowed the claims of a patent, you have the ultimate responsibility for deciding


  15
       Jury charge in CEATS v. Continential Airlines, et al., 6:10cv120, Doc No. 970.
  16
       Jury charge in CEATS v. Continential Airlines, et al., 6:10cv120, Doc No. 970.

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  whether the claims of the patent are valid. I will now instruct you on the invalidity issues you

  should consider. As you consider these issues, remember that Defendants bear the burden of

  proving invalidity of each claim with facts supported by clear and convincing evidence. In

  making your determination as to invalidity, you should consider each claimseparately.

  5.2 SCOPE AND CONTENT OF THE PRIOR ART 17

          Before explaining to you each of Defendants’ grounds for invalidity in detail, I will

  discuss the concept of “prior art.” Defendants must prove by clear and convincing evidence that

  the references on which they rely are, in fact, prior art. To do so, Defendants must prove that the

  references fall within one or more of the different categories of prior art recognized by the patent

  laws. The categories of relevance in this case are:

          (1) Anything already patented or described in a printed publication, anywhere in the

  world before the March 7, 1997.

          (2) Anything described in a published patent application filed by another in the United

  States or under the PCT system and designated the United States, which was published in

  English before March 7, 1997.

          (3) Anything described in a patent granted on an application for patent by another filed in

  the United States or under the PCT system and designated the United States, which was

  published in English and the application was filed before March 7, 1997.

          In order for a reference to be relevant prior art, the reference must be within the field of

  the inventor’s endeavor, or if it is from another field of endeavor, the reference must be

  reasonably related to the particular problem or issue the inventor faced or addressed when

  making the inventions described in the Disputed Claims.


  17
     Jury charge in CEATS v. Continential Airlines, et al., 6:10cv120, Doc No. 970, and Federal Circuit Bar
  Association, Model Pattern Jury Instructions, § 4.3b (Feb. 2012).

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                                                  A1919
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             Defendants must also prove that the prior art was complete enough to enable one of

  ordinary skill in the art to practice the claimed invention without undue experimentation. The

  disclosure in a prior art reference does not have to be in the same words as the claim. But all the

  elements of the claim must be there, either stated expressly or necessarily implied or inherent

  such that someone of ordinary skill in that field of technology looking at that one prior art

  reference would be able to make and use the claimed invention. Something is inherent in an item

  of prior art if it is always present in the prior art or always results from the practice of the prior

  art, and if a skilled person would understand that to be the case. Inherency may not be

  established by probabilities or possibilities. The mere fact that a certain thing may coincidentally

  result from a given set of circumstances is not sufficient.

  5.3 PERSON OF ORDINARY SKILL 18

             Several times in my instructions I have referred to a person of ordinary skill in the field

  of the invention. It is up to you to decide the level of ordinary skill in the field of the invention.

  You should consider all of the evidence introduced at trial in making this decision, including:

             1. the levels of education and experience of persons working in the field;

             2. the types of problems encountered in the field; and

             3. the sophistication of the technology.

             In this case, the parties have expressed their contentions of the level of ordinary skill in

  the art. Because it is your determination to make, you need not adopt the parties’ contention of

  the level of ordinary skill in the art.I will now explain to you the Defendants’ grounds for

  asserting invalidity of the Disputed Claims.

  5.4 INVALIDITY—ANTICIPATION 19


  18
       Jury charge in CEATS v. Continential Airlines, et al., 6:10cv120, Doc No. 970.
  19
       Federal Circuit Bar Association, Model Pattern Jury Instructions, § 4.3b (Feb. 2012).

                                                             12
                                                           A1920
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         In order for someone to be entitled to a patent, the invention must actually be “new” and

  the inventor must not have lost her or his rights by delaying the filing of an application claiming

  the invention. In general, inventions are new when the identical product has not been made, used,

  or disclosed before. Anticipation must be determined on a claim-by-claim basis.

         Defendants contend that claims 1, 7 and 9 of the ‘343 patent are invalid because the

  claimed inventions are anticipated. Defendants must convince you of this by clear and

  convincing evidence, i.e., that the evidence highly probably demonstrates that the claim(s) is/are

  invalid.

         Here is a list of ways that Defendants can show that a patent claim was not new or that

  the patentee lost the right to patent the claim(s)

         (1) An invention is not new if it was already patented or described in a printed

  publication, anywhere in the world before the March 7, 1997. A description is a “printed

  publication” only if it was publicly accessible. An invention was patented by another if the other

  patent describes the same invention claimed by the Patentee to a person having ordinary skill in

  the technology.

         (2) An invention is not new if it was described in a published patent application filed by

  another in the United States or under the PCT system and designated the United States, and was

  published in English before March 7, 1997.

         (3) An invention is not new if the claimed invention was described in a patent granted on

  an application for patent by another filed in the United States or under the PCT system and

  designated the United States, and was published in English and the application was filed before

  March 7, 1997.




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                                                  A1921
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  5.7 INVALIDITY—OBVIOUSNESS 20

             In this case, Defendants contend that all Disputed Claims are invalid as obvious. A patent

  claim is invalid if the claimed invention, as a whole, would have been obvious to a person of

  ordinary skill in the field of the invention at the time the application was filed. This means that

  even if all the requirements of the claim cannot be found in a single prior art reference that would

  anticipate the claim, a person of ordinary skill in the field of the invention who knew about all of

  the prior art would have come up with the claimed invention. But a patent claim composed of

  several requirements is not proved obvious merely by demonstrating that each of its

  requirements was independently known in the prior art. Although common sense directs one to

  look with care at a patent application that claims as innovation the combination of known

  requirements according to their established functions to produce a predictable result, it can be

  important to identify a reason that would have prompted a person of ordinary skill in the relevant

  field to combine the requirements in the way the claimed new invention does. This is so because

  inventions in most, if not all, instances rely upon building blocks long since uncovered, and

  claimed discoveries almost of necessity will be combinations of what, in some sense, is already

  known. Accordingly, you may evaluate whether there was some teaching, suggestion, or

  motivation to arrive at the claimed invention, as a whole, before the time of the claimed

  invention, although proof of this is not a requirement to prove obviousness. Teachings,

  suggestions, and motivations may also be found within the knowledge of a person with ordinary

  skill in the art including inferences and creative steps that a person of ordinary skill in the art

  would employ. Additionally, teachings, suggestions, and motivations may be found in the nature

  of the problem solved by the claimed invention, or any need or problem known in the field of the

  invention at the time of and addressed by the invention.
  20
       Jury charge in CEATS v. Continential Airlines, et al., 6:10cv120, Doc No. 970.

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         Therefore, in evaluating whether such a claim would have been obvious, you should

  consider a variety of factors:

         1. Whether Defendants have identified a reason that would have prompted a person of

  ordinary skill in the field of the invention to combine the requirements or concepts from the prior

  art in the same way as in the claimed invention. There is no single way to define the line between

  true inventiveness on one hand (which is patentable) and the application of common sense and

  ordinary skill to solve a problem on the other hand (which is not patentable). For example,

  market forces or other design incentives may be what produced a change, rather than true

  inventiveness.

         2. Whether the claimed invention applies a known technique that had been used to

  improve a similar device or method in a similar way.

         3. Whether the claimed invention would have been obvious to try, meaning that the

  claimed innovation was one of a relatively small number of possible approaches to the problem

  with a reasonable expectation of success by those skilled in the art. But you must be careful not

  to determine obviousness using hindsight; many true inventions can seem obvious after the fact.

         You should put yourself in the position of a person of ordinary skill in the field of the

  invention at the time the claimed inventions were made, and you should not consider what is

  known today or what is learned from the teaching of the patents.

         The ultimate conclusion of whether a claim is obvious should be based on your

  determination of several factual issues:

         1. You must decide the level of ordinary skill in the field of the invention that someone

  would have had at the time the claimed invention was made.




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         2. You must decide the scope and content of the prior art. In determining the scope and

  content of the prior art, you must decide whether a reference is pertinent, or analogous, to the

  claimed invention. Pertinent, or analogous, prior art includes prior art in the same field of

  endeavor as the claimed invention, regardless of the problems addressed by the reference, and

  prior art from different fields reasonably pertinent to the particular problem with which the

  claimed invention is concerned.

         3. You should consider any difference or differences between the prior art and the claim

  requirements.

         Finally, you should consider any of the following factors that you find have been shown

  by the evidence:

         Factors Tending to Show Non-obviousness

         1. commercial success of a product due to the merits of the claimed invention;

         2. a long felt, but unresolved, need for the solution provided by the claimed invention;

         3. unsuccessful attempts by others to find the solution provided by the claimed invention;

         4. copying of the invention by others;

         5. unexpected and superior results from the claimed invention;

         6. acceptance by others of the claimed invention as shown by praise from others in the

  field of the invention or from the licensing of the claimed invention;

         7. disclosures in the prior art that criticize, discredit, or otherwise discourage the claimed

  invention and would therefore tend to show that the invention was not obvious;

         8. other evidence tending to show nonobviousness. To be relevant to your determination

  of obviousness, any of these additional considerations must have a connection to the claimed

  invention set forth in the patent claims. You may consider the presence of any of the list factors



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  1–8 as an indication that the claimed invention would not have been obvious at the time the

  claimed invention was made.

             Factors tending to show obviousness.

             1. independent invention of the claimed invention by others before or at about the same

  time as the named inventor thought of it;

             2. other evidence tending to show obviousness. Although you should consider any

  evidence of these factors, the relevance and importance of any of them to your decision on

  whether the claimed invention would have been obvious is up to you. Defendants must prove by

  clear and convincing evidence that a claimed invention was obvious. If you find that a claimed

  invention was obvious as explained above, you must find that claim invalid.

  6. INSTRUCTIONS FOR DELIBERATIONS

  6.1 INSTRUCTION REGARDING JUROR QUESTIONS 21

             As I explained at the beginning of the trial, during this trial I have allowed you, the

  jurors, to ask questions after each witness had presented their testimony. I hope you found it

  helpful to be able to ask questions. Also, as I explained at the beginning of trial, you should not

  draw any conclusions if I either decided not to ask one of your specific questions or if I

  rephrased some of your questions. Lastly, you should not draw any adverse inference against any

  party in this action if I decided not to ask your question.

  6.2 GENERAL INSTRUCTION REGARDING DELIBERATIONS 22

             You must perform your duties as jurors without bias or prejudice as to any party. The law

  does not permit you to be controlled by sympathy, prejudice, or public opinion. All parties

  expect that you will carefully and impartially consider all the evidence, follow the law as it is


  21
       Jury charge in CEATS v. Continential Airlines, et al., 6:10cv120, Doc No. 970.
  22
       Jury charge in CEATS v. Continential Airlines, et al., 6:10cv120, Doc No. 970.

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  now being given to you, and reach a just verdict, regardless of the consequences. It is your sworn

  duty as jurors to discuss the case with one another in an effort to reach agreement if you can do

  so. Each of you must decide the case for yourself, but only after full consideration of the

  evidence with the other members of the jury. While you are discussing the case, do not hesitate

  to re-examine your own opinion and change your mind if you become convinced that you are

  wrong. However, do not give up your honest beliefs solely because the others think differently,

  or merely to finish the case. Remember that in a very real way you are the judges—judges of the

  facts. Your only interest is to seek the truth from the evidence in the case. You should consider

  and decide this case as a dispute between persons of equal standing in the community, of equal

  worth, and holding the same or similar stations in life. Corporations and businesses such as

  AdjustaCam, the Sakar Defendants, and the Kohl’s Defendants are entitled to the same fair trial

  as a private individual. All persons, including corporations, and other organizations stand equal

  before the law and are to be treated as equals. When you retire to the jury room to deliberate on

  your verdict, you may take this charge with you as well as exhibits which the Court has admitted

  into evidence. Select your Foreperson and conduct your deliberations. If you recess during your

  deliberations, follow all of the instructions that the Court has given you about your conduct

  during the trial. After you have reached your unanimous verdict, your Foreperson is to fill in on

  the form your answers to the questions. Do not reveal your answers until such time as you are

  discharged, unless otherwise directed by me. You must never disclose to anyone, not even to me,

  your numerical division on any question. Any notes that you have taken during this trial are only

  aids to memory. If your memory should differ from your notes, then you should rely on your

  memory and not on the notes. The notes are not evidence. A juror who has not taken notes

  should rely on his or her independent recollection of the evidence and should not be unduly



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  influenced by the notes of other jurors. Notes are not entitled to any greater weight than the

  recollection or impression of each juror about the testimony. If you want to communicate with

  me at any time, please give a written message or question to the bailiff, who will bring it to me. I

  will then respond as promptly as possible either in writing or by having you brought into the

  courtroom so that I can address you orally. I will always first disclose to the attorneys your

  question and my response before I answer your question. After you have reached a verdict, you

  are not required to talk with anyone about the case unless the Court orders otherwise. You may

  now retire to the jury room to deliberate.




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                                            APPENDIX A

                                 Claim Term Court’s Construction

  Plaintiff:

  Hinge member          a structural element that joins to another for rotation
  Disposition           a configuration or arrangement of the support frame

  Defendants:

  Hinge member          a structural element that joins to another for rotation
  Disposition           a configuration or arrangement of the support frame
  Rotatably             Rotating about a single axis of rotation or permitting motion over a single
  attached/adapted to   axis of rotation
  be rotatably
  attached/adapted to
  rotatably attached




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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                              TYLER DIVISION

 ADJUSTACAM LLC

    v.                                           NO. 6:10-cv-329-LED

 AMAZON.COM, INC.; ET AL.                        JURY


                          JURY VERDICT FORM




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          Question No. 1 1

                 Do you find that Adjustacam conducted an adequate pre-filing investigation
 before filing this lawsuit against the various defendants?

                   Yes ________

                   No _________

          Question No. 2

                   Do you find that Adjustacam conducted this lawsuit in bad faith?

                   Yes ________

                   No _________

          Question No. 3

               Do you find that this is an exceptional case justifying the award of attorneys fees
 to Sakar and Kohl’s?

                   Yes ________

                   No _________

          Question No. 4

                   Do you find that defendants Sakar and Kohl’s are entitled to attorneys fees in this
 case?

                   Yes ________

                   No _________

          Question No. 5

               If the answer to question no. 7 is yes, state the amount of attorneys fees that
 should be awarded to Sakar.

 1
   Questions 1 - 5 are requested by Defendants. Plaintiff objects to Questions 1 - 5 for, inter alia, lack of evidence
 and lack of relevance, and because they are not proper questions for a jury to answer. Plaintiff has no jury questions
 to submit because come time of trial the Asserted Claims will have been officially canceled by the USPTO, and on
 account of Plainitff’s covenant not to sue Defendants on the ‘343 patent. See Plaintiff’s pending Motion to Dismiss.


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 The foreperson is requested to initial and date this document in the spaces provided below as the
 unanimous verdict of the jury.




 ____________________                                     ________________________________
 DATE                                                     FOREPERSON INITIAL




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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

 ADJUSTACAM LLC

      v.                                                     NO. 6:10-cv-329-LED

 AMAZON.COM, INC.; ET AL.                                    JURY

                                    JOINT PRE-TRIAL ORDER

           This cause came before the court at a pre-trial management conference held on December

 18, 2012, pursuant to Local Rule CV-16 and Rule 16 of the Federal Rules of Civil Procedure.

 A.        COUNSEL FOR THE PARTIES

 Plaintiff:                                           Defendants:

 John Edmonds                                         Ezra Sutton
 Stephen Schlather                                    EZRA SUTTON, P. A.
 Joshua Long
 COLLINS, EDMONDS & POGORZELSKI,
 SCHLATHER & TOWER, PLLC

 Andrew W. Spangler
 Spangler & Fussell P.C.

 B.        STATEMENT OF JURISDICTION

           Plaintiff:

           Per plaintiff’s pending motion to dismiss at Dkt No. 721, Plaintiff contends that subject

 matter jurisdiction is lacking due to Plaintiff’s covenant not to sue defendants. Further, by the

 time of the pretrial conference, the asserted claims will have been canceled in connection with

 the issuance of a reexamination certificate, thus rendering moot the prior disputes over the

 asserted claims. Accordingly, this Court lacks subject matter jurisdiction to take what is left of

 this case to trial.


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        Defendants:

        This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C. §§

 1131, 1338(a), 2201, and 2202. Also, venue is proper in this district under 28 U.S.C. §§ 1391 (b)

 and (c).

        By the time of the pretrial conference, the Re-examination Certificate will have issued

 with new independent claims 22, 31, 40, 41, 44, 45, 46 and 47 which have been allowed by the

 U.S.P.T.O. The plaintiff’s covenant not to sue defendants Sakar International, Inc. (“Sakar”),

 Kohl’s Illinois, Inc., and Kohl’s Corporation, Inc. (“Kohl’s”) (collectively “Sakar/Kohl’s”) does

 not include these new re-examined claims, and the plaintiff has refused to include them in the

 covenant.   Therefore, there is still a dispute and case or controversy between the parties

 regarding the `343 patent in suit.

        Thus, this Court presently has subject matter jurisdiction, and will continue to have

 subject matter jurisdiction over the new re-examined claims of the `343 patent when the Re-

 examination Certificate issues.

 C.     NATURE OF ACTION

        Plaintiff:

        In this case plaintiff originally contended that Defendants infringed claims 1, 7 and 19

 (the “Asserted Claims”) of U.S. Patent No. 5,855,343 (the “‘343 patent”). However, on August

 30, 2012, at the culmination of reexamination proceedings involving the ‘343 patent, the

 U.S.P.T.O. issued a Final Office Action rejecting the Asserted Claims as being unpatentable over

 prior art, but allowing additional new and amended claims. On September 20, 2012, in response

 to that Final Office Action, AdjustaCam canceled the Asserted Claims of the ‘343 patent so that




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 a certificate of reexamination can issue concerning the multiple new and amended claims

 deemed allowable.

        By the time of the pretrial conference, the cancellation of the Asserted Claims in

 reexamination proceedings will have mooted the issues remaining in this case – e.g.,

 infringement of the Asserted Claims, validity of the Asserted Claims and damages due for

 infringement of the Asserted Claims. At this point, all Defendants except Sakar/Kohl’s have

 been dismissed either by settlement or mutual agreement. See, e.g., Orders of Dismissal at Doc

 Nos. 665, 671, 672, 673, 674, 675, 677 and 720.

        Despite the foregoing, for reasons that perhaps it can explain to the Court, Sakar/Kohl’s

 has to date opposed being dismissed from this case with prejudice. In order to overcome

 Sakar/Kohl’s opposition to being dismissed with prejudice relative to canceled asserted claims

 that are no longer in dispute, AdjustaCam has taken the further step of granting Sakar/Kohl’s a

 covenant not to sue under the ‘343 patent. Dkt No. 721. Irrespective of the canceled claims and

 irrespective of Sakar/Kohl’s opposition to being dismissed with prejudice, AdjustaCam’s

 covenant not to sue under the ‘343 patent divests the Court of subject matter jurisdiction with

 respect to Sakar/Kohl’s First and Second counterclaims in this matter, since they relate solely to

 Sakar/Kohl’s claims that it does not infringe the ‘343 patent and that the ‘343 patent is invalid.

        Accordingly, as of the date of this submission, pending before the Court is AdjustaCam’s

 Motion (Dkt No. 721) for the Court issue an Order dismissing AdjustaCam’s claims against

 Sakar/Kohl’s for infringement of the ‘343 Patent as well as Sakar/Kohl’s First and Second

 Counterclaims of its Amended Answer and Counterclaims.




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        Defendants:

        As stated by Adjustacam, when the Certificate of Re-examination issues, the asserted

 claims (1, 7, and 19) will be cancelled, and the new and allowed re-examined claims will be

 issued (including independent claims 22, 31, 40, 41, 44, 45, 46 and 47). Adjustacam has refused

 (during a meet and confer on September 29, 2012) to issue a covenant not to sue Sakar/Kohl’s on

 these new re-examined claims of the `343 patent. Thus, the controversy continues regarding the

 re-examined claims of the `343 patent. That is, Adjustacam can continue to sue Sakar/Kohl’s on

 the `343 patent as to the webcams in issue for infringement of these claims. Thus, the Court has

 not been divested of subject matter jurisdiction. In addition, Sakar/Kohl’s reserves its right to

 file a motion for attorneys fees and costs.

        This is a patent infringement case wherein Plaintiff AdjustaCam has asserted that

 Defendants Sakar International, Inc., Kohl’s Illinois, Inc., and Kohl’s Corporation, Inc.,

 (collectively, “Defendants”) directly infringe claims 1, 7 and/or 19 (the “asserted claims”) of

 United States Patent No. 5,855,343 (“the `343 patent”). Defendants contend that none of their

 products infringe the asserted claims of the `343 patent and that the asserted claims are invalid

 because they fail to meet one or more of the requirements for patentability. Defendants also deny

 AdjustaCam’s allegations of willful infringement and deny AdjustaCam’s claim for damages.

 D.     CONTENTIONS OF THE PARTIES

        (1)     Plaintiff’s Contentions.

        a.      GlobalMedia Group LLC is, and at all relevant times as been, the assignee of the

 ‘343 patent.

        b.      Plaintiff is, and at all relevant times has been, the exclusive licensee of the ‘343

 patent, with the right to sue for infringements thereof.



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        c.        By time of trial, Asserted Claims 1, 7 and 19 of the ‘343 patent will be canceled

 and moot.

        d.        Prior to the cancelation of the Asserted Claims and Plaintiff granting a covenant

 not to sue to Defendants, Plaintiff contended that Defendants infringed the Asserted Claims by

 making, selling, offering for sale and importing the Kodak S101/W100 and T130, including as

 set forth in the Expert Report of John Muskivitch.

        e.        Prior to the cancelation of the Asserted Claims and Plaintiff granting a covenant

 not to sue to Defendants, Plaintiff contended that Defendants owed Plaintiff reasonable royalties,

 prejudgment interest and post-judgment interest, including as set forth in the Expert Report of

 Walter Bratic.

        f.        Defendants’ defenses and counterclaims lack merit and are nonetheless moot.

        g.        Notwithstanding Plaintiff’s cancelation of the Asserted Claims that a certificate of

 reexamination can issue concerning the multiple new and amended claims deemed allowable, to

 the extent the issue will not be moot come time of trial, Defendants have not rebutted the

 presumption of validity accorded the patent-in-suit under 35 U.S.C. § 282.

        h.        All claims of the ‘343 patent are entitled to priority no later than the March 7,

 1997

        i.        Notwithstanding Plaintiff’s cancelation of the Asserted Claims that a certificate of

 reexamination can issue concerning the multiple new and amended claims deemed allowable, to

 the extent the issue will not be moot come time of trial, none of the Asserted Claims are invalid.

        j.        Notwithstanding Plaintiff’s cancelation of the Asserted Claims that a certificate of

 reexamination can issue concerning the multiple new and amended claims deemed allowable, to




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 the extent the issue will not be moot come time of trial, Defendants bear the burden of proving

 non-infringement of the Asserted Claims by a preponderance of the evidence.

        k.      Notwithstanding Plaintiff’s cancelation of the Asserted Claims that a certificate of

 reexamination can issue concerning the multiple new and amended claims deemed allowable, to

 the extent the issue will not be moot come time of trial, Defendants bear the burden of proving

 invalidity of the Asserted Claims by clear and convincing evidence.

        l.      Notwithstanding Plaintiff’s cancelation of the Asserted Claims that a certificate of

 reexamination can issue concerning the multiple new and amended claims deemed allowable, to

 the extent the issue of damages will not be moot come time of trial, Defendants have no relevant

 or admissible proof concerning damages because they never designated a damages expert.

        m.      Defendants are not entitled to any declaratory relief or any other relief, award,

 finding, verdict or judgment.

        n.      Notwithstanding Plaintiff’s cancelation of the Asserted Claims that a certificate of

 reexamination can issue concerning the multiple new and amended claims deemed allowable, to

 the extent the issue of validity of the will not be moot come time of trial, AdjustaCam reserves

 the right to rely upon the validity opinions of its technical expert Dr. Muskivitch. To the extent

 necessary, the validity report of Dr. Muskivitch is incorporated herein by reference for notice

 purposes.

        n.      Notwithstanding Plaintiff’s cancelation of the Asserted Claims that a certificate of

 reexamination can issue concerning the multiple new and amended claims deemed allowable, to

 the extent the issue of infringement will not be moot come time of trial, AdjustaCam reserves the

 right to rely upon the infringement opinions of its technical expert Dr. Muskivitch. To the extent




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 necessary, the infringement report of Dr. Muskivitch, at Exhibit 4 to the Muskivitch deposition,

 is incorporated herein by reference for notice purposes.

         n.      Notwithstanding Plaintiff’s cancelation of the Asserted Claims that a certificate of

 reexamination can issue concerning the multiple new and amended claims deemed allowable, to

 the extent the issue of damages will not be moot come time of trial, AdjustaCam reserves the

 right to rely upon the damages opinions of its damages expert Mr. Bratic. To the extent

 necessary, the damages report of Mr. Bratic is incorporated herein by reference for notice

 purposes. Further, to the extent that damages is still deemed to be relevant, AdjustaCam reserves

 the right to recover pre and post-judgment interest and costs.

         o.      Plaintiff reserves the right to include additional contentions and disputed issues of

 fact and law based on (i) the Court’s rulings on pending motions that may arise between the date

 of the filing of the parties’ joint pretrial order and (ii) the pre-trial conference and (iii) trial.

         (2)     Defendants’ Contentions.

         By providing these contentions, Defendants do not concede that all of these issues are

 appropriate for trial. In particular, Defendants do not waive any of their motions in limine,

 motions for summary judgment, or Daubert motions, which, if granted, would render some or all

 of these issues moot. Defendants’ contentions in this case are detailed in their answers,

 affirmative defenses and counterclaims to AdjustaCam’s Third Amended Complaint, and

 Defendants’ invalidity contentions, all of which are incorporated herein by reference. In sum,

 Defendants contend the following:

         a. By the time of trial, new re-examined claims (including new independent claims 22,

 31, 40, 41, 44, 45, 46 and 47) will be granted by the Re-examination Certificate to AdjustaCam,

 and AdjustaCam has refused to agree not to assert these claims against Sakar/Kohl’s.



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        b. The re-examined `343 patent is still in dispute between the parties with regard to the

 webcams Sakar has been selling.

        c. AdjustaCam’s refusal to provide Sakar/Kohl’s with a covenant agreeing not to assert

 the allowed claims of the reexamined `343 patent against Sakar/Kohl’s means that there is a

 continuing controversy between the parties regarding infringement of the `343 patent.

        d. Defendants’ defenses and counterclaims have merit and are not moot.

                                         Non-Infringement

        e. Defendants do not directly infringe, and have not directly infringed, the asserted `343

 patent claims.

        f. If Defendants are found to infringe any claim of the `343 patent, and those asserted

 claims of the `343 patent are found to be valid, then Defendants’ infringement was not willful.

        g. Defendants are entitled to a declaratory judgment finding that Defendants are not

 directly or indirectly infringing, and have not directly or indirectly infringed, any claim of

 the `343 patent.

        h. All of Sakar/Kohl’s accused Kodak webcams (Model Nos. Kodak S101 and Kodak

 T130) comprise a ball and socket joint or hinge member that is fixedly attached to the bottom of

 the camera and is not “rotatably attached” to the camera. Moreover, Sakar/Kohl’s accused

 Kodak webcams (Kodak S101 and Kodak T130) with a ball and socket joint do not have a hinge

 member that is “rotatably attached” about a single axis of rotation relative to the camera (or an

 equivalent thereof), as required by all of the independent claims of the original and reexamined

 `343 patent.

        i. The accused ball and socket clips of Sakar/Kohl’s accused Kodak webcams (Model

 Nos. Kodak S101 and Kodak T130) rotate relative to the camera about multiple axes of rotation.



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        j. AdjustaCam’s own infringement expert, Dr. Muskivitch admitted that Sakar/Kohl’s

 Kodak webcams with a ball and stem fixed to the camera do not rotate as required by claims.

        k. The support frame of Sakar/Kohl’s Kodak webcams (Kodak S101 and Kodak T130) is

 not “rotatably attached” to the hinge member about a single axis either literally or under the

 doctrine of equivalence. Specifically, Sakar/Kohl’s Kodak webcams have a ball-and-socket

 hinge member whereby the ball-and-socket hinge member rotates in multiple axes of rotation

 relative to the support frame (legs). Moreover, because the ball and socket structure of the hinge

 member permits the “support frame” to rotate in multiple axes of rotation relative to the hinge

 member, the hinge member of Sakar/Kohl’s Kodak webcams is not “rotatably attached” about a

 “single axis of rotation” relative to the support frame as specified by this Court.

        l. One half of the webcam clips of Sakar/Kohl’s accused Kodak webcams (Model Nos.

 Kodak S101 and Kodak T130) cannot support anything and does not have two “dispositions” as

 required by the claims of the `343 patent. Moreover, one half of a webcam clip clearly cannot

 support a webcam on a display (such as a laptop computer), as the claims require.

        m. Plaintiff’s noninfringement expert, Dr. Muskivitch, improperly submitted a new and

 untimely expert report on August 24, 2012 that changed the identification of many claim

 limitations concerning defendants’ accused products (including Sakar/Kohl’s infringing

 products) from those first identified in his original June 25, 2012 infringement report. Dr.

 Muskivitch even admitted during his deposition that his June 25, 2012 was incorrect.

 Specifically, in his original June 25, 2012 report, Dr. Muskivitch identified the “ball-and-stick”

 portion of the accused Sakar/Kohl’s Kodak webcams as the “hinge member,” and the clip of

 those products as the “support frame.” In his untimely August 24 Report, however, Dr.

 Muskivitch moved his identification of the “hinge member” from the “ball and stick” of the



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  accused products to the top half of the webcam clip. In addition, in his untimely August 24

  Report, Dr. Muskivitch also opines that the “support frame” is no longer the clip of the accused

  products, but is only one half (the bottom half) of the clip.

         n. Under Rule 26(a)(2)(B), Dr. Muskivitch may not offer any opinion at trial which was

  not disclosed in his June 25 Report, and any subsequent report should be stricken.

         o. Adjustacam did not conduct an adequate pre-filing investigation under Rule 11 for its

  infringement claims against Sakar/Kohl’s Kodak webcams.

                                               Invalidity

         p. There is no presumption of validity for reexamined asserted claims 1, 7, and 19 (as

  well as claims 2, 5, 6, 8, 10, 14, 15 , 16, 17) of the `343 patent because the U.S.P.T.O. finally

  rejected these claims. See Dow Jones v. Albaise, Ltd., 606 F.3d 1338, n. 3 (Fed. Cir. 2010).

         q. The asserted claims 1, 7, and 19 are invalid and AdjustaCam knew or should have

  known that they were invalid. During the last 2 years, the asserted claims were rejected 3 times

  by the U.S. Patent Office over the Irifune and Ma prior art references under 35 U.S.C. § 102,

  meaning the claims were fully anticipated by these prior art references. However, Adjustacam

  continued to prosecute these asserted invalid claims in bad faith against Sakar/Kohl’s, and other

  defendants in this case.

         r. Even before the U.S.P.T.O. finally rejected the asserted claims 1, 7, and 19 (as well as

  claims 2, 5, 6, 8, 10, 14, 15 , 16, 17) of the `343 patent, Plaintiff’s own infringement expert, Dr.

  Muskivitch, admitted during his deposition that the Irifune publication anticipated asserted

  claims 1, 7, and 19 of the `343 patent by testifying that the camera disclosed in Irifune is

  rotatably attached to the hinge member, as claimed in the `343 patent.

         s. Sakar/Kohl’s are entitled to a declaratory judgment finding that the claims of the `343



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  patent are invalid under one or more sections of Title 35 of the United States Code,

  including, without limitation, 35 U.S.C. §§ 102, 103, and/or 112.

                                              Damages

          t. If Defendants Sakar/Kohl’s are found to infringe any of the claims of the `343 patent,

  and those claims are found to be valid, AdjustaCam is entitled to no more than the amount set

  forth in the Expert Report of Dr. Sullivan. Also, AdjustaCam, through the report of its damages

  expert, has no proof of a damage royalty of $1.25 per webcam.

          u. Plaintiff through its damages expert, Mr. Bratic, has failed to properly establish a

  royalty calculation based on the Entire Market Value Rule. Specifically, AdjustCam has failed

  to provide any proof that the clip for Sakar/Kohl’s Kodak webcams motivates consumers to buy

  the webcams in the first place; and AdjustaCam has failed to conduct market studies or consumer

  surveys to ascertain whether the demand for Sakar/Kohl’s Kodak webcams in question is driven

  by the clip patented technology, as required by the Federal Circuit.

          v. Plaintiff AdjustaCam’s evidence of past settlement agreements from approximately 24

  defendants in this case are not determinative of a reasonable royalty because they: (1) did not

  include the quantities sold by respective defendants, (2) did not show a discernible link to the

  claimed technology, and (3) were extracted as nuisance value settlements. This evidences

  Plaintiff’s bad faith strategy.

          w.    AdjustaCam tried to extract a settlement from Sakar/Kohl’s in the amount of

  $550,000 and $250,000, as part of AdjustaCam’s strategy, when AdjustaCam knew that their

  asserted claims had been rejected twice by the U.S.P.T.O. and knew that their asserted claims

  would be finally rejected by the U.S.P.T.O. This strategy of Adjustacam was in bad faith.

          x. AdjustaCam delayed its prosecution of the re-examination of the `343 patent for as



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  long as it could until all but 2 or 3 defendants had settled. Then, as part of its strategy to avoid a

  trial on the merits, AdjustaCam dismissed its claims against Newegg and Sakar/Kohl’s.

          y. AdjustaCam is now trying to cover up its bad faith strategy by ending the case before

  trial with a dismissal of the case.

          z. Sakar will prove that Adjustacam had no proof of a damage royalty of $1.25 through

  the damage expert of Adjustacam.

          aa. Sakar will prove that Adjustacam caused Sakar to spend over $300,000 in legal fees,

  costs, and expenses to defend this case that was brought and conducted in bad faith.

          bb. Sakar reserves the right to include additional contentions and disputed issues of fact

  and law based on the Court’s expected rulings on invalidity and non-infringement, and on

  motions set forth in Defendants’ letter briefs.

  E.      STIPULATIONS AND UNCONTESTED FACTS

  1.      Stipulations

          a.      Highlighted, underlined or enlarged exhibit pages, or portions of pages, shall not

  count as demonstratives unless the text has been changed but shall not be admitted as separate

  exhibits.

          b.      The parties shall not object to the authenticity of any documents authored and

  produced by the other side.

          c.      During trial, each Party shall provide notice by email no later than 8 pm each day

  of all witnesses and all exhibits associated with each witness that are intended to be used as

  direct evidence the following day at trial.

          d.      Each Party shall provide by email no later than 9 pm each day a copy of all

  demonstratives that are intended to be presented the following day at trial.



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  2.      Uncontested Facts

          a.       GlobalMedia Group LLC is the assignee of the ‘343 patent.

          b.       AdjustaCam LLC is the exclusive licensee of the ‘343 patent.

          c.       Sakar International, Inc. (“Sakar”) is a New York corporation with its principal

  place of business located in Edison, New Jersey.

          d.       Kohl’s Corporation d/b/a Kohl’s has a place of business in Menomonee Falls,

  Wisconsin.

          e.       Kohl’s Illinois, Inc. has a place of business in Menomonee Falls, Wisconsin.

          f.       The ‘343 patent was filed on March 7, 1997, and it issued on January 5, 1999.

          g.       All claims of the ‘343 patent are entitled to priority from its March 7, 1997 filing

  date.

          h.       During this litigation, Adjustacam obtained settlements from at least 15

  defendants in this case.

  F.      CONTESTED ISSUES OF FACT AND LAW

          The Parties identify the following issues of fact that remain to be litigated. To the extent

  any issue of law discussed below is deemed to be an issue of fact, it is incorporated into this

  section. The Parties reserve the right to identify additional factual or legal issues as permitted by

  the Court.

          (1)      Plaintiff’s List of Contested Issues of Fact and Law

          a.       Whether, at time of trial, Defendants’ counterclaims, including issues involving

  the infringement, validity and damages relative to the Asserted Claims are moot due to the

  cancelation of those claims in reexamination proceedings.

          b.       Whether Defendants are entitled to any declaratory relief or any other relief.



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          c.       Whether Defendants’ inexplicable and vexatious conduct after being offered a

  dismissal (and in fact after a motion to dismiss was filed) – based upon the cancelation of the

  Asserted Claims during reexamination proceedings and the covenant not to sue under the ‘343

  patent granted to Defendants -- renders this a exceptional case, including an award of attorney’s

  fees and/or cost to Plaintiff.

          (2)      The Defendants’ List of Contested Issues of Fact and Law.

          (To the extent any issue of law is deemed to be an issue of fact, it is incorporated into this

          section).

          a. Whether, at time of trial, Defendants’ counterclaims, including issues involving the

  infringement, validity and damages relative to the Allowed Reexamined Claims are not moot as

  a result of the issuance of the reexamination certificate.

                                           Non-Infringement

          b. Whether AdjustaCam has proven by a preponderance of the evidence that each

  of Sakar/Kohl’s accused Kodak webcam products literally and directly infringes any claim of the

  `343 patent.

          c. If Defendants are found to have infringed any claim of the `343 patent, and the claims

  are found to be valid, the amount Adjustacam has proven by a preponderance of the evidence

  that it is entitled to damages for that infringement.

          d. If Defendants are found to infringe any claim of the `343 patent, and those asserted

  claims of the `343 patent are found to be valid, whether Adjustacm has proven by clear and

  convincing evidence that Defendants’ infringement was willful.

          e. Whether Defendants have proven that Defendants are entitled to a declaratory

  judgment finding that Defendants are not directly infringing, and have not directly



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  infringed, any claims of the `343 patent.

         f. Whether each accused product of the Defendants infringes any of the claims of the

  `343 patent.

         g. All of Sakar/Kohl’s accused Kodak webcams (Model Nos. Kodak S101 and Kodak

  T130) comprise a ball and socket joint or hinge member that is fixedly attached to the bottom of

  the camera and is not “rotatably attached” to the camera. Moreover, Sakar/Kohl’s accused

  Kodak webcams (Kodak S101 and Kodak T130) with a ball and socket joint do not have a hinge

  member that is “rotatably attached” about a single axis of rotation relative to the camera (or an

  equivalent thereof), as required by all of the independent claims of the original and reexamined

  `343 patent.

         h. The accused ball and socket clips of Sakar/Kohl’s accused Kodak webcams (Model

  Nos. Kodak S101 and Kodak T130) rotate relative to the camera about multiple axes of rotation.

         i. AdjustaCam’s own infringement expert, Dr. Muskivitch admitted that Sakar/Kohl’s

  Kodak webcams with a ball and stem fixed to the camera do not rotate as required by claims.

         j. The support frame of Sakar/Kohl’s Kodak webcams (Kodak S101 and Kodak T130) is

  not “rotatably attached” to the hinge member about a single axis either literally or under the

  doctrine of equivalence. Specifically, Sakar/Kohl’s Kodak webcams have a ball-and-socket

  hinge member whereby the ball-and-socket hinge member rotates in multiple axes of rotation

  relative to the support frame (legs). Moreover, because the ball and socket structure of the hinge

  member permits the “support frame” to rotate in multiple axes of rotation relative to the hinge

  member, the hinge member of Sakar/Kohl’s Kodak webcams is not “rotatably attached” about a

  “single axis of rotation” relative to the support frame as specified by this Court.

         k. One half of the webcam clips of Sakar/Kohl’s accused Kodak webcams (Model Nos.



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                                                 A1946
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  Kodak S101 and Kodak T130) cannot support anything and does not have two “dispositions” as

  required by the claims of the `343 patent. Moreover, one half of a webcam clip clearly cannot

  support a webcam on a display (such as a laptop computer), as the claims require.

         l. Plaintiff’s noninfringement expert, Dr. Muskivitch, improperly submitted a new and

  untimely expert report on August 24, 2012 that changed the identification of many claim

  limitations concerning defendants’ accused products (including Sakar/Kohl’s infringing

  products) from those first identified in his original June 25, 2012 infringement report. Dr.

  Muskivitch even admitted during his deposition that his June 25, 2012 was incorrect.

  Specifically, in his original June 25, 2012 report, Dr. Muskivitch identified the “ball-and-stick”

  portion of the accused Sakar/Kohl’s Kodak webcams as the “hinge member,” and the clip of

  those products as the “support frame.” In his untimely August 24 Report, however, Dr.

  Muskivitch moved his identification of the “hinge member” from the “ball and stick” of the

  accused products to the top half of the webcam clip. In addition, in his untimely August 24

  Report, Dr. Muskivitch also opines that the “support frame” is no longer the clip of the accused

  products, but is only one half (the bottom half) of the clip.

         m. Under Rule 26(a)(2)(B), Dr. Muskivitch may not offer any opinion at trial which was

  not disclosed in his June 25 Report, and any subsequent report should be stricken.

         n. Adjustacam did not conduct an adequate pre-filing investigation under Rule 11 for its

  infringement claims against Sakar/Kohl’s Kodak webcams.

                                               Invalidity

         o.   Whether Defendants have proven that Defendants are entitled to a declaratory

  judgment finding that the claims of the `343 patent are invalid under one or more sections of




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                                                 A1947
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  Title 35 of the United States Code, including, without limitation, 35 U.S.C. §§ 102, 103, and/or

  112.

           p. Whether the asserted claims of the `343 Patent are valid.

           q. Whether there is no presumption of validity for reexamined asserted claims 1, 7, and

  19 (as well as claims 2, 5, 6, 8, 10, 14, 15 , 16, 17) of the `343 patent because of the U.S.P.T.O.

  finally rejected these claims. See Dow Jones v. Albaise, Ltd., 606 F.3d 1338, n. 3 (Fed. Cir.

  2010).

           r. The asserted claims 1, 7, and 19 are invalid and AdjustaCam knew or should have

  known that they were invalid. During the last 2 years, the asserted claims were rejected 3 times

  by the U.S. Patent Office over the Irifune and Ma prior art references under 35 U.S.C. § 102,

  meaning the claims were fully anticipated by these prior art references. However, Adjustacam

  continued to prosecute these asserted invalid claims in bad faith against Sakar/Kohl’s, and other

  defendants in this case.

           s. Even before the U.S.P.T.O. finally rejected the asserted claims 1, 7, and 19 (as well as

  claims 2, 5, 6, 8, 10, 14, 15 , 16, 17) of the `343 patent, Plaintiff’s own infringement expert, Dr.

  Muskivitch, admitted during his deposition that the Irifune publication anticipated asserted

  claims 1, 7, and 19 of the `343 patent by testifying that the camera disclosed in Irifune is

  rotatably attached to the hinge member, as claimed in the `343 patent.

           t. Sakar/Kohl’s are entitled to a declaratory judgment finding that the claims of the `343

  patent are invalid under one or more sections of Title 35 of the United States Code,

  including, without limitation, 35 U.S.C. §§ 102, 103, and/or 112.

           Sakar states that Adjustacam and Sakar conducted a meet and confer with regard to the

  following statements u to z, and Adjustacam refused to include them in the Uncontested Fact



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                                                 A1948
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  Section, on the grounds that they were not relevant, even though they are factually correct.

         u.      U.S. Patent Nos. 5,880,783 to Ma; D383,475 to Yamauchi; 4,526,308 to Dovey;

  5,808,672 to Wakabayashi; and 4,493,542 to Ohmurawere; and Japanese Unexamined Utility

  Model App. Pub. No. 11219997 to Irifune (referred to in this case as “the Irifune Publication”)

  are all prior art to AdjustaCam’s `343 patent.

         v.      AdjustaCam did not inform Sakar/Kohl’s of the `343 patent before filing this

  lawsuit.

         w.      With regard to allowed reexamined claims 22 through 48 (including independent

  claims 22, 31, 40, 41, 44, 45, 46 and 47) of the `343 patent, Plaintiff has refused to grant a

  covenant not to sue on these claims against Sakar/Kohl’s in the imminent future when the

  U.S.P.T.O. issues a reexamination certificate granting these claims.

         x.      AdjustaCam’s asserted claims 1, 7, and 19 (as well as claims 2, 5, 6, 8, 10, 14, 15,

  16, 17) of the `343 patent were finally rejected by the U.S.P.T.O. on August 30, 2012.

         y.      On September 20, 2012, AdjustaCam cancelled the asserted claims asserted

  claims 1, 7, and 19 (as well as claims 2, 5, 6, 8, 10, 14, 15, 16, 17) of the `343 patent.

         z.      AdjustaCam knew of the Irifune prior art for over one year during this litigation.

                                                Damages

         u. If Defendants are found to infringe any claim of the `343 patent, and those claims are

  found to be valid, AdjustaCam is entitled to no more than the amount set forth in the Expert

  Report of Dr. Sullivan.

         v. If Defendants are found to infringe any claim of the `343 patent, and those claims are

  found to be valid, Defendants’ infringement was not willful and AdjustaCam is not entitled to

  enhanced damages of up to three times actual damages.



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                                                   A1949
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          w. If Defendants are found to infringe any claim of the `343 patent, and those claims are

  found to be valid, Adjustacam is not entitled to prejudgment interest and costs.

          x. Whether this is an exceptional case that entitles Defendants to attorneys’

  fees, costs and interest.

          y. If Defendants Sakar/Kohl’s are found to infringe any of the claims of the `343 patent,

  and those claims are found to be valid, AdjustaCam is entitled to no more than the amount set

  forth in the Expert Report of Dr. Sullivan. Also, AdjustaCam, through the report of its damages

  expert, has no proof of a damage royalty of $1.25 per webcam.

          z. Plaintiff through its damages expert, Mr. Bratic, has failed to properly establish a

  royalty calculation based on the Entire Market Value Rule. Specifically, AdjustCam has failed

  to provide any proof that the clip for Sakar/Kohl’s Kodak webcams motivates consumers to buy

  the webcams in the first place; and AdjustaCam has failed to conduct market studies or consumer

  surveys to ascertain whether the demand for Sakar/Kohl’s Kodak webcams in question is driven

  by the clip patented technology, as required by the Federal Circuit.

          aa. Plaintiff AdjustaCam’s evidence of past settlement agreements from approximately

  24 defendants in this case are not determinative of a reasonable royalty because they: (1) did not

  include the quantities sold by respective defendants, (2) did not show a discernible link to the

  claimed technology, and (3) were extracted as nuisance value settlements. This evidences

  Plaintiff’s bad faith strategy.

          bb.    AdjustaCam tried to extract a settlement from Sakar/Kohl’s in the amount of

  $550,000 and $250,000, as part of AdjustaCam’s strategy, when AdjustaCam knew that their

  asserted claims had been rejected twice by the U.S.P.T.O. and knew that their asserted claims

  would be finally rejected by the U.S.P.T.O. This strategy of Adjustacam was in bad faith.



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          cc. AdjustaCam delayed its prosecution of the re-examination of the `343 patent for as

  long as it could until all but 2 or 3 defendants had settled. Then, as part of its strategy to avoid a

  trial on the merits, AdjustaCam dismissed its claims against Newegg and Sakar/Kohl’s.

          dd. AdjustaCam is now trying to cover up its bad faith strategy by ending the case before

  trial with a dismissal of the case.

          ee. Sakar will prove that Adjustacam had no proof of a damage royalty of $1.25 through

  the damage expert of Adjustacam.

          ff. Sakar will prove that Adjustacam caused Sakar to spend over $300,000 in legal fees,

  costs, and expenses to defend this case that was brought and conducted in bad faith.

          gg. Sakar reserves the right to include additional contentions and disputed issues of fact

  and law based on the Court’s expected rulings on invalidity and non-infringement, and on

  motions set forth in Defendants’ letter briefs.

  G.      WITNESS LISTS.

          Plaintiff’s witness list is at Exhibit 1. Defendants’ witness list is at Exhibit 2.

  H.      EXHIBIT LISTS.

          Plaintiff’s exhibit list is at Exhibit 3. Defendants’ exhibit list is at Exhibit 4.

  I.      LIST OF ANY PENDING MOTIONS.

           The following motions are pending:

  Docket No.      Pending Motion
     721          Plaintiff’s Motion to Dismiss the Claims and Counterclaims Involving
                  Defendants


          Based upon Defendants’ inputs into this joint submission, Plaintiff is preparing a motion

  to stay this case pending issuance of the reexamination certificate, at which time the Court can

  hold a status conference to determine the future, if any, of this case relative to newly issued

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  claims. (Although Plaintiff would prefer just to have the case dismissed per its pending motion

  to dismiss based upon the cancelation of the Asserted Claims during reexamination proceedings

  and the covenant not to sue under the ‘343 patent granted to Defendants.).

          Defendants are preparing to file motions for summary judgment on invalidity, and non-

  infringement; a motion to strike the expert report of Dr. Muskivitch; and a motion to strike

  portions of the expert report of Walter Bratic. See Defendants Letter Briefs on file. It is

  necessary for defendants to continue work on these motions because Adjustacam’s covenant not

  to sue under the `343 patent granted to defendants fails to make it clear that Adjustacam will not

  sue Sakar in the future with regard to the Kodak webcam products that Sakar has been selling for

  the last 2 years. In a final meet and confer on October 2, 2012, Adjustacam’s counsel, Mr,

  Edmonds, refused to grant such a covenant not to sue.

          In addition, Defendants are preparing to file a motion for attorney’s fees, costs and

  interests.

  J.      PROBABLE LENGTH OF TRIAL.

          The parties estimate that the probable length of trial is three court days, with time split

  evenly between both sides.

  K.      MANAGEMENT CONFERENCE LIMITATIONS.

          None.

  L.      JURY CHARGE.

          The parties joint proposed jury charge is at Exhibit 5. The parties proposed jury verdict

  form is at Exhibit 6.

  M.      MOTIONS IN LIMINE.




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         The parties’ will submit motions in limine in accordance with the procedure set forth in

  the Court’s Docket Control Order.

  L.     CERTIFICATIONS.

         The undersigned counsel for each of the parties in this action do hereby certify and

  acknowledge the following:

         (1)      Full and complete disclosure has been made in accordance with the Federal Rules

  of Civil Procedure and the Court’s orders;

         (2)      Discovery limitations set forth in the Federal Rules of Civil Procedure, the Local

  Rules, and the Court’s orders have been complied with;

         (3)      Each exhibit that is not specifically designated as a demonstrative in the List of

  Exhibits herein: a. is in existence; b. is numbered; and c. has been shown (or will be shown if

  requested) to opposing counsel.



  Approved as to form and substance:

  /s/ John J. Edmonds
  Attorney for Plaintiff

  /s/ Ezra Sutton
  Attorney for Defendants




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                                  CERTIFICATE OF SERVICE

          I hereby certify that all counsel of record who are deemed to have consented to electronic
  service are being served with a copy of this document via the Court’s CM/ECF system per Local
  Rule CV-5(a)(3).

  October 2, 2012                                      /s/ John J. Edmonds
                                                       John J. Edmonds




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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                         TYLER DIVISION

ADJUSTACAM LLC

         v.                                                       NO. 6:10-cv-329-LED

AMAZON.COM, INC.; ET AL.                                          JURY

    PLAINTIFF’S MOTION TO DISMISS ITS CLAIMS AGAINST SAKAR AND KOHL’S
     AND THEIR COUNTERCLAIMS AGAINST PLAINTIFF FOR LACK OF SUBJECT
                          MATTER JURISDICTION
                                    AND
       REQUEST FOR EXPEDITED BRIEFING SCHEDULE AND ORAL HEARING

                                          FILED UNDER SEAL

              Plaintiff AdjustaCam, LLC (“AdjustaCam”) respectfully submits this opposed Motion to

Dismiss, and request for expedited briefing schedule and oral hearing, as follows:

    I.        INTRODUCTION AND FACTUAL BACKGROUND

              Plaintiff AdjustaCam LLC (“AdjustaCam”) hereby moves the Court to dismiss with

prejudice AdjustaCam’s claims of infringement of U.S. Patent 5,855,343 (“the ‘343 Patent”)

against Defendants Sakar International, Inc., Kohl’s Illinois, Inc., and Kohl’s Corporation, Inc.

(collectively “Sakar/Kohl’s”),1. AdjustaCam also moves to dismiss without prejudice

Sakar/Kohl’s counterclaims, which are directed to the infringement and validity of the ‘343

Patent,.

              AdjustaCam filed this lawsuit on July 2, 2010, alleging that Sakar/Kohl’s infringes the

‘343 Patent. Dkt. No. 1. AdjustaCam’s most recent Amended Complaint was filed on August 9,

2011 and also alleges infringement of the ‘343 Patent by Sakar/Kohl’s. Dkt. No. 485.

Sakar/Kohl’s answers and counterclaims are at Dkt. Nos. 231 and 520, respectively.


1
 Kohl’s was sued in this case for re-selling Sakar’s products, and Sakar and Kohl’s are represented by the same
counsel.


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Sakar/Kohl’s First and Second counterclaims are directed solely to non-infringement and

invalidity of the ‘343 Patent. Id.

       In this case, including in its expert reports, AdjustaCam has asserted claims 1, 7 and 19

(the “Asserted Claims”) of the ’343 patent.         On August 30, 2012, at the culmination of

reexamination proceedings involving the ‘343 patent, the U.S.P.T.O. issued a Final Office

Action rejecting the Asserted Claims as being unpatentable over prior art, but allowing additional

new and amended claims. On September 20, 2012, in response to that Final Office Action,

AdjustaCam canceled the Asserted Claims of the ‘343 patent, Exhibit 1, so that a certificate of

reexamination can issue concerning the multiple new and amended claims deemed allowable.

       The cancellation of the Asserted Claims in reexamination proceedings moots or near

moots the issues remaining in this case – e.g., infringement of the Asserted Claims, validity of

the Asserted Claims and damages due for infringement of the Asserted Claims. At this point, all

Defendants except Sakar/Kohl’s have been dismissed either by settlement or mutual agreement.

See, e.g., Orders of Dismissal at Doc Nos. 665, 671, 672, 673, 674, 675, 677 and 720. The most

recent dismissal, which was also brought about by the cancelation of the Asserted Claims,

occurred two days ago and was handled by agreement. See Doc Nos. 719 & 720.

       Despite the foregoing, for reasons that perhaps it can explain to the Court, Sakar/Kohl’s

will not agree to being dismissed from this case with prejudice.

       In order to overcome Sakar/Kohl’s opposition to being dismissed with prejudice relative

to canceled asserted claims that are no longer in dispute, AdjustaCam has taken the further step

of granting Sakar/Kohl’s a covenant not to sue under the ‘343 patent. Exhibit 2. Irrespective of

the canceled claims and irrespective of Sakar/Kohl’s opposition to being dismissed with

prejudice, AdjustaCam’s covenant not to sue under the ‘343 patent divests the Court of subject



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matter jurisdiction with respect to Sakar/Kohl’s First and Second counterclaims in this matter,

since they relate solely to Sakar/Kohl’s claims that it does not infringe the ‘343 patent and that

the ‘343 patent is invalid. See, e.g., Dow Jones & Co., Inc. v. Ablaise Ltd., 606 F.3d 1338, 1348

(Fed.Cir.2010); Super Sack Mfg. Corp. v. Chase Packaging Corp., 57 F.3d 1054, 1058 (Fed. Cir.

1995).    Accordingly, through this motion, AdjustaCam requests the Court issue an Order

dismissing AdjustaCam’s claims against Sakar/Kohl’s for infringement of the ‘343 Patent as well

as Sakar/Kohl’s First and Second Counterclaims of its Amended Answer and Counterclaims.

 II.     ARGUMENT

         Irrespective of the cancelation of the Asserted Claims, which renders moot or near moot

the issues in this case, AdjustaCam’s covenant not to sue along with AdjustaCam’s motion to

dismiss with prejudice terminates the Court’s subject matter jurisdiction over the claims

involving Sakar/Kohl’s. See, e.g., Dow Jones & Co., supra; Super Sack, supra. Similarly,

AdjustaCam’s dismissal of its infringement claims relating to the ‘343 Patent and its covenant

not to sue Sakar/Kohl’s under the ‘343 Patent for all past, present, and future products also

divests the Court of subject matter jurisdiction over Sakar/Kohl’s First and Second

counterclaims. Therefore, they should be dismissed without prejudice.

         “A declaratory judgment counterclaim, according to the relevant procedural provision,

may be brought to resolve an ‘actual controversy’ between ‘interested’ parties.” Super Sack, 57

F.3d at 1058; Intellectual Prop. Dev., Inc. v. TCI Cablevision of Cal, Inc., 248 F.3d 1333, 1340

(Fed. Cir. 2001); 28 U.S.C. § 2201(a). “The existence of a sufficiently concrete dispute between

the parties remains, however, a jurisdictional predicate to the vitality of such an action.” Super

Sack, 57 F.3d at 1058 (internal citations omitted). In other words, an “actual controversy must be

extant at all stages of review, not merely at the time the complaint was filed.” Benitec Austl, Ltd.

v. Nucleonics, Inc., 495 F.3d 1340, 1345 (Fed. Cir. 2007) (quoting Steffel v. Thompson, 415 U.S.

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452, 459 n. 10 (1974)) (internal citations omitted); Intellectual Prop. Dev., 248 F.3d at 1340;

Super Sack, 57 F.3d at 1058. See also Benitec, 495 F.3d at 1344. Importantly, as is the case here,

a patentee can divest a court of jurisdiction over the case by filing a statement of non-liability for

the declaratory counterclaimant. Benitec, 495 F.3d at 1345; Super Sack, 57 F.3d at 1058.

    A. Sakar/Kohl’s First and Second Counterclaims Should be Dismissed Because
       AdjustaCam’s Covenant Not to Sue Divests the Court of Subject Matter
       Jurisdiction Over Those Declaratory Judgment Counterclaims.

        AdjustaCam seeks to dismiss its claims directed to ‘343 Patent with prejudice and has

granted Sakar/Kohl’s a covenant not to sue under the ‘343 Patent that covers all of their products

as they exist today, in the past, or in the future, and extends to their customers and chain of

distribution, as follows:

              AdjustaCam LLC hereby unconditionally covenants not to sue Sakar
              International, Inc., Kohl’s Illinois, Inc., Kohl’s Corporation, Inc. and Kohl’s
              Department Stores, Inc.2 (collectively “Sakar/Kohl’s”) for infringement as to
              any claim of U.S. Patent No. 5,855,343 (the “’343 patent”). Further,
              AdjustaCam LLC hereby unconditionally covenants not to sue
              manufacturers, suppliers, wholesalers, sellers, offerors for sale, importers,
              and/or users for infringing the ‘343 patent relative to Sakar/Kohl’s currently
              existing products. The foregoing unconditional covenant not to sue extends
              all the way up and down the distribution chain for Sakar/Kohl’s currently
              existing products, from manufacture through distribution and end use.

Exhibit 2. A dismissal of AdjustaCam’s claims with prejudice combined with the covenant not to

sue filed by AdjustaCam eliminates any “sufficient immediacy and reality to warrant declaratory

judgment jurisdiction over” Sakar/Kohl’s First and Second counterclaims. Benitec, 495 F.3d at

1346; see also Intellectual Prop. Dev., 248 F.3d at 1342; Super Sack, 57 F.3d at 1059-60.

Therefore, this Court’s subject matter jurisdiction over Sakar/Kohl’s counterclaims has been

terminated, and the First and Second counterclaims must be dismissed without prejudice.

2
  Although AdjustaCam has sued Sakar International, Inc., Kohl’s Illinois, Inc. and Kohl’s Corporation, Inc., from
time to time counsel for Sakar/Kohl’s files papers under the name, Kohl’s Department Stores, Inc. Thus,
AdjustaCam has included Kohl’s Department Stores, Inc. in its covenant not to sue, even though Kohl’s Department
Stores, Inc. is not understood to be a party to this lawsuit.

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Benitec, 495 F.3d at 1349; Intellectual Prop. Dev., 248 F.3d at 1342; Super Sack, 57 F.3d at

1060.3

         The language of AdjustaCam’s covenant is consistent with                         convenant not to sue

language in other cases. See e.g., Benitec, 495 F.3d at 1343 ("[Patentee] covenants and promises

not to sue [Defendant] for patent infringement arising from activities and/or products occurring

on or before the date dismissal was entered in this action—September 29, 2005."); Fujitsu Ltd. v.

Tellabs Operations, Inc., 09-C-4530, 2010 WL 4627652 at *2 (N.D. Ill. Nov. 4, 2010). Thus,

AdjustaCam’s covenant is sufficiently broad to divest the Court of subject matter jurisdiction.

III.     REQUEST FOR EXPEDITED BRIEFING SCHEDULE AND ORAL HEARING

         Inexplicably, AdjustaCam and Sakar/Kohl’s are still both expending large amounts of

resources in this case, despite the fact that AdjustaCam is willing to dismiss Sakar/Kohl’s with

prejudice and grant a covenant not to sue. Further, pending before the Court are Sakar/Kohl’s

multiple letter briefs, all of which are at this point moot or near moot, and a waste of the Court’s

time to decide. Further, there are multiple significant deadlines approaching, namely: the joint

pretrial order (10/2/12); pretrial disclosures (10/30/12); and others. AdjustaCam’s dismissal is

reasonable, serves judicial efficiency and complies with the requirements of Super Sack and its

progeny. Sakar/Kohl’s has no reason to further burden the Court and the parties with motion

practice or pretrial submissions/disputes over moot or near moot issues.

         For the foregoing reasons, namely avoidance of wasting the resources of the Court and

the parties, AdjustaCam requests that the Court set an expedited briefing schedule and an oral

hearing on this motion to dismiss. Sakar/Kohl’s has no legal or factual basis to oppose this



3
 The Federal Circuit has held that covenants not to sue signed by a party’s counsel bind the party and are therefore
sufficient. Super Sack, 57 F.3d at 1059.


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Motion, and if anything, despite its stubbornness, Sakar/Kohl’s would also be a beneficiary of

having itself dismissed from the lawsuit promptly.

IV.    CONCLUSION

       Under Super Sack and subsequent Federal Circuit authority, AdjustaCam’s covenant not

to sue along with this motion to dismiss divests the Court of subject matter jurisdiction over

AdjustaCam’s claims against Sakar/Kohl’s regarding infringement of the ‘343 Patent and

Sakar/Kohl’s First and Second counterclaims. Thus, the Court should grant AdjustaCam’s

Motion to Dismiss its claims of infringement of the ‘343 patent against Sakar/Kohl’s with

prejudice and should also dismiss Sakar/Kohl’s First and Second Counterclaims without

prejudice. Further, in order to conserve the resources of the Court and the parties, the Court

should set an expedited briefing schedule on this matter, and set it for an oral hearing at the

Court’s earliest convenience, so that Sakar/Kohl’s can explain why it refuses to accept a

covenant not to sue and dismissal from this case.

September 30, 2012                                  Respectfully submitted,

                                                    By: /s/ John J. Edmonds
                                                    John J. Edmonds – LEAD COUNSEL
                                                    Texas State Bar No. 789758
                                                    Michael J. Collins
                                                    Texas Bar No. 4614510
                                                    Stephen F. Schlather
                                                    Texas Bar No. 24007993
                                                    COLLINS, EDMONDS, POGORZELSKI,
                                                    SCHLATHER & TOWER, PLLC
                                                    1616 S. Voss Rd., Suite 125
                                                    Houston, Texas 77057
                                                    Telephone: (713) 501-3425
                                                    Facsimile: (832) 415-2535
                                                    jedmonds@cepiplaw.com
                                                    mcollins@cepiplaw.com
                                                    sschlather@cepiplaw.com




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Case 6:10-cv-00329-LED Document 721 Filed 09/30/12 Page 7 of 7 PageID #: 6405



                                                    Andrew W. Spangler
                                                    Texas Bar No. 24041960
                                                    Spangler & Fussell P.C.
                                                    208 N. Green Street, Suite 300
                                                    Longview, Texas 75601
                                                    (903) 753-9300
                                                    (903) 553-0403 (fax)
                                                    spangler@spanglerlawpc.com

                                                    ATTORNEYS FOR PLAINTIFF
                                                    ADJUSTACAM LLC



                             CERTIFICATE OF CONFERENCE

        The parties met and conferred in accordance with Local Rule CV-7 by telephone.
Present on the call for AdjustaCam were local counsel Andrew Spangler, lead counsel John
Edmonds, and Stephen Schlather. Present on the call for Sakar/Kohl’s was its sole counsel Ezra
Sutton. The parties have regrettably reached an impasse on these issues, and thus this motion is
being filed over Sakar/Kohl’s opposition.

September 30, 2012                                    /s/ John J. Edmonds
                                                     John J. Edmonds

                CERTIFICATE OF AUTHORITY TO FILE UNDER SEAL

       I hereby certify that authority to file this document under seal is found in the protective
order governing this case.

September 30, 2012                                    /s/ John J. Edmonds
                                                     John J. Edmonds

                                CERTIFICATE OF SERVICE

        I hereby certify that all counsel of record who are deemed to have consented to electronic
service are being served with a copy of this document via the Court’s CM/ECF system per Local
Rule CV-5(a)(3).

September 30, 2012                                    /s/ John J. Edmonds
                                                      John J. Edmonds




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                                      Electronic Acknowledgement Receipt

                         EFSID:                                  13792139


                 Application Number:                             90011316


         International Application Number:

                Confirmation Number:                             5680




                   Title of Invention:                           CAMERA CLIP




       First Named Inventor/Applicant Name:                          5855343

                                                                 HIMANSHU AMIN, LLC

                                                                 -

                                                                 127 Public Square

               Correspondence Address:                           57th Floor

                                                                 Cleveland                                 OH                     44114

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                                                                 -

                          Filer:                                 Himanshu Am in/Heather Holmes


                  Filer Authorized By:                           Himanshu Am in


              Attorney Docket Number:                            76958.00001


                      Receipt Date:                              20-SEP-2012


                       Filing Date:                              30-DEC -201 0


                      TimeStamp:                                 10:37:05


                   Application Type:                             Reexam (Third Party)


Payment information:
Submitted with Payment                                       I   no

File Listing:



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                 Case: 13-1665              Document: 97-2                       Page: 383                   Filed: 12/11/2014


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1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
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National Stage of an International A~~lication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/E0/903 indicating acceptance of the application as a
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New International A~~lication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 1810), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/105) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.




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                                                                               Attorney Docket No. GMGPlOlUS

                                            CERTIFICATE OF TRANSMISSION
         I hereby certify that this correspondence (along with any paper referred to as being attached or enclosed) is
         being submitted via the USPTO EFS Filing System on the date shown below to Mail Stop Ex Parte Reexam,
         Commissioner for Patents, P.O. Box 1450, Alexandria, Virginia 22313-1450.

         Date: September 20 2012                          /Himanshu S. Amini
                                                          Hirnanshu S. Amin



               IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


 Application No( s ).                 90/011,366 and 90/011,316               Confirmation No.              5680
 Patent No.                           5,855,343                               Patentee:           David E. Krekelberg
 Assignee                             Global Media Group LLC
 Filed                                March 7, 1997
 Art Unit                             3993
 Examiner                             William C. Doerrler
 Docket No.                           GMGPlOlUS



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 Commissioner for Patents
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 P.O. Box 1450
 Alexandria, VA 22313-1450

                REPLY TO FINAL OFFICE ACTION DATED AUGUST 30,2012

 Dear Sir,


         This is in response to the Final Office Action dated August 30, 2012.                                     Favorable
 reconsideration of the subject patent under reexamination is respectfully requested in view of the
 following amendments and comments. The Commissioner is authorized to charge any fees due
 in relation to this filing to Deposit Account No. 50-1063 [GMGPlOl US].
         A Marked-Up Version of All Pending Claims begins on page 2 of this paper.
         Remarks/Arguments begin on page 15 of this paper.




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        Listing of Claims:


        1. (Cancelled- Subject to Reexamination)


        2. (Cancelled- Subject to Reexamination)


        3. (Not Subject to Reexamination)           Apparatus according to claim 2 wherein the support frame
        includes a cover adapted to protect the camera lens when the camera is rotated about the second
        axis until the camera is between the first portion and the second portion.


        4. (Not Subject to Reexamination)           Apparatus according to claim 3 wherein the first portion of
        the support frame further includes said cover, said cover being mounted at the distal end of the
        first portion and adapted the lens of the camera.


        5. (Cancelled- Subject to Reexamination)


        6. (Cancelled- Subject to Reexamination)


        7. (Cancelled- Subject to Reexamination)


        8. (Cancelled- Subject to Reexamination)


        9. (Not Subject to Reexamination)           Apparatus according to claim 8 wherein the pivot element
        has a bore along the first axis of rotation to receive an electrical wiring harness and pass said
        wiring harness to the camera.


        10. (Cancelled- Subject to Reexamination)




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        11. (Not Subject to Reexamination) Apparatus according to claim 10 wherein the support frame
        adapted to protect the camera when the camera is rotated about the second axis towards the rear
        support element of the support frame until the camera is between the rear support element and
        the first and second front support elements, and is releasably held between the rear support
        element and the first and second front support elements.


        12. (Not Subject to Reexamination) Apparatus according to claim 11 wherein the first and
        second front support elements are spaced a distance apart, and wherein said distance is less than
        a diameter of the housing of the camera so that as the camera is being rotated about the second
        axis in the direction towards the rear support element, said housing passes between the first and
        second front support elements and the first and second front support elements resiliently flex
        outwardly to accommodate passage of said housing, said housing being releasably held once
        passing between the first and second front support elements by the rear support element engaging
        said housing at the lens.


        13. (Not Subject to Reexamination) Apparatus according to claim 11 wherein the first portion
        of the support frame further has a cover, said cover being mounted at a distal end of the rear
        support element and adapted to receive the lens of the camera when the camera is releasably held
        between the rear support element and the first and second front support elements.


        14. (Cancelled- Subject to Reexamination)


        15. (Cancelled- Subject to Reexamination)


        16. (Cancelled- Subject to Reexamination)


        17. (Cancelled- Subject to Reexamination)




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        18. (Not Subject to Reexamination) Apparatus according to claim 17 wherein the pivot element
        has a bore along the first axis of rotation to receive said electrical wiring harness and pass said
        wiring harness to the camera.


        19. (Cancelled- Subject to Reexamination)


        20. (Not Subject to Reexamination) Apparatus for supporting a camera having a lens on a
        substantially level surface, comprising:


                 a.      a hinge member adapted to be rotatably attached to the camera, the camera
        rotating about a first axis of rotation relative to said hinge member; and


                b.       a support frame rotatably attached to said hinge member and configured to
        support said hinge member on a generally horizontal, substantially planar surface, said hinge
        member rotating about a second axis of rotation relative to said support frame, said first axis of
        rotation being generally perpendicular to said second axis of rotation, said second axis of rotation
        being substantially parallel to the generally horizontal, substantially planar surface when said
        hinge member is supported on the generally horizontal, substantially planar surface, said support
        frame having a first portion and a second portion wherein said support frame protects the camera
        when said hinge member is not supported on the generally horizontal, substantially planar
        surface, and when the camera is rotated around said second axis in a direction from said second
        portion towards said first portion of said support frame until the camera is between said first
        portion and said second portion and is releasably held between said first portion and said second
        portion.


        21. (Not Subject to Reexamination) Apparatus for supporting a camera, having a lens, on an
        object having a first surface and a second surface, wherein a thickness measured between the
        first surface and the second surface defines an edge therebetween, comprising:



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                 a.      a hinge member adapted to be rotatably attached to the camera, said camera, when
        the hinge member is so adapted, rotating about a first axis of rotation relative to said hinge
        member; and


                b.       a support frame rotatably attached to said hinge member and configured to
        support said hinge member on the object, said hinge member rotating about a second axis of
        rotation relative to said support frame, said first axis of rotation being generally perpendicular to
        said second axis of rotation, said second axis of rotation being substantially parallel to the first
        surface when said hinge member is supported by said support frame on the object, said support
        frame supporting said hinge member on the object when said first surface is inclined from a
        substantially horizontal position, the camera being maintained adjacent the edge when an
        uppermost extremity of the object is the edge, rotation of said support frame being precluded
        about an axis substantially parallel to said second axis, said second axis being substantially
        parallel to said edge, said support frame having a first portion and a second portion wherein said
        support frame releasably holds and protects the camera when said hinge member is not supported
        by said support frame on the object and the camera is rotated around said second axis in a
        direction from said second portion towards said first portion of said support frame until the
        camera is between said first portion and said second portion and is releasably held between said
        first portion and said second portion.


        22. (Pending - Subject to Reexamination) Apparatus for supporting a camera, having a lens, on
        any generally horizontaL substantially planar surface and on an object having a first surface and
        a second surface and an edge intersecting the first surface and the second surface, comprising:


                 a.      a hinge member adapted to be rotatably and permanently attached to the camera,
        said camera, when the hinge member is so permanently attached, rotating, about a first axis of
        rotation, relative to said hinge member; and



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                b.       a support frame rotatably attached to said hinge member and configured to
        support said hinge member on the surface and the object, said hinge member rotating about a
        second axis of rotation relative to said support frame, said first axis of rotation being generally
        perpendicular to said second axis of rotation, said second axis of rotation being substantially
        parallel to the first surface when said hinge member is supported on the object, said support
        frame having a first disposition positioned on said generally horizontaL substantially planar
        surface, and said support frame having a second disposition attached to the object when said first
        surface and said second surface are inclined from a generally horizontal orientation, the camera
        being maintained adjacent said edge in said second disposition of said support frame.


        23.      (Pending - Subject to Reexamination) The apparatus of claim 22, wherein said hinge
        member consists of a single, unitary body.


        24.      (Pending - Subject to Reexamination) The apparatus of claim 22, wherein said hinge
        member consists of a single piece of materiaL


        25.      (Pending - Subject to Reexamination) The apparatus of claim 22, wherein said hinge
        member consists of a unitary piece of materiaL


        26.      (Pending - Subject to Reexamination) The apparatus of claim 22, wherein said hinge
        member is adapted to be inserted inside a housing of said camera for rotatably attaching said
        hinge member to said camera.


        27.      (Pending - Subject to Reexamination) The apparatus of claim 22, wherein said hinge
        member comprises a lip adapted for rotatably attaching said hinge member to said camera.




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        28.      (Pending - Subject to Reexamination) The apparatus of claim 22, wherein said hinge
        member comprises a neck having a lip, with said lip adapted for rotatably attaching said hinge
        member to said camera, wherein said lip has a wider circumference than said neck.


        29.      (Pending - Subject to Reexamination) The apparatus of claim 22, wherein said hinge
        member supports said camera from the bottom of said camera.


        30.      (Pending - Subject to Reexamination) The apparatus of claim 22, wherein said hinge
        member is rotatably attached to said camera at the bottom of said camera, and wherein said hinge
        member is rotatably attached to said support frame at the top of said support frame.


        31.      (Pending - Subject to Reexamination) Apparatus for supporting a camera, having a lens,
        on any generally horizontal, substantially planar surface and on an object having a first surface
        and a second surface and an edge intersecting the first surface and the second surface,
        compnsmg:


                 a.      a hinge member adapted to be rotatably attached to the camera, said camera, when
        the hinge member is so attached, rotating, about a first axis of rotation, relative to said hinge
        member, wherein said hinge member consists of a single, unitary body; and


                b.       a support frame rotatably attached to said hinge member and configured to
        support said hinge member on the surface and the object, said hinge member rotating about a
        second axis of rotation relative to said support frame, said first axis of rotation being generally
        perpendicular to said second axis of rotation, said second axis of rotation being substantially
        parallel to the first surface when said hinge member is supported on the object, said support
        frame having a first disposition positioned on said generally horizontal, substantially planar
        surface, and said support frame having a second disposition attached to the object when said first




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        surface and said second surface are inclined from a generally horizontal orientation, the camera
        being maintained adjacent said edge in said second disposition of said support frame.


        32.      (Pending- Subject to Reexamination) The apparatus of claim 30, wherein said hinge
        member is rotatably and permanently attached to the camera.


        33.      (Pending - Subject to Reexamination) The apparatus of claim 30, wherein said hinge
        member consists of a single piece of materiaL


        34.      (Pending - Subject to Reexamination) The apparatus of claim 3 I, wherein said hinge
        member consists of a unitary piece of materiaL


        35.      (Pending- Subject to Reexamination) The apparatus of claim 3 I, wherein said hinge
        member is adapted to be inserted inside a housing of said camera for rotatably attaching said
        hinge member to said camera.


        36.      (Pending - Subject to Reexamination) The apparatus of claim 3 I, wherein said hinge
        member comprises a lip adapted for rotatably attaching said hinge member to said camera.




        37.      (Pending- Subject to Reexamination) The apparatus of claim 3 I, wherein said hinge
        member comprises a neck having a lip, with said lip adapted for rotatably attaching said hinge
        member to said camera, wherein said lip has a wider circumference than said neck.


        38.      (Pending- Subject to Reexamination) The apparatus of claim 3 I, wherein said hinge
        member supports said camera from the bottom of said camera.




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        39.      (Pending - Subject to Reexamination) The apparatus of claim 3 L wherein said hinge
        member is rotatably attached to said camera at the bottom of said camera, and wherein said hinge
        member is rotatably attached to said support frame at the top of said support frame.


        40.      (Pending - Subject to Reexamination) Apparatus for supporting a camera, having a lens,
        on any generally horizontaL substantially planar surface and on an object having a first surface
        and a second surface and an edge intersecting the first surface and the second surface,
        compnsmg:


                 a.      a hinge member adapted to be permanently rotatably attached to the camera, said
        camera, when the hinge member is so permanently rotatably attached, rotating, about a first axis
        of rotation, relative to said hinge member; and


                b.       a support frame permanently rotatably attached to said hinge member and
        configured to support said hinge member on the surface and the object, said hinge member
        rotating about a second axis of rotation relative to said support frame, said first axis of rotation
        being generally perpendicular to said second axis of rotation, said second axis of rotation being
        substantially parallel to the first surface when said hinge member is supported on the object, said
        support frame having a first disposition positioned on said generally horizontaL substantially
        planar surface, and said support frame having a second disposition attached to the object when
        said first surface and said second surface are inclined from a generally horizontal orientation, the
        camera being maintained adjacent said edge in said second disposition of said support frame.


        41.      (Pending - Subject to Reexamination) Apparatus for supporting a camera, having a lens,
        on any generally horizontaL substantially planar surface and on an object having a first surface
        and a second surface and an edge intersecting the first surface and the second surface,
        compnsmg:




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                 a.      a hinge member adapted to be permanently rotatably joined to the camera, said
        camera, when the hinge member is so permanently rotatably joined, rotating, about a first axis of
        rotation, relative to said hinge member; and


                b.       a support frame permanently rotatably joined to said hinge member and
        configured to support said hinge member on the surface and the object, said hinge member
        rotating about a second axis of rotation relative to said support frame, said first axis of rotation
        being generally perpendicular to said second axis of rotation, said second axis of rotation being
        substantially parallel to the first surface when said hinge member is supported on the object, said
        support frame having a first disposition positioned on said generally horizontaL substantially
        planar surface, and said support frame having a second disposition attached to the object when
        said first surface and said second surface are inclined from a generally horizontal orientation, the
        camera being maintained adjacent said edge in said second disposition of said support frame.


        42.      (Pending - Subject to Reexamination) The apparatus of claim I, wherein said hinge
        member is adapted to be inserted inside a housing of said camera for permanently rotatably
        attaching said hinge member to said camera.


        43.      (Pending - Subject to Reexamination) The apparatus of claim I, wherein said hinge
        member is adapted to be inserted inside a joint within a housing of said camera for rotatably
        attaching said hinge member to said camera.


        44.      (Pending - Subject to Reexamination) Apparatus for supporting a camera, having a lens,
        on any generally horizontaL substantially planar surface and on an object having a first surface
        and a second surface and an edge intersecting the first surface and the second surface,
        compnsmg:


                 a.      a hinge member adapted to be rotatably attached to the camera, said camera, when



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        the hinge member is so attached, rotating, about a first axis of rotation, relative to said hinge
        member, wherein said hinge member comprises a lip adapted for rotatably attaching said hinge
        member to said camera.; and


                b.       a support frame rotatably attached to said hinge member and configured to
        support said hinge member on the surface and the object, said hinge member rotating about a
        second axis of rotation relative to said support frame, said first axis of rotation being generally
        perpendicular to said second axis of rotation, said second axis of rotation being substantially
        parallel to the first surface when said hinge member is supported on the object, said support
        frame having a first disposition positioned on said generally horizontaL substantially planar
        surface, and said support frame having a second disposition attached to the object when said first
        surface and said second surface are inclined from a generally horizontal orientation, the camera
        being maintained adjacent said edge in said second disposition of said support frame.


        45.      (Pending - Subject to Reexamination) Apparatus for supporting a camera, having a lens,
        on any generally horizontaL substantially planar surface and on an object having a first surface
        and a second surface and an edge intersecting the first surface and the second surface,
        compnsmg:


                 a.      a hinge member adapted to be rotatably attached to the camera, said camera, when
        the hinge member is so attached, rotating, about a first axis of rotation, relative to said hinge
        member, wherein said hinge member comprises a neck having a lip, with said lip adapted for
        rotatably attaching said hinge member to said camera, wherein said lip has a wider
        circumference than said neck; and


                b.       a support frame rotatably attached to said hinge member and configured to
        support said hinge member on the surface and the object, said hinge member rotating about a
        second axis of rotation relative to said support frame, said first axis of rotation being generally



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                                                     A1974
                Case: 13-1665             Document: 97-2        Page: 395        Filed: 12/11/2014


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Application No(s). 90/011,366 and 90/011,316
Reexam of US. Patent No. 5,855,343
Attorney Docket No. GMGP101 US
Reply to Final Office Action dated August 30,2012




        perpendicular to said second axis of rotation, said second axis of rotation being substantially
        parallel to the first surface when said hinge member is supported on the object, said support
        frame having a first disposition positioned on said generally horizontaL substantially planar
        surface, and said support frame having a second disposition attached to the object when said first
        surface and said second surface are inclined from a generally horizontal orientation, the camera
        being maintained adjacent said edge in said second disposition of said support frame.


        46.      (Pending - Subject to Reexamination) Apparatus for supporting a camera, having a lens,
        on any generally horizontaL substantially planar surface and on an object having a first surface
        and a second surface and an edge intersecting the first surface and the second surface,
        compnsmg:


                 a.      a hinge member adapted to be rotatably attached to the camera, said camera, when
        the hinge member is so attached, rotating, about a first axis of rotation, relative to said hinge
        member; and


                b.       a support frame rotatably attached to said hinge member and configured to
        support said hinge member on the surface and the object, wherein the support frame has a front
        support element and rear support element, and wherein the front support element is configured to
        engage the object at the intersection of the first surface and the edge, and at the intersection of
        the second surface and the edge, when said first surface and said second surface are inclined
        from a generally horizontal orientation, said hinge member rotating about a second axis of
        rotation relative to said support frame, said first axis of rotation being generally perpendicular to
        said second axis of rotation, said second axis of rotation being substantially parallel to the first
        surface when said hinge member is supported on the object, said support frame having a first
        disposition positioned on said generally horizontaL substantially planar surface, and said support
        frame having a second disposition attached to the object when said first surface and said second




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                                                      A1975
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Application No(s). 90/011,366 and 90/011,316
Reexam of US. Patent No. 5,855,343
Attorney Docket No. GMGP101 US
Reply to Final Office Action dated August 30,2012




        surface are inclined from a generally horizontal orientation, the camera being maintained
        adjacent said edge in said second disposition of said support frame.


        47.      (Pending- Subject to Reexamination) Apparatus for supporting a camera, having a lens,
        on any generally horizontaL substantially planar surface and on an object having a first surface
        and a second surface and an edge intersecting the first surface and the second surface,
        compnsmg:


                 a.      a hinge member adapted to be rotatably attached to the camera, said camera, when
        the hinge member is so attached, rotating, about a first axis of rotation, relative to said hinge
        member; and


                b.       a support frame rotatably attached to said hinge member and configured to
        support said hinge member on the surface and the object, wherein the support frame has a front
        support element and rear support element, and wherein the front support element is configured to
        engage the object at the intersection of the first surface and the edge, at the intersection of the
        second surface and the edge, and at the second surface, when said first surface and said second
        surface are inclined from a generally horizontal orientation, said hinge member rotating about a
        second axis of rotation relative to said support frame, said first axis of rotation being generally
        perpendicular to said second axis of rotation, said second axis of rotation being substantially
        parallel to the first surface when said hinge member is supported on the object, said support
        frame having a first disposition positioned on said generally horizontaL substantially planar
        surface, and said support frame having a second disposition attached to the object when said first
        surface and said second surface are inclined from a generally horizontal orientation, the camera
        being maintained adjacent said edge in said second disposition of said support frame.


        48.      (Pending - Subject to Reexamination) The hinge member of claim I, wherein the support
        frame has a front support element and rear support element, wherein the front support element is



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                                                      A1976
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Application No(s). 90/011,366 and 90/011,316
Reexam of US. Patent No. 5,855,343
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Reply to Final Office Action dated August 30,2012




        configured to sit atop a portion of a length of the edge between the first surface and the second
        surface when said first surface and said second surface are inclined from a generally horizontal
        orientation.




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Application No(s). 90/011,366 and 90/011,316
Reexam of US. Patent No. 5,855,343
Attorney Docket No. GMGP101 US
Reply to Final Office Action dated August 30,2012




                                              REMARKS/ARGUMENTS

                U.S. Patent No. 5,855,343 is subject to an order granting reexamination as a result of two
        reexamination requests under respective Control Nos. 90/011,366 and 90/011,316. These
        Control Nos. have been merged into the subject reexamination proceeding.
                 Claims I, 2, 5-8, 10, 14-17, 19, and 22-48 are subject to reexamination. Claims 3, 4, 9,
        11-13, 18, 20 and 21 are not subject to reexamination. A listing of all claims and status is
        provided at pages 2-14 of this paper. Please cancel claims I, 2, 5-8, 10, 14-17, and 19. The Final
        Office Action notes that claims 22-48 are patentable.
                 A copy of Certificate of Service to Requestors is submitted concurrently herewith.
        Pursuant to 37 CFR 1.565(a), the Patent Owner notifies the Patent Office that the subject patent
        (U.S. 5,855,343) is part of the following litigation activity:


                         AdjustaCam LLC v. Arnazon.com, Inc. et aL, 6:10-cv-00329-LED, U.S.
                 District Court for the Eastern District of Texas

                         AdjustaCam LLC v. Atlanta Network Technologies, Inc. d/b/a Antonline
                 et aL, 6:10-cv-00644-LED, U.S. District Court for the Eastern District of Texas

                         Globa!Media Group LLC v. Logitech Inc., 5: 11-cv-00778-EJD, U.S.
                 District Court for the Northern District of California

                         Logitech Inc. v. Globa!Media Group LLC, No. 12-16532, U.S. Court of Appeals
                for the Ninth Circuit
                         Globa!Media Group LLC v. Logitech Inc., JAMS REF# 1100071120 (Arbitration
                proceedings)




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                                                      A1978
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Application No(s). 90/011,366 and 90/011,316
Reexam ofU.S. Patent No. 5,855,343
Attorney Docket No. GMGPIOIUS
Reply to Final Office Action dated August 30, 2012




                                                     CONCLUSION
                 In view of the foregoing comments and amendments, Patent Owner's undersigned
        representative respectfully requests the Examiner to issue a No~ice oflntent to Issue Ex Parte
        Reexamination Certificate" (NIRC)., In the event additional amendments are necessary to cure
        informalities associated with the herein amendments, the Examiner is requested and authorized
        to make an Examiner's amendment to address such informalities.
                 If it is determined that fees are due in connection with the filing of this paper, the
        Commissioner is hereby authorized to charge payment of any fee(s) or any underpayment of
        fee(s) or credit any overpayment(s) to Deposit Account No. 50-1063 [GMGP101US]. If
        necessary, Patent Owner requests, under the provisions of37 CFR 1.550(c) to extend the period
        for filing a reply in the above-identified application and to charge the fees for a small entity
        under 37 CFR 1.17(a).


                                                        Respectfully submitted,



        Date:    September 20. 2012
                                                      ~<£<~
                                                        Himanshu S. Amin, Reg. No. 40,894


        Himanshu S. Amin, LLC
        127 Public Square
        57th Floor
        Cleveland, OH 44114

        Email:           hcmi n@thepatentatorneys.com
        Telephone:       216-535-7999
        Mobile:          216-409-5303
        Facsimile:       216-696-8731




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                                                                                Attorney Docket No. GMGP101US

                                           CERTIFICATE OF TRANSMISSION
         I hereby certify that this correspondence (along with any paper referred to as being attached or enclosed) is
         being submitted via the USPTO EFS Filing System on the date shown below to Mail Stop Ex Parte Reexam,
         Commissioner for Patents, P.O. Box 1450, Alexandria, Virginia 22313-1450.

         Date: September 20. 2012                         'IHimanshu S. Amini
                                                           Hirnanshu S. Amin


              IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

  Application No(s).                  90/011,366 and 90/011,316               Cdnfmnation No.     5680
  Patent No.                          5,855,343                               Patentee:    David E. Krekelberg
  Assignee                            Global Media Group LLC
  Filed                               March 7, 1997
  Art Unit                            3993
  Examiner                            William C. Doerrler
  Docket No.                          GMGP101US

                       CERTIFICATE OF SERVICE REGARDING
                REPLY TO FINAL OFFICE ACTION DATED AUGUST 30, 2012

       I hereby certify that on September 20, 2012, I served true and accurate duplicate copies of
 the herein Reply to Final Office Action by first class mail on below-noted Re-Exam Requestor
 Counsel.

 Tracy W. Druce
 Novak Druce & Quigg, LLP
 1000 Louisiana St., 53rd Floor
 Houston, TX 77002

 JayChui
 Paul Hastings Janofsky & Walker LLP
 875 15th Street NW
 Washington, DC 20005
                                                                       Respectfully submid : ~

 Date: September 20. 2012
                                                                     ~c--:
                                                                     Himanshu S. Amin, Reg. No. 40,894
                                                                                                                         --
                                                                      Himanshu S. Amin, LLC
                                                                      127 Public Square, 57th Floor
                                                                      Cleveland, OH 44114

                                                                      Email:     hamin@thepatentattomeys.com
                                                                      Telephone: 216-535-7999
                                                                      Mobile:    216-409-5303
                                                                      Facsimile: 216-696-8731




                                                        A1980
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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

 ADJUSTACAM LLC

     v.                                                       NO. 6:10-cv-329-LED

 AMAZON.COM, INC.; ET AL.                                     JURY

                              DECLARATION OF JOHN J. EDMONDS

          I, JOHN J. EDMONDS, declare under penalty of perjury as follows:

     1. My name is John J. Edmonds, I am over the age of twenty-one (21) years, am competent

 to testify on the matters stated herein, have personal knowledge of the facts and statements in

 this declaration and declare that each of the facts is true and correct.

     2. I am a shareholder at the law firm of Collins, Edmonds, Pogorzelski, Schlather & Tower,

 PLLC and am counsel of record for AdjustaCam, LLC in the above-referenced matter. I have

 personal knowledge of the facts set forth herein, and I could and would testify competently

 thereto if called as a witness.

     3. I am the lead counsel for the Plaintiff AdjustaCam LLC in the above-referenced matter.

     4. AdjustaCam LLC hereby unconditionally covenants not to sue Sakar International, Inc.

 Kohl’s Illinois, Inc., Kohl’s Corporation, Inc. and Kohl’s Department Stores, Inc. (collectively

 “Sakar/Kohl’s”) for infringement as to any claim of U.S. Patent No. 5,855,343 (the “’343

 patent”). Further, AdjustaCam LLC hereby unconditionally covenants not to sue manufacturers,

 suppliers, wholesalers, sellers, offerors for sale, importers, and/or users for infringing the ‘343

 patent relative to Sakar/Kohl’s currently existing products.           The foregoing unconditional

 covenant not to sue extends all the way up and down the distribution chain for Sakar/Kohl’s

 currently existing products, from manufacture through distribution and end use.




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                                                 A1981
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  5. I am fully authorized to make the covenant herein on behalf of my client AdjustaCam

LLC.

       I declare under penalty of that the foregoing is true and correct.

       Executed in Houston, TX on September 30,2012




                                              iohn T.Edmonds




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                                              A1982
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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

 ADJUSTACAM LLC

    v.                                                        NO. 6:10-cv-329-LED

 AMAZON.COM, INC.; ET AL.                                     JURY

                                               ORDER

         CAME BEFORE THE COURT the Plaintiff’s Motion to Dismiss Its Claims Against Sakar and

 Kohl’s and The Counterclaims Against Plaintiff and Request for Expedited Briefing Schedule and Oral

 Hearing (the “Motion”).

         Plaintiff’s request for an expedited briefing schedule and oral hearing is GRANTED. Defendants

 response to the Motion shall be due on ___________, Plaintiff’s Reply, if any, shall be due on

 ___________, and Defendants’ Sur-Reply, if any, shall be due on ____________.

         Further, the Motion is hereby set for oral hearing before _____________________ at _____

 a.m./p.m. on the __________ day of _____________, 2012.

         IT is so ORDERED.




                                                 A1983
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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

 ADJUSTACAM LLC

    v.                                                       NO. 6:10-cv-329-LED

 AMAZON.COM, INC.; ET AL.                                    JURY

                                              ORDER

         CAME BEFORE THE COURT the Plaintiff’s Motion to Dismiss its Claims against Sakar and

 Kohl’s and Their Counterclaims Against Plaintiff (the “Motion”). The Motion is hereby GRANTED

 because Plaintiffs Motion to dismiss combined with its covenant not to sue Sakar International, Inc.,

 Kohl’s Illinois, Inc., Kohl’s Corporation, Inc. (collectively “Sakar/Kohl’s”) under the ‘343 patent

 divests the Court of subject matter jurisdiction with respect to Plaintiff’s claims against

 NewEgg/Rosewll and Sakar/Kohl’sSakar/Kohl’s counterclaims against Plaintiff. See, e.g., Dow

 Jones & Co., Inc. v. Ablaise Ltd., 606 F.3d 1338, 1348 (Fed.Cir.2010); Super Sack Mfg. Corp. v.

 Chase Packaging Corp., 57 F.3d 1054, 1058 (Fed. Cir. 1995).

         It is therefore ORDERED that Plaintiff’s claims against Sakar/Kohl’s are hereby

 DISMISSED with prejudice, and Sakar/Kohl’s counterclaims against Plaintiff are hereby

 DISMISSED without prejudice.




                                                A1984
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                        -IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

ADJUSTACAM LLC

   v.                                                     NO. 6:10-cv-329-LED

AMAZON.COM, INC.; ET AL.                                  JURY

               UNOPPOSED MOTION TO DISMISS NEWEGG AND ROSEWILL

        Plaintiff AdjustaCam LLC respectfully submits this unopposed motion to dismiss the

claims and counterclaims involving Defendants/Counter-claimants Newegg Inc., Newegg.com

Inc., and Rosewill, Inc. (collectively “NewEgg/Rosewill”), pursuant to Fed.R.Civ.P. 41(a)(2) as

follows:

                                                I.

        This is a patent infringement case involving asserted claims 1, 7 and 19 (the “Asserted

Claims”) of U.S. Patent No. 5,855,343 (the “’343 patent”).         On August 30, 2012, at the

culmination of reexamination proceedings involving the ‘343 patent, the U.S.P.T.O. issued a

Final Office Action rejecting the Asserted Claims for being unpatentable over prior art but

allowing additional new and amended claims. Ex. 1. On September 20, 2012, in response to that

Final Office Action, Plaintiff canceled the Asserted Claims of the ‘343 patent, Ex. 2, so that a

certificate of reexamination can issue concerning the multiple new and amended claims deemed

allowable.

        Moreover, on August 27, 2012, Plaintiff granted Newegg/Rosewill a covenant not to sue

under the ‘343 Patent (Dkt. 678).

        In view of the foregoing, the following issues in this case are now moot or near moot: (1)

infringement of the Asserted Claims; (2) validity of the Asserted Claims; and (3) damages from

infringement of the Asserted Claims.        Accordingly, Plaintiff hereby moves for an order
                                              A1986
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dismissing its claims against NewEgg/Rosewill with prejudice. In addition, NewEgg/Rosewill

does not oppose, and Plaintiff hereby moves for, an order dismissing NewEgg/Rosewill’s

counterclaims without prejudice.



                                                II.

       NewEgg/Rosewill      does     not   oppose     dismissal   of   AdjustaCam’s   claims   and

Newegg/Rosewill’s counterclaims as set forth herein, with the exception of Newegg/Rosewill’s

right to seek to obtain and recover costs and/or attorneys’ fees pursuant to Fed.R.Civ.P. 54(d)(1)

and/or (2) and 35 U.S.C. § 285..

       WHEREFORE, PREMISES CONSIDERED, Plaintiff requests the foregoing relief.



       September 27, 2012                           Respectfully submitted,

                                                    By: /s/ John J. Edmonds
                                                    John J. Edmonds – LEAD COUNSEL
                                                    Texas State Bar No. 789758
                                                    Michael J. Collins
                                                    Texas Bar No. 4614510
                                                    Stephen F. Schlather
                                                    Texas Bar No. 24007993
                                                    COLLINS, EDMONDS, POGORZELSKI,
                                                    SCHLATHER & TOWER, PLLC
                                                    1616 S. Voss Rd., Suite 125
                                                    Houston, Texas 77057
                                                    Telephone: (713) 501-3425
                                                    Facsimile: (832) 415-2535
                                                    jedmonds@cepiplaw.com
                                                    mcollins@cepiplaw.com
                                                    sschlather@cepiplaw.com

                                                    Andrew W. Spangler
                                                    Texas Bar No. 24041960
                                                    Spangler & Fussell P.C.
                                                    208 N. Green Street, Suite 300
                                                    Longview, Texas 75601



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                                              A1987
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                                                        (903) 753-9300
                                                        (903) 553-0403 (fax)
                                                        spangler@spanglerlawpc.com

                                                        ATTORNEYS FOR PLAINTIFF
                                                        ADJUSTACAM LLC




                                 CERTIFICATE OF CONFERENCE

       I hereby certify that counsel for Plaintiff have conferred with counsel for NewEgg/Rosewill in
accordance with L.R. CV-7, and that NewEgg/Rosewill does not oppose this motion.

September 27, 2012                                        /s/ John J. Edmonds
                                                          John J. Edmonds



                                    CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who are deemed to have consented to electronic service
are being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-
5(a)(3).

September 27, 2012                                        /s/ John J. Edmonds
                                                          John J. Edmonds




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                                                  A1988
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 ADJUSTACAM LLC

    v.                                                   NO. 6:10-cv-329-LED

 AMAZON.COM, INC.; ET AL.                                JURY

                                           ORDER

         CAME BEFORE THE COURT the Unopposed Motion (the “Motion”) of Plaintiff

 AdjustaCam LLC to dismiss the claims and counterclaims involving Defendants/Counter-

 claimants Newegg Inc., Newegg.com Inc., and Rosewill, Inc. (collectively “NewEgg/Rosewill”),

 and the Court being of the opinion that said motion should be GRANTED, it is hereby

         ORDERED that Plaintiff’s claims against NewEgg/Rosewill are DISMISSED WITH

 PREJUDICE. It is further ORDERED that NewEgg/Rosewill’s counterclaims are DISMISSED

 WITHOUT PREJUDICE.




                                             A1989
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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                         TYLER DIVISION

ADJUSTACAM LLC

          v.                                                  NO. 6:10-cv-329-LED

AMAZON.COM, INC.; ET AL.                                      JURY

      PLAINTIFF’S MOTION TO DISMISS ITS CLAIMS AGAINST NEWEGG AND
    ROSEWILL AND THEIR COUNTERCLAIMS AGAINST PLAINTIFF FOR LACK OF
                      SUBJECT MATTER JURISDICTION
                                  AND
      REQUEST FOR EXPEDITED BRIEFING SCHEDULE AND ORAL HEARING

                                            FILED UNDER SEAL

               Plaintiff AdjustaCam, LLC (“AdjustaCam”) respectfully submits this opposed Motion to

Dismiss, and request for expedited briefing schedule and oral hearing, as follows:

     I.        INTRODUCTION

               Plaintiff AdjustaCam LLC (“AdjustaCam”), through counsel, hereby moves the Court to

dismiss AdjustaCam’s claims of infringement of U.S. Patent 5,855,343 (“the ‘343 Patent”)

against Defendants Newegg, Inc., Newegg.com, Inc, and Rosewill Inc. (collectively

“NewEgg/Rosewill”),1 with prejudice. AdjustaCam also moves to dismiss NewEgg/Rosewill’s

First and Second counterclaims, which are tied to the infringement and validity of the ‘343

Patent, with prejudice.

               Concurrently with this motion, AdjustaCam has granted NewEgg/Rosewill a covenant

not to sue under the ‘343 patent. Exhibit 1. AdjustaCam’s covenant not to sue under the ‘343

patent divests the Court of subject matter jurisdiction with respect to NewEgg/Rosewill’s First

and Second counterclaims in this matter, since they relate solely to NewEgg/Rosewill’s claims

that it does not infringe the ‘343 patent and that the ‘343 patent is invalid. See, e.g., Dow Jones &

1
    Rosewill is a subsidiary of NewEgg’s.


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Co., Inc. v. Ablaise Ltd., 606 F.3d 1338, 1348 (Fed.Cir.2010); Super Sack Mfg. Corp. v. Chase

Packaging Corp., 57 F.3d 1054, 1058 (Fed. Cir. 1995). Accordingly, through this motion,

AdjustaCam requests the Court issue an Order dismissing AdjustaCam’s claims against

NewEgg/Rosewill for infringement of the ‘343 Patent as well as NewEgg/Rosewill’s First and

Second Counterclaims of its Amended Answer and Counterclaims.

 II.   STATEMENT OF FACTS

       AdjustaCam filed this lawsuit on July 2, 2010, alleging that NewEgg/Rosewill infringes

the ‘343 Patent. Dkt. No. 1. AdjustaCam’s most recent Amended Complaint was filed on August

9, 2011. Dkt. No. 485. NewEgg/Rosewill filed its answer and counterclaims on September 19,

2011, denying all material allegations in the Complaint and alleging counterclaims of non-

infringement and invalidity against all the patent-in-suit. Dkt. Nos. 495 and 496.

NewEgg/Rosewill’s First and Second counterclaims are directed solely to non-infringement and

invalidity of the ‘343 Patent. Id.

       AdjustaCam has recently resolved its claims against almost all of the remaining

Defendants. See, e.g., Orders of Dismissal at Doc Nos. 665, 671, 672, 673, 674, 675 and 677.

AdjustaCam’s original claims against NewEgg/Rosewill included claims relating to webcams

from, inter alia, Creative, Lifeworks and Gear Head, all of which have now been resolved. Due

to AdjustaCam’s recent resolution of its claims against Gear Head, see Order of dismissal at Doc

No. 665), NewEgg/Rosewill is no longer selling unlicensed webcams manufactured by any other

Defendant.

       In view of the foregoing, AdjustaCam desires to simplify this case by focusing its claims

going forward solely upon Defendant Sakar and Defendant Kohl’s, which is accused of

infringement solely on account of Sakar manufactured products. NewEgg/Rosewill’s remaining



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damages exposure, which is now unlinked to Gear Head’s, is relatively de minimis, and is

dwarfed by the damages exposure of Sakar.

       In addition to focusing and simplifying the case, the foregoing would very likely help

avoid unnecessary motion practice between AdjustaCam and NewEgg/Rosewill, who have

managed to embroil themselves in multiple discovery and other disputes that so far have barely

escaped motion practice.

III.   ARGUMENT

       AdjustaCam’s covenant not to sue along with AdjustaCam’s motion to dismiss with

prejudice terminates the Court’s subject matter jurisdiction over the claims involving

NewEgg/Rosewill. See, e.g., Dow Jones & Co., supra; Super Sack, supra. Similarly,

AdjustaCam’s dismissal of its infringement claims relating to the ‘343 Patent and its covenant

not to sue Newegg/Rosewill under the ‘343 Patent for all past, present, and future products also

divests the Court of subject matter jurisdiction over NewEgg/Rosewill’s First and Second

counterclaims. Therefore, they should also be dismissed.

   “A declaratory judgment counterclaim, according to the relevant procedural provision, may

be brought to resolve an ‘actual controversy’ between ‘interested’ parties.” Super Sack, 57 F.3d

at 1058; Intellectual Prop. Dev., Inc. v. TCI Cablevision of Cal, Inc., 248 F.3d 1333, 1340 (Fed.

Cir. 2001); 28 U.S.C. § 2201(a). “The existence of a sufficiently concrete dispute between the

parties remains, however, a jurisdictional predicate to the vitality of such an action.” Super Sack,

57 F.3d at 1058 (internal citations omitted). In other words, an “actual controversy must be

extant at all stages of review, not merely at the time the complaint was filed.” Benitec Austl, Ltd.

v. Nucleonics, Inc., 495 F.3d 1340, 1345 (Fed. Cir. 2007) (quoting Steffel v. Thompson, 415 U.S.

452, 459 n. 10 (1974)) (internal citations omitted); Intellectual Prop. Dev., 248 F.3d at 1340;

Super Sack, 57 F.3d at 1058. See also Benitec, 495 F.3d at 1344. Importantly, as is the case here,

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a patentee can divest a court of jurisdiction over the case by filing a statement of non-liability for

the declaratory counterclaimant. Benitec, 495 F.3d at 1345; Super Sack, 57 F.3d at 1058.

    A. NewEgg/Rosewill’s First and Second Counterclaims Should be Dismissed Because
       AdjustaCam’s Covenant Not to Sue Divests the Court of Subject Matter
       Jurisdiction Over Those Declaratory Judgment Counterclaims.

         AdjustaCam seeks to dismiss its claims directed to ‘343 Patent with prejudice and has

granted NewEgg/Rosewill a covenant not to sue under the ‘343 Patent that covers all of their

products as they exist today, in the past, or in the future, and extends to their customers and chain

of distribution, as follows:

             AdjustaCam LLC (“AdjustaCam”) hereby unconditionally covenants not to
             sue Newegg, Inc., Newegg.com, Inc, and Rosewill Inc. (collectively
             “NewEgg/Rosewill”) for infringement as to any claim of U.S. Patent No.
             5,855,343, including any reexamination certificates that issue therefrom (the
             “343 patent”). Further, AdjustaCam LLC hereby unconditionally covenants
             not to sue manufacturers, suppliers, wholesalers, sellers, offerors for sale,
             importers and users for infringing the ‘343 patent relative to
             NewEgg/Rosewill’s products. The foregoing unconditional covenants not to
             sue extend all the way up and down the distribution chain for
             NewEgg/Rosewill’s products, from manufacture, through distribution and
             end use.

Exhibit 1. A dismissal with prejudice combined with the covenant not to sue filed by

AdjustaCam eliminates any “sufficient immediacy and reality to warrant declaratory judgment

jurisdiction over” NewEgg/Rosewill’s First and Second counterclaims. Benitec, 495 F.3d at

1346; see also Intellectual Prop. Dev., 248 F.3d at 1342; Super Sack, 57 F.3d at 1059-60.

Therefore, this Court’s subject matter jurisdiction over NewEgg/Rosewill’s counterclaims has

been terminated, and the First and Second counterclaims must be dismissed with prejudice.

Benitec, 495 F.3d at 1349; Intellectual Prop. Dev., 248 F.3d at 1342; Super Sack, 57 F.3d at

1060.2

2
 The Federal Circuit has held that covenants not to sue signed by a party’s counsel bind the party
and are therefore sufficient. Super Sack, 57 F.3d at 1059.
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          The language of AdjustaCam’s covenant is consistent with the language in other cases.

See e.g., Benitec, 495 F.3d at 1343 ("[Patentee] covenants and promises not to sue [Defendant]

for patent infringement arising from activities and/or products occurring on or before the date

dismissal was entered in this action—September 29, 2005."); Fujitsu Ltd. v. Tellabs Operations,

Inc., 09-C-4530, 2010 WL 4627652 at *2 (N.D. Ill. Nov. 4, 2010). Thus, AdjustaCam’s covenant

is sufficiently broad to divest the Court of subject matter jurisdiction.

IV.       REQUEST FOR EXPEDITED BRIEFING SCHEDULE AND ORAL HEARING

          AdjustaCam and NewEgg/Rosewill are both expending large amounts of resources in this

case, despite the fact that AdjustaCam is willing to dismiss NewEgg/Rosewill with prejudice and

grant a covenant not to sue. NewEgg/Rosewill apparently thinks this is an exceptional case.

AdjustaCam has stated that NewEgg/Rosewill’s pursuit of an exceptional case finding is

baseless, but that nothing in the dismissal of the claim and counterclaims would preclude

NewEgg/Rosewill from pursuing an exceptional case finding.                  In view of the forgoing,

NewEgg/Rosewill has no reason to continue to require AdjustaCam to expend large amounts of

resources litigating infringement claims and invalidity counterclaims that are now moot relative

to NewEgg/Rosewill.

          Moreover, the parties have multiple disputes, many of which would almost certainly

require motion practice as the case progresses towards a trial which, for all purposes, is now

moot. NewEgg/Rosewill has no reason to burden the Court with motion practice over moot

claims.

          For the foregoing reasons, namely avoidance of wasting the resources of the Court and

the parties, AdjustaCam requests that the Court set an expedited briefing schedule and an oral

hearing on this motion to dismiss. NewEgg/Rosewill has no legal or factual basis to oppose this



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Motion, and if anything, despite its stubbornness, NewEgg/Rosewill would also be a beneficiary

of having itself dismissed from the lawsuit promptly.

 V.    CONCLUSION

       Under Super Sack and subsequent Federal Circuit authority, AdjustaCam’s covenant not

to sue along with this motion to dismiss divests the Court of subject matter jurisdiction over

AdjustaCam’s claims against NewEgg/Rosewill regarding infringement of the ‘343 Patent and

NewEgg/Rosewill’s First and Second counterclaims. Thus, the Court should grant AdjustaCam’s

Motion to Dismiss its claims of infringement of the ‘343 patent against NewEgg/Rosewill with

prejudice and should also dismiss NewEgg/Rosewill’s First and Second Counterclaims with

prejudice. Further, in order to conserve the resources of the Court and the parties, the Court

should set an expedited briefing schedule on this matter, and set it for an oral hearing at the

Court’s earliest convenience, so that NewEgg/Rosewill can explain why it refuses to accept a

covenant not to sue and dismissal from this case.

August 27, 2012                                     Respectfully submitted,

                                                    By: /s/ John J. Edmonds
                                                    John J. Edmonds – LEAD COUNSEL
                                                    Texas State Bar No. 789758
                                                    Michael J. Collins
                                                    Texas Bar No. 4614510
                                                    Stephen F. Schlather
                                                    Texas Bar No. 24007993
                                                    COLLINS, EDMONDS, POGORZELSKI,
                                                    SCHLATHER & TOWER, PLLC
                                                    1616 S. Voss Rd., Suite 125
                                                    Houston, Texas 77057
                                                    Telephone: (713) 501-3425
                                                    Facsimile: (832) 415-2535
                                                    jedmonds@cepiplaw.com
                                                    mcollins@cepiplaw.com
                                                    sschlather@cepiplaw.com




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                                                        Andrew W. Spangler
                                                        Texas Bar No. 24041960
                                                        Spangler & Fussell P.C.
                                                        208 N. Green Street, Suite 300
                                                        Longview, Texas 75601
                                                        (903) 753-9300
                                                        (903) 553-0403 (fax)
                                                        spangler@spanglerlawpc.com

                                                        ATTORNEYS FOR PLAINTIFF
                                                        ADJUSTACAM LLC



                                 CERTIFICATE OF CONFERENCE

        The parties met and conferred in accordance with Local Rule CV-7 by telephone on August 23,
2012. Prior to the call, AdjustaCam had sent NewEgg/Rosewill a copy of the proposed covenant not to
sue. Present on the call for AdjustaCam were local counsel Andrew Spangler, local counsel Charles
VanCleef, lead counsel John Edmonds, and Stephen Schlather. Present on the call for NewEgg/Rosewill
were local counsel Trey Yarborough, lead counsel John Zarian and Dana M. Herberholz. During the
meet and confer, the parties discussed the issue of a covenant not to sue and dismissal. Counsel for
NewEgg/Rosewill were not in a position to agree or disagree with the proposed covenant and dismissal.
The parties, namely Mr. Edmonds and Mr. Yarborough, spoke again on August 24th, and
NewEgg/Rosewill were still undecided. And the parties, again Mr. Edmonds and Mr. Yarborough, spoke
again today. As of today, NewEgg/Rosewill are still undecided, and no time frame was provided for a
decision to be made. Thus, it was agreed that NewEgg/Rosewill could be put down as opposed to this
Motion.

August 27, 2012                                           /s/ John J. Edmonds
                                                          John J. Edmonds

                    CERTIFICATE OF AUTHORITY TO FILE UNDER SEAL

       I hereby certify that authority to file this document under seal is found in the protective order
governing this case.

August 27, 2012                                           /s/ John J. Edmonds
                                                          John J. Edmonds

                                    CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who are deemed to have consented to electronic service
are being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-
5(a)(3).

August 27, 2012                                           /s/ John J. Edmonds
                                                          John J. Edmonds



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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

ADJUSTACAM LLC

    v.                                                       NO. 6:10-cv-329-LED

AMAZON.COM, INC.; ET AL.                                     JURY

                             DECLARATION OF JOHN J. EDMONDS


         I, JOHN J. EDMONDS, declare under penalty of perjury as follows:

    1. My name is John J. Edmonds, I am over the age of twenty-one (21) years, am competent

to testify on the matters stated herein, have personal knowledge of the facts and statements in

this declaration and declare that each of the facts is true and correct.

    2. I am a shareholder at the law firm of Collins, Edmonds, Pogorzelski, Schlather & Tower,

PLLC and am counsel of record for AdjustaCam, LLC in the above-referenced matter. I have

personal knowledge of the facts set forth herein, and I could and would testify competently

thereto if called as a witness.

    3. I am the lead counsel for the Plaintiff AdjustaCam LLC in the above-referenced matter.

    4. AdjustaCam LLC hereby unconditionally covenants not to sue Newegg, Inc.,

Newegg.com, Inc, and Rosewill Inc. (collectively "NewEgg/Rosewill") for infringement as to

any claim of U.S. Patent No. 5,855,343, including any reexamination certificates that issue

therefrom (the "343 patent"). Further, AdjustaCam LLC hereby unconditionally covenants not to

sue manufacturers, suppliers, wholesalers, sellers, offerors for sale, importers and users for

infringing the '343 patent relative to NewEgg/Rosewill's products. The foregoing unconditional

covenants not to sue extend all the way up and down the distribution chain for

NewEgg/Rosewill's products, from manufacture, through distribution and end use.



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  5. I am fully authorized to make the covenant herein on behalf of my client AdjustaCam

LLC.

        I declare under penalty of that the foregoing is true and correct.

       Executed in Houston, TX on August 27, 2012




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

ADJUSTACAM LLC

   v.                                                   NO. 6:10-cv-329-LED

AMAZON.COM, INC.; ET AL.                                JURY

                                           ORDER

        CAME BEFORE THE COURT the Plaintiff’s Motion to Dismiss its Claims against NewEgg and

Rosewill and Their Counterclaims Against Plaintiff (the “Motion”). The Motion is hereby GRANTED

because Plaintiffs Motion to dismiss combined with its covenant not to sue Newegg, Inc.,

Newegg.com, Inc, and Rosewill Inc. (collectively “NewEgg/Rosewill”) under the ‘343 patent

divests the Court of subject matter jurisdiction with respect to Plaintiff’s claims against

NewEgg/Rosewll and Newegg/Rosewill’s counterclaims against Plaintiff. See, e.g., Dow Jones

& Co., Inc. v. Ablaise Ltd., 606 F.3d 1338, 1348 (Fed.Cir.2010); Super Sack Mfg. Corp. v. Chase

Packaging Corp., 57 F.3d 1054, 1058 (Fed. Cir. 1995).

        It is therefore ORDERED that Plaintiff’s claims against NewEgg/Rosewll and

Newegg/Rosewill’s counterclaims against Plaintiff are hereby DISMISSED with prejudice.




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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                       TYLER DIVISION
ADJUSTACAM LLC

    v.                                                               NO. 6:10-cv-329-LED

AMAZON.COM, INC., ET AL.                                             JURY

      PLAINTIFF’S REPLY TO DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
    OBJECTIONS TO THE MAGISTRATE’S ORDER ON CLAIM CONSTRUCTION

         Plaintiff AdjustaCam LLC (“AdjustaCam”), respectfully submits this Reply as follows:

         Defendants argue that this Court can only overturn Magistrate Judge (“MJ”) Love’s claim

construction ruling if clear error is shown. However, claim construction is a matter of law1;

therefore, legal conclusions of MJ Love are subject to de novo review by this Court. See Lahr v.

Fulbright, 164 F.R.D. 204, 209 (N.D. Tex. 1996). Likewise, the claim construction ruling

governing this case will be subject to de novo review on appeal. See Markman, supra.

Irrespective of the foregoing, this Court should sustain AdjustaCam’s objections under either a

de novo or clearly erroneous standard.

         Defendants erroneously dispute that MJ Love imported a “single axis” limitation into the

“rotatably attached terms” (hereinafter “rotatably attached”), because they contend he did not

construe the term at all. However, MJ Love held that “rotatably attached” is “limited to a single-

axis of rotation,” and that “the parties may not contradict the Court’s resolution of that dispute.”

Opinion at p. 8, 10, 11 & 15. This constitutes a claim construction under any reasonable view.

AdjustaCam is entitled to object to MJ Love’s ruling2 and have this Court correct the error so

that AdjustaCam would not be prevented from contradicting an erroneous claim construction in

its expert reports or during the trial of this matter.

1
 See Markman v. Westview, 517 U.S. 370 (1996).
2
 The fact that MJ Love entitled his ruling a “Memorandum Opinion and Order” instead of a “Report and
Recommendations” is immaterial. In this case the parties did not consent to having MJ Love adjudicate their dispute.

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       Defendants ignore the plain claim language when they deny that “rotatably attached”

being limited to a single axis of rotation renders redundant the “axis of rotation” limitations also

present in the claims. See, e.g., Independent Claims 1, 10, 19, 20 & 21. It is plainly evident from

the claim language that, if “rotatably attached” was limited to a single axis of rotation, then it

would be redundant and unnecessary to include the limitation that the camera rotates about a

“first axis of rotation” relative to the hinge member, and it would be redundant and unnecessary

to include the limitation that the hinge member rotates about a “second axis of rotation” relative

to the support frame. See, e.g., Claims 1, 10, 19, 20 & 21.

       The fact that one of the “rotatably attached terms” is “adapted to be rotatably attached”

further illustrates the error in MJ Love’s Opinion. According to the Opinion, if a member is

“adapted to be rotatably attached,” this means it is necessarily adapted to rotate in one and only

one axis. However, plain English and simple physics dictate that a member adapted to be

rotatably attached in one axis can also be adapted to be rotatably attached in other axes as well.

       Defendants quote MJ Love in observing that “[e]very reference to ‘rotatably attached’ in

the specification” involves an attachment that permits “motion over a single axis.” Defendants’

Opposition at Pg. 9. However, this quote from the Opinion only illustrates the error in limiting

the plain language of “rotatably attached” to a preferred embodiment, which is the “cardinal sin”

of claim construction. Phillips v. AWH Corp., 415 F.3d 1303, 1319-20 (Fed. Cir. 2005).

       Defendants argue that limiting “rotatably attached” to a single axis of rotation does not

limit it to “any particular” axis of rotation. Defendants’ Opposition at Pg. 3. However, MJ

Love’s opinion, when understood relative to the claims, requires otherwise. Limiting “rotatably

attached” to a single axis of rotation necessarily limits it to a particular axis of rotation. In

particular, each claim requires that the first axis of rotation is “generally perpendicular,” that the



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second axis of rotation is “substantially parallel” to “generally horizontal,” and that the first and

second axis are “generally perpendicular” to each other. Thus, MJ Love’s ruling unambiguously

(and erroneously) requires that the straightforward term “rotatably attached” be limited to a

single axis that is “generally perpendicular” as to the camera and to a single axis that is

“substantially parallel” as to the surface. However, nothing in the term “rotatably attached,” in its

plain meaning or in context, should limit “rotatably attached” to a single axis, much less one that

is “generally perpendicular” or “substantially horizontal.”

        Defendants also argue, erroneously, that MJ Love did not need to find limiting language

in the specification or prosecution history to support his ruling because “the claim language

already limits ‘rotatably attached’ to one direction.” However, to make this argument,

Defendants (and MJ Love) must point to the separate “first axis of rotation” and “second axis of

rotation” limitations found in the claims. As noted above, the fact that the claims contain a “first

axis of rotation” and “second axis of rotation” limitation illustrates why it is erroneous to render

those limitations redundant by importing a “single axis of rotation” limitation into the plain term

“rotatably attached.”

        Defendants defend MJ Love’s error in failing to give adequate consideration to the term

“comprising,” which should mean that “rotatably attached” includes, but is not limited” to a

single axis of rotation.3 Here, Defendants argue that “comprising” cannot be used to remove

claim limitations. However, AdjustaCam does not seek to remove any claim limitations. Simply

put, the straight-forward and plain term “rotatably attached” is not, and should not be limited to a

single axis of rotation. Separately in the claims, there are indeed limitations that there must be



3
  Defendants argue that Plaintiff’s “comprising” argument is “slightly modified” from the arguments made during
the Markman process, yet they fail to explain why. This argument is baseless. See Doc No. 575, p. 7; Doc. No. 601,
p. 5; and Exhibit 1, p. 81.

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rotation along a “first axis of rotation” and along a “second axis of rotation.” No claim

limitations are removed by correcting MJ Love’s erroneous construction of “rotatably attached.”

       As noted in AdjustaCam’s Objections, a claim directed to a vehicle comprising a car

which drives forward and reverse would be infringed by a car which drives forward, in reverse,

and turns to the side, just as a claim directed to a chair comprising three straight legs would be

infringed by a chair having three straight legs and one crooked leg. Likewise, an apparatus which

comprises a member “rotatably attached” or “adapted to be rotatably attached” in “first axis of

rotation” and in a “second axis of rotation,” is infringed by a member which also rotates, or is

adapted to rotate, also in a third, or even a fourth axis of rotation -- as long as the “first axis of

rotation” and “second axis of rotation” limitations (which should stand on their own) are met.

       Defendants argue that not limiting “rotatably attached” to a single axis of rotation would

“render the claim language meaningless.” Defendants’ Opposition at Pg. 13.              AdjustaCam

respectfully submits that giving a plain word its ordinary meaning, without importing other

limitations therein, and without improperly limiting the claims to the preferred embodiment, does

not render anything “meaningless.” Indeed the only “clarity” provided by MJ Love’s opinion on

this term is essentially a negative limitation that a straightforward term “rotatably” cannot

include rotation in more than one axis.

       Defendants argue that the “proper scope of ordinary meaning may be clarified” where a

patentee “consistently used” a term in the specification. Id. at Pg. 5. However, their reading of

Nystrom is distorted. In Nystrom, the ordinary meaning of “board” was “wood.” Nystrom v.

TREX Co., Inc., 424 F.3d 1136, 1143 (Fed. Cir. 2005). In contrast, it is unreasonable and

unsupported for the ordinary meaning of “rotatably attached” to be limited to a “single axis of

rotation.” It is self evident that bodies can rotate in any and all of 360 degrees. Moreover, MJ



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Love did not base his Opinion upon the plain meaning of “rotatably attached.” To the contrary,

he opined that “rotatably attached” needed no construction except a negative limitation that it

could not include rotation in more than a single axis.

       Defendants argue that “the claimed clip is not comprised of ‘rotatable attachments.” This

argument is simply at odds with the claim language. Plainly, “rotatably attached” requires an

attachment which is rotatable. Defendants’ Opposition at Pg. 11.

       Respectfully, MJ Love erred in limiting the claimed invention to a preferred embodiment.

This is the “cardinal sin” of claim construction. Phillips, supra.

       Further, and respectfully, MJ Love erred in deciding that the “first axis of rotation” and

“second axis of rotation” limitations in the claims somehow support or require that “rotatably

attached” must be limited to a single axis of rotation. Contrary to the conclusion drawn by MJ

Love, as noted above, the presence of the “first axis of rotation” and “second axis of rotation”

limitations illustrate why it is erroneous to import those limitations into the plain term “rotatably

attached” and limit it to a single axis of rotation. Indeed, all that is required to infringe the claims

is rotation in a “first axis of rotation” and “second axis of rotation”; however, MJ Love’s

Opinion erroneously limits “rotatably attached” such that rotation cannot occur in any axis or

rotation except the first or second. Respectfully, MJ Love’s Opinion errs in failing to appreciate

that an apparatus can infringe a claim even if it has more features or characteristics than those

merely necessary to meet certain claim limitations as shown in the above examples regarding a

vehicle and chair.

       For the reasons stated in AdjustaCam’s Objections and herein, this Court should sustain

AdjustaCam’s objections and construe the “rotatably attached” terms such that “rotatably

attached” objects are not limited to a single axis of rotation.



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May 17, 2012                                         Respectfully submitted,

                                                     By: /s/ John J. Edmonds
                                                     John J. Edmonds – LEAD COUNSEL
                                                     Texas State Bar No. 789758
                                                     Michael J. Collins
                                                     Texas Bar No. 4614510
                                                     Stephen F. Schlather
                                                     Texas Bar No. 24007993
                                                     COLLINS, EDMONDS &
                                                     POGORZELSKI, PLLC
                                                     1616 S. Voss Rd., Suite 125
                                                     Houston, Texas 77057
                                                     Telephone: (713) 501-3425
                                                     Facsimile: (832) 415-2535
                                                     jedmonds@cepiplaw.com
                                                     mcollins@cepiplaw.com
                                                     sschlather@cepiplaw.com

                                                     Andrew W. Spangler
                                                     Texas Bar No. 24041960
                                                     Spangler Law P.C.
                                                     208 N. Green Street, Suite 300
                                                     Longview, Texas 75601
                                                     (903) 753-9300
                                                     (903) 553-0403 (fax)
                                                     spangler@spanglerlawpc.com

                                                     ATTORNEYS FOR PLAINTIFF
                                                     ADJUSTACAM LLC



                                CERTIFICATE OF SERVICE

        I hereby certify that all counsel of record who are deemed to have consented to electronic
service are being served with this filing via the Court’s CM/ECF system and/or email per Local
Rule CV-5(a)(3).

May 17, 2012                                         /s/ John J. Edmonds
                                                     John J. Edmonds



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                                                   CLAIM CONSTRUCTION HEARING

                                                                                                             Page 1
                                          IN THE UNITED STATES DISTRICT COURT
                                            FOR THE EASTERN DISTRICT OF TEXAS
                                                            TYLER DIVISION
                    ADJUSTACAM, LLC                             )(
                                                                )(      CIVIL DOCKET NO.
                                                                )(      6:10-CV-329
                    VS.                                         )(      TYLER, TEXAS
                                                                )(
                                                                )(      FEBRUARY 9, 2012
                    AMAZON.COM, INC., ET AL. )(                         9:00 A.M.
                                                  CLAIM CONSTRUCTION HEARING
                                      BEFORE THE HONORABLE JUDGE JOHN D. LOVE
                                                UNITED STATES MAGISTRATE JUDGE


                    APPEARANCES:


                    FOR THE PLAINTIFF:                      (See Attorney Sign-In Sheet)


                    FOR THE DEFENDANTS:                     (See Attorney Sign-In Sheet)


                    COURT REPORTER:                         SHELLY HOLMES, Texas CSR 7804
                                                            Expiration Date: 12/31/12
                                                            Sunbelt Reporting & Litigation
                                                            6575 West Loop South, Suite 580
                                                            Bellaire, Texas 77401
                                                            (903) 593-3213

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                    transcript produced on a CAT system.)


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                                                    CLAIM CONSTRUCTION HEARING

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                                                    CLAIM CONSTRUCTION HEARING

                                                                                                                    Page 3
             1                                COURTROOM CLERK:           All rise.
             2                                THE COURT:        Please be seated.
             3                                All right.        Ms. Morris, you may call the
             4       case.
             5                                COURTROOM CLERK:           The Court calls Case No.
             6       6:10-CV-329, Adjustacam versus Amazon.com, et al.
             7                                THE COURT:        Announcements.
             8                                MR. SPANGLER:         Good morning.            Andrew
             9       Spangler on behalf of the Plaintiff.                             With me today is
           10        Mr. John Edmonds and Mr. Johnathan --
           11                                 MR. YAZDANI:         Yazdani.
           12                                 MR. SPANGLER:         -- Yazdani, yes.               And we're
           13        ready, Your Honor.
           14                                 THE COURT:        All right.         And for the
           15        Defendants?
           16                                 MR. CRAFT:        Morning, Your Honor, Brian
           17        Craft.          I'm here on behalf of Amazon.com with Jacqueline
           18        Lu, Steve Daniels, here on behalf of Best Buy entities,
           19        CDW, Fry's Electronics, Hewlett Packard Company, Micro
           20        Electronics, and Office Depot.
           21                                 THE COURT:        Okay.
           22                                 MR. HAMMOND:         Herbert Hammond on behalf of
           23        Gear Head.
           24                                 MR. SMITH:        Michael Smith on behalf of
           25        Wal-Mart.


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                                                                  A2179
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                                                    CLAIM CONSTRUCTION HEARING

                                                                                                                   Page 79
             1       to -- is the next thing to do is rotatably attached?
             2                                MR. ZARIAN:        We're prepared to address that,
             3       Your Honor.
             4                                THE COURT:        Okay.      Mr. Edmonds, have you
             5       addressed rotatably attached?
             6                                MR. EDMONDS:         I -- have I addressed theirs?
             7       No, I was -- I was responding to hinge member.
             8                                THE COURT:        Go ahead and move to rotatably
             9       attached, and that may raise some issues I might have
           10        with regard to -- I think they're really, you know, kind
           11        of arguing the same thing here, but if there's something
           12        specific you want to present on rotatably attached, go
           13        ahead.
           14                                 MR. EDMONDS:         Yes, Your Honor.                I think that
           15        the rotatably attached, the difference between the
           16        parties is that they're saying it's limited to one axis
           17        of rotation, and that's just simply not what the claims
           18        say.
           19                                 What the claims require to infringe the
           20        claim, you have to have rotatable attachment in one
           21        axis, you have to have rotatably attachment in a second
           22        axis.         That's required to infringe the claim.
           23                                 But what they're saying is that you -- you
           24        can only have rotatable attachment in one axis.                                     And
           25        there's nowhere that the patent says that.                                    There's


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                                                                  A2180
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                                                    CLAIM CONSTRUCTION HEARING

                                                                                                                   Page 80
             1       nowhere in the spec, there's nowhere in the claims that
             2       say that.              So the question is are we going to limit
             3       what's claimed here to the preferred embodiment?                                      The
             4       preferred embodiment has a pivot joint.                                The preferred
             5       embodiment has a hinge joint on one end, a pivot joint
             6       on the other end.                      Both of those, fair enough, are --
             7       are rotating in one axis.
             8                                But it's -- as Phillips says, you're not
             9       limited to the preferred embodiment.                              And the question
           10        of whether somebody is limited to the preferred
           11        embodiment, if somebody went around saying, the claimed
           12        invention, the claimed invention, this is what the
           13        claimed invention is, sometimes that happens, and the
           14        Courts say, you know, you just -- you just said
           15        that's the claimed invention.                          That's all you're going
           16        to get.
           17                                 That's not how this patent was written.
           18        They're referred to as the preferred embodiments, and
           19        then, of course, at -- at the end, it made -- to the
           20        extent it's not -- it wasn't clear at the end of the
           21        patent, the specification says that we're not limited to
           22        the preferred embodiment.                       We're not intending to limit
           23        this to the preferred embodiments.
           24                                 And the case law we cited to the Court says
           25        exactly that, that if the patentees are not limited to


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                                                                   A2181
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                                                    CLAIM CONSTRUCTION HEARING

                                                                                                                   Page 81
             1       the preferred embodiment, there has to be a special case
             2       in which they be limited to the preferred embodiment.
             3       Here they're not, and this is very much on point to the
             4       case we cited to the Court.                        It's very much on point to
             5       Phillips for that matter.
             6                                But I think that's -- that's the issue,
             7       and -- and with the webcam we have, I think it
             8       illustrates the point.                     This -- this webcam, as we can
             9       see, it rotates in an axis.                        So what -- what the
           10        Plaintiff would say is you have an axis of rotation
           11        here, you have another axis of rotation that is
           12        perpendicular to it, and we say it infringes.
           13                                 What the Defendants say is maybe it does
           14        that, maybe it doesn't, but they say but it also moves
           15        in other directions, and because it does more than what
           16        the claim requires, it doesn't infringe.                                The word
           17        comprising is including but not limited to.
           18                                 So the only way their argument works is if
           19        the claim -- if the Court follows their admonition and
           20        restricts the claim to mean that you can only do what --
           21        what the claim absolutely requires.                             You can't do
           22        anything else.                   So, for example, we have a car with head
           23        lamps, they'd say, this claim is to a car.                                    If you put
           24        head lamps on the car, it doesn't infringe because
           25        you're limited to a car.


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                                                                  A2182
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                                                    CLAIM CONSTRUCTION HEARING

                                                                                                                  Page 82
             1                                THE COURT:        Okay.      All right.         Response?
             2                                MR. ZARIAN:        Thank you, Your Honor.                 A
             3       couple of quick points, then I'd like to move to the
             4       presentation.                  But just -- just to distinguish, Your
             5       Honor, between the discussion we had about hinge member
             6       and rotatably attached, our point with respect to hinge
             7       member, and I think the fundamental difference between
             8       parties, is that we -- we submit that whatever else the
             9       hinge member does, it could have 20 attachments, it's
           10        got to have a hinge.                    There's got to be a hinge on the
           11        hinge member, and if it doesn't, it's got to have a
           12        hinge member.                  That's -- that's our construction that
           13        we've advanced.                    It requires a hinge joint.                 It's as if
           14        the claim required head lamps on a car and there were no
           15        head lamps.                That's where they're taking this claim in
           16        terms of an attempt to broaden it.
           17                                 The issue with respect to rotatable
           18        attachment does turn on -- on the construction -- the
           19        difference with the two constructions.                               Defendants
           20        submit that rotation about an axis means rotation about
           21        an axis.             There must be a single axis.                    That's all the
           22        patent teaches, that's all that's disclosed, and there's
           23        no teaching or any suggestion of any kind in terms of
           24        these claims and this specification of this patent of
           25        anything else.


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                                                                  A2183
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                                                    CLAIM CONSTRUCTION HEARING

                                                                                                                  Page 98
             1                                               CERTIFICATION
             2
             3                                I HEREBY CERTIFY that the foregoing is a
             4       true and correct transcript from the stenographic notes
             5       of the proceedings in the above-entitled matter to the
             6       best of my ability.
             7
             8
                                                                                        March 2, 2012
             9       ___________________________                                        __________________
                     SHELLY HOLMES                                                      Date
           10        Deputy Official Reporter
                     State of Texas No.: 7804
           11        Expiration Date: 12/31/12
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           25        Job No. 98620


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                                                                  A2184
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

ADJUSTACAM LLC
         Plaintiff

v.                                                     Case No. 6:10-cv-329-LED

AMAZON.COM, INC. et al.,                               JURY TRIAL DEMANDED
         Defendants

 DEFENDANTS’ OPPOSITION TO PLAINTIFF’S OBJECTIONS TO MAGISTRATE’S
  MEMORANDUM OPINION AND ORDER REGARDING CLAIM CONSTRUCTION

       Pursuant to Federal Rule of Civil Procedure 72(a), 28 USC § 636(b)(1)(A) and Local

Rule 72(b), Defendants Best Buy Co. Inc., Best Buy Stores, LP, Bestbuy.Com, LLC, CDW LLC,

Digital Innovations, LLC, Fry’s Electronics, Inc., Gear Head, LLC, Hewlett-Packard Company,

Kohls Corporation, Kohl's Illinois, Inc., Micro Electronics, Inc. d/b/a Micro Center, Newegg,

Inc., Newegg.Com, Inc., Office Depot, Inc., Rosewill Inc., Sakar International, Inc., and Wal-

Mart Stores, Inc., (collectively, “Defendants”) hereby submit the following Reply to Plaintiff

AdjustaCam, LLC’s (“Plaintiff) Objections (Dkt. No. 629, hereinafter “Objections”) to

Magistrate Judge Love’s Memorandum Opinion and Order (Doc. No. 627; hereinafter “the

Opinion”) regarding construction of the terms “rotatably attached” and “adapted to be rotatably

attached” in U.S. Patent No. 5,855,343.

       Defendants respectfully request that the Court deny Plaintiff’s objections to Judge Love’s

construction of the “rotatably attached” terms. Indeed, far from identifying any aspect of Judge

Love’s analysis for the “rotatably attached” terms that could arguably constitute error under the

proper standard of review, Plaintiff’s arguments merely highlight the fact that the Opinion is



DEFENDANTS’ OPPOSITION TO PLAINTIFF’S OBJECTIONS
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                                              A2348
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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION
ADJUSTACAM LLC

     v.                                                    NO. 6:10-cv-329-LED

AMAZON.COM, INC., ET AL.                                   JURY

 PLAINTIFF’S OBJECTIONS TO MAGISTRATE’S MEMORANDUM OPINION AND
        ORDER REGARDING CLAIM CONSTRUCTION (DOC NO. 627)

          Pursuant to Federal Rule of Civil Procedure 59, Plaintiff AdjustaCam LLC

(“AdjustaCam”), respectfully objects to Magistrate Judge Love’s Memorandum Opinion and

Order Regarding Claim Construction, as follows:

I.        INTRODUCTION

          Plaintiff is the owner of U.S. Patent No. 5,855,343 (the “‘343 patent”) entitled “Camera

clip.” Apparatuses which comprise camera clips are often referred to as webcams.

          Magistrate Judge Love issued the Memorandum Opinion and Order Regarding Claim

Construction (Doc. No. 627) (the “Opinion”) on April 10, 2012. A copy of the Memorandum

Opinion is at Exhibit 1 for the Court’s convenience. AdjustaCam’s opening Markman Brief is at

Doc. No. 575, and AdjustaCam’s Reply Markman Brief is at Doc. No. 601.                  Both are

respectfully incorporated herein to the extent the Court deems them helpful in resolving these

objections.

          The great majority of the Opinion correctly addressed the disputed claim terms.

AdjustaCam is objecting to the Magistrate’s findings and statements solely with respect to the

term “rotatably attached” and the like terms, “adapted to be rotatably attached” and “adapted to

rotatably attach,” which the Opinion refers to collectively as the “’rotatably attached’ terms.”




                                                 1
                                                A2436
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AdjustaCam objects because, with all due respect, the Magistrate erred in holding that

“‘rotatably attached’ objects in the patent-in-suit are limited to a single axis of rotation.

        In this regard, the Magistrate held as follows:

        The Court finds that the claims of the ‘343 patent describe “rotatably attached”
        objects as rotating over a single axis

        the Court finds that the “rotatably attached” terms do not require construction
        beyond what is contained in the claims. While the Court has not explicitly
        construed the “rotatably attached” terms, the Court has resolved the parties’
        dispute regarding the proper scope of the claims, i.e., “rotatably attached” objects
        in the patent-in-suit are limited to a single axis of rotation

        No construction necessary, sufficiently defined in the claims; subject to the
        Court’s resolution of the scope of the claims

Opinion at pp 8, 10 & 15.

        Although the Magistrate did not explicitly construe the “rotatably attached” terms, the

Opinion states that “rotatably attached objects” are “limited to a single-axis of rotation,” and that

“the parties may not contradict the Court’s resolution of that dispute,” Opinion at p. 11. For the

reasons stated herein, the District Judge should sustain AdjustaCam’s objections and construe the

“rotatably attached” terms such that “rotatably attached” objects are not limited to a single axis

of rotation.

II.     TECHNOLOGY AT ISSUE

        The ‘343 patent generally relates to a novel adjustable camera clip comprising one

disposition on a generally horizontal, planar surface (e.g., a table top), and another disposition on

an inclined object (e.g., the screen of a laptop computer). Exemplary Fig. 2 shows a preferred

embodiment webcam in a first disposition on a table top, and exemplary Fig. 4 shows the same

webcam in a second disposition when attached to the laptop screen, as follows:




                                                   2
                                                 A2437
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         The independent claims of the ‘343 patent are claims 1, 10, 19, 20 and 21. Exemplary

claim 1 covers an apparatus comprising a hinge member rotatably attached to a camera, a support

frame rotatably attached to the hinge member, the support frame having a first disposition on a

surface and a second disposition on an inclined object.1 To help the Court better envision claim

1, the following color-coded chart compares claim 1 to certain preferred embodiments disclosed

in the ‘343 patent:

1
  Exhibit 2 hereto is the ‘343 patent. Although the prosecution history of the ‘343 patent was not relied on with
regard to the subject matter of the present motion, in the interest of completeness it is included as Exhibit 3 hereto.

                                                           3
                                                         A2438
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1. Apparatus for supporting a camera, having a lens, on any generally
horizontal, substantially planar surface and on an object having a first
surface and a second surface and an edge intersecting the first surface
and the second surface, comprising:
a. a hinge member adapted to be rotatably attached to the camera, said
camera, when the hinge member is so attached, rotating, about a first
axis of rotation, relative to said hinge member; and
b. a support frame rotatably attached to said hinge member and
configured to support said hinge member on the surface and the object,
said hinge member rotating about a second axis of rotation relative to
said support frame,
said first axis of rotation being generally perpendicular to said second
axis of rotation,
said second axis of rotation being substantially parallel to the first
surface when said hinge member is supported on the object,
said support frame having a first disposition positioned on said
generally horizontal, substantially planar surface,
and said support frame having a second disposition attached to the
object when said first surface and said second surface are inclined
from a generally horizontal orientation,
the camera being maintained adjacent said edge in said second
disposition of said support frame.

       Independent claim 10 is similar to claim 1, except it comprises additional claim

limitations related to the support frame being comprised of “a rear support element and a first

and a second front support element.”

       Independent claim 20 is also similar to claim 1, except it comprises additional claim

limitations related to “wherein said support frame protects the camera when said hinge member

is not supported on the generally horizontal, substantially planar surface.”

       Independent claim 21 is similar to claim 1, except that it comprises additional claim

limitations related to “wherein said support frame releasably holds and protects the camera when

said hinge member is not supported by said support frame on the object.”

       Independent claim 19 covers a “camera clip for supporting a camera on a laptop

computer ... comprising ... a hinge member adapted to be rotatably attached to the camera, said

camera rotating about a first axis of rotation relative to said hinge member; and a support frame

                                                 4
                                               A2439
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hingedly attached to said hinge.” Thus, claims 1, 10, 20 and 21 each comprise a “support frame

rotatably attached to said hinge member ...” and claim 19 comprises a “support frame hingedly

attached to said hinge member.”

III.    APPLICABLE LEGAL PRINCIPLES

        Claim construction is a matter of law.2 The court “indulge[s] a heavy presumption that

claim terms carry their full ordinary and customary meaning unless the patentee unequivocally

imparted a novel meaning to those terms or expressly relinquished claim scope during

prosecution.”3 Claim terms are interpreted from the point of view of a person of ordinary skill in

the art who “is deemed to read the claim term not only in the context of the particular claim in

which the disputed term appears, but in the context of the entire patent, including the

specification.”4 However, “the ordinary meaning of claim language as understood by a person of

skill in the art may be readily apparent even to lay judges, and claim construction in such cases

involves little more than the application of the widely accepted meaning of commonly

understood words.”5

        Intrinsic evidence includes the claims, written description, drawings, and the prosecution

history.”6 A disputed term should be construed by first examining the intrinsic evidence of

record from the perspective of one skilled in the relevant art.7 “The claims themselves provide

substantial guidance as to the meaning of particular claim terms.”8




2
  Markman v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995), aff'd, 517 U.S. 370 (1996).
3
  Omega Eng'g, Inc. v. Raytek Corp., 334 F.3d 1314, 1323 (Fed. Cir. 2003).
4
  Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005) (en banc).
5
  Id. at 1314.
6
  Teleflex Inc. v. Ficosa N. Am. Corp., 299 F.3d 1313, 1324 (Fed. Cir. 2002).
7
  Phillips, 415 F.3d at 1313-14.
8
  Id. at 1314.

                                                         5
                                                      A2440
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        Extrinsic evidence is less significant than the intrinsic record in determining the legally

operative meaning of the claim language.9 Where the ordinary meaning can be ascertained from

the intrinsic evidence, a court does not have to evaluate extrinsic evidence.10

        Although the specification is relevant to interpreting the meaning of disputed claim

language, particular embodiments and examples appearing in the specification will not generally

be read into the claims.11 As the Federal Circuit has held, “[o]ne of the cardinal sins of patent law

[is] reading a limitation from the written description into the claims.”12

        The Magistrate’s Opinion is not dispositive of the parties’ claims, and therefore, the

question before the Court is whether it is “clearly erroneous or contrary to law.” FED. R. CIV. P.

72(a); 28 U.S.C. § 636(b)(1)(A); see also Perales v. Casillas, 950 F.2d 1066, 1070 (5th Cir.

1992). Here, claim construction is a legal conclusion. The District Judge reviews the Magistrate

Judge’s legal conclusions de novo (reviews his factual findings for clear error). See Lahr v.

Fulbright & Jaworski, 164 F.R.D. 204, 209 (N.D. Tex. 1996).

        AdjustaCam respectfully submits that the Magistrate’s Opinion is contrary to the law and

that limiting of the “rotatably attached terms” to a single axis of rotation is a legal conclusion

that must be reviewed de novo. To the extent that the Court deems the Magistrate’s Opinion

regarding the “rotatably attached terms” to be a factual finding, then AdjustaCam respectfully

submits that it was clearly erroneous.

IV.     THE CORRECT CONSTRUCTION OF ROTATABLY ATTACHED/ADAPTED
        TO BE ROTATABLY ATTACHED/ADAPTED TO ROTATABLY ATTACH.

        During the Markman process, AdjustaCam advocated a construction for the “rotatably

attached” terms of “connected such that the connected object is capable of being rotated.” Doc.

9
  Id.
10
   Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1583 (Fed. Cir. 1996).
11
   Comark Comms., Inc. v. Harris Corp., 156 F.3d 1182, 1187 (Fed. Cir. 1998); see also Phillips, 415 F.3d at 1323.
12
   Phillips, 415 F.3d at 1319-20.

                                                         6
                                                      A2441
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No. 601, p. 4. In objecting to the Magistrate Judge’s ruling regarding the “rotatably attached

terms,” AdjustaCam respectfully submits that its proposed construction should be adopted by the

District Court, or alternatively, the District Court should adopt the Magistrate Judge’s ruling that

the “rotatably attached” terms do not require construction; while overruling and not adopting the

Magistrate Judge’s unwarranted limitation that rotatably attached objects are “limited to one axis

of rotation.”

        To understand “rotatably attached” in the context of the patent and claims, one must also

understand a “hinge member” and a “support frame.” The Magistrate Judge correctly construed

hinge member as “a structural element that joins to another for construction.” Opinion at p. 7.

The Magistrate Judge also correctly construed “support frame” as having a plain meaning and

requiring “no construction,” subject to the Court’s resolution of certain disputes over “support

frame.”

        A hinge member, i.e., a structural element that joins another for construction, is (1) for

rotatable attachment to a camera (claims 1, 10, 19, 20 & 21); and (2) for rotatable attachment

(claims 1, 10, 20 & 21) or hinged attachment (claim 19) to a support frame. Regarding rotatable

attachment to a camera, the ‘343 patent teaches that in a preferred embodiment, “[h]inge member

16 is rotatably attached to camera 12.” 4:17-19.13 Further, each independent claim comprises: “a

hinge member adapted to be rotatably attached to the camera.”14 Regarding rotatable attachment

to a support frame, the ‘343 patent teaches and claims, “a support frame rotatably attached to

said hinge member and configured to support said hinge member on the surface and the object.”

Claims 1, 10, 20 & 21. See also Figs. 2-4.


13
   See also rotatable attachment of the hinge member and camera in Figs. 2-4; 3:9-14 & 5:37-41. Note that “4:17-19”
is shorthand for column 4, lns. 17-19 of the ’343 patent.
14
   “The claims themselves provide substantial guidance as to the meaning of particular claim terms.” Phillips, 415
F.3d at 1314.

                                                        7
                                                      A2442
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       Regarding the first axis of rotation, the ‘343 patent teaches that, in a preferred

embodiment, “[h]inge member 16 is rotatably attached to camera 12, where camera 12 rotates

over a first axis 26 in a direction shown by arrow 28 relative to hinge member 16.” 4:17-19. See

also 2:12-14; 3:36-40 & 5:38-41. Further, independent claim 1 comprises, “said camera, when

the hinge member is so attached, rotating, about a first axis of rotation, relative to said hinge

member,” and independent claims 10, 19, 20 and 21 each comprises: “a hinge member adapted

to be rotatably attached to the camera, said camera, when the hinge member is so attached,

rotating, about a first axis of rotation relative to said hinge member.”

       Regarding the second axis of rotation, the ‘343 patent teaches that, in a preferred

embodiment, “[h]inge member 16 rotates over a second axis 32 in the direction shown by arrow

34 relative to support frame 18.” 4:22-24. See also 2:14-18; 3:40-43 & 5:41-44. Further, claim 1

comprises: “a support frame rotatably attached to said hinge member and configured to support

said hinge member on the surface and the object.” Claims 10, 20 and 21 comprise: “said hinge

member rotating about a second axis of rotation relative to said support frame.” Claim 19

comprises: “said hinge member rotating over a second axis of rotation relative to said support

frame.”

       With all due respect, the Magistrate Judge’s limitation that the “rotatably attached” terms

mean that an object is “limited to one axis of rotation” is erroneous. First, nothing in the ‘343

patent or its prosecution history states that rotation is “limited to one axis of rotation.” To the

contrary, in the summary of the invention, the patents states that “[t]he clip provides two axis of

rotation to position the camera to any desired viewing angle. 1:66 – 2:1. Further, although a

preferred embodiment comprises “where camera 12 rotates over a first axis 26,” the specification

does not state that camera 12 cannot rotate over any axis besides first axis 26. Likewise, although



                                                  8
                                                A2443
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a preferred embodiment comprises where “Hinge member 16 rotates around a second axis 32,”

the specification does not state that hinge member 16 cannot rotate over any axis besides second

axis 32.

        More importantly, “[t]he claims themselves provide substantial guidance as to the

meaning of particular claim terms.”15 Claims 1 and 10 of the ‘343 patent, at element (a), each

comprise “a hinge member adapted to be rotatably attached to the camera, said camera, when the

hinge member is so attached, rotating, about a first axis of rotation, relative to said hinge

member.” If “rotatably attached” was “limited to one axis of rotation” as the Magistrate Judge

has erroneously ruled, then it would be redundant to have a “first axis of rotation” limitation also

present in element (a) of claims 1 and 10.16 The same issue exists with Claims 19 and 20,

wherein element (a) of each is worded: “a hinge member adapted to be rotatably attached to the

camera, said camera rotating about a first axis of rotation relative to said hinge member.”

        Likewise, Claims 1, 10 and 21 of the ‘343 patent, at element (b), each comprises “a

support frame rotatably attached to said hinge member and configured to support said hinge

member on the surface and the object, said hinge member rotating about a second axis of rotation

relative to said support frame.” If “rotatably attached” was “limited to one axis of rotation” as

the Magistrate Judge has erroneously ruled, then it would be redundant to have a “second axis of

rotation” limitation also present in element (a) of claims 1, 10 and 21. The same issue exists

with Claim 20, wherein element (b) is worded: “a support frame rotatably attached to said hinge

member and configured to support said hinge member on a generally horizontal, substantially




15
   Phillips, 415 F.3d at 1314.
16
   Claim 21 has almost the exact same language, except its element (a) is written in terms of “a hinge member
adapted to be rotatably attached to the camera, said camera, when the hinge member is so adapted, rotating about a
first axis of rotation relative to said hinge member.”

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 planar surface, said hinge member rotating about a second axis of rotation relative to said support

 frame, said first axis of rotation being generally perpendicular to said second axis of rotation.”

         As the foregoing illustrates, it would be improper to import a “single axis of rotation”

 limitation into rotatably attached, including because it would make the “first axis of rotation” in

 element (a) redundant or superfluous, and it would make the “second axis of rotation” in element

 (b) redundant or superfluous.17

         The Opinion “finds that the claims of the ‘343 patent describe ‘rotatably attached’ objects

 as rotating over a single axis.” Opinion at p. 8. To the contrary, the applicable claims18 require

 certain rotation over a first axis, and certain rotation over a second axis. This does not mean that

 “rotatably attached” objects that rotate over more than a single axis cannot meet the claim

 limitations, provided that they rotate over the required first and second axes.

         The Opinion also states that the specification is “consistent in disclosing the camera and

 support frame rotating over a first and second axis of rotation.” Opinion at p. 9. However, here

 the the Opinion is referring to what the specification specifically calls out as “preferred

 embodiments.” Yet, the “cardinal sin” of claim construction is limiting the claims to a preferred

 embodiment.19 Moreover, as noted above, while the preferred embodiment does involve certain

 rotation over a first axis of rotation and certain rotation over a second axis of rotation, it never

 states, or even implies, that “rotatable attachment” must be limited to a single axis of rotation, or

 that something that rotates in more than one axis of rotation cannot fall within the plain meaning

 of the broad “rotatable attachment” terms.


 17
    See, e.g., Blackboard, Inc. v. Desire2Learn, Inc., 574 F.3d 1371, 1376 (Fed. Cir. 2009); Rambus Inc. v. Infineon
 Techs. AG, 318 F.3d 1081, 1096 (Fed.Cir.2003) (claim limitation for a multiplexed bus, a limitation that would be
 redundant if “bus” already meant “multiplexed bus”). See also Clearstream Wastewater Sys., Inc. v. Hydro–Action,
 Inc., 206 F.3d 1440, 1446–47 (Fed.Cir.2000) (explaining that the doctrine “prevents the narrowing of broad claims
 by reading into them the limitations of narrower claims”).
 18
    Claim 19 involves hinged attachment at element (b), so it is inapplicable to this issue.
 19
    Phillips, 415 F.3d at 1319-20.

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         Further, while the Magistrate Judge correctly acknowledged that one preferred

 embodiment comprises a pivot joint for rotatable attachment, he erred in writing that “the

 specification explicitly describes the ‘pivot element’ as rotating around a single axis of rotation.”

 Opinion at p. 10.       To the contrary, in the subject preferred embodiment, the specification

 describes that, “a pivot element 80 at proximal end 76 of body 74 rotatably attached camera 12 to

 body 74 so the camera may rotate about first axis 26. 5:38:41. Rotating about a “first axis” does

 not mean that something is restricted to only a single axis.

         Finally, the claims unequivocally refer to an apparatus “comprising” a “first axis of

 rotation” relative to the hinge member and camera and a “second axis of rotation” relative to the

 hinge member and support frame. The word “comprising,” which in patent lexicography means

 “including, but not limited to” is “open-ended and does not exclude additional, unrecited

 elements.”20 While all that is required to infringe the claims is rotation in one axis per rotatable

 attachment, the claimed invention is not restricted to this embodiment. Rather it comprises all

 types of “rotatable” attachments, including those which permit rotation in more than a single

 axis.

         With all due respect, the Magistrate Judge erred in rejecting Plaintiff’s “comprising”

 argument. See Opinion at p. 10. First, the claims comprise all types of “rotatable” attachments,

 including those which permit rotation in more than a single axis. This does not mean that

 “rotatably attached” is completely open ended; rather, it means that it is not limited to the

 specific rotatable attachments (i.e., a hinge and a pivot joint) in the preferred embodiments.

 Second, the rotatable attachments comprise rotation over a first axis (as claimed), rotation over a

 second axis (as claimed), and rotation over a third axis, and so on. This does not mean that


 20
   CIAS, Inc. v. Alliance Gaming Corp., 504 F.3d 1356, 1361 (Fed. Cir. 2007); Georgia-Pacific Corp. v. United
 States Gypsum Co., 195 F.3d 1322, 1327-28 (Fed. Cir. 1999).

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 “rotatably attached” is completely open ended, it means that the claimed invention can involve

 rotatable attachment over multiple axes, provided that it meets the first axis and second axis

 limitations of the claims. For example, a claim directed to a vehicle comprising a car which

 drives forward and reverse would be infringed by a car which drives forward, in reverse, and

 turns to the side, and a claim directed to a chair comprising three straight legs would be infringed

 by a chair having three straight legs and one crooked leg.

 V.         CONCLUSION

            For the reasons stated herein and in its prior Markman briefing, Plaintiff AdjustaCam

 respectfully submits that its proposed construction21 of the “rotatably attached” terms should be

 adopted by the District Court, or alternatively, the District Court should adopt the Magistrate

 Judge’s ruling that the “rotatably attached” terms do not require construction; while overruling

 the Magistrate Judge’s unwarranted limitation that rotatably attached objects are “limited to one

 axis of rotation.” AdjustaCam also requests such other relief to which it may be justly entitled.

 April 24, 2012                                                     Respectfully submitted,

                                                                    By: /s/ John J. Edmonds
                                                                    John J. Edmonds – LEAD COUNSEL
                                                                    Texas State Bar No. 789758
                                                                    Michael J. Collins
                                                                    Texas Bar No. 4614510
                                                                    Stephen F. Schlather
                                                                    Texas Bar No. 24007993
                                                                    COLLINS, EDMONDS &
                                                                    POGORZELSKI, PLLC
                                                                    1616 S. Voss Rd., Suite 125
                                                                    Houston, Texas 77057
                                                                    Telephone: (713) 501-3425
                                                                    Facsimile: (832) 415-2535
                                                                    jedmonds@cepiplaw.com
                                                                    mcollins@cepiplaw.com
                                                                    sschlather@cepiplaw.com


 21
      i.e. “connected such that the connected object is capable of being rotated.”

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                                                      Andrew W. Spangler
                                                      Texas Bar No. 24041960
                                                      Spangler Law P.C.
                                                      208 N. Green Street, Suite 300
                                                      Longview, Texas 75601
                                                      (903) 753-9300
                                                      (903) 553-0403 (fax)
                                                      spangler@spanglerlawpc.com

                                                      ATTORNEYS FOR PLAINTIFF
                                                      ADJUSTACAM LLC



                                 CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who are deemed to have consented to electronic
 service are being served with this filing via the Court’s CM/ECF system and/or email per Local
 Rule CV-5(a)(3).

 April 24, 2012                               /s/ John J. Edmonds
                                                      John J. Edmonds




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                           CERTIFICATE OF SERVICE


         I, John J. Edmonds, being duly sworn according to law and being over the age

of 18, upon my oath depose and say that:

         On December 11, 2014, a copy of the foregoing CORRECTED NON-

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 Dated: December 11, 2014                 /s/ John J. Edmonds
                                          John J. Edmonds

                                          COLLINS, EDMONDS, POGORZELSKI,
                                          SCHLATHER & TOWER, PLLC




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